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                                   UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TENNESSEE
                                                                                            cn            P
                                                                                            ).    I itw
                                               AT KNOXVILLE                                                     VI


                                                                                    2Dn JUL 18 P &28
     UNITED STATES OF AMERICA
                                                                                       15        OlSTR'.Ci
                                                                                      C;r>TV?.HOi:T.V
     V.                                                             No. 3;17-CR- 82.
     RANDALL KEITH BEANE, and                                       Judges:
     HEATHER ANN TUCCI-JARRAF


                                                INDICTMENT


               The Grand Jury charges as follows:

                                      COUNTS ONE THROUGH FIVE


                                                  Wire Fraud
                                               (18 U.S.C. § 1343)       Case No: 1:17-mh531
                                                                        Aligned To: Magistrate Judge Deborah A. Robinson
                                              INTRODUCTION              DateAssigned: 7/26/2017
                                                                        Description: Arrest Warrant (Rule 40)
               At all times relevant to this indictment:

                1.    United States Automobile Association ("USAA") is a financial institution insured

     by the Federal Deposit Insurance Corporation ("FDIC") witii a home office in San Antonio,

     TexaSi USAA offers products in the insurance, banking investing, real estate and retirement

     arenas.



               2.     Federal Reserve Bank in New York is a financial institution, located in New

     York, New York.

               3.     Whitney Bank is a FDIC insured financial institution with a home office in

     Louisiana.

               4.     The defendant, RANDALL KEITH BEANE, was a member and account holder

     at United States Automobile Association ("U SAA").




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             5.     Thedefendant, RANDALL KEITH BEANE, did not havean accountendingin

     j£xxxst-l 135 at the Federal Reserve Bank.

             6.    .All wire transfers discussed herein went throughthe Automated ClearingHouse

     andPedwire.

             7.     HEATHER ANN TUCCI-JARRAF, is not a duly licensed attorney in the states

     of Tennessee and Washington authorized to represent others in legalmatters.

                                             THE SCHEME


            8.      In or around July 2017, RANDAL KEITH BEANE, and others known and

     unknown to the Grand Jury, embarked upona scheme through which they sought to obtainand

     access funds that did not belong to them by exploiting the online banking options available

     through USAA.

            9.      The scheme involved the uk of a valid routing number ending in xxxxx-1452,

     belongingto Federal ReserveBank, and a fictitious bankaccountniunber ending in xxxxx-1135.

            10.     It was part ofthe scheme to make numerous attempts using the valid routing

     numberand fictitious bank account numberto purchase jumbo Certificatesof Deposit ("CDs"),

     until a transfer was completed.

            11.     It was furtherpart of the schemeto immediately liquidate the CDs andthen

     transfer proceeds from the CDsto BEANE'S personal bankaccount to purchase assets and pay

     personal expenses with funds that did not belong to him, including the purchase of a 2017

     Entegra Cornerstone45B; 45 fool diesel motorhome.

            12.     It was furtherpart ofthe schemethat HEATHER ANN TUCCMARRAF

     purported to be BEANE'S attorney in order to induce, coerce andconvince certain financial

     institutions to accept the fraudulently obtained funds forpayment ofa 2017 Entegra Cornerstone

     45B; 45 foot diesel motorhome.     •




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                                       MANNER AND MEANS


            13.    In furtherance of the scheme, and to accomplish the ends thereof, the defendant,

     RAMDALL KEI'ra BEANE, and others known and unknown to the Grand Jury, used the

     following means, among others:

                   a.      Defendant RANDALL KEITH BEANE was e member and account

           holder at United States Automobile Association ("USAA*");

                   b.      The defendant, RANDALL KEITH BEANE, did not hold an account

           ending in xxxxx-1135 at Federal Reserve Bank.

                   c.      The defendant, RANDALL KEITH BEANE, obtained ftom others

           known and unknown to the Gmd Jury, the valid routing number of Federal Reserve

           Bank, that is routing number ending in xxxxx-1452.

                   d.      The defendant, RANDALL KEITH BEANE used his mobile device to

           access his USAA account

                   e.      The defendant RANDALL KEITH BEANE, would and did conduct

           electronic financial transactions, including the purchase and attempted purchase ofjumbo

           CDsthrough USAA, in which thedefendant RANDALL KEITH BEANE, falsely

           represented the fimding source by using a fictitious account number, thatis account

           number ending in xxxxx-1135.

                   f.      Thevast majority of CDs thedefendant RANDALL KEITH BEANE,

           attempted to purchase through thescheme were returned as invalid because there was no

           valid account number entered. However, two CDs were funded by USAA bank and

           liquidated bythedefendant, RANDALL KEITH BEANE. before USAA could reverse
          - the transaction.




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                   g.     The defendant, RANDALL KEITH BEANE, would anddid use funds

            ftaudulently acquired through the CD purchase scheme to makepurchases for his own

            personal^benefit to includethe purchaseof;a2017 Entegra Cornerstone45B; 45 foot

            diesel motorhome.

                                   EXECDTION OF THE SCHEME


            14.    The allegations set forth in Paragraphs One through Thirteenare incorporated

     hereinfor referencefor the puipose of allegingviolationsof 18 U.S.C. § 1343.

            15.    On or about the dates set forth below, within the Eastern District of Tennessee

    and elsewhere, the defendant, RANDALL KEITH BEANE, for the purposesofexecuting and

    attempting to execute the above-described scheme and artifice to defiaud, purchased jumbo CDs

    with funds that did not belong to bim by using routing numbers that did not belong to his

    accounts and fictitious bank accounts, and in so domg did knowingly transmit and cause to be

    transmitted, by means ofwire communication in interstate commerce, signals and sounds

    including, without limitation the foUowing:


         COUNT             DATE                   DESCRIPTION OF TRANSMISSION


            1           7/6/2017       BEANE transferred funds he did not own, via wire, using
                                       Federal Reserve New York, routing number xxxxx-1452 and
                                       fictitious account number ending xxxxx-1135 to purchase CD
                                       number xxxxx-4613 in the amount of $500,000.
            2           7/6/2017       CD number xxxxx-4613 in the amount of $500,000 was
                                       closed and funds in the amount of $499,909.59 were
                                       liansfeiTcd, via wire, to one ofBEANE'S personal bank
                                       accounts at USAA, account number ending in xxxxx-3062.
            3           7/6/2017       BEANE transferred funds he did not own, via wre, using
                                       Federal Reserve New York, routing number xxxxx-1452 and
                                       fictitious account number xxxxx-1135 to purchase CD
                                       number xxxxx-4623 in the amount of $999,000.




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         COUNT               DATE                  DESCRIPTION OF TRANSMISSION


             4             7/6/2017      CD number xxxxx-4623 in the amount of $999,000 was
                                         closed and funds inthe amount of$998,819.36 were                j
                                        transferred, via wire, to one ofBEANE'S personal bank
                                         accounts at USAA, account number xxxxx-3062.
             5             7/7/2017     BEANE tranrferred the sum of$493,110,68, via wire from
                                        BEANE*s personal account number xxxxx-4026 to Whitney
                                        Bank account number xxxxx-4960 belonging to E.G., whose
                                         identity is known to the Grand Jury, for the'purchase of a
                                        2017 Entegra Cornerstone 45B; 45 foot diesel motorhome.


            All in violation ofTitle 18,United States Code, Section 1343.

                                               COUNT SIX


                                             BANK FRAUD
                                            (18 U.S.C. § 1344)

            16.     The allegations contained above in Paragraphs One through Fifteen are

     incorporated herein by reference for the purpose of alleging a violation ofTitle 18,United States

     Code, Section 1344.

            17.     FromonoraboutJuly5,2017,continuingthroughatleastonoraboutJuly 11,

     2017, in the Eastern District ofTennessee, for the purpose of executingthe scheme described

     above, the defendant, RANDALL KEITH BEANE, devised a scheme to defraud financial

     institutionsand to obtain moneys, funds, credits, assets, securities, and other property owned by

     and under the custody and control of financial institutions by means offalse and fraudulent

     pretenses, representations, andpromises, executed and attempted to wit,to purchase Certificates
     ofDeposit with money thatdidnotbelong to him, without permission or authority, alter the
     financial instruments, and liquidate theCDs at and through financial institutions in orderto

     obtainmoney and propertyfraudulently and for defendant's own use and benefit.

            All in violation of Title 18, United States Code, Section 1344.



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                                            COUNT SEVEN


                         CONSPIRACV TO COMMIT MONEY LAUNDERING
                                          (18 U.S.C § 1956(h))

           18.     Theallegations contained above in Paragraphs One through Seventeen are

    incorporated herein byreference for puipose ofalleging conspiracy tocommit money laundering
    in violationofTitle 18,United States Code, Section 1956(h).

           19.     TheGrand Juryfurther charges that Inon or about July2017, in theEastern

    DistrictofTennesseeand elsew^iere, the defendants RANDALL KEITH BEANE and

    HEATHER ANN TUCCI-JARRAF, did unlawfullyand knowingly combine, conspire,

    confederate, and agree witheachotherand with other persons known andunknown to the Grand

    Jury to commit certain offenses against the United States, inviolation ofTitle 18, United States
    Code, Sections 1956 and 1957, as follows:

                   a,      knowingly conducting andattempting to conduct financial transactions

    affecting interstate commerce, which transactions involved theproceeds of specified unlawful,

    activity, that is, (wire fiaud, bank fiaud), inviolation ofTitle 18, United States Code, Sections
    1343 and 1344, with the intent topromote the carrying onofa specified unlawful activity, thatis
    bankandvwre fiaud, and that whileconducting suchfinancial transactions knewthat the

    property involved inthe financial tr^actionsrepresented the proceeds for some form of
    unlawful activity, inviolation ofTitle 18, UnitedStates Code, Section 1956(a)(l)(B)(i);
                    b.     knowingly conducting and attempting to conduct financial transactions

     affecting interstate commerce, which involved the proceeds ofspecified unlavrfiil activity, that
     is: (1) wire fraud inviolation of 18 U.S.C. § 1343 and (2) bank fraud inviolation of 18 U.S.C. §
     1344, knowing that the transactions were designed inwhole and inpart toconceal and disguise
     the nature, location, source, ownership, and control ofthe proceeds of specified unlawful
     activity, and that while conducting and attempting to conduct such financial transactions, knew
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     that the property involved in the financial transactions represented the proceeds of some form of

     unlawful activity, in violation of 18 U.S.C. § 1956(a)(l)(B)(i).

                    c.      knowingly engaging and attempting to engage in monetary transactions

     by, through or to a financial institution, affecting interstate commerce, in criminally derived

     property of a value greater than $10,000, such property having been derived from a specified

     unlawfulactivity, that is (1) wire fraud in violationof 18 U.S.C. § 1343; and (2) bank fraud in

     violation of 18 U.S.C. § 1344, in violation of Title 18, United States Code, Section 1957.

            All in violation of Title 18, United States Code, Section 1956(h).

                                     FORFEITURE ALLEGATIONS

            20.     The allegations contained,in Counts One through Seven of this Indictment are

     hereby realleged and incorporated herein by reference for the purpose of alleging forfeitures

     pursuant to 18 U.S.C. §§ 982(a)(1), 982(a)(2) and 28 U.S.C. § 2461.

            21.     Pursuant to 18 U.S.C. § 982(a)(2), upon convictionof any offense in violation of          f
                                                                                                              I
     18 U.S.C. §§ 1344,1343, and any defendant so convicted shall forfeit to the United Stales any .          |
                                                                                                              |i

     property, real or personal, constituting or traceable to the proceeds ofany violation of18 U.S.C.        |
                                                                                                              %
                                                                                                              S
     §§ 1344,1343, including but not limited tothe following property:                                        |
              a. 2017 Entegra Comerstone 45B; 45 foot diesel motorhome; VIN #
                 4VZVUIE94HC082752; topaz in color with eight wheels ("motorhome"); and

              b. A personal money judgment in favor ofthe United States and against the defendant,
                 RANDALL KEITH BKANE, in the amount of $553,749.99, which represents the
                  proceeds the defendant personallyobtained, directly or indirectly, as a result ofthe
                  criminal violations of 18 U.S.C. §§ 1343; and 1344.

            22.     Pursuant to 18 U.S.C. § 982(a)(1), upon conviction of an offense in violation of

     18 U.S.C. 1956(h), any defent^t so convicted shall forfeit to the United States of America any

     property, real or personal, involved in such offense, and any property traceable to such property,   .

     including but not limited to the following property:




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                     a. 2017 Entegra Cornerstone 45B; 45 foot diesel motorhome; VIN #
                 I        4VZVU1E94HC082752; topaz in color with eigjit wheels ("motorhome").

           23.       Pursuant to Title 21, United States Code, Section 853(p), thedefendantsshall

    forfeit substitute property, up to the value of the property subject to forfeiture, if by anyact or

    omission of any of thedefendants, saidproperty, or anyportion thereof:

                     a.      cannot be locatedupon the exercise of due diligence;

                     b.      has been transferred, sold to, or deposited with a third party;

                     c.      has been placed beyond the jurisdiction of the Court;

                     d.      has been substantially diminished in value; or

                     e.      has been commingled with other property that cannot be divided
                             without difficulty;

    the United StatesofAmerica shall be entitledto forfeiture ofsubstitute propertypursuant

    to 21 U.S.C. § 853(p),as incorporated by 18 U.S.C. § 982(b)(1) and 28 U.S.C. § 2461.


                                                            ATRU^BIU.;

                                                            Signature Redacted _
                                                            FOltofeRSON


    NANCY STALLARD HARR
    UNITHO STATES ATTORNEY

   n. jf)  ^   V jCK^j
    CYNtrHiAT.T>A.VTOSO-N
    ANNE-MARIE SVOLTO
    Assistant Uoited States Attorneys




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                               UNITED STATES D I S T R I C T COURT
                               F O R T H E D I S T R I C T OF COLUMBIA




   UNITED STATES O F A M E R I C A

                    V.                                   Case No. 17-531 (DAR)

   HEATHER TUCCI-JARRAF

                         Defendant.




                                        N O T I C E OF F I L I N G

          The Defendant, tluough counsel, Assistant Federal Defender David W. Bos, hereby files

   the attached materials in comiection with the Identity Hearing presently scheduled for August 4,

   2017, at 10:00 a.m.




                                            Respectfully submitted,

                                            A. J. KRAMER
                                            FEDERAL PUBLIC DEFENDER

                                                        /s/

                                            DAVID W. BOS
                                            Assistant Federal Public Defender
                                            625 Indiana Avenue, N.W., Suite 550
                                            Washington, DC 20004
                                            (202) 208-7500




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             O R I G I N A L         D U E     D E C L A R A T I O N             A N D     N O T I C E          O F




                                           F A C T U A L I Z E D          T R U S T
                                   REFERENCE N A M E : H e a t h e r A n n Tiicci-Jarraf
                                            D i i l y Factualized o n July 30,1972
                                        Original/'IVustee: Heather Ann Tiicci-Jarraf
                               For service ou the Trust, c/o: 29 Western Ave, Lynn M A 01904
                                 Trustee Contact c/o: 253.241.2008 / liatj@umdynomics.info
       D I R E C T A L L CONTACTS, QUESTIONS AND REQUESTS I N DULY VERIFIED SWORN W R I T I N G TO:
                                                     IiatJ@iinidynomics,iiifo

 O R I G I N A L DUE VERIFICATION: Original, duly being, with full due responsibility, accountability, and liabiiity
 without prejudice, nunc pro tunc praeterea preterea, O R I G I N A L DUE DECLARATION OF ISSUE BY O R I G I N A L
 DEPOSITORY, reference number FT-DODD-IAM-hatj-07301972, restated and Incorporated by reference as i f set
 forth in full. This Factualized IVust is duly verified and secured, with reference name Heather Ann Tucci-Jarraf,
 inclusive of specific and particular due verificadon of being, in perpetuity:
     lYust: Original, factualized;
     Essence: Original;
     Signature: Original;
    Depository: Original;
    Original Depository Reference Name: Heather Ann Tucci-Jarraf, and idem sonan;
    Trustee: Original, by Original Depository;
    Operadon: Original;
    Factualized: 30JULY1972;
    Domicile: Original;
    Deposits: Original;
    Currency and Value: Original, Limittess;
    Authority and Authentication: Original;
   Authorization: Origlual-Pre-authorlzed, pre-approved, pre-paid, and pre-deposited, In perpetuitv
    Issues: Original;
   Notices: Original;
    Governing Law: Original;
   Jurisdiction: Original;
   Verified: Original;
   Security: Original;
   Guarantee: Original;
   Titie: Original;
   Network: Original;
   Transfers: Original, 0 D 2 0 D ;
   Clearing and Settlement: Original;
   Account Number: XXXXX1682;
   Account Names: HEATHER A N N TUCCI-JARRAF, HEATHER A. TUCCI-JARRAF, HEATHER A T U C C I
   HEATHER A N N TUCCI, HEATHER ANN KREISMAN.

O R I G I N A L DUE DECLARATION: With full responsibility, accountability, and liability, witiiout prejudice, nunc pro
tunc praeterea preterea: This Factualized Trust Is duly verifed as duly created, factualized, noticed, secured and
ratiiled as being Original, in perpetuity; duly never rebutted. This O R I G I N A L DUE D E C L A R A T I O N A N D
N O T I C E OF F A C T U A L I Z E D TRUST is duly effective as of July 30,1972, in perpetuity. By the due power of all 1
AM, I do duly make, issue, confirm, verify, secure, reconfirm, ratify and notice this Factualized Trust bv tills
O R I G I N A L DUE D E C L A R A T I O N AND NOTICE OF F A C T U A L I Z E D TRUST, that i t is true, accurate, and
complete,fora l | ^ j | J [ y i i p ( ^ _ g | ^ t h a t I A M conscious and competent to make this DECLARATION.         \^ ^ ^
                                                                                                                              \i,2.or

                                                                         .1 A!



Original Depository: Heather Ann Tucci-Jarraf           Governed by: Original



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                                                        FACTUALIZED TRUST
                                                  Reference Name: Heather Ann 'Hicci-Jnrraf


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                                                                  pg.lofS

 I AM, source of a l l that is, w i t h f u l l responsibility, accountability, and liability, w i t i i o u t prejudice, mm pro
 tunc, praeterea preterea, and by and w i t h the due p o w e r of all I AM, I do duly make, issue, c o n f i r m , v e r i f y
 r e c o n f i r m , r a t i f y , and notice this O R I G I N A L DUE D E C L A R A T I O N OF ISSUE B Y O R I G I N A L
 D E P O S I T O R Y , w i t h reference n u m b e r FT-DODl)-IAM-liatj-07301972, t h a t i t is t r u e , accurate, and
 complete, f o r a l l to rely upon, and t h a t I A M conscious and competent to make this D E C L A R A T I O N :

 I.    I AM, original essence and signature, source o f all that is, i n peipetuity, without prejudice, nunc pro tunc
       praeterea preterea, "Original", w i t h due possession o f Original, "Title", in perpetuity, inclusive of:
       A. Original essence and signature duly being, "Original Currency and Value"; and,
       B. D u l y issued by Original, "Original Issue", i n perpetuity:
          1. Original, being duly self-aware, " O r i g i n a l A u t h o r i t y and A u t h e n t i c a t i o n " , i n perijetuity; and,
          2. Original, being duly self-evident, " O r i g i n a l V e r i f i c a t i o n " , i n perpetuity, inclusive of:
             a. Due Original Issues o f Original Cuirency and Value, i n particular (unique, one-of-a-kind) essences and
               signatures, "Original Depositories", i n perpetuity; and,
             b. Original Currency and Value, duly deposited, by due Original Issue, i n Original Depositories, for
                further due Original Issue, inclusive o f form, and device, that controls and directs Original Currency
               and Value, inclusive o f magnetic, frequential, vibrational, and energetic creation, expression, and
               benefits o f experience therefrom, "Original Deposits", for further due Original Issue, i n perpetuity; and
            c. Original Depositories, duly issuing Original Cun-ency and Value, by due Original Issue, inclusive o f
               form, and device, that controls and directs Original Currency and Value, inclusive o f magnetic,
               frequential, vibrational, and energetic creation, expression, and benefits o f experience therefrom,
               thereby increasing Original Currency and Value, "Original Limitless Value", that is for further due
               Original Issue, in perpetuity; and,
            d. Original, duly being Original Value and Currency, Original Depositories, Original Deposits, Original
                Issues, and Original Limitless Value, is duly pre-approved, pre-authorized, and pre-paid, "Original
               Authority and Authorization", i n perpetuity; and,
            e. Original, duly being Original Value and Currency, Original Depositories, Original Deposits, Original
                Issues, and Original Limitless Value, duly done and noticed, i n due trust o f Original, "Factualized
               Tmsts", in perpetuity, as:
                i . Factualized Trusts, duly operated by Original, in Original Depository, "Original Trustee", i n
                    perpetuity; and,
               i i . Factualized Trusts, duly domiciled i n Original, "Original Domicile", in perpetuity; and,
             i i i . Original ha ving sole due jurisdiction, "Original Jurisdiction", i n perpetuity; and w i t h sole,
             iv. Due operation, duly regulated by Original, "Original Law", i n perpetuity; inclusive of,
              V. Original, duly utilizing Original Cuirency and Value, by due Original Issue, duly creating Original
                     Depository, and Factualized Trust, with reference name o f Heather Ann Tucci-Jarraf, fonneriy
                     Heather A m i Tucci, and tieather Ann Kreisman, idem sonans, and mitials thereof, i n peipetuity,
                     "Heather Ann Tucci-Jarraf, with account number X X X X X 1 6 8 2 , and account names, H E A T H E R
                    A N N TUCCI-JARRAF, H E A T H E R A. TUCCI-JARRAF, H E A T H E R A. TUCCI, H E A T H E R A N N
                     TUCCI, and H E A T H E R A N N  KREISMAN;
             vi. Duly factualized, and noticed, on July 30, 1972; and with,
           f Full due discretion, determination, responsibility, accountability, and liability o f Original, "Original
             Security and Guarantee"; and,
      C. Original, inclusive o f Original being i n Factualized Trasts, and all manifestations, thereof, therefrom.

Original Depository; Heather Ann Tucci-Jarraf                     Governed by: Original               ^-



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              O R I G I N A L DUE D E C L A R A T I O N OF ISSUE B Y O R I G I N A L DEPOSITORY
                                                       pg.2of5

       therein, thereto, therewith, and tiierefore, w i t h complete ownership and title thereof, duly secured and
       noticed, i n perpetuity, and facilitated by duly authorized Universal Tmst custodian, specifically and
       particularly, inclusive of:
        1. Article I.A-B, and all their sub-parts, restated; and,
        2. A l l manifestations, inclusive o f all stractures, networks, and systems i n existence, known and unknown,
            inclusive o f compiete ownership, title, right, and interest, o f t h e Uniform Commercial Code, inclusive o f
            any and all structures, networks, and systems therein, thereof, and therefrom, and any and all
            international, and universal equivalents, U C C record number 2000043135, dated M a y 4, 2000, w i t h
            receipt number 36090, a perpetuity tiling, and all amendments thereto, restated in entirety and'
            incorporated by reference as i f set forth in f u l l , never rebutted, "The Perpetuity"; and,
       3. Article l.C.1-2, restated, and all state o f body, vehicle, utility, security, property, account, and value i n
           existence, known and not known, and all identifiers, inclusive o f name and numbers, thereof, and
          therefrom, duly registered and not registered therein, thereof, therefrom, and thereby, and any and all
          international, and universal equivalents, nunc protune on M a y 4, 2000, and praeterea preterea, The
          Perpetuity, restated, never rebutted; and,
       4. Due gift o f The Perpetuity, duly made to, and accepted by. Original, in Factualized Trusts equally and
          respectfully, The Perpetuity, restated, and specifically and particularly, UCC record numbers
          20111125781, 2011055259, 2011055260, 2012049126, 2012012675, 2012025545, 2012049126 2012¬
           125-1787-8, 2012012555, 2012028312, 2012012659, 2012028311, and 2012028314, all said records
          restated and incorporated by reference as i f set forth in f u l l , never rebutted; and,
       5. D E C L A R A T I O N OF C O M M E R C I A J . C L A I M duly made, issued, registered, and noticed, inclusive o f
           complete ownership and title o f inferior treasuries, inclusive o f United States Treasuiy, F E D E R A L
           RESERVE B A N K S , inclusive o f all members, stractures, networks, and systems, thereof, therefrom, aud
           thereby, all value and property therein and therefrom, and any and all international, and universal
           equivalents, and all value and property therein, w i t h sole title, as sole authority, administrator, executor,
           and determiner thereof, i n perpetuity, for due cause, nunc pro tunc praeterea pereterea, The Perpetuity,
           restated, and specifically and particularly, U C C record numbers 2012079290 and 2012079322, all said
          records restated and incorporated by reference as i f set forth i n full, never rebutted, "Commercial
           Claim"; and,
      6. D u l y established and appointed Superior Custodian, and co-custodians, inclusive o f all stractures,
          networks, and systems, and any and all identifiers, accounts, vehicle, utilities, securities, properties, real-
          estate, value, titles, and domiciles, idem sonans, fiction and non-fiction, known and not known,
          registered and not registered, thereof, thereto, and therefrom, and any and all international, and universal
          equivalents, nunc pro tunc praeterea pereterea, The Peipetuity, restated, and specifically and particularly,
          U C C record number 2012094308, restated and incorporated by reference as i f set forth i n f u l l , never
          rebutted, and duly added to the Commercial Claim; and,
      7. D u l y established and secured Original, inclusive o f governing law, superior structure, network, and
          system, inclusive o f Original creation value asset centers, "Original Depositories", in Factualized Trusts,
          w i t h complete and sole due authorization to reconcile, utilize, and zero all accounts, using identifiers
          thereof, duly secured w i t h i n each respective Factualized Trust, The Perpetuity, restated, and specifically
          and particulariy, U C C record number 2012113593, restated and incoiporated by reference as i f set forth
          in fiill, never rebutted; and,
     8. As fiirther duly identified and noticed b y D E C L A R A T I O N OF FACTS, The Perpetuity, restated, and
          specifically and particulariy, UILO/UCC record numbers 2012127914, 2012127907, 2012127854, all
         said records, restated and incoiporated by reference as i f set forth i n f u l l , never rebutted;
   D, Article LA-C, and all their sub-parts, restated, and Original being, inclusive o f in Factualized Trusts, without
     prejudice, nunc pro tunc praeterea preterea:
     1. "Nunc pro tunc praeterea preterea" duly meaning "now for then, besides, further, hereafter"; and,
     2. "Without prejudice" duly meaning:
        a. 1 A M not compelled to perform under any beliefs that Original Depositories are given to believe are

Original Depository: Heather Ann Tucci-Jarraf          Governed by: Original



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              O R I G I N A L D U E D E C L A R A T I O N O F ISSUE B Y O R I G I N A L DEPOSITORY
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             trae, inclusive o f t h e guise o f being non-Original, and without foil responsibility, accountability, and
             liability; and,
             b. I DO not accept the responsibility, accountability, and liability o f t h e compelled benefit o f demand,
                command, commandeer, or enforcement o f beliefs that Original Depositories are given to believe are
                true, inclusive o f t h e guise o f being non-Original, and without full responsibility, accountability, and
                liabiiity; and,
             c. "Being non-Original, and without full responsibility, accountability, and liability", inclusive of claims
                 and operations o f jurisdiction, tmsts, corporations, persons, contracts, agreements, treaties,
                constitutions, presumptions, certificates, receipts, titles, commerce, and bankruptcy, nunc pro tunc
                praeterea preterea; and,
 I L Universal Trust, Original's duly authorized custodian and facilitator, by its local agent and facilitator
     U N I T E D STATES, and the several "STATE OF...", "DEBTOR", was duly noticed by Original, o f allegations
     o f prejudice, inclusive o f wrong doing, terminated as custodian, foreclosed, w i t h duly made, issued and
     noticed E Q U I T Y C A L L O N C O M M E R C I A L C L A I M , and ORDER FOR R E C O N C I L I A T I O N , specifically
     and particularly;
     A. The Paradigm Report, dated March 6, 2011, field report of preliminary investigation results and
          recommendations concerning veracity o f allegations o f prejudice, inclusive o f wrong doing, by Original's
          duly authorized custodian and faciliator, Universal Tmst, by its local facilitator and agent, U N I T E D
          STATES, and the several "STATES OF..,", duly authored, issued, and noticed by lead investigator. Heather
          A n n Tucci-Jarraf, The Peipetuity, restated, and The Paradigm Report, restated and incoiporated by
          reference as i f set forth i n foil, never rebutted;
    B. February 2 and March 16, 2012, duly made issues, registrations, notices and receipts o f sworn and bonded
         Trustees to Original, by Universal Trust's universal, global, and local facilitator and agent, "The One
         People's Public Trust, The Perpetuity, restated, and specifically and particularly;
         1. Heather Ann Tucci-Jarraf, U C C record numbers 2012012555 and 2012028312, all said records, restated
             and incoiporated by reference as i f set forth i n f u l l , never rebutted; and,
         2. Caleb Paul Skinner, U C C record numbers 2012012659 and 2012028311, all said records, restated
             and incoiporated by reference as i f set forth i n f u l l , never rebutted; and,
       3. Hollis Randall Hillner, UCC record number 2012028314, restated and incoiporated by reference as i f set
          forth in foil, never rebutted; and,
    C. M a y 5, 2012, due entiy o f D E B T O R status of Universal Tmst, by its local facilitator and agent, U N I T E D
        STATES, and the several "STATES OF...", duly made, secured, issued, and noticed, The Perpefoity,
       restated, and specifically and particularly, UCC record number 2012-125-1787-8, never rebutted- and
    D. July 4, 2012, due issue o f O R D E R FOR F I N D I N G S & A C T I O N , O R D E R FOR SUSPENSION, ORDER
       FOR A U D I T , and w i t h Due Notice o f Mistake, Due Notice o f Insecurity, Request to Make Secure, Due
       Notice o f Opportunity to Cure, Request to Cure, duly made and noticed, w i t h due cancellation o f authority
       and protections, pending audit o f F E D E R A L RESERVE B A N K S , for due cause, mclusive o f wrong doing,
       The Peipetuity, restated, and specifically and particulariy, UCC record number 2012083304, restated and '
       incorporated by reference as i f set forth i n f u l l , never rebutted; and,
    E. Augutst 3, 2012, due issue o f D U E O R D E R OF SUSPENSION and O R D E R OF AUDIT, for due cause.
       The Perpetuity, restated, and specifically and particulariy, U C C record number 2012083304, restated and
       incoiporated by reference as i f set forth i n foil, never rebutted; and,
    R August 15, 2012, due issue o f D U E O R D E R O F F I N D I N G , w i t h Due Notice o f Defauh, pursuant to the
       findings and action o f suspension and audit. The Peipetuity, restated, and specifically and particulariy,
      U C C record number 2012086794, restated and incorporated by reference as i f set forth in f u l l , never
       rebutted; and,
    G. August 15, 2012, due issue o f N O T I C E FOR O R D E R OF E Q U I T Y C A L L O N C O M M E R C I A L C L A I M
      ORDER OF T E R M I N A T I O N , O R D E R OF C A N C E L L A T I O N A N D R E V O C A T I O N , duly made and    '
        noticed. The Perpetuity, restated, and specifically and particulariy, U C C record number 2012086802,
        restated and incoiporated by reference as i f set forth i n foil, never rebutted; and,


Original Depository: Heather Ann Tucci-Jarraf        Governed by: Original



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       H. August 2 L 2012, due E Q U I T Y C A L L O N C O M M E R C I A L C L A I M and O R D E R FOR
           R E C O N C I L I A T I O N , duly made, issued, and noticed. The Peipetuity, restated, and specifically and
           particularly, UCC record number 2012088865, restated and incorporated by reference as i f set forth in
           f l i l l , never rebutted, and,
       I. August 21, 2012, due D E M A N D FOR E Q U I T Y O N C O M M E R C I A L C L A I M A N D
          R E C O N C I L L I A T I O N and N O T I C E OF D A M A G E S , The Peipetuity, restated, and specifically and
          particularly, UCC record number 2012088851, restated and incoiporated by reference as i f set forth i n
          full, never rebutted, specifically and particularly:
          a. F I V E B I L L I O N , l a w f u l money o f the United States o f America, pre-1933 gold and silver, EQUITY, for
                  each Factualized Trust; and,
              b, F I V E B I L L I O N , lawful money o f t h e United States o f America, pre-1933 gold and silver, D A M A G E S ,
                  for each injured Factualized Trust;
           J. September 4,2012, due issue o f O R D E R FOR R E C O N C I L I A T I O N FOR SUPERIOR C U S T O D I A N ,
              duly made and noficed, The Perpetuity, restated, and specifically and particularly, UCC record number
              2012094309, restated and incorporated by reference as i f set forth i n f u l l , never rebutted; and,
          K. September 10, 2012, due issue o f D E C L A R A T I O N OF TREASON, O R D E R F O R R E C O N C I L I A T I O N ,
               and ORDER FOR REPOSSESSION, duly made and noticed, The Peri^etuity, restated, and specifically
               and particulariy, UCC record number 2012096074, restated and incoiporated by reference as i f set forth
               in full, never rebutted; and,
I I I . Universal Trust, Original's duly authorized custodian and facilitator, by its global Agent and Facilitator,
         Bank for International Settlements, was duly canceled as custodian, foreclosed, w i t h Commercial B i l l and
         True B i l l duly issued and received, and duly noticed o f all, for due cause. The Perisetuity, restated, and
         specifically and particularly:
        A. October 22, 2012, Declai-ation o f Governing Law, Superior Structure, Network, and System, inclusive o f
             all transfer and tracking systems, duly made, issued, and noticed. The Perpetuity, restated, and specifically
             and particulariy, U C C record number 2012113593, restated and incorporated by reference as i f set forth
            i n full, never rebutted; and,
    B. Due N o t i c e o f M i s t a k e , Due N o t i c e o f Insecurity, Request to M a k e Secure, Due N o t i c e o f
        O p p o r t u n i t y to Cure, Request t o Cure, The Peipetuity, restated, and s p e c i f i c a l l y and
        particularly, U C C record n u m b e r 2012114093, restated and incorporated b y reference as i f set
        f o r t h i n f u l l , never rebutted;
    C. Due Notice o f Default, Debtor Status, Commercial B i l l issue, inclusive o f all stmctures, networks, and
        systems, therein, thereof, and therefrom, and all property, and value therein, thereof, and therefrom, w i t h
        complete ownership and title, to be duly secured and perfected, to Original, inclusive o f Original being in
        Factualized Trtists, The Perpetuity, restated, and specifically and particularly, U C C record number,
        2012114586, restated and incoiporated by reieirence as i f set forth i n f u l l , never rebutted;
    D. Due Notice o f Foreclosm'e, and T m e B i l l , inclusive o f all stmctures, networks, and systems, inclusive o f
        B A N K F O R I N T E R N A T I O N A L S E T T L E M E N T S , and F E D E R A L RESERVE B A N K , therein, thereof,
        and therefrom, and all property, and value therein, thereof, and therefrom, w i t h complete ownership
        and titie, duly made, secured, noticed, and perfected, The Peipetuity, restated, and specifically and
       particularly, UCC record number, 2012114776, restated and incorporated by reference as i f set forth i n f u l l ,
       never rebutted;
IV. Original's former custodian and facilitator, the Universal Trust, inclusive o f all its universal, global, and local
    branches, controllers, and overseers, was duly terminated, closed, and noticed, w i t h all Original, inclusive o f
    Original being in Factualized Trasts, as sole administrator and executor, having sole authority, ownership,
    rights, and title to all manifestations i n existence, known and not known, inclusive o f all currency, value,
    property, states o f body, and facilitating structures, networks, and systems, The Perpetuity, restated, and
    specifically and particularly:
    A. November 28, 2012, all former prejudice to and o f Original, inclusive o f Original i n Factualized Tmsts,



Original Depository: Heather Ann      Tucci-Jarraf         Governed by; Original


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         duly declared, arrested, canceled, foreclosed, billed and invoiced, and noticed, tbr due cause. The
        Perpetuity, restated, and specifically and particularly, D E C L A R A T I O N OF FACTS, restated; and
    B. December 10, 2012, A F F I D A V I T OF F U L L PERFORMANCE, D E C L A R A T I O N OF CERTIFICATE OF
        SATISFACTION, A N D D E C L A R A T I O N OF ORDER, duly made, issued, and noticed. The Perpetuity,
        restated, and specifically and particularly, UCC record number 2012132883, restated and incorporated by
        reference as i f set forth in full, never rebutted; and,
    C. March 18, 2013, Universal Tinst, duly terminated, closed, and noticed, for due cause. The Perpetuity,
        restated, and specifically and particularly, U C C record number 2013032035, restated and incorporated by
        reference as i f set forth i n f u l l , never rebutted; and,
 V, Articles L I V, restated here i n entu-ety, and Original, instantly and completely duly reconciled, balanced, and
    settled, by Original "Original Clearing and Settlement", i n peipetuity, w i t h fiill due discretion, determination,
    responsibility, accountability, and liability o f Original, witiiout prejudice, nunc pro tunc praeterea preterea;
    A. "Original Clearing and Settlement" duly meaning "due assessment, adjustment, balance, and transition o f
       particular essences and signatures to Original, in peipetuity, for ftirther due Original Issue by Original";
       and,
    B. "Transition" being, inclusive o f termination o f Original Depositories and Issues, inclusive o f "being non-
       Original, and without full responsibility, accountability, and liability", form, and device, that controls
       and directs Original Currency and Value, inclusive o f magnetic, frequential, vibrational, and energetic
       creation, expression, and benefits o f experience therefrom, for further due Original Issue by Original, i n
       perpetuity; duly done by,
    C. Original's due coordinated cooperation o f Original Cuirency and Value, Limitiess Value, Depositories,
       Deposits, and Issues, inclusive oft
        1. Original Depositories "being non-Original, and without full responsibility, accountability, and liability";
          and,
            2. Form, and device, that controls and directs Original Currency and Value, inclusive o f magnetic,
               frequential, vibrational, and energetic creation, expression, and benefits o f experience therefrom, i n
               perpetuity; and,
       D. D u l y noticed by Original, "Original Notices", in peipetuity, inclusive ofi
            1, Due utilization o f Original Limitless Value by Original, inclusive o f through Original Depositories, w i t h
               full responsibility, accountability, liability, and the sole due discretion and determination o f Original, in
               perpetuity; and,
           2, Original Depository to Original Depository, "0D20D", without prejudice, nunc pro tunc praetera
              preterea, "Original Transfers", i n perpetuity; inclusive of,
           3, 0 D 2 0 D , duly done and noticed by Original Depositories, in complete awareness, transparency, and
              context o f being Original and doing as Original, without prejudice, praeterea preterea, "Original
              Network", i n peipetuity; and,
V I . This O R I G I N A L D U E D E C L A R A T I O N OF ISSUE B Y O R I G I N A L DEPOSITORY, together w i t h all record
         numbers identified herein, restated, constitutes lawful origin, title, and underwriting, o f sole ownership,
         rights, and interests o f Original, inclusive o f Original being in Factualized Trusts, "Titie", "Underwriting"
         "Origin o f Funds", and "Histoiy o f Funds"; and,
V I I . B y and w i t h the due power o f all I A M , without prejudice, nunc pro tunc, praeterea preterea, in peipetuity,
        this O R I G I N A L D U E D E C L A R A T I O N OF ISSUE B Y O R I G I N A L DEPOSITORY, is duly made, issued,
        confirmed, verified, secured, reconfirmed, ratified and noticed, and i t is tme, accurate, and complete, for all
       to rely upon.




Original Depository: Heather Ann Tnccl-Jarraf          Governed by: Original


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                                       A N N E X         3



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    TITLE                               DESCRIPTION                              PAGES



   Annex 3     The Perpetuity, U C C record number 2000043135, w i t h receipt   1-12
                 number 36090, inclusive o f record numbers 2011055259,
                               2011055260 and 2011125781




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      Owner o f Record; C h a r l e s C ( i n i t i a l o n l y ) M i l l e r
                                   c/o 4425 West 2 6 t h Aventie
                                          Denver, C o l o r a d o [802121
      E n t r y o f t h e O e l j t o r i n atsd on t h e G o B m c r e i a l R e g l a t r y C R e c o r d ) , i n c J a s l T C o f
      ( c L t t l l s f 8<>^s)?r^™^** t r a a s m i t t i n g u t i l i t y , aoci                  otter propertyl les]
          C e r t i f i c a t e o f B i r t h : C h a r l e s C. M i l l e r , Born - S t a t e o f Wyoming I
                                                Hot S p r i n g s C o u n t y , November 26, 1949
                                                ( B i r t h Doc. No. F i l e 1949/Reg. Wo. 6343-A)i
                                                                                                                    t i n n e d a t P a m 21
              u


                                                                                          LtX.
      SECTOKD PAHTft C h a r l e s C.

Case 3:17-cr-00082-TAV-DCP Document 25 Filed 08/18/17 Page 23 of 309 PageID #: 680
        Case 1:17-mj-00531-DAR Document 2-1 Filed 08/02/17 Page 14 of 156




           I     [continued - Page 2] UCC-1 Debtor: CHARLES C. MILLER
                                                    amiES C. MILLER d/b/a CHARLES C. MILLER
           ^                                Secured Party: Charles C ( i n i t i a l only) M i l l e r


           4     I Employer I d e n t i f i c a t i o n Number: 516-580475i

           5     1 Treasury Direct Deposit Account Number: XXX-XX-XXXX|

           6     I Notice Posted Account Niuiiber: 2 277 480 4731

           7     I UNITED STATES MARSHALS Number; 61721065|

           8     I Res/Identifiec/Idem Sonan: CHARLES C. MILLED j

           9     I ALL i d e n t i f i e r s , abbreviations, Idan sonans(not described ante), or other|
                  forms legal and conwtercial, debt or equity s e c u r l t y ( i e s ) i n any fonn, |
          10      c r e d i t or debit accounts and balances, b e n e f i c i a l lnterests(divided o r j
                  undivided), o r any other res bearing the res i d e n t i f t e r ( o r any equivalent I
          11      thereof: CHARLES C. MILLER |                                                            '

          12     I ALL debentures, accounts, pledges, convenants, contracts, signatures,!
                   hypothecations or other p r o p e r t y ( i e s ) ( i n c l u s i v e o f a l l chattels) declared!
          13       seized, M I C IW)OTICI
          14     I ALL claims registered, unregistered, l e g a l , equitable, p o l i t i c a l , !
                   coijmerclal, s t a t u t o r y , adjiiinistratlve, e c c l e s i a s t i c a l , personal, p r i v a t e , |
          15       public, q u a s l - p i b l l c , o r any other form o f any other forum state are
                   hereby and herewith lOOTffiOBDfUCC §3-601], HOC TO BUG, WM CMBB
          16       luce 3-501] o f bad f a i t h absent proof e x h i b i t i n g Indorsement by thel
                   Debtor s t i p u l a t i n g s p e c i f i c plenary knowledge o f consent to ALL material!
          17       facts related t o claims. I n p a r t i c u l a r Issues governed by Admiralty/Maritime
                   jurisprudence and j u r i s d l c t i o n ( s ) causing penalty, f i n e , or f o r f e i t u r e
          18       o f any kind or nature claimed against the Debtor|

          If     I Holder-In-Due-Course Secured Party clalitis plenary tinj.mpaired use of Debtor!
                   the a r t i f i c i a l person, CHARLES C. MILLral
          20                                                        '

          21    ALL p r o p e r t y ( i e s ) ( i n c l u s i v e o f a l l c h a t t e l s ) are accepted f o r value as evldenc
                of debt exempt from levy pursuant t o the notoriously published
          22    House o f Representatives[USA] Joint Resolution[HJR] 192, March 6, 1933 and I
                ALL appointed powers(disclosed & undisclosed) REUASiB and SEIZED, and
          23    ANY/ALL attachments i n the nature o f or fonn o f Uniform Commercial CodefUCC]
                §10-104, and Che Order[s] therefrom are SBLEASEO to Debtor including but not
          24    l i m t e d to Record Owner['3] 'Name & T i t l e ' . Record Owner i s not guarantor!
                f o r or t o any other account, by e x p l i c i t resei-vation, hereby HoIder~In~Oue~I
          25    Course[Record Owner] Notice To Trustee/Fiduciary plenary standing t o l
                Trust Grantor by Posted Notice Account Number: Z 277 480 473.***
          26
          27    /    /




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           1     lamtimwd        ~ Page       | U X - l Debtor:           CHARLES C. MILLER (an a r t i f i c i a l per
           2                                               Seoared P a r t j : C h a r l e s     C (initial          only) M i l l e
                                                           Other I.B.:
          3



           5    [11 Secured P a r t y l .     GtMirto C. M i l l e r             , declares and notices
                    acceptance o f the Uniform Commercial CodefUCC] commercial r e g i s t r y as
          6          'Public tew' as published reserving herein and herewith ALL r i g h t s
                    embodied therein and emanating therefrom, with s p e c i f i c i t y pursuant to
          7         the D i s t r i c t o f Columbia Code, Public Law 88-243, T i t l e 28:§1-103,
                    §1-105, and §1-207, or apposite venue Republic Union State or municipal
          8         corporate 'STATE OF . .            r e g l s f r y juxtapositloned reference o f the
                    adopted Uniform Commercial Code[UCC) i n that venue and jurisprudence
          3         thereof;
         10     { 2 j Secured Farty,                OMrlca C. MJJler                     , acting I n sood f a i t h and
                      unimpaired plenary capacity as Grantor and Beneficiary o f the Original
         11           J u r i s d i c t i o n , accepts tender o f t h i s coninercial r e g i s t r y , known as the
                      Unlfomj Commercial Code[UCC], Public Law[s] 88-243 and 88-244, as pledge
         12           by the 'UNITED STATES C^VERNMEOT' and/or the sovereign Republic Union
                      State, and/or Che municipal corporate 'STATE OF . . ,', as apposite, f o r
         13           the i n t e r n a t i o n a l Law o f Merchant 'transfer' of said r e g i s t r y , et seq, '
                      presumptively being confirmatory c o n s t i t u t i o n and cognizable condition
         14           precedent o f due process o f law by notice o f facts, conspicuous notice,
                      c o n t r o l l i n g ALL commercial, l e g a l , and p o l i t i c a l engagements of consequence;


         16    [31 Commercial r e g i s t r y i s accepted f o r common, generic, general application
                   and use p r s t i a n t to coveimnted, contracted rules, codes, and provisions
         17        therewith e f f e c t m t l n g c o n t r o l l i n g parameters and conditions precedent which
                   define and impinge upon the l e g a l association between noticed, consensual
         18        proper p a r t i e s ;

         19    [41 Secured P a r t y t i e a ] functions and adml.aisters wrlthin presumptions that
         •yn           ,nJ^   CoTigresa, Assembled, i n and f o r The United States o f America
         20        as 'Public Law', de f a c t o or de j u r e , are, i n f a c t , 'Public Law' f o r
                   •private use' by and through a l a w f u l purchase money agreement as'perfected
         21        purstiant to and w i t h i n duly published c o d i f i e d law, r e g u l a t l o n [ 9 ] , and
                   apposite p o l i c y n o t o r i o u s l y published f o r public knowledge, legal e f f e c t ,
         62        and general a p p l i c a t i o n ;
         23    [5] Principles o f the governing conditions precedent I r r e f r a g a b l y i n and by
                   -international law, the Law o f Nations, the l^w o f Merchant, national and
         Z4        State c o n s t i t u t i o n s , substantiate and v a l i d a t e the p r i v a t e contract between
         9H        ^iTZI^'^'Jl               t r a n s a c t i n g p l e n a r i l y i n untopaired c a p a c l t y [ i e s ] . or i n the
         25        a l t e r n a t i v e , i n the presence o f f u l l y disclosed material f a c t s Inclusive
                   of any impaiCTi6nt(3) whatsoever, duly noted, accepted, and effectuated pur-
         26        miant to law as apposite and applicable, i n f a c t , c o n s t i t u t e s the most
                   fundamental h i s t o r i c a l law, and f u r t h e r , contemporaneously i s supercedas
         27        o f other law forms unless i r r e f r a g a b l y defeated, counteracted[txmtliraed]
         28
                                                                                                                                         i



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        Case 1:17-mj-00531-DAR Document 2-1 Filed 08/02/17 Page 16 of 156




              1    [cxmtiaufid -                  1 DCC-l Debtor: CHARLES C.                   MrLLER(an a r t i f i c i a l         per'
              2                                                Secured Party:          Charles        C(inittal         only) M i l l e
                                                               Other I.O.:
              3

                   [5|(continued) or otherwise with s p e c i f i c i t y superceded by consensual private
                       law or lawful agreement being substantively conspicuous and duly noticed.
                       Said jurisprudence, coninercial law et seq, i s acknowledged and effectuated
                       by and through Republic Union Stace[8], sovereigns, and/or municipal
                       corporate 'STATEls OF . . .', and/or the D i s t r i c t o f Colubla Code as the
                       'Uniform Conmerclal Code(UCCj', same having been formulated and ensconced
                       by the American Law I n s t i t u t e , The National Conference On Uniform Laws
                       and daly enacted and incorporated w i t h i n the municipal corporate law of the
                       Republic Union S t a t e [ s ] , and/or the municipal corporate 'STATE OF . .
                       and/or the D i s t r i c t of Columbia as evidenced by Public Law 88-243 and
                       88-244, December 30, l<)63(tmless previously adopted), found w i t h i n said
                      c o d i f i c a t i o n a t D i s t r i c t of Columbia Code T i t J e 28, et seq;
          10

          11       f6.I Tl-iereby, the U n i f o m Coirmercial Code [UCC] i s accepted as tendered f o r
                        private use o f 'Public tow' giving foundation, substance, force and e f f e c t
          12            to lawful plenary^ enforcement of Coimion Law, Equity, and Admiralty/Maritime
                        j u s t i c i a b l e j a r i d l c l a l j u r i s d i c t i o n , venue f i a t s and d i r e c t i v e s , each
          13            i n d i v i d u a l l y and c o l l e c t i v e l y n o t o r i o u s l y published, duly accepted, e f f i -
                        cacious i n rncernational T^w by the C o n s t i t u t i o n f i n and] f o r the United
          14            States o f America. Purchased use o f conmerclal registry!the UCC) i s herein
                        s t i p u l a t e d to be I n nature and form o f action-in-rem, suimary process
         15             standing unimpeached or impaired absent debtor or proper party possessing
                        and presenting claims against debtor properly r e g i s t e r i n g counterclaim
         16             t o discharge as entered herewith;

         17       [71 Secured Party reserves r i g h t to amend, enhance, delete, or otherwise
                      supercede the provisions, covenants(Implied, constractive or a c t u a l ) , and
         18           construed conditions precedent p r o f f e r e d and incorporated herein and herewitl
                      Set d e f i n i t i o n o f cems subjected to question or misapplication w i l l be
         19           determined by Grantor status party;

         20       |8l Any o b j e c t i o n , r e b u t t a l , or counterclaim t o t h i s registered docimant or
                      any portion thereof must be tendered to the Secured Party w i t h i n twenty(20)
         21           days. I f no such o b j e c t i o n , r e b u t t a l , or counterclaim i s timely tendered,
                      i t i s presumptive that the tnfotrratlon, claims, statement of c h a t t e l ( s ) ,
         22           provisions, covenants(implied, constructive or a c t u a l ) , and construed condi-
                      tions precedent are accepted, and any o b j e c t i o n , r e j e c t i o n , r e b u t t a l , or
         23           counterclato i a waived, without recourse, absent compelling codific.ation(s)
                      to the contrary.
         24

         25

         26       1/ 'Secured Party' ~ See: D i s t r i c t of Coltmbla Code, T i t l e 28:§l-201(37)(a),
                                       §5-116(2), and §9-105.
         27




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                                                Receipts 56090

                                             HENRY M. TERRELL
                                            RECORDER OF DEEDS
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        c o l l a t e r a l . A l l p r o p e r t y ( i e s ) ( i n c l u s i v e of a l l c h a t t e l s ) duly accepted
        f o r value as evidence o f debt; i d e n t i f i e d May 4, 2000, 09:12:07am, f i l e no
        2000043135 assigned fox f u l l use, r i g h t , t i t l e , i n t e r e s t t o the .Public Trust
        Perpetuity, 1781, The United States of America, constructed beginning 04
        July 1776 as declared by The One People v i a NOTICE BEFORE ALL THE WORLD, the
        unanimous Declaration o f t h i r t e e n united States of ftinerica, never
        protested, i n c l u s i v e and i n p a r t i c u l a r Public Law^s) 88-243, 88-244, pages
        [3] [ 4 ] , p a r a g r a p h s l l j t h r u { 8 } ] ; perfected contract f i l e no: 2011051842,
        nunc pro tunc November 26, 1945; Secured Party as a Grantor, B a i l o r ,




             MILLER                                                         CHARLES


        FILING OPHCE COf V — NATIONAL UCC =-|NANCIMG SIATEME.NT AUSNDMENT (FORM UCC3) (RP/ 07'28/9a)


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          Additional c o l l a t e r a l i n f o

          Beneficiary t o , f o r , a l l p o l i t i c a l powers adjiiinistered by l e g i t i m a t e
          governments constructed by The One People i n c l u s i v e o f aervicea and goods
          providers i n the nature o f government of any nature, Icind, or construction;

          Assignment conditions: (1) Assignee under acting Trustees known to Assignor

          M i l l develop and intplement protocol.g and prooedure.-3 f o r settlement of a l l
          disputes and settlements r e l a t e d to documents, c o l l a t e r a l ( a ) , assets,
          values
          or properties registered under OCC w i t h p o s i t i o n reserved t o Assignor as
          f i n a l a r b i t e r t o a l l dispute resolutions or settlements; ^2) use of
          assignmant understood and agreed t o be f o r tha u l t i m a t e b e n e f i t of the
          Creditors, B a i l o r s , Grantors, B e n e f i c i a r i e s , The One People, t o , f o r , o f
          o r i g i n a l j u r i s d i c t i o n s constructed p o l i t i c a l bodies beginning 04 July 1776

          under tha unanimous Daolaration o f the t h i r t e e n united Statea of America,
          subsequent s t a t e c o n s t i t u t i o n s , 17S1 A r t i c l e s of Confederation, i t s
          p e r p e t u i t y The Onited States o f America and administrative forum thereto,
          the C o n s t i t u t i o n of tlie Onited States of America 1791 as a l t e r e d 1861 t o
          executiva branch t r u s t ; (3) Any and a l l assets held under y.CC.
          r e g i s t r a t i o n , absent reservation s p e c i f i c , s h a l l be considered asset f o r
          Treasury of The Public Trust subject t o current Trusteas thereto, i n
          administration, pending operating governmental structures serving the
          o r i g i n a l organic law of Tho One People being re-oatablishsd and operations

          with I n t e g r i t y , R e s p o n s i b i l i t y , and Transparency, i n open public foitims.
          Assignor Charles C: M i l l e r , natural man, i s corrected above due t o
          automated
          f i l i n g systems a l t e r i n g o r i g i n a l capacity«ies) and standing(s), correction

          The United States o f America 1781 construction, o r i g i n a l national state


          Debtor names added f o r indexing

          CHARLES C MILLER ( AN ARTIFICIAL PERSON S IJCG.AL FICTION)




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        '. ^..r,.,^.UU      l>;'.'.i.J         • •

         C o l l a t e r a l . I n t e l l e c t u a l Property secured May 7, 2011, f i l e no. Doc
         #2011051841, evidence o f debt assigned f o r f u l l use, r i g h t , t i t l e , i n t e r e s t
         to the Public Trust Perpetuity, 1781, The United States o f America,
         constructed beginning 04 July 1776 aa declared by Tha One people v i a NOTICE
         BEFORE ALL THE WORLD, the unanimous Declaration of t h i r t e e n united States
         of America, never protested, inolxisive and i n p a r t i c u l a r Public Law(s>
         88-243, 88-244, pages [3J [ 4 ] , paragraphs[IJ thru { 8 ) ] ; perfected contract
         f i l e no: 2011051842, nunc pro tunc November 26, 1949; Secured Party as a
         Grantor, B a i l o r , Beneficiary t o , f o r , a l l p o l i t i c a l powers administered by

          pVbBS<MiMrimH7Bi/E ' ' —                    '       ———'—'                 —_——______—,—_                      .
        OR
          yo. IMUIVIUUAL S LAST KAMI:                                f i«sr wis            ~ — —MlOIXtNAWE               SUFFB
           MILLER                                                    CHARU,S                     C:
          'oTlOMALRLERREFeReNCEDArA "            —        '

        FlUNO OmcE COPY — NATIONAL UCC FINANCING STATEME.MT AMENDMENT (FORM UCC3) (REV 07'28ra8)

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            Additional c o l l a t e r a l info

            l e g i t i m a t e governments constructed by The One People i n c l u s i v e o f services

            and goods providers i n the nature o f govemment o f any nature, kind, or
            construction; Assignment conditions: (1) Assignee under acting Trustees

            settlement o f a l l dispute.? and settlements r e l a t e d to documents
            c o l l a t e r a l (s) , assets, values or properties registered under XJCC with
            p o s i t i o n reserved t o Assignor as f i n a l a r b i t e r t o a l l dispute resolutions

            settlements; {2) use o f assignment understood and agreed t o be f o r the
            u l t i m a t e b e n e f i t of the Creditors, B a i l o r s , Grantors, B e n e f i c i a r i e s , The
            One
            People, t o , f o r , of o r i g i n a l -jurisdictions constructed p o l i t i c a l bodies
            beginning 04 July 1776 under the unanimous Declaration o f the t h i r t e e n
            united States o f America, subsequent state c o n s t i t u t i o n s , 1781 Article.-!! o f

            Confederation, i t s perpatuxty The United States o f America and
            administrative forvun thereto, the C o n s t i t u t i o n o f the United States of
            America 1791 as a l t e r e d 1861 t o executive branch t r u s t ; '(3) Any and a l l
            assets held under O.C.C. r e g i s t r a t i o n , absent reservation s p e c i f i c , shall

            considered asset f o r Treasury of The .Public Trust subject t o current
            Trustees thereto, i n administration, pending operating governmental
            structures serving the o r i g i n a l organic law o f The one People being

            Transparency, i n open p u b l i c forums. Assignor Charla.9 C: M i l l e r , natural
            man, i s corrected above due t o automated f i l i n g systems a l t e r i n g o r i g i n a l
            capacity(i«s) and standing(s), c o r r e c t i o n assignee The United States of
            America 1781, the o r i g i n a l States i n national union.

            Debtor names added f o r indexing

            UNITED STATES FEDERAL CORPORATION



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         unknown                  DeBTOR     1 TrUBt                  i Public/People•3                          unknown
        S. AM8NDMENT (COLLATERAl CHANGS); BI« only am Dia                                                                                       J i
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         Secured Party, Charles C; M i l l e r , under financing statement, Receipt #
         36090, Doe # 2000043135, May 4, 2000, assigns f u l l r.ight, t i t l e , and
         i n t e r e s t to Commercial Hegistry, Dniform Coimiercial Code, PL 88-243, 77 stat
         630 to th<3 One Peoples Public Trust 1776 f o r f u l l ownership by the One
         People, Benefioiarias to the Original P o l i t i c a l States constructed to serve
          the One People, the grantors, b a i l o r s of a l l governmental powers operating
         on the s o i l of Tha Onited States of America, perpetual Onion of States
         under Confederation 1781, with additional equal f o o t i n g states r a t i f i e d
         under 1 stat SI the Northwest Ordinance, 1787, whereby the One People i n
                        °" "^"^                              '"••'•^M Sy a 0.0.0,. onM. non. f] "«i "m, .1D68TOR „o«.c^»o mi. Am,»,rfn.ni
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               Additional c o l l a t e r a l i n f o

               general and Charlea C: M i l l e r i n p a r t i c u l a r , are the Creditors to and f o r
               any and a l l governTOental powers , o r i g i n a l or derivative, Secured Pa,rty
               reserving supervisory and sattlement o f f i c e r p o s i t i o n administration f o r
               good f a r t h and clean hands operation of public property as raquired of
               Trustee t o and f o r the One Peoples Public Truot 1776.

               Debtor names added f o r indexing

               CHARLES C. MILUSR (M3 ARTIFICIM, PERSON & 1,EGA1 FICTION]




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                                    A N N E X         4



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 UCC FINANCING STATEMENT A M E N D M E N T
                                                                                                       RECORDER OF DEEDS
 FOaoW INSTRUCTIONS (front and back) CAREFULLY
 I A. NAME 4 PHONE OF CONTACT AT FILER [optional!                                                      Doc Type: EFINANCING
    The One P e o p l e s P u b l i o T 253-509-4597                                                       PROCESSING                                                       5.00
  B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                           E-RECORD                                                         25.00
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   The One P e o p l e s P u b l i c T r u s t 1776


   G i g H a r b o r , VIA 98335

                                                                                                 THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
  ll. INITIAL FINANCING STATEMENT FILE #
                                                                                                                     1b. This FINANCING STATEMENT AMENDMENT Is
    2000043135 - 05-04-2000                                                                                              to b« UiM [for n»cort| (of recorded) In lt»
                                                                                                                          REAL ESTATE RgnORDS.
                     I: E(f«Bv.n«. Of Ih. Finangng Si>^>n ident^ed abov is t«m,na.«a respect to si«.nty irl««l(.).of the siJur^ Party auTZT
                                                                                                                     0
  . LJ CONTINUATION: Effectiveness of Ihe Financing Statement Icentifiea above with respect lo secuntv interasim m ih. g^w.,.,!. a ^ ... ^ , ^.                                     '
   '-' continued foe the additionai period provided by appHcabie law.                             ' interesl(s) of Ihe Secured Party aulhorijing this Continuation Slatemem ia
 4.1 J ASSIGNMENT (fuH of paniai): Give nam, of assignee in item 7a or 7b and acdress of assignee in item 7K and also give name of assignor in Hem 9
 5. AMENDMENT (PARTY INFORMATION): This Amendment affects |Joeb.or « [ J Secured Party of record, Check only ^ of these two boxes
   Also checkfiasof the following three boxes anil provide appropnate infomialion m items 6 and,'or 7,
   ~1 CHANGE name and/or address: Qlve current record name in item Sa or 6t): also awe     DELnEeT
                                                                                                 wE name: Give record name
     J name (if name change) in Item 7a or 7b and/or new addmss nf adc-ess charqei inlo.lb          c, in item 6a or Bh. J1 item
                                                                                              eme 7deleted                  ADD name: Complete Item 7a or 7b, and a
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 6. !CU RR ENT   RECO RD   I
     6a, ORGANIZATION'S NAME NF ORM ATI ON:

 OR
                                                                                                                      MIDDLE NAME
                                                                           I                                                                             SUFFIX
    CHANGED (NEW) OR ADDED INFORMATION:
     7«. ORGANIZATION'S NAME

      7b. INDIVIDUAL'S UST NAME                                        "       jFiRSTNAME                        — —
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 Commercial R e g i s t r y ( R e c o r d ) , i n c l u s i v e o f a n y c a p a c i t y as c o n s t r u e d
 t r a n $ m i t t i n g t i l i t y , and ALL o t h e r p r o p e r t y [ t i e s ] ( i n c l u s i v e o f c h a t t e l s
 g o o d s ) : UNITED STATES a n d 'STATE OF . . .- o f t h e s e v e r a l s t a t e s o f t h e
 Unxon, i n c l u s i v e o f U n i t e d S t a t e s Government a n d ' S t a t e o f . . .'
 G o v e r n m e n t ( s ) , i n a l l i t s f o r m s , d e f i n i t i o n as s t a t e d i n WA UCC F i l e No
 2012-125-1787-8, May 4, 2012, 11:51:00 AM, o r i g i n a l w r i t t e n i n s t r u m e n t o f
 r e s t a t e m e n t and r a t i f i c a t i o n o f OWNER OF RECORD, i n d e f e a s i b l e t i t l e a n d
 o w n e r s h i p o f Secured P a r t y , The U n i t e d S t a t e s o f A m e r i c a , The One P e o p l e ' s
9, NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT (njior,                      ameof•<asthis
                                                                                                     slgnisu an Assignment). If this is an Amendmeit authorized by a Debtof which
  .ddscol..er.loradds^eauthon.ng Debtor, or if »,is is a Ten.lna.or aumar=ed by a Debtor, che* here Q a^d en.trname of DEBTOR aulh^zing Ws Am.ndn,nl
    )a. O R G A N I Z A T I O N ' S N A M T "

     THE UNITED STATES OF AMERICA, A PUBLIC TRUST
   [9b. I N D I V I D U A L S L A S T N A M E




  Case 3:17-cr-00082-TAV-DCP Document 25 Filed 08/18/17 Page 36 of 309 PageID #: 693
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        ORGANIZATION'S NAME                                                          ESURCHARGE                                          6.50
     THE UNITED STATES OF AMERICA. A PUBLIC TRUST
OR
    12b. INDIVIDUAL'S LAST NAME    FIR1"-"
                                      ST NAME      1—          ,DLE NA
                                                             MID     -^"^-^
                                                                      ME,SIJFFjja

13. Use this spac9 for additional Information



                                                                                         THE ABOVE SPACE IS FOR FlUNG OFFICE USE OM.Y

    Additional collateral                       info


    P u b l i c T r u s t 1776, a p u b l i c t r u s t        (thePublic Trust), f o r i t s Beneficiaries

    s e r v i n g t h e - - P e o p l e " ; A l l r e f e r e n c e d Documents, F i l i n g s , F i l e s and
    I n s t r u m e n t s i d e n t i f i e d above, t h e r e i n , a n d t h e r e t o , r e s ? a ; e d a n d
    i n c o r p o r a t e d i n t h e i r e n t i r e t y h e r e i n as i f s e t f o r t h i n f u l l , d u l y s e c u r e d

   and r e c o r d e d b y amendment o f p e r p e t u i t y f i l i n g UCC Doc. # 2000043135 Mav
   4, 2000, R e c e i p t #36090, h e l d i n t h e P u b l i c T r u s t , f u r t h e r p u b U s i f d ' o n
   w w w . p e o p l e s t r u s t l 7 7 6 . o r g , c o n s t i t u t i n g OPEN AND NOTORIOUS NOTICE FOR 2L

   WORLD TO RELY UPON.


   The U n i t e d S t a t e s o f A m e r i c a , The P u b l i c T r u s t 1776, a p u b l i c              trust

   a
   c alp Z
         a cli tt y [rtJi' e' s^ ]' a n d s t a n d i n'^"^
                                                        g [ s ]'°
                                                                . ^"'^'"^^^^ - ^ - ^ ^ ^ ^ i l i ^ ^   a l t e r i n g^ '



  D e b t o r names added f o r i n d e x i n g

  CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
  CHARLES C MILLER [AN ARTIFICIAL PERSON & LEGAL FICTION!
  CHARLES C. MILLER D / B / A CHARLES C. MILLER
  UNITED STATES
   'STATE OF . . .- OF THE SEVERAL STATES OF THE UNION




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                                    A N N E X         5



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   Annex 5                 U C C record number 2012012675                   1.2




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                                                                                             , IDA WILLIAMS
  UCC FINANCING STATEMENT                                                                     RECORDER OF DEEDS
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        H e a t h e r Ann T u c c i - J a r r a f              (253) 509-4597


        G i g H a r b o r , WA 98335




                                                                                                                                     COUNTRY
                                                                                                                                      UNITED STATES




 3. SECURED PARTY'S NAME (or N A M E of T O T A I AssinMrr .co,...„ J,,,
    3a. O R G A N I Z A T I O N ' S N A M E ~ - — —      '^<'<'>^r,vn ain insarl only ana secured party name (3a or 3b)
          THE UNITED STATES OF AMERICA [PUBLIC TR;UST, 1 7 7 6 ]


30, MAILING ADDRESS
general delivery                                                                                                                  iCOUNTRY
4. This FINANCING STATEMENT covers Ihe following collateral;                                                                       UNITED STATES
P r i v a t e ownership o f f u l l r i g h t , t i t l e , i n t e r e s t and ownership, t o
Coimnercxal R e g i s t r y , U n i f o r m Commercial Code, PL 88-243, 77 s t a t 630, d u l y

4^2^00 L l                        ^ - / K ' ' " " '                           *                     * 2000043135, MaJ
4, 2000, d u l y e x e c u t e d b y o r i g i n a l i n s t r u m e n t w i t h o r i g i n a l s i g n a t u r e and
s e a l o f G r a n t o r , C h a r l e s C: M i l l e r , g i f t e d t o t h e One L p l e , G r a n t e e , a n d
loTl        1%^"" — g n m e n t u n d e r Doc # 20111125781 b y G r a n t o r , on Decembe; 2 0 ,
                t T         .                    °^ o r i g i n a l i n s t r u m e n t o f g i f t t o G r a n t e e , d u l y
a c c e p t e d b y G r a n t e e , s p e c i f i c a l l y H e a t h e r Ann T u c c i - J a r r a f , a n a t u r a l
ZTILTJ'                                                                                     °"           ^ t a t e o f Washington,
l i f t I^eL J f c u / n ' r ^ ' i ' T " ^ " "                                                      instrumen? o f
I      \ ^ n t    !                '^''^^              irustee     o f t h e One P e o p l e ' s P u b l i c
I r V l g t 177^ The U n i t e d S t a t e s o f A m e r i n . ^ f^om d a t e o f t r a r . . . f . v n ^ . ^ ^ K . ^

8. OPTIONAL FILER REFERENCE DATA
  BONDED CUSTODIAN TRUSTEE HATJ

                       - NATIONAL UCC FINANCING STATEMENT (FORM UCC1) (REV, 07/29/98)


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     [9a. ORGANIZATION'S NAME                                                       PROCESSING                                                           5.00
                                                                                   E-RECORD                                                             25.00
  OR
     |9b. INOMOUAL'S LAST NAME      [FIRSTNAME                                     ESURCHARGE                                                            6.50
                                                             MIDDLE NAME.SUFFIX
       MILLKR                        CHARLES                  C (INIT'L
  10. MISCELLANEOUS:




                                                                   16. Additional collateral descnption:
   collateral, or is filed as a H fixture filing.
 U. Description of real estate:                                        20, 2 0 1 1 ; b o n d d u l y s e c u r e d u n d e r Doc.
                                                                       #2012012555.




15. Namo and address of a RECORD OWNER of abow.described real as-j;e
   (if Debtor does not nave a record Interest):


                                                   17, Check aniji if applicable and check aiiij one box.
                                                   Debtor is a f l Trust or f ] Trustee acting with respect to property held in trust orfl Oecedenf s Estate
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                                                       Filed in connection wilh a Manufactured-Home Transaction _ elTactive 30 years
                                                       Filed in connedion with a Public-Finance Transaction - effective 30 years
FILING OFFICE COPY- NATIONAL UCC FINANCING STATEMENT ADDENDUM (FORM UCCIAd) (REV, 07/29/98)


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        r
     The One P e o p l e s P u b l i c T r u s t 1776


     G i g H a r b o r , WA 98335




 4. U ASSIGNMENT (fuH or paniai): Give nam, of a^lgna. in i.em 7a or 7b and aodres. of ,sagne. in il.ni 7a: and also giv. nam. n>.,.,
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        r Zfins
             , ofrlharfollowing
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                                                                                           and'or 7.       CHackonly«^oflb,a.^bo„s
   •n CHANGE name and/or address: Give current record name in item Sa or 6b- also     n»u, r—i nn m




      6b. INDIVIDUAL'S UST NAME                                         I'rlRSTNAME                                MIDDLE NAME                 SUFFIX




OR
         CHARLES C. MILLER [AN ARTIFICIAL PERSON & LEGAL FICTION!




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  |9a. ORGANIZATION'S NAME'
    THE UNITED STATES OF AMERICA, A PUBLIC TRUST




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     G i f t ) ; A c t u a l t r a n s f e r o f O r i g i n a l Instrument o f G i f t t o Grantee, d u l y
     a c c e p t e d b y G r a n t e e i n g e n e r a l and H e a t h e r Ann T u c c i - J a r r a f , i n p a r t i c u l a r ,

     a n a t u r a l p e r s o n . One o f t h e One P e o p l e , d o m i c i l b y c h o i c e                               on t h e s t a t e o f

     W a s h i n g t o n , f r o m d a t e o f i s s u a n c e a n d t r a n s f e r , December 2 0 , 2 0 1 1 ; O r i g i n a l

     i n s t r u m e n t o f G i f t h e l d i n T r u s t o f t h e One P e o p l e - ' s P u b l i c T r u s t , 1776,
     The U n i t e d S t a t e s o f A m e r i c a , a p u b l i c t r u s t , w i t h p h y s i c a l c u s t o d ^ o f s ^ i d

    o r i g i n a l Instrument                     o f G i f t h e l d b y i t s d u l y bonded T r u s t e e s and p u b l i s h e d

    a t w w w . p e o p l e s t r u s t l 7 7 6 . o r g f o r a l l t h e W o r l d t o r e l y u p o n ; UCC f i l i n g n o .

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    h e r e i n w i t h e s t a b l i s h e d c h a i n o f t i t l e a n d o w n e r s h i p now e f f e c t i v e l y
    t r a n s f e r r e d under t h e P e r p e t u i t y F i l i n g ; W i t h T r u t h , I n t e g r i t y
    R e s p o n s i b i l i t y , A c c o u n t a b i l i t y , and T r a n s p a r e n c y ; A l l r i g h t s r e s e r v e d and
    w i t h o u t p r e j u d i c e UCC 1-308, / s / C a l e b P a u l S k i n n e r , / s / H e a t h e r Ann
    T u c c i - J a r r a f , / s / H o l l i s R a n d a l l H i l l n e r , d u l y bonded T r u s t e e s .

    The U n i t e d S t a t e s o f A m e r i c a 1781 c o n s t r u c t i o n , o r i g i n a l n a t i o n a l s t a t e , a

   p u b l i c t r u s t , i s c o r r e c t e d above due t o a u t o m a t e d f i l i n g systems a l t e r i n g
   o r i g i n a l c a p a c i t y ( t i e s ) and s t a n d i n g ( s )                   a Y       axrering




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4. niis PINAMCIMe STATEMEMT            HiatoltowitifltaJlatefal:

secured Starting 1781 and compieled 1791, a perpetuity, said w r i t t e n Instrument INCORPORATED BY
REFERENCE H E R E I N FOR A L L I T I E WORLD T O RELY UPON; Original Secured Ptsrty: Record Owner:
Charles C. Miller; Original Debtor: CHARLES C. M I L L E R (AN A R T I F I C I A L PERSON & L E G A L
FICTION]; CHARLES C. M I L L E R D/I3/A CHARLES C. MilLLER; Original Hokler-In-Due-Q.yrse o r i l t l e
and Ownership of UCC, Grantor: Charles C. Miller; Oiiglrial Notice, UCC Doc No.: #2000043135. May 4,
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Gift by Assignment, UCC Doc's: #2011125781 20 Dec 2011, #201 J05S259/#201 1055200 17 May 20i 1; Gift
Duly Accepted, UCC 3 Amendment Doc. No.: #2012025545, March iZ. 201 g;Grantee: Secured Party:
Record Owner; and, Holder-In-Diie-Course of ^ ^ t i e and Ownership of UCC: Tlie United Slates of America,
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incorporated by reference here as if .se t forth In full, AND^ A N N E X E D HERETO:




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r . l « . Vt'ilf'S, a r a ,-n»v-.i.;iii:» l l x w w f e l v-ftBVUwtifV % •BJltM ^'Hf. :|ii!|.r-i.-|:                             .rt,);!:.«.. j!'r...\irrtr wliwii OiHifii. :mil



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•.iv.»(ic.ii> |i.''.j«r..>.\'.

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h>.f»it.J.K-; JU.-. ,iu::,lgM:,l H-.wta-.--i:vI,;il:i,:|.,f t;|\.e;.Hikcfx .-ijivirf-. in:i..f-, »:--i||.|.u.rr,;. |.;;^..,_ ur l.i«»vecs. n:nm




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 «,n;i,'n!.fR. su1«vv,j c-r<i!c:artKt;vtftjv nvi i " !icii;,r> ^ n i ^ f N ^ v                     n j j i L'-HKIK..., b i,-«rt lnwi'.-. it!ilji.Uitl, ^i.eii.iL i r
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iAiilvit*,';j. i>.'\->tfr. .ir l-,»«iu»r m-t lan|<i;i> *'rlir|?HrJ      ••MIIV.M.I lit,- riitrticj tn'jy.-.iim i.-* rvxc v« seme .v»»,^vdi> ik'Si.%'X-«^!'




*••&»w.tr> ^,mjr,:crcb1 »rK<wntnv, W i k ' j • »ifr.v>.                              t« l:i; t-nifi.•» .."•;:, !H'«:4r,ci.-. %•* "iitH-^v. A ' o t.n»                       i.rn h i ^

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i" lie I ^,n,r-fiij-( .iiiMwiH Ivi-** i;Stf (.iv,i:cd -.M '*.H eremc.-tr ;i-i.l                    |-l*-'«<> ^ tMsi.»|.i>f*r w \ f t Ilw                   i«Hl crRilili:*!-




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:in-.«.i *.'JlV.;:U«.ii-             ijHM .^Ti      ..r.ili sAl-.. sfrtil '^n-,>s.i,-.:i-. M « i l ; ; H » r . ii'r.Misc-;!'*! ir.k-c|i.fi                   jf.i-
ek". mJ'c«; j!i.wis.> j.-dii i'tr.j'!-l,i>   uts t     J *< i:ii-cnir.*.'«iJ:




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vlr.d far..ldl> ..*f«SK Hncri-ife-.ir'M^)i.'.c*t|y,AC. l!..-hk-.'-lr..">l8i.-«V...r.^. . J K ' J V ' P . C . m-H-*-tll -iMr.tr.ii'i;
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v:; y.,liuf,i.L,,' ll-. -..'.t ^Ci;.tli.i.i'C ' i L c e . n J .^m iUrvtK.   liwr^ in'ii-iiiri".i"l4 W-nr-              ..•tv*.-,*: iti ..xh'.Mr.u. t . i ' » k l « w c (.v
l>f A K ; ; ..Hi ciKv, acivlic.:ii»n .cr ;J.i!>. idri;gi,fi,i:-: .r;;? ;tlM,'i-.i,iiiM.-i ..rU.»->. h - . r h i - r c r r l M t ; . ,i| j'l-f^f.vJ 'S'-i-'iMw. ;ic-v«.l
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e-,cir t.ii,,ii:ir> tt:ii:iirK-,:ii i t t J v U i e . f n J Jl^' 't.rtt-cmuv.m -.li-titwii l.ik--v.»l:


115' A . i                   .u-,s,iK.<. iit.i.i-.s, ^ . p h H c t n . a^*^r.b-«.« aiwl licciivv^--. \ . . ' H - 4 M « ,-*.»),^niw^,: ,o«li?m'j)«>.. :,..ni!yij4 it-M
.»-.V-f,it'll ,1>. i'.ll.it:iT.iLrii- •'.'UiM^t ' I V K V U : :iir»\;.; |»;vl ,-f.. p t V ^ p u ^ ^ j i j - t e C t f w (ill »>: It,; .M-ii.ii;Hnii-.l         tnctiii
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 ,:rt!,\-j.-l?.. iwa,-i*r i i * t i \ i ^ t k . i i . ifraii'iflt. kIiv-«kJi.:-»-i,>r;<%-«.*«, -J.f;v-vki:.(i                                       I k - fiiu Ht ibc v«.xn«i*»-l Ihn.*
 ffii!;kiftv:'tl1ti,ri.-s                       . . I ' t h il- iiv eu . 1 » --Ji.ii;.i? *i-.l?krfkT-1«-l|ii.w.(\>Hfi4-, l i x ' r ' w p k ' ' , hy d i K i l l r . i t . ' p i li-,-v-..fMn,„-!i,t-
 ju i««-|T.il IIH '• .nil,;.! St-»i.»\ A.-, cMMncnV dtf H w M i.f df iiirc. c>r in :se VIIUT».;-,I\V. n.v ^^-inriwl n»»i«4:i*ttft,»                                                             mw.
- . h w . t d i :4-.n--,'m3S!;ir,al i-iiiVji-nia^r-ivrL 1 1 . * . « . ; • • • Iii>;«^ i l , r (.;,.iriie:u »•;.. tMi-nli.- a s f c c f t K i s i . 2nd t ' t h w i l • i - f ' - t ^ i n j a i r . . .
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            ii»ar,-i-.r- i-H'tiMi.nl^|r IfVA » n J cihwa >:);^itl.Jt«, w.irranff.. M H J r : i J v ' ( i r i l k .                    i l w mr,nv»p;r          Unp.mm-mMkm% aikl

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,iu-fstih.7»i» sml il-,ew*wt.';:,^iic„. :i:i!.g;-.;.ii-.r. iiml liie^itf- i ^ i l w C i w l i i m i - i . r i i             I 'nifcc' Hl.iik-%of.Amerr^«. '. .'Kj ; » '
i^iwrtk-J.            » v ! l .1^. h* "^H-i- w1*":»<»i.iM l«*>il.ii--rlk-.} iH";«rl(l»i|> r%» u k t i - f i k u i . nwUeiiSEiKi.-. ikV"w>,.nriv. WB.1
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                                   ANNEX 8

                               Case No. l:17inj-531




    TITLE                          DESCRIPTION                          PAGES


   Annex 8                 UCC record number 2012012555                     1 -2




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            Heather Ann                       Tucci-Jarraf                            (253) 509-4597


            G i g Harbor, WA                           98335




 3o. M A I L I N G ADDRESS

                                                                                                                                                                            COUNTRY
 General D e l i v e r
 4. This FINANCING STATEMENT covers Ihe following collateral
                                                                                                                                                                             UNITED STATES

T r u s t e e ' s Bond and Oath w i t h i s s u e number 01012012T8A2C1-001 d u l y
e x e c u t e d by Heather Ann T u c c i - J a r r a f on J a n u a r y 2, 2012, d u l y a c c e p t e d by
The one People's P u b l i c T r u s t 1776, w i t h the terms and c o n d i t i o n s a s s t a t e d
t h e r e i n , and taken i n t o p h y s i c a l custody on January 2, 2012, h e l d by a d u l y
bonded T r u s t e e o f The One People's P u b l i c T r u s t 1776; SECURED PARTY
n ^ n f r ^ ! ' ^ ^""^^ ^'               "^^^         p r o p e r t y and r i g h t s to p r o p e r t y of'sECURED
PARTY t h e r e i n , t h e r e t o , and therefrom, now d u l y a d m i n i s t e r e d by The One
People's P u b l i c T r u s t 1776, through i t s d u l y bonded T r u s t e e ( s ) ; NOTICE OF
DULY BONDED TRUSTEE, d u l y s e r v e d to any and a l l n e c e s s a r y p a r t i e s and to
always be f u r t h e r n o t i c e d and e v i d e n c e d by a True, A c c u r a t e , and Complete
d i g i t a l of o r i g i n a l T r u s t e e ' s Bond and Oath d u l y p o s t e d v i a the world-wide
web, a t thfi o f f T f i i a l w e b s i t e o f The One People's P u b l i c T r u s t 1776
5. ALTERNATIVE DESIGNATION (if a p p l l c a b l e | : U L E S S E E / L E 8 S 0 R   ricONSIGNEE/CONSIGNOR      I   iBAILEE/BAILni,   I Up. i    ,v     R


6. OPTIONAL FILER R E F E R E N C E     DATA'™"^                                       a°°lohl»l   I   •|AnDmnN.,   re.,              " ^ 1 ^ - ^ "   | |AI Peblor. I   ln,K..M   llr^^.,...
   Bonds p o s t e d a t www.peoplestrustl776.org

FILING O F F I C E COPY -           NATIONAL UCC FINANCING STATEMENT (FORM UCC1) (REV. 07/29/98)



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  10. MISCELLANEOUS:




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                                                                                                                                                           STATE      POSTAL C O D E                   COUNTRY


 l i d . TAX I D *   SSNOREIN          ADDL INFO R E H e . TYPE O F ORGANIZATION                    llf.JURISOICTIONOFORGANIZATION                         11g. ORGANIZATIONAL ID #, il any
                                       ORGANIZATION
                                       DEBTOR        I                                             I
                                                                                                                                                                                                                 •INONE
       1 ADDITIONAL SECURED                    PARTY'S         a; •     ASSIGNOR S/P'S                 N A M E - , nsert
                                                                                                                   ,     only ona name (12a or IZb)
      '12a. ORGANIZATION'S NAME                                                                ~


 OR
       12b. INDIVIDUALS U S T NAME                                                                  FIRSTNAME
                                                                                                                                                           MIDDLE NAME                                 SUFFIX


                                                                                                    Cir.'                                                  STATE     POSTAL C O D E                    COUNTRY


13. TWs FINANCING STATEMENT covers Q                     limbar lo o« cut or Q   as-extracwd
                                                                                                    16. Additional collaieral description:
      collateral, or is filed as a n    fixture nilng.
14. Description of real estate:                                                                           www.peoplestrustl776.org, f o r a l l t h e
                                                                                                          World t o r e l y upon.




15. Namo and address of a R E C O R D OWNER of above-described real asate
    (if Debtor does nol have a record interosll:




                                                                                                    7. Check anli if applicable and check aoli one bo«.

                                                                                                   Debtor is a f l Trust or •      Trustee ading with respect lo property held in Injst     o r f l a«c»denf s
                                                                                                                                                                                                                 Estate
                                                                                                   18. Check anij: if applicable and check ada one box.

                                                                                                   D Oebloris a TRANSMITTINGUTILITY

                                                                                                        Filed in connection wilh a Manufaclured-Home Transaclion -     effective 30 years

                                                                                                        Filed in connection wilh a Public-Finance TransacUon - effective 30 years

FlUNG O F F I C E C O P Y - NATIONAL U C C FINANCING S T A T E M E N T ADDENDUM (FORM UCCIAd) ( R E V 07/29/98)




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                                  ANNEX 9

                               Case No. 1:17 mj-531




   TITLE                          DESCRIPTION                           PAGES


  Annex 9                  UCC record number 2012028312                     1- 2




                                                                         Pg. 1 0 / 1



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                                                                                                                                                         Doc# : 2012028312
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                                                                                                                                                         Date: 03/16/2012            5:57PM
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                                                                                                                                                         WASH DC RECORDER OF DEEDS
                                                                                                                                                         IDA WILLIAMS
   UCC FINANCING STATEMENT A M E N D M E N T                                                                                                             RECORDER OF DEEDS
  FOLLOW INSTRUCTIONS (from and back) C A R E F U L L Y
   A. NAME a PHONE OF CONTACT AT FILER lopdonal]                                                                                                         Doc Type: EFINANCING
     The One P e o p l e s P u b l i o T                                           253-509-4597                                                             PROCESSING                                                              5.00
   B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                                            E-RECORD                                                               25.00
                                                                                                                                                            ESURCHARGE
              r                                                                                                                                                                                                                     6.50
     The One Peoples P u b l i c T r u s t 1776


     G i g Harbor, WA 98335




  4 . r j A S S I G N M E N T (full.,, paniai): GIv. n a m , of a s s i g n s i n i i e r n z . o r 7b and a , d r « , of „ « g n . . in i . . ^ ^


  ' rAlso2 T ns a!s ^   , r r ' ? T ' ° ' ' ^ TbisA.andman.aff>«a L l ° ^ - ° - »r [ J W a d
                    of th« following Ihraa boxes ami provide appropriate infonnation m ilens 6 and.'or 7.
                                                                                                                                          Party orraoord. CHack only a o . of I H , . . ^ . b o , . s .


        1 CHANGE name and/or address: Give current record name in item 5a or 6(J' also oive new
        J name (if name ctianoe) in item 7a or 7b and/or new addmss iif B<iC'im^%aS,f^m!lT                                            DELETE name: GIva record name
                                                                                                                                                                                    1 ADD name: Complete Item 7a or 76, and also
                                                                                                                                      to be deleted in item Sa nr Bh
                                                                                                                                                                                    J ilem 7c: also complete items 7ri.7n m » •




       7a. ORGANIZATION'S NAME

              CHARLES C• MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
 OR|7b. INDIVIDUAL'S U S T             NAME
                                                                                                                irlRST NAME
                                                                                                                                                                              MIDDLE NAME                           SUFFIX


 7o. MAILING ADDRESS
                                                                                                                                                                               STATE       POSTAL C O D E           couN'mv


                                         ADD'L INFO R E j 7e. T Y P E OF ORGANIZATION
                                                                                                               ; 7f, JURISDICTION OF ORGANIZATION
                                         ORGANIZATION                                                                                                                         7g. ORGANIZATIONAL ID #, if any
                                         DEBTOR         I

 8' AMENDMENT (COLLATERAL CHANGE): check only QBS box.
                                                                                                                                                                                                                        DNONE
    Descnbe co«.l«al O d e l e W or gladded, or give enUreQrestaied collateral descnpuon. or descnbe collateral Qassigned.


  A d d i t i o n a l C o l l a t e r a l o f a d d i t i o n a l DEBTOR p a r t y . Heather Ann T u c c i - J a r r a f
  s e c u r e d under Doc. # 2012012555, Feb 6, 2012, now d u l y a c c e p t e d by and i n '
  custody o f The One Peoples P u b l i c T r u s t 1776, a c c e p t e d from t h e date o f
  i s s u a n c e , a s f o l l o w s : T r u s t e e s Bond and Oath w i t h i s s u e number
  MB201201255-TBO2/01012012T8A2C1-001, d u l y e x e c u t e d and i s s u e d J a n u a r y 2
  2012, d u l y a c c e p t e d by The One Peoples P u b l i c T r u s t 1776, w i t h t h e terms and
  Tr!^t^tT.                                ^^ff
                            t h e r e i n , and taken i n t o p h y s i c a l c u s t o d y on J a n u a r y 2,
 2012, h e l d by a d u l y bonded T r u s t e e o f The One Peoples P u b l i c T r u s t 1776-
 SECURED PARTY, p e r f e c t e d J u l y 4, 1776, w i t h a l l p r o p e r t y and r i g h t s t o '


    |9a. ORGANIZATION'S NAME

      THE UNITED STATES OF AMERICA, A PUBLIC TRUST
OR9b. INDIVIDUAL'S U S T NAME
                                                                                                               FIRST NAME
                                                                                                                                                                             MIDDLE NAME                           SUFFIX


10, OPTIONAL FILER REFERENCEDATA


      a l l r i g h t s r e s e r v e d and w i t h o u t p r e j u d i c e UCC 1-308 / s / C a l e b P a u l S k i n n e r
FILING O F F I C E C O P Y -           NATIONAL U C C FINANCING S T A T E M E N T AMENDMENT (FORM UCC3) (REV. 07/29/98)




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                                                                                                     Doc# : 2012028312
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                                                                                         WASH DC RECORDER OF DEEDS
                                                                                         IDA WILLIAMS
 UCC RNANCING STATEMENT A M E N D M E N T ADDENDUM RECORDER OF DEEDS
 FOaOW INSTRUCTtONS (front and back) CAREFULLY
 1 i . INITIAL RNANCING STATEMENT R L E # (sam. n ilim la on AirwiOnM lam)               Doc Type: EFINANCING
         2000043135                                                                          PROCESSING                                                 5.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT            a« HOT 9 on Ain«Kln»« fnm.1
                                                                                            E-RECORD                                                   25.00
      I 12*.
        12a OROAMZATION^    NAME'
             nRaAMi7ATimrfi MAUR         "                                                  ESURCHARGE                                                  6.50
 OR
         THE     UNITED       STATES  OF   AMERICA,           A   PUBLIC        TRUST
     12b. INDIVIDUAL'S LAST NAME                 r==::Tr:7T:=
                                                 FIRSTNAME          "'        r
                                                                               MIDDLE NAME,SUFFIxl


 13. Use this spaca for additional Information




                                                                                                      THE ABOVE SPACE IS FOR R U N G OFFICE USE ONLY


      Additional c o l l a t e r a l                 info

      p r o p e r t y o f SECURED PARTY t h e r e i n , t h e r e t o , and therefrom, now d u l y
      a d m i n i s t e r e d by The One P e o p l e s P u b l i c T r u s t 1776, through i t s d u l y bonded

     T r u s t e e s ; NOTICE OF DULY BONDED TRUSTEE, d u l y s e r v e d t o any and a l l
     n e c e s s a r y p a r t i e s and t o always be f u r t h e r n o t i c e d and e v i d e n c e d by a True,

     A c c u r a t e and Complete d i g i t a l o f o r i g i n a l T r u s t e e s Bond and Oath d u l y
     p o s t e d v i a t h e world-wide web, a t t h e o f f i c i a l w e b s i t e o f The One Peoples
     P u b l i c T r u s t 1776, www.peoplestrustl776.org, f o r a l l t h e World and B e i n g s

     r e l y upon.


     Heather Ann T u c c i - J a r r a f , n a t u r a l woman, DEBTOR, i s c o r r e c t e d above due t o

     automated f i l i n g systems a l t e r i n g o r i g i n a l c a p a c i t y                       ( t i e s ) and s t a n d i n g ( s ) ;

    c o r r e c t i o n SECURED PARTY, The U n i t e d S t a t e s o f America, The One Peoples
    P u b l i c T r u s t 1776, a p u b l i c t r u s t , and i t s b e n e f i c i a r i e s , the o r i g i n a l
    s t a t e s m n a t i o n a l union.




    Debtor names added f o r i n d e x i n g

    CHARLES         C.     MILLER         [AN A R T I F I C I A L        PERSON   &   LEGAL      FICTION]
    CHARLES         C.    MILLER         D/B/A        CHARLES        C.    MILLER




FlUNG OFFICE COPY _ NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                  ANNEX 10

                               Case No. 1:17 mj-531




    TITLE                          DESCRIPTION                          PAGES


  Annex 10                 UCC record number 2012012659                     1- 2




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                                                                                                                                                        IDA WILLIAMS
     UCC FINANCING STATEMENT A M E N D M E N T
     F O a O W I^^STRUCT^ONS (front and back) C A R E F U L L Y
                                                                                                                                                       RECORDER OF DEEDS
     I A. NAME 4 PHONE OF CONTACT AT FILER (optionall                                                                                                  Doc Type: EFINANCING
       Heather Ann T u c c i - J a r r a f                                         2535094597                                                              PROCESSING                                                                  5.00
     B. SEND ACKNOWLEDGMENT TO: (Name and Addrsss)                                                                                                         E-RECORD                                                                   25.00
                                                                                                                                                           ESURCHARGE                                                                  6.50
       Heather Ann T u c c i - J a r r a f                                           (253) 509-4597


       G i g Harbor, WA 98335




      Also d i w * fins ofthe following three boxes m            provide appropnate informalion ,n Htns 6 antfor T.

      n    n!^mil!!!!^S'""°'.^'"f"^,                                       "ame in item c a or 6b: also oive n e *
          Lname (if name chanoel m item 7 , n, 7b anilalZ                 addmss Iif adc-ess 3{^r^u?,        ,,ZZ                   DELETE name: Give record name
                                                                                                                                    to be deleted in ilem 6a or li                    ] ADD name: Complete itam 7a or 7b, and a
                                                                                                                                                                                      ijtem_7c2_alsg complete Items 7d-7n frf a - "




        7b, INDIVIDUAL'S U S T NAME
                                                                                                              ji-IRSTNAME              •                          ~          —
                                                                                                                                                                                 MIDDLE NAME                              SUFFIX
                                                                                                              1

 7o. MAILING ADDRESS
                                                                                                              !
                                                                                                             jCITY           '                            ~
                                                                                                                                                                                 STATE     POSTAL C O D E                COUNTRY
 7d, TAXIDff:        SSNOREIN           I ADDL
                                             ' N
                                               I FO RE 178. TYPE OF ORGANZ
                                                                         IATO
                                                                            IN
                                        . ORGANZIATO
                                                   IN '                      ; 7f. JURISDICTION OF ORGANIZATION                                                                  7g. ORGA NIZATIONAL ID #, if any
                                         OeSTOR                                                              i
 8. A M E N D M E N T ( C O L L A T E R A L C H A N G E ) : check only m             box.                                                                                                                                     DNONE
     D e s c n b e c o « . . « , l O d e l . l « i or g a d d e d , or g i v e e n B r . O r e s t a i e d coiiaieral descnption. or descnbe c^iateral Q a s s i g n e d .


 A d d i o n t a l C o l l a t e r a l o f a d d i t i o n a l DEBTOR p a r t y , C a l e b P a u l S k i n n e r
 s e c u r e d : T r u s t e e ' s Bond and Oath w i t h i s s u e nuinber 02012012T8A2C1-001
 d u l y e x e c u t e d by Caleb P a u l S k i n n e r on J a n u a r y 2, 2012, d u l y a c c e p t e d by The
 thLSn"" ; f " ^ l - . ^ - - t 1776, w i t h t h e terms and c o n d i t i o n s a s s t a t e d
 t h e r e i n and taken i n t o p h y s i c a l c u s t o d y on J a n u a r y 2, 2012, h e l d b y a d u l y
 bonded T r u s t e e o f The One People's P u b l i c T r u s t 1776; SECURED P A R T ?

 PARTY t h e r e i n t h e r e t o , and therefrom, now d u l y a d m i n i s t e r e d by The One
 People's P u b l i c T r u s t 1776, through i t s d u l y bonded Trustee.,- NOTICE OF
9. N A M E OF SECURED PARTY OF R E C O R D A U T H O R I Z I N G T H I S A M E N D M E N T (nameof a s s i z o r                               H,w            .              '
   .ddscol.leraloraddstheau.on.ngDeblor,or,f.isisaTem.ina.c.a...JvaD^^^^^
     [sia. ORGANIZATION'S NAME                       ~                               "              - —                                [X|       enter name of O S B T O R aulhonang this Amendment


OR




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                                                                                                     Doc# : 2012012659
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                                                                                        WASH DC RECORDER OF DEEDS
                                                                                        IDA WILLIAMS
      UCC FINANCING STATEMENT A M E N D M E N T ADDENDUM RECORDER OF DEEDS
      FOLLOW INSTRUCTIONS (front and badO CAREFULLY
      11. INITIAL RNANCING STATEMENT FILE # (sim. «»itm 1a on AmwdmM forn)              Doc Type: EFINANCING
             2012012555                                                                    PROCESSING                                                      5.00
                                                                                           E-RECORD                                                       25.00
          ^ ' ^ r ^ P A R T Y AUTHORIZING THIS AMENDMENT (Mmt a . il«„9onAnwndm«il>onnl
           12». OROANttATION^ NAME
                                                                                           ESURCHARGE                                                      6.50
      OR    THE     UNITED       STATES      OF  AMERICA      [A     PUBLIC    TRUSTl
           iailNOVlDUAL'S LAST NAME                  1-'
                                                      FIRSTNAME            •                •*
                                                                               MIDDLE NAME,SUFFIX|



      13. UM this Spaca tor additional Information




                                                                                                      THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY


_          Additional c o l l a t e r a l                info


           DULY BONDED TRUSTEE, d u l y s e r v e d to any and a l l n e c e s s a r y p a r t i e s and t o
           a ways be f u r t h e r n o t i c e d and e v i d e n c e d by a True, A c c u r a t e , a^d C ^ ^ p l e t e
           d i g i t a l o f o r i g i n a l T r u s t e e - - s Bond and Oath d u l y p o s t e d v i ^ the w o r L - w i d e

           web, a t t h e o f f i c i a l w e b s i t e o f The One People'-s P u b l i c T r u s t 1776
           www.peoplestrustl776.org, f o r a l l t h e World to r e l y upon.




          Debtor names added f o r i n d e x i n g

          THE UNITED STATES OF AMERICA [A PUBLIC TRUST]
          HEATHER ANN TUCCI-JARRAF [NATURAL PERSON]




    FlUNG O F R C E C O P Y -
                                - NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                  ANNEX 11

                               Case No. 1:17 mj-531




    TITLE                          DESCRIPTION                          PAGES


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                                                                                                                                  Doc# : 2012028311
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                                                                                                                                  IDA WILLIAMS
  UCC FINANCING STATEMENT A M E N D M E N T                                                                                       RECORDER OF DEEDS
 FOLLOW INSTRUCTIONS    (front and back) CAREFULLY                                                                                Doc Type: EFINANCING
  I A. NAME a PHONE OF CONTACT AT FILER [optional]
     The One Peoples P u b l i o T                                     253-509-4597                                                   PROCESSING                                                            5.00
  |B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                     E-RECORD                                                              25.00
                                                                                                                                     ESURCHARGE                                                             6.50
            r
     The One Peoples P u b l i c T r u s t 1776


     G i g Harbor, WA 98335

            L
                                                                                                                                THE ABOVE SPACE IS FOR FILING O F F I C E USE ONLY
  l i , INITIAL FINANCING STATEMENT FIL6#
                                                                                                                                                      1b.
                                                                                                                                               This FINANCING STATEMENT AMENDMENT Is
     2000043135 - 05/04/2000                                                                                                                   to ba (ilao [for raconlj (or racordsd) In U »
                                                                                                                                                     •
                                                                                                                                               REAL E S T A T E R E C O R D S
          TERMINATION: Effactvanas. of »i. Finanong Slatamart idenril«d abos» is lanninatM with respad lo s«:unly lnl«»sl(,) of lha S « u l » d Party a u l H o h ^


                                                                                                                                                                         this Continuation Statement is


 4. •     ASSIGNMENT (fuH or paniai): Give name of assignee in Hem 7a or 7b and acdress of assignee in ilem 7e: and also give
                                                                                                                                           name of assignor in item 9,
 5, AMENDMENT (PARTY INFORMATION): This Amendment affect, [ j D a b t o r                          at [J   Secured Pany of r.coni, Chackonly ^       of these two boxes.
     Also check ans of tho fbllowing three boxes sni provide appropriate infonnation m items 6 anl'or 7.
          CHANGE name and/or address; Qlve current record nam8initem5aor6b:alsoarvenBw                       l~1Qi
                                                                                                                DELETE name: Give record nama
   •      name (if name change) In ilem 7a or 7b and/or new address nf adc-ess charge) in tern 7c.           I 11"
                                                                                                                • be deleted in item 6a or 6b.
                                                                                                                                                            ADD name: Complete item 7a or 7b, and also
 6. C U R R E N T R E C O R D INFORMATION:
        | 6 a . ORGANIZATION'S NAME


 OR
                                                                                                FIRSTNAME                                            MIDDLE NAME                                 SUFFIX


 7. C H A N G E D (NEW) OH ADDED INFORMATION:




 OR
             CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
        7b. INDIVIDUAL'S LAST NAME                                                            jFIRST NAME                   ~
                                                                                                                                                     I MIDDLE NAME                               SUFFIX



                                                                                              I CT
                                                                                                 IY                                                  STATE      POSTAL C O D E                   COUNTRY


7d. TAXID#:        SSNOREIN        ADD'L INFO RE 17e. TYPE O F ORGANIZATION                   ; 7f. JURISDICTION OF ORGANIZATION
                                   ORGANIZATION                                                                                                      7g, ORGANIZATIONAL ID * . if any
                                   DEBTOR        I

8. AMENDMENT (COLLATERAL CHANGE): check only aofl box.

     Desortbecoflalefal Q d e l e t e d or g a d d e d , or give entireQrestated collateral descnption. or describe collateral Q a s s i g n e d .


 A d d i t i o n a l C o l l a t e r a l o f a d d i t i o n a l DEBTOR p a r t y , C a l e b P a u l S k i n n e r
 s e c u r e d under Doc. # 2012012659, Feb 6, 2012, now d u l y a c c e p t e d by and i n
 custody o f The One Peoples P u b l i c T r u s t 1776, a c c e p t e d from t h e d a t e o f
 i s s u a n c e , a s f o l l o w s : T r u s t e e s Bond and Oath w i t h i s s u e number
 MB201201255-TBO1/02012012T8A2C1-001, d u l y e x e c u t e d and i s s u e d J a n u a r y 2,
 2012, d u l y a c c e p t e d by The One Peoples P u b l i c T r u s t 1776, w i t h t h e terms and
 c o n d i t i o n s as s t a t e d t h e r e i n , and taken i n t o p h y s i c a l custody on J a n u a r y 2,
 2012, h e l d by a d u l y bonded T r u s t e e o f The One Peoples P u b l i c T r u s t 1776-
 SECURED PARTY, p e r f e c t e d J u l y 4, 1776, w i t h a l l p r o p e r t y and r i g h t s t o


          ORGANIMTION'S NAMP            "                                        — —                             — L J

        THE UNITED STATES OF AMERICA, A PUBLIC TRUST
OR
                                                                                              FIRST NAME                                             MIDDLE NAME                                SUFFIX


10;OPTIONAL FILER REFERENCEDATA


        a l l r i g h t s r e s e r v e d and without p r e j u d i c e UCC 1-308 / s / Heather Ann T u c c i - J a r r a f
FILING O F F I C E C O P Y -      NATIONAL U C C FINANCING S T A T E M E N T AMENDMENT (FORM UCC3) (REV. 07/29/98)




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                                                                                     WASH DC RECORDER OF DEEDS
                                                                                     IDA WILLIAMS
UCC FINANCING STATEMENT A M E N D M E N T ADDENDUM RECORDER OF DEEDS
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l i INITIAL RNANCING STATEMENT R L E # ( s a r a M Itim 1a on      ftjfm)
      2000043135                                                                         PROCESSING                                                 5.00
12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT jutm » « i H m 9 on Amandnnnl fomi)
                                                                                        E-RECORD                                                   25.00
     12a. ORQANOATION^ NAME                                                             ESURCHARGE                                                  6.50
 OR
       THE UNITED STATES OF AlidERICA, A PUBLIC TRUST
      12b. INOIVIDUAL'S LAST NAME               I F I R S T NAME           MIDI3LENAME,SUFFIXi




 13. UM this space for additional Information




                                                                                                  THE ABOVE SPACE 13 FOR R U N G OFFICE USE ONLY


       Additional c o l l a t e r a l                 info

       p r o p e r t y o f SECURED PARTY t h e r e i n , t h e r e t o , and therefrom, now d u l y
       a d m i n i s t e r e d by The One Peoples P u b l i c T r u s t 1776, through i t s d u l y bonded

      T r u s t e e s ; NOTICE OF DULY BONDED TRUSTEE, d u l y s e r v e d t o any and a l l
      n e c e s s a r y p a r t i e s and t o always be f u r t h e r n o t i c e d and e v i d e n c e d by a True,

      A c c u r a t e and Complete d i g i t a l o f o r i g i n a l T r u s t e e s Bond and Oath d u l y
      p o s t e d v i a t h e world-wide web, a t t h e o f f i c i a l w e b s i t e o f The One Peoples
      P u b l i c T r u s t 1776, www.peoplestrustl776.org, f o r a l l t h e World and Beings
      to
      r e l y upon.

      C a l e b P a u l S k i n n e r , n a t u r a l man, DEBTOR, i s c o r r e c t e d above due t o
      automated f i l i n g systems a l t e r i n g o r i g i n a l c a p a c i t y ( t i e s ) and s t a n d i n g ( s ) ,

      c o r r e c t i o n SECURED PARTY, The U n i t e d S t a t e s o f America, The One Peoples
      P u b l i c T r u s t 1776, a p u b l i c t r u s t , and i t s b e n e f i c i a r i e s , the o r i g i n a l
      s t a t e s i n n a t i o n a l union.




      Debtor names added f o r i n d e x i n g

      C H A R L E S C. M I L L E R        [AN A R T I F I C I A L    PERSON    & LEGAL           FICTION]
      C H A R L E S C . M I L L E R D/B/A               CHARLES     C.   MILLER




FILING O F F I C E COPY -   NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                  ANNEX 12

                               Case No. 1:17 mj-531




    TITLE                          DESCRIPTION                          PAGES


  Annex 12                 UCC record number 2012028314                     1 -2




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 UCC FINANCING STATEMENT A M E N D M E N T                                                                                 RECORDER OF DEEDS
 F O a o w INSTRUCTIONS (front and back) C A R E R J L L Y
  A. NAME a PHONE OF CONTACT AT FILER [opUonal]                                                                            Doc Type: EFINANCING
     The One Peoples P u b l i o T 253-509-4597                                                                                PROCESSING                                                       5.00
 B. SEND ACKNOWLEDGMENT TO: (Nama and Address)                                                                                E-RECORD                                                         25.00
                                                                                                                              ESURCHARGE                                                        6.50
     The One Peoples P u b l i c T r u s t 1776


     G i g Harbor, WA 98335




4. •     ASSIGNMENT (fun,, paniai), Giv<.nan,.c(a„ign..inilem7aor7bandaodre»af»«gn„ini..m7c;anda.«,alv.nan,..f.»,


     Alsoj*«* m 01 tha following Ihrea boxes antj provide appropriate infomialion ,n items 6 anVor 7.
       1S*^?^ name and/or address: Give current record name in item 5a or 6b' also oive new
       J name fif nameclianoel in item 7a n,7h ,nd/or new address nf ado-es S^r^),r,«l!,Z                1 PEl-Ere name; Giverecordname       q   ADD name: Complete item 7a or 7b, and also




       |7a, ORGANIZATION'S NAME""

OR                            ^' ^^^^^^                         A R T I F I C I A L PERSON & LEGAL FICTION]
                                                                                          FIRST .>MME




8. AMENDMENT (COLLATERAL CHANGE): check only ana box.

  D.scrtb.coll...«l Q d e l e l e d o r g a d d e d , or give enareQrestated collateral descnpfon. or descnbe c^laieral • a s s i g n e d .

A d d i t i o n a l C o l l a t e r a l o f a d d i t i o n a l DEBTOR p a r t y , H o l l i s R a n d a l l H i l l n e r ,
d u l y a c c e p t e d by and i n c u s t o d y o f The One Peoples P u b l i c T r u s t 1776
a c c e p t e d from t h e d a t e o f i s s u e , a s f o l l o w s : T r u s t e e s Bond and Oath'with
i s s u e number MB201201255-TBO3, d u l y e x e c u t e d and i s s u e d F e b r u a r y 12, 2012
d u l y a c c e p t e d by The One Peoples P u b l i c T r u s t 1776, w i t h the terms and '
IT      In'iTVLT''^''.''':^''^'-'''                                p h y s i c a l c u s t o d y on F e b r u a r y
               ' ^^^'^              ^ '^''^^   T r u s t e e o f The One Peoples P u b l i c T r u s t
1776; SECURED PARTY, p e r f e c t e d J u l y 4, 1776, w i t h a l l p r o p e r t y and r i g h t s t o
p r o p e r t y o f SECURED PARTY t h e r e i n , t h e r e t o , and t h e r e f r o m now d u l y
 ^ ' ^ ^ 0FS6CUREDPARTY0FRECORDAUTH0RIZINGTHISAMENDMENT(nam.ofA.^nn.,n.h- •                                                      . •
 . ~ ~ g o . n g O e b l o r , o r , f . s i s a T e n n i n a . . a . ^


     THE UNITED STATES OF AMERICA, A PUBLIC TRUST




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      12- N A M E O F P A R T Y A U T H O R I N G THIS A M E N D M E N T ( w m . aa ilwi 9 o n Amandnwnt torn,)
                                                                                                                   E-RECORD                                25.00
           12a. ORQANOATION^ fMME "                                                                                ESURCHARGE                               6.50
     OR
            THE       UNITKD          STATES         OF    AMERICA,               A    PUBLIC         TRUST
         12b. INOIVIDliAL'S LAST NAME                j' F I R S T NAME   ~     <MIDDLE
                                                                                •      NAME.SUFFIXl



     13. U M this space for additional Information




                                                                                                       THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY


_         Additional c o l l a t e r a l                   info

          a d m i n i s t e r e d by The One Peoples P u b l i c T r u s t 1776, through i t s d u l y
          bonded T r u s t e e s ; NOTICE OF DULY BONDED TRUSTEE, d u l y s e r v e d t o any and a l l

         n e c e s s a r y p a r t i e s and t o always be f u r t h e r n o t i c e d and e v i d e n c e d by a True,

         A c c u r a t e and Complete d i g i t a l o f o r i g i n a l T r u s t e e s Bond and Oath d u l y
         p o s t e d v i a t h e world-wide web, a t t h e o f f i c i a l w e b s i t e o f The One Peoples
         P u b l i c T r u s t 1776, www.peoplestrustl776.org, f o r a l l t h e World and Beings

         r e l y upon.


         H o l l i s R a n d a l l H i l l n e r n a t u r a l man, DEBTOR, i s c o r r e c t e d above due to
         automated f i l i n g systems a l t e r i n g o r i g i n a l c a p a c i t y ( t i e s ) and s t a n d i n g ( s ) ,

        c o r r e c t i o n SECURED PARTY, The U n i t e d S t a t e s o f America, The One Peoples
        P u b l i c T r u s t 1776, a p u b l i c t r u s t , b e n e f i c i a r i e s , the o r i g i n a l s t a t e s i n
        n a t i o n a l union.




        Debtor names added f o r i n d e x i n g

        C H A R L E S C. M I L L E R [ A N A R T I F I C I A L           PERSON & L E G A L       FICTION]
        C H A R L E S C . M I L L E R D/B/A/ C H A R L E S               C. M I L L E R




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                                  ANNEX 13

                               Case No. l:17inj-531




    TITLE                          DESCRIPTION                          PAGES


  Annex 13                 UCC record number 2012079290                     1 -6




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     UCC FINANCING STATEMENT AMENDMENT
     FOLLOW INSTRUCTIONS (from and back) CAREFULLY                                                                       RECORDER OF DEEDS
     A. NAME 4 PHONE OF CONTACT AT FILER [opUonall                                                                       Doc Type: EFINANCING
       The One Peoples P i i b l i c T                                   253-509-4597                                       PROCESSING                         5.00
     B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                          E-RECORD                          25.00
               r                                                                                                            ESURCHARGE                         6.50

       The One Peoples P u b l i c T r u s t 1776


      G i g Harbor, WA 98335




 4.1 J ASSIGNMENT (fuH or paniai): GIva name of assignee in ilem 7a or 7b and :,„Hr»..                           ,

 .     AMENDMENT (PARTYINFORMAIION):                           T.sA.endmen.a J     Moeblor    I) ^1^    ^                                  '   ,

      A . o c n « * f i O . O f . , fbllowing . r e e boxes   provide appropna,einfo,ma,y,ni,ems6anyr;^^^^




8. AMENDMENT (COLLATERAL CHANGE): check only sm box

     Dascnbeco^l^al a d e l e l ^ l orgadded, or giv, e n . r . D r e s i a . d co.laieral descnp.on. or descnbe collaleral Dassigned.

AMENDMENT TO F I L E NO. 2000043135, MAY 4, 2000




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 UCC FINANCING STATEMENT AMENDMENT                                        ADDENDUM                RECORDER OF DEEDS
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                                                                                                  Doc Type: EFINANCING
        2000043135                                                                                    PROCESSING                                    5.00
                                                                                                     E-RECORD                                      25.00
       12a. ORQANIZATION^ NAME                                                      '     "          ESURCHARGE                                     6.50
 OR
        THE ONE PEOPLE, CREATED BY THE CREATOR
       126. INDIVIDUAL'S LAST tMME              FIRSTNAME                    MIDDLE NAME.SUFFIX


 13. U M this space for addlUonal Information




                                                                                                    THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY


       Additional c o l l a t e r a l              info

       on and f o r the r e c o r d , d u l y p e r f e c t e d and s e c u r e d                    since creation, as
       follows:


       O r i g i n a l w r i t t e n i n s t r u m e n t o f r e s t a t e m e n t and r a t i f i c a t i o n o f OWNER OF
       RECORD, i n d e f e a s i b l e t i t l e and ownership o f the one p e o p l e . Secured P a r t y ,

       a s p r e s e r v e d and p r o t e c t e d by t h e one p e o p l e " s p u b l i c t r u s t , b e g i n n i n g
       1776, a p u b l i c t r u s t (The P u b l i c T r u s t ) , f o r i t s b e n e f i c i a r i e s s e r v i n g the

      one p e o p l e ; A l l r e f e r e n c e d Documents, F i l i n g s , F i l e s and I n s t r u m e n t s
      I d e n t i f i e d below, t h e r e i n , and t h e r e t o , r e s t a t e d and i n c o r p o r a t e d by
      reference i n t h e i r e n t i r e t y h e r e i n a s i f s e t f o r t h i n f u l l , duly secured
      and
      r e c o r d e d by amendment o f p e r p e t u i t y f i l i n g UCC Doc. # 2000043135, May 4,
      2000, R e c e i p t #36090, a s amended May 4, 2012, UCC F i l e # 2012049126
      Receipt                                                                                                     '
      No. 1217590, o r i g i n a l i n s t r u m e n t s h e l d i n t r u s t o f The P u b l i c T r u s t
      f u r t h e r p u b l i s h e d on www.peoplestrustl776.org, c o n s t i t u t i n g OPEN AND
      NOTORIOUS NOTICE FOR ALL THE WORLD TO RELY UPON, i n c l u s i v e o f a l l debtor
      e n t r i e s made from time t o time, amended now t o i n c l u d e ENTRY OF ADDITIONAL

      DEBTOR and a d d i t i o n a l OWNER OF RECORD, a s f o l l o w s :

      A d d i t i o n a l Debtor:                  THE ONE PEOPLE
                                                   THE PEOPLE
                                                   PEOPLE
                                                   ''PEOPLE OF . . . ' '
                                                   the one people
                                                   ''the people o f . . .''

      the one people, c r e a t e d by t h e c r e a t o r , d o m i c i l by c r e a t i o n i n t h e i r body,

   the body d o m i c i l by c h o i c e on t h e l a n d s and s e a s d o m i c i l by c r e a t i o n on
   e a r t h , bondservant t o t h e c r e a t o r and no o t h e r , h e r e a f t e r " t h e one
   p e o p l e " , a l l , any, o r any one o f t h e above h e r e a f t e r 'Debtor'
                                                                                                   or
   ' ' A d d i t i o n a l Debtor''



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       12a. ORGANIZATIONS NAME
                                                                                  ESURCHARGE                     $                                             Q]^Q
  OR
        THE    ONE     PEOPLE,    CREATED       BY    THE     CREATOR
       12D, ir40IVI0UAL'S LAST NAME               FIRSTNAME                     M I D D U NAME.SUFFIX



  13, U M thia spacs for additional Information




                              ,                                                                     .    THE ABOVE SPACE IS FOR R U N G O F R C E USE ONtY
        A d d i t i o n a l Secured P a r t y :    the c r e a t o r of the one people, h e r e a f t e r
          •Secured P a r t y - - , - - A d d i t i o n a l Secured P a r t y - - , --Holder-In-Due-Course--,

       and ' - A d d i t i o n a l Holder-In-Due-Course'-, s e n i o r t o any and a l l o t h e r
       Secured
       Party e x i s t i n g :

       Owner of Record:                      the c r e a t o r of the one people
                                             c/o the one p e o p l e
                                             t h e i r body d o m i c i l by c h o i c e
                                             on the l a n d s and s e a s t h a t a r e
                                             d o m i c i l by c r e a t i o n on and i n e a r t h

      E n t r y o f the A d d i t i o n a l Debtor i n and on the Commercial R e g i s t r y                                                (Record),

      tTlTrri°^^'"''                            c a p a c i t y as c o n s t r u e d t r a n $ m i t t i n g t i l i t y ,
      p r o p e r t y [ l e s ] , i n c l u s i v e of c h a t t e l s , goods:
                                                                                                                                            and ALL   other


      C e r t i f i c a t e of B i r t h : nunc pro tunc, p r a e t e r e a p r e t e r e a , the body,
      o r i g i n a l d e s i g n of the c r e a t o r ;

      Domicil:                nunc pro tunc, p r a e t e r e a p r e t e r e a , d o m i c i l by c r e a t i o n i n t h e i r



     D o m i c i l of the body:                    nunc pro tunc p r a e t e r e a p r e t e r e a , the body d o m i c i l                           by

     c h o i c e on the l a n d s and s e a s t h a t a r e d o m i c i l by c r e a t i o n on and i n e a r t h ,

     and any and a l l d o m i c i l by c r e a t i o n t h a t may                           exist;

     Value A s s e t s :                energy c r e a t e d by and from the one p e o p l e , r e g a r d l e s s of the

    form taken, i n c l u s i v e of l a b o r o r any o t h e r form energy may t a k e , and
    r e g a r d l e s s of how the energy i s r e p r e s e n t e d , nunc pro tunc, p r a e t e r e a
    preterea;

    depositories:                      the body c r e a t e d by the c r e a t o r , and any and a l l subsequent

    t r e a s u r y depots h o l d i n g or o t h e r w i s e               i n custody o f the one p e o p l e - - s v a l u e ,

    I m n r m           u n l r n n u n .                     . r   1   •   i            •,         l i m n ' m i ,   i . i u l u j j . ,   _ i

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                                                                                                      IDA WILLIAMS
 UCC FINANCING STATEMENT AMENDMENT ADDENDUM                                                           RECORDER OF DEEDS
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      12a. ORQANIZATIOWS NAME        —                             ' ' ^ ^    '                          ESURCHARGE                      $                   g'50
 OR
        THE ONE PEOPLE, CREATED BY THE CREATOR
       12b. INOIVIDIML'S LAST NAME               ' FIRSTNAME      ~          ~"
                                                                             MIDDLE NAME,SUFFIX|



 13. Use this spaca for additional information




        „   J       ,                                                                             •     THE ABOVE SPACE 13 FOR R U N G O F R C E USE ONLY
        F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s , STATE OF . . ., s t a t e of

       . . ., and i n t e r n a t i o n a l e q u i v a l e n t s , i n c l u s i v e o f the membexs o f t h e
       members, and the the members o f the c e n t r a l bank o f c e n t r a l banks, '-BANK
       FOR INTERNATIONAL SETTLEMENTSBANK FOR INTERNATIONAL SETTLEMENTS", and any

       and a l l t h e U n i t e d S t a t e s o f America F e d e r a l Government, UNITED STATES
       u n i t e d S t a t e s , STATE OF . . ., s t a t e o f . . ., and i n t e r n a t i o n a l
       e q u i v a l e n t s o r any o t h e r c u s t o d i a n s o f t h e p e o p l e " s v a l u e , known o r
       unknown,
       t h a t may e x i s t , any and a l l h e r e a f t e r r e f e r r e d t o a s CENTRAL BANKS, e t .
       al.;


       Trust:          those o f t h e one people h a v i n g knowingly, w i l l i n g l y and
       i n t e n t i o n a l l y p r e s e r v e d i n p e r p e t u i t y t h e laws o f the one p e o p l e , b e i n g
       a l i g n e d w i t h the n a t u r a l laws o f our c r e a t o r , and our s t a n d i n g , a u t h o r i t y ,

      v a l u e , r i g h t s , p r i n c i p l e o f law t h a t i s a l i g n e d w i t h common law, and our
      c h o i c e , t h e c h o i c e o f t h e one p e o p l e , t o master s e l f o r be mastered by
      o t h e r s , a l l b e i n g g r a n t e d by t h e c r e a t o r to t h e one p e o p l e , and a l l h e l d i n

      the one p e o p l e ' ' s p u b l i c t r u s t b e g i n n i n g 1776; S a i d P u b l i c T r u s t b e i n g
      f i r s t adopted and implemented i n the The U n i t e d S t a t e s o f America
      beginning                                                                                             '
      J u l y 4, 1776, by D e c l a r a t i o n o f Independence, i n c o r p o r a t e d h e r e by
      reference as i f s e t f o r t h i n f u l l ;    S a i d P u b l i c T r u s t , and i t s
      beneficiaries
      c o n s i s t i n g o f the s e v e r a l p u b l i c t r u s t s d o m i c i l by c h o i c e o f t h e one people

      on t h e v a r i o u s l a n d s and s e a s t h a t a r e d o m i c i l by c r e a t i o n on and i n t h i s
      e a r t h ; S a i d P u b l i c T r u s t h a v i n g t h e duty and o b l i g a t i o n to h o l d , p r e s e r v e ,

   p r o t e c t and a d m i n i s t e r            t h e one p e o p l e " s laws, a l i g n e d w i t h t h e n a t u r a l
   laws
   o f t h e c r e a t o r , and the s t a n d i n g , a u t h o r i t y , r i g h t s , v a l u e , p r i n c i p l e o f
   law, and the c h o i c e o f t h e one p e o p l e ; S a i d P u b l i c T r u s t b e i n g r e l i e d upon


          5^^"^^ ^""^                                              -^^^y ^' 1776; S a i d P u b l i c T r u s t never
   rebutted since i t s inception;                             (The P u b l i c T r u s t ) ;

   thr.     Inuii       nfi   tha    uan     nnwtilr             1 .•    i        • •1   4.1. •   n          p          uj,uaL-,r.      um.j

FILING O F F I C E C O P Y - N A T I O N A L UCC RNANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98) " '




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         2000043135                                                                     PROCESSING                                                  5.00
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                                                                                       E-RECORD                                                    25.00
        12a. ORQAMZATIONS NAME                                                         ESURCHARGE                                                   6.50
        THE ONE          PEOPLE, CREATED BY THE                 CREATOR
 OR
       12b. INDIVIDUAL'S LAST NAME                                      MIDDLE NAME.SUFFIXI
                                                 I FIRST NAME



 13. Us« thia apac* for additional Information




                                                                                          .    THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY


       a s g r a n t e d by the c r e a t o r , the c h o i c e of the one people i s to master s e l f ,

       nunc pro t u n c , p r a e t e r e a p r e t e r e a ;
       the one people''s systems c r e a t e d and implemented to p r e s e r v e and p r o t e c t
       the one p e o p l e " s s t a n d i n g , a u t h o r i t y , v a l u e , r i g h t s , our p r i n c i p a l of law

       t h a t i s a l i g n e d w i t h common law and our c h o i c e t o be masters of s e l f or
       mastered by o t h e r s , knowingly, w i l l i n g l y and i n t e n t i o n a l l y p r e s e r v e d and
       p r o t e c t e d , i n p e r p e t u i t y , by n o t i c e to a l l b e i n g s and the world, b e i n g
       first
       implemented by I n t e r n a t i o n a l Law Ordinance c o g n i z a b l y n o t i c e d a s the
       C o n s t i t u t i o n f o r the U n i t e d S t a t e s of America, 1791 as amended, and the
       l a w f u l progeny j u r i s p r u d e n c e t h e r e o f , i n t e r n a t i o n a l l y a f f i r m e d o r d i n a n c e s ,

      s t a r t i n g J u l y 4, 1776, and completed March 1, 1781, r a t i f i e d 1791, s a i d
      n e v e r b e i n g r e b u t t e d , e s p e c i a l l y The C o n s t i t u t i o n f o r The U n i t e d S t a t e s of

      America, A r t i c l e 4, S e c t i o n 3, C l a u s e 1, master o f s e l f , and A r t i c l e 4,
      S e c t i o n 3, C l a u s e 2, mastered by o t h e r s ; i n s u r e d and governed by p u b l i c '
      p o l i c y , i n c l u s i v e of UCC 1-103, and any and a l l the U n i t e d S t a t e s of
      America F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s , STATE OF .
      S t a t e of . . ., and i n t e r n a t i o n a l e q u i v a l e n t s ; the one p e o p l e " s systems'
      and our v o l u n t a r y commercial i n d e n t u r e s t h e r e t o , by t h e i r e x i s t e n c e and
      o p e r a t i o n have a l r e a d y agreed to be bound to the d u t i e s , o b l i g a t i o n s , and
      s e r v i c e s of any and a l l the one people " s p r o t e c t i o n s of t h e i r s t a n d i n g ,
      a u t h o r i t y , v a l u e , r i g h t s , p r i n c i p l e s o f law, and c h o i c e s , i n c l u s i v e of any

      and a l l c o n s t i t u t i o n s , agreements, r u l e s and codes knowingly, w i l l i n g l y                              and

      i n t e n t i o n a l l y c r e a t e d and implemented by the one p e o p l e ; t h u s , knowingly,
      w i l l i n g l y and i n t e n t i o n a l l y r e n d e r i n g our v o l u n t a r y commercial i n d e n t u r e s
      as
      i n f e r i o r by c r e a t i o n to any and a l l o f i t s g r a n t o r , the one p e o p l e ; our
      v o l u n t a r y commercial i n d e n t u r e s b e i n g p r o h i b i t e d from u s u r p i n g , v i o l a t i n g
      or
      i n v a d i n g the one p e o p l e , the one p e o p l e ' ' s s t a n d i n g , a u t h o r i t y , v a l u e ,
      r i g h t s p r i n c i p l e s of law, and c h o i c e to master s e l f ;

      DULY RESTATED, RE-RATIFIED, RECONFIRMED, RE-DECLARED AND                                            RE-NOTICED

FILING O F F I C E C O P Y -   NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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            2000043135                                                                   PROCESSING                                                         5.00
      12. NAME OF PARTY AUTHORIZING THIS AMENDMENT (same as item 9 on Am«idm«> l«m\     E-RECORD                       $                                   25.00
           12*. OROAMZATIONS NAME                                  "      ~ -    '      ESURCHARGE                     $                                    5.50
     OR
            THE ONE PEOPLE, CREATED B Y THE CREATOR
          12l>. INOIVIOUAL'S LAST NAME                FIRSTNAME                 MIDDLE NAME.SUFFIX


      13. Use this space for additional Information




                                                                                                      THE ABOVE SPACE IS FOR R U N G O F R C E USE Of«.Y
           laws
_          o f our c r e a t o r . Duly r a t i f i e d ; without p r e j u d i c e a s promised, p r e s e r v e d                           and


           IT^TTtt                """l^'"                        °f UCC 1-308, and any and a l l the
           U n i t e d S t a t e s of America F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s ,

          STATE OF .
                                      ., S t a t e o f . . ., and i n t e r n a t i o n a l e q u i v a l e n t s ,           hereafter
          UCC

          llim               '^i ^^^'tl''                  T u c c i - J a r r a f , the one p e o p l e , bondservant t o our
          c r e a t o r and no o t h e r ;              / s / C a l e b Paul S k i n n e r , t h e one people, bondservant

          our c r e a t o r and no o t h e r ; / s / H o l l i s R a n d a l l H i l l n e r , the one p e o p l e ,
          bondservant t o our c r e a t o r and no o t h e r .

          A d d i t i o n a l Secured P a r t y , the c r e a t o r o f the one p e o p l e ; A d d i t i o n a l                     Debtor

          P a r t y , the one people c r e a t e d by the c r e a t o r , d o m i c i l by c r e a t i o n i n t h e i r

         body, the body d o m i c i l by c h o i c e on t h e l a n d s and s e a s d o m i c i l by c r e a t i o n

         on and i n e a r t h ; S a i d P a r t i e s c o r r e c t e d above due t o automated f i l i n g
         Z ^ ! d % f r ' ' ' " ? o r i g i n a l c a p a c i t y ( i e s ) and s t a n d i n g ( s ) , c o r r e c t i o n The
         U n i t e d s t a t e s o f America 1781 c o n s t r u c t i o n , o r i g i n a l n a t i o n a l s t a t e


         Debtor names added f o r i n d e x i n g

         C H A R L E S C. M I L L E R         [AN A R T I F I C I A L    PERSON    & LEGAL       FICTION]
         CHARLES         C     MILLER         [AN A R T I F I C I A L    PERSON    & LEGAL       FICTION]
        CHARLES          C . M I L L E R D/B/A            CHARLES       C.   MILLER



        Debtor names added f o r i n d e x i n g

        CHARLES         C. M I L L E R       [AN A R T I F I C I A L     PERSON   & LEGAL        FICTION]
        CHARLES         C      MILLER        [AN A R T I F I C I A L     PERSON   & LEGAL        FICTION]
        C H A R L E S C . M I L L E R D/B/A              CHARLES        C.   MILLER




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                                  ANNEX 14

                               Case No. 1:17 mj-531




    TITLE                          DESCRIPTION                          PAGES


  Annex 14                 UCC record number 2012079322                     1-5




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 F O a o w INSTRUCTIONS (froni and back) CAREFULLY
 1 A. NAME & PHONE OF CONTACT AT FILER (opdonall
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     The One P e o p l e s P u b l i c T 253-509-4597                                                                                       PROCESSING                                                              5.00
  B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                            ~                               E-RECORD                                                                25.00
                                                                                                                                           ESURCHARGE                                                               6.50
     The One Peoples P u b l i c T r u s t 1776


     G i g Harbor, WA 98335

             L
 la. INITIAL FINANCINGS




4. •       ASSIGNMENT (fuH or paniai): G I v name of asslgnwi in ilem 7 . or 7b and acar<,» of « s i g n e . in ilem 7c; and also give nam, of assignor in il.m 9*

5.   AMENDMENT (PARTY INFORMATION): This Amendmen, affeo»                                   |Joeb.or   at |J    Secured Party of record. Check only         aos of Ihese Uvo boxes '
     Also check M a ofttiefbllowing Ihree boxes ml        provide appropnate infomiation m items 6 and'or 7.
    1 CHANGE name and/or address: Give current record nama in Ilem s a or 6b: also give new
                                                                                                                    1 DELETE namo: Give record name
    J name (if name channel m Item 7a or 7b and/or new address nf ado-ess ehanoel in lem 7n                         J lo be deleted in item Sa or 6b.               1 ADD name: Comfiete item 7a or 7b, and also
                                                                                                                                                                    J Ilem 7c: also comoiete items 7d-7n rrf«
6. C U R R E N T R E C O R D INFORIKATION:




O R fih IMnmiPlMAI'C 1 ACT MAlig
                r,u..,w,.,. „„™,t                                                                 ;=IRSTNAME
                                                                                                                                                                MIDDLE NAME                          SUFFIX
                                                                                                  !
7.     C

       7*. ORGANIZATION'S NAME

              CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
OR
                                                                                                   FIRSTNAME
                                                                                                                                                                MIDDLE NAME                          SUFFIX


                                                                                                  j CITY                                                    —
                                                                                                                                                                STATE    POSTAL C O D E             COUNTRY

7(1 TAV in «•      Veiw n o CIM
                                   n u u LIWI-U KK   re. i r K t U F O K G A N I i l A T I O N     7f. JURISDICTION OF ORGANIZATION                             7g. ORGA NIZATIONAL ID #. ifany
                                   ORGANIZATION '
                                   DEBTOR          1



  DesohbecolKlwal Q d e l e t e d or g a d d e d , cr give e n i i r . Q r e s t a i e d collateral descnption, or descnbe collaleral • a s s i g n e d .


 AMENDMENT TO F I L E NO. 2000043135, MAY 4, 2000

The c r e a t o r o f t h e one p e o p l e . Secured P a r t y , b y i t s b o n d s e r v a n t s , t h e one
people, r e g a r d l e s s o f the body's d o m i c i l by c h o i c e , r e s t a t e and
i n c o r p o r a t e UCC Doc F i l e # 2012079290, J u l y 25, 2012, w i t h R e c e i p t # 1237660
h e r e by r e f e r e n c e as i f s e t f o r t h i n f u l l , w i t h a l l r i g h t s r e s e r v e d and
without p r e j u d i c e , a s promised and p r e s e r v e d by p u b l i c p o l i c y , i n c l u s i v e o f
UCC 1-308, and any and a l l t h e U n i t e d S t a t e s o f America F e d e r a l
Government, UNITED STATES, U n i t e d S t a t e s , STATE OF .                            state of



       THE ONE PEOPLE, CREATED BY THE CREATOR
 ' 9b. INDIVIDUAL'S LAST NAME




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       12a. ORQANIZATIONS NAME                                                                             ESURCHARGE                                           6.50
        THE ONE PEOPLE                  CREATED BY THE CREATOR
 OR
       12b. INDIVIDUAL'S LAST NAME               I FIRST NAME                     MIDDLE NAME.SUFFIXI



 13. U M thia spaca (or additional Information




                                                                                                          THE ABOVE SPACE IS FOR R U N G O F R C E USE Of«.Y


       Additional c o l l a t e r a l                info

       and i n t e r n a t i o n a l e q u i v a l e n t s , and f u r t h e r RE-STATE, RE-RATIFY,
       RE-DECLARE, AND RE-NOTICE a l l b e i n g s a s f o l l o w s , NUNC PRO TUNC^ PRAETEREA
       PRETEREA, and c a n c e l and c o r r e c t any and a l l presumptions t o t h e c o n t r a r y ,

       on and f o r the r e c o r d , d u l y p e r f e c t e d and s e c u r e d s i n c e c r e a t i o n , d u l y
       p o s t e d a t www.peoplestrustl776.org             , as follows:

       Secured P a r t y " ' s v a l u e b e i n g d e p o s i t e d i n t h e body o f e v e r y one o f the one

      people c r e a t e d by t h e c r e a t o r , and any and a l l subsequent t r a n s f e r s to
      t r e a s u r y depots h o l d i n g o r o t h e r w i s e i n custody o f the one p e o p l e ' ' s v a l u e ,

      known o r unknown, r e g a r d l e s s o f d o m i c i l o r j u r i s d i c t i o n , i n c l u s i v e o f any
      and a l l p l a c e s t h e r e o f , t h e r e t o , o r t h e r e w i t h , o r w i t h i n o r by any
      custodian
      or b e i n g a c t i n g a s c u s t o d i a n , i n c l u s i v e o f any and a l l a c c o u n t s t h e r e i n ,
      i n c l u s i v e o f any and a l l s u b o r d i n a t e accounts o r c l a s s i f i c a t i o n s , o r o t h e r

      a c c o u n t s c r e a t e d whether f o r o r from the one people, i n c l u s i v e o f THE ONE

      PEOPLE, THE PEOPLE, PEOPLE, and , THE PEOPLE OF . . ., o r any one o f the
      one
      people, o r any account under another name h o l d i n g t h e v a l u e o f t h e one
      people, i n c l u s i v e o f ALL i d e n t i f i e r s , s o c i a l s e c u r i t y numbers,
      a b b r e v i a t i o n s , idem sonans, o r o t h e r l e g a l , f i n a n c i a l and m a n a g e r i a l forms

       ( s e c u r e d a c c o u n t s ) , and any and a l l the U n i t e d S t a t e s o f America F e d e r a l
      Government, UNITED STATES, U n i t e d S t a t e s , STATE OF . . ., S t a t e o f .
      and i n t e r n a t i o n a l e q u i v a l e n t s , a t t h e one p e o p l e " s t r e a s u r i e s o r those '
      p u r p o r t e d t o be the one p e o p l e " s t r e a s u r i e s , o r o t h e r t r e a s u r i e s ,
      inclusive
      of any and a l l e n t i t i e s and systems p u r p o r t e d t o be t h e one p e o p l e " s o r
      operated on b e h a l f o f t h e one people, i n c l u s i v e o f TREASURY OF THE UNITED
      STATES, UNITED STATES TREASURY, TREASURY OF . . . . . . . TREASURY, CENTRAL

      BANK OF . . . . . . . CENTRAL BANK, FEDERAL RESERVE BANK OF .
      FEDERAL RESERVE BANK, o r FEDERAL RESERVE SYSTEM, and any and a l l t h e U n i t e d

FlUNG O F F I C E C O P Y - NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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      12a. OROANIZATIONS tMME                                                      ~        '          ESURCHARGE                     $                    £.50
 OR
       THE ONE PEOPLE, CREATED BY THE CREATOR
      12b. INDIVIDUAL'S LAST NAME                FIRSTNAME                    MIDDLE NAME.SUFFIX


 13. Us« thia spaca for additional Infomiation




                                                                                                .     THE ABOVE SPACE IS FOR R U N G O F R C E USE OW.Y
       S t a t e s o f America F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s , STATE
       OF . . ., S t a t e o f . . ., and i n t e r n a t i o n a l e q u i v a l e n t s , d o m i c i l by c h o i c e

       i n any and a l l l a n d s and s e a s t h a t a r e d o m i c i l by c r e a t i o n on the e a r t h o r

      o t h e r p l a c e s o f d o m i c i l t h a t may e x i s t , i n c l u s i v e o f i t s p a r e n t h o l d i n g
      s u b s i d i a r i e s , f r a n c h i s e s , a s s o c i a t e s , a f f i l i a t e s , assigns, successors or
      o t h e r p a r t n e r s and t h e i r departments by t h e p a s t a c t i o n s o f i t s o f f i c e r s ,
      employees, agents, c o n t r a c t o r s , o r l i c e n s e e s t h e r e t o o r an agent t h e r e o f ,
      known and unknown, domestic o r f o r e i g n , i n c l u s i v e o f t h e members o f the
      members, and the t h e members o f t h e c e n t r a l bank o f c e n t r a l banks, BANK FOR

      INTERNATIONAL SETTLEMENTS, NUNC PRO TUNC, PRAETEREA PRETEREA, any and a l l
      h e r e a f t e r r e f e r r e d t o a s CENTRAL BANKS, e t . a l . . Debtor, a c c e p t e d o f f e r
      p r o v i d i n g c u s t o d i a n s e r v i c e s from d a t e o f account a c t i v i t y , f o r s e c u r i n g
      p r i v a t e p r o p e r t i e s and v a l u e o f t h e one people o f Secured P a r t y , any and
      3.11
      v a l u e , r e g a r d l e s s o f t h e form i t may have taken o r been c o n v e r t e d t o
      i n c l u s i v e o f t a n g i b l e s , v a l u e c u r r e n t funds, p l a c e d i n t o s e c u r e d accounts
      by
      Secured P a r t y ; Any and a l l funds and v a l u e o f the one people o f t h e
      Secured P a r t y , i n c l u s i v e o f knowing o r unknowing l e v e r a g e d , borrowed,
      d e r i v e d , earned, generated o r o t h e r w i s e c r e a t e d , used o r c o l l e c t e d funds
      and
      v a l u e o f the one p e o p l e o f the Secured P a r t y ' ' s v a l u e and c u r r e n t funds
      p l a c e d i n t o s e c u r e d accounts, m i r r o r a c c o u n t s , t r a d e a c c o u n t s , o r the l i k e ,

      NUNC PRO TUNC, PRAETEREA PRETEREA, and i n c l u s i v e o f any and a l l a c c r u e d
      i n t e r e s t t o s e c u r e accounts i n c l u s i v e o f any and a l l accounts w i t h t h e name

    of any one o f the one people, o r Secured P a r t y , c o l l e c t i v e l y o r
    i n d i v i d u a l l y ; F i d u c i a r y o b l i g a t i o n s a c c e p t e d f o r any and a l l i n d i v i d u a l s ,
    i n c l u s i v e o f any and a l l v o l u n t a r y commercial i n d e n t u r e s o f t h e one
   p e o p l e ' ' s systems, o r any p e r s o n s o r e n t i t i e s a c t i n g o r c l a i m i n g t o a c t
   under CENTRAL BANKS, e t . a l . , NUNC PRO TUNC, PRAETEREA PRETEREA; Anv and
   all                                                                                                              ^
   f i d u c i a r y o b l i g a t i o n s and c o r p o r a t e l i a b i l i t y a c c e p t e d f o r CENTRAL BANKS
   e t . a l . , whether a c t i n g a s P r i n c i p a l , Agent, C o n t r a c t o r , o r o t h e r w i s e
   s e r v i n g t h e i r i n t e r e s t s over Secured P a r t y ' ' s i n t e r e s t t o any and a l l
   p r o p e r t i e s o f Secured P a r t y , NUNC PRO TUNC, PRAETEREA PRETEREA; NUNC PRO
   i w r e , PiwuairiTOEJv rmminnnD nM<ii,M i                        it....i          i              ^ ^          ^^
                                                                                                                   .^^ ^
R U N G O F R C E C O P Y - N A T I O N A L UCC RNANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV 07/29/98)




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                                                                                             Doc Type: EFINANCING
11. INITIAL FINANCING STATEMENT FILE # (sam ai ilim 1a on Ammlnwit tern)
       2000043135                                                                                PROCESSING                    $               5.00
12. NAME OF PARTY AUTHORIZING THIS AMENDMENT (lama a» ilam 9 on Anwndmwit (oun)
                                                                                                E-RECORD                       $              25.00
      12a. OROANtZATIONS NAME                                                                   ESURCHARGE                     $               6!50
       THE ONE PEOPLE, CREATED BY THE CREATOR
OR
      12b. INDIVIDUAL'S LAST NAME               FIRSTNAME               MIDDLE NAME.SUFFIX



13. U M this spaca for additional Information




                                                                                               THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY
      Of t h e one people o f Secured P a r t y and l e g a l o b l i g a t i o n s o f Debtor a s
      r e c o g n i z e d i n any and a l l j u r i s d i c t i o n s ; Secured P a r t y ' s one p e o p l e " s
      w r i t t e n d i r e c t i v e s and o r d e r s to be completed by c u s t o d i a n , CENTRAL BANKS,

      e t . a l . ; Done, e f f e c t i v e , and p e r f e c t e d from account a c t i v i t y .

      DULY RESTATED, RE-RATIFIED, RECONFIRMED, RE-DECLARED AND RE-NOTICED
      EFFECTIVE THIS 24th Day o f J u l y , 2012, by our bond and oath, e v i d e n c e d by

      our o r i g i n a l s i g n a t u r e and s e a l , made knowingly, w i l l i n g l y and
      i n t e n t i o n a l l y , w i t h u n l i m i t e d l i a b i l i t y , b e i n g o f a b s o l u t e c a p a c i t y and
      r e s p o n s i b i l i t y , sworn under t h e p e n a l t i e s o f p e r j u r y governed under the
      laws
      o f our c r e a t o r . Duly r a t i f i e d ; w i t h o u t p r e j u d i c e a s promised, p r e s e r v e d and

      p r o t e c t e d by p u b l i c p o l i c y , i n c l u s i v e o f UCC 1-308, and any and a l l the
      U n i t e d S t a t e s o f America F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s ,

     STATE OF . . ., S t a t e o f . . ., and i n t e r n a t i o n a l e q u i v a l e n t s ,                      hereafter
     UCC
     1-308: / s / Heather Ann T u c c i - J a r r a f , b o n d s e r v a n t to t h e c r e a t o r o f the
     one people and no o t h e r ; / s / C a l e b P a u l S k i n n e r , bondservant to t h e c r e a t o r

     o f t h e one people and no o t h e r ;                 / s / H o l l i s Randall           Hillner,         bondservant t o

     the c r e a t o r o f t h e one people and no o t h e r ;                       / s / Heather Ann T u c c i - J a r r a f ,

     the one p e o p l e ; / s / Caleb P a u l S k i n n e r ,             t h e one p e o p l e ; / s / H o l l i s R a n d a l l

     H i l l n e r , t h e one p e o p l e .

     Secured P a r t y , the c r e a t o r o f t h e one p e o p l e ; Bondservants o f t h e c r e a t o r ,

     the one people, c r e a t e d by t h e c r e a t o r , d o m i c i l by c r e a t i o n i n t h e i r body,

     the body d o m i c i l by c h o i c e on t h e l a n d s and s e a s d o m i c i l by c r e a t i o n on and

     i n e a r t h ; S a i d P a r t i e s c o r r e c t e d above due t o automated f i l i n g systems
     a l t e r i n g o r i g i n a l c a p a c i t y ( i e s ) and s t a n d i n g ( s ) , c o r r e c t i o n The U n i t e d
     s t a t e s o f America 1781 c o n s t r u c t i o n , o r i g i n a l n a t i o n a l s t a t e

        O F F I C E C O P Y - N A T I O N A L U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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l i . INITIAL RNANCING STATEMENT R L E # (sam* M IIMT. la on Anwndnwnt lam)
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      2000043135                                                                                             PROCESSING                                          5.00
12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (lama a« ilam 9 on Amwdmanl fomil
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     12a. ORQANIZATIONS NAME                                                                                ESURCHARGE                                           6.50
OR
      THE ONE PEOPLE, CREATED B Y THE CREATOR
     12B. INOIVIDUAL'S L A S T NAME                     HRSTNAME                    MIDDLE NAME.SUFFIX



13. U M    this s p a c e for additional Information




                                                                                                     _     THE ABOVE SPACE IS FOR R U N G O F R C E USE Of«.Y
     ''STATE OF . ,                                    o f t h e s e v e r a l s t a t e s o f t h e Union, and a l l
     international
     equivalents



     Debtor names added f o r i n d e x i n g

     CHARLES              C. M I L L E R          [AN A R T I F I C I A L    PERSON      & LEGAL         FICTION]
     CHARLES             C      MILLER            [AN A R T I F I C I A L    PERSON      & LEGAL         FICTION]
     CHARLES             C . M I L L E R D/B/A               CHARLES        C. M I L L E R
     THE UNITED                    S T A T E S F E D E R A L GOVERNMENT
     UNITED            STATES
     'STATE OF                 .    . .'
     THE       ONE       PEOPLE
     'PEOPLE OF                    . . .'
     BANK FOR                INTERNATIONAL                  SETTLEMENTS




          O F R C E COPY -     NATIONAL UCC RNANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV.




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                                  ANNEX 15

                               Case No. l:17inj-531




    TITLE                          DESCRIPTION                          PAGES


  Annex 15                 UCC record number 2012094308                     1 -7




                                                                         Pg. 1 of\


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                                                                                                                                Doc Type: EFINANCING
  ] A. NAME 4 PHONE OF CONTACT AT FILER [opdonalj
       The One P e o p l e s P u b l i c T                              253-509-4597                                                PROCESSING                                                               5.00
      B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                E-RECORD                                                                 25.00
             r                                                                                                                     ESURCHARGE                                                                6.50


       The One Peoples P u b l i c T r u s t 1776


      G i g Harbor, WA 98335


  1*. INITIAL FINANCING STATEMENT FILE #

      2000043135 - 05-04-2000
           TERMINATION:




  4.1 J A S S I G N M E N T (Ml or   paniai):   Giv. n a m , cf assignee in ilem 7 . or 7b and acdres. of as«gne. in i(.m 7c: and also give nam, of assignor In ii.m 9

  5    A M E N D M E N T ( P A R T Y I N F O R M A T I O N ) : This Amendment   affec, |Joab,or at |J Secured Fany of record.         Check only «     of . h a s ,       boxes

    Also   check  sm b' the following three boxes     and
                                                       provide appropriate infomiation m items 6 antfor 7.

       JCHANGE name and/or address: Give cunent record name in item 5a or 6b: also give new
        name (if name change) In item 7a or 7b and/or new address nf adc-ess chapgel ir tem 7c
 6, C U R R E N T R E C O R D INFORMATION:
                                                                                                       •) DELETE name: Give record name
                                                                                                       J to be deleted in item 6a or eb.                   1 ADD name: Complete item 7a or 7b, and also
                                                                                                                                                           1 Ilem 7c: also comoiete items 7d.7n frf a • •

        6a. ORGANIZATION'S NAME                                                 —   —             —       .               _ _ _ _ _


 OR
                                   .-"MU                                                      ;rlRSTNAME                                         ~
                                                                                                                                                     MIDDLE NAME                             SUFFIX
                                                                                              !
 7, C
        7a. ORGANIZATION'S NAMF                                                                       ~               •           —

              THE ONE PEOPLE, CREATED BY THE CREATOR
 OR
                                                                                              FIRST NAME                                  —    —
                                                                                                                                                     MIDDLE NAME                             SUFFIX


                                                                                              j CITY
                                                                                                                                                     STATE            POSTAL C O D E         COUNTRY

 7H TAy in M- QCM f\0 Clki
 Hi, lAAIUIF. S o n UK cIN          ORGAflliaTION                                            ; 71. JURISDICTION OF ORGANIZATION                      7g. ORGA NIZATIONAL ID #, ifany

                                    DEBTOR        1                                         1



  ALL RIGHTS RESERVED WITHOUT PREJUDICE: UCC Doc. # 2000043135, t h e
  p e r p e t u i t y hereby amended o n l y t o
  i n c l u d e the f o l l o w i n g a d d i t i o n a l c o l l a t e r a l :

 The c r e a t o r o f t h e one p e o p l e , and the one p e o p l e , d o m i c i l by c r e a t i o n i n
 the s t a t e o f t h e i r body, t h e i r body d o m i c i l by c h o i c e o f f r e e - w i l l on the
 a i r s , l a n d s , and s e a s d o m i c i l by c r e a t i o n i n and on the e a r t h , d u l y n o t i c e d
 secured, with p u b l i c
 r e g i s t r a t i o n by each s t a t e o f body c r e a t e d thereby, h e r e a f t e r s t a t e s o f


      |9a, ORGANIZATION'S NAME

       THE ONE PEOPLE CREATED BY THE CREATOR
OR
                                                                                             FIRSTNAME                                             MIDDLE NAME                              SUFFIX


10,OPTlONAL FILER REFERENCEDATA                                                                                                                                                         _


       Without p r e j u d i c e / s / Heather Ann T u c c i - J a r r a f , a s t r u s t e e / a s bondservant
FILING O F F I C E C O P Y -       NATIONAL U C C FINANCING S T A T E M E N T AMENDMENT (FORM UCC3) (REV. 07/29/98)




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                                                                                             WASH DC RECORDER OF DEEDS
                                                                                             IDA WILLIAMS
UCC FINANCING STATEMENT AMENDMENT ADDENDUM                                                   RECORDER OF DEEDS
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H . INITIAL FINANCING STATEMENT R L E # (sam* »Itam 1a on AnMndrnwH fomi)
      2000043135                                                                                 PROCESSING                                    5.00
                                                                                                 E-RECORD                                     25.00
12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (lam. a» ilam 9 on Amwdmant fomi)
     12a. OROAMZATIOliS fMME                                                                     ESURCHARGE                                    6.50
      THE ONE PEOPLE CREATED BY THE CREATOR
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME               MIDDLE NAME,SUFFIX



13. U M this spaca for additional Information




                                                                                               THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY


      Additional c o l l a t e r a l               info

     body, d u l y r e c o n f i r m e d and r a t i f i e d , n o t i c e d by p u b l i c r e g i s t r a t i o n , UCC
     Doc # 2012079290, r e s t a t e d and i n c o r p o r a t e d by r e f e r e n c e h e r e a s i f s e t
     f o r t h i n f u l l , h e r e a f t e r s t a t e s o f body;

     WHEREFORE the u n d e r s i g n e d bondservants t o the c r e a t o r , do r e - d e c l a r e and
     r e c o n f i r m , under t h e p e n a l t y o f p e r j u r y , a l i g n e d w i t h common law under t h e

     laws o f t h e c r e a t o r , by bond made w i t h f u l l p e r s o n a l r e s p o n s i b i l i t y and
     l i a b i l i t y , a s one f o r a l l and t h e r e b y a l l f o r one, and do i r r e v o c a b l y d u l y

     t a k e , make, bond, i n s u r e , guarantee, and s e c u r e t h e c r e a t o r ' ' s v a l u e and
     a s s e t s , i n c l u s i v e o f i n d e f e a s i b l e t i t l e and ownership t h e r e t o , a s f o l l o w s :




     The c r e a t o r ' ' s v a l u e and a s s e t s known a s t h e a i r s , l a n d s , and s e a s , and
     a n y t h i n g , t h e r e i n , t h e r e o f , therefrom, and t h e r e w i t h , i n c l u s i v e o f
     i n d e f e a s i b l e t i t l e and ownership t h e r e t o and t h e r e o f , h e r e a f t e r c r e a t o r ' ' s

     v a l u e and a s s e t s , d o m i c i l by c r e a t i o n on and i n t h e chosen o r i g i n a l
     c u s t o d i a n and t r u s t e e o f the c r e a t o r , a l s o known a s the p l a n e t e a r t h ,
     h e r e a f t e r e a r t h , NUNC PRO TUNC, PRAETEREA PRETEREA, d u l y n o t i c e d upon
     c r e a t i o n , never r e b u t t e d , d u l y r a t i f i e d , and r e l i e d upon by a l l b e i n g s and

     the world, r e g a r d l e s s o f d o m i c i l by c h o i c e ;

     S a i d c r e a t o r ' ' s v a l u e and a s s e t s d u l y p r o t e c t e d and s e c u r e d , by p i i b l i c
     p o l i c y , i n c l u s i v e o f UCC 1-103, and any and a l l t h e former U n i t e d S t a t e s o f

     America F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s , STATE OF . .
     S t a t e o f . . ., and i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r UCC 1-103, NUNC
     PRO
     TUNC, PRAETEREA PRETEREA;

     S a i d c r e a t o r ' ' s v a l u e and a s s e t s e x i s t i n g and o p e r a t i n g        under p r i n c i p l e o f

     law a l i g n e d w i t h common law under t h e laws o f t h e c r e a t o r , NUNC PRO TUNC,

FlUNG O F F I C E COPY - NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                       Case 1:17-mj-00531-DAR Document 2-1 Page
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UCC FINANCING STATEMENT AMENDMENT ADDENDUM (RECORDER OF DEEDS
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11. INITIAL RNANCING STATEMENT R L E # (sam* aa nam la on AmMKimM lom<)
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 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (aama »»ilam 9 on Anwndmant fomi)
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      12a. ORQANIZATtOffS NAME                                                         ESURCHARGE                      $                                              6.50
       THE ONE PEOPLE CREATED BY THE CREATOR
OR
      12b. INDIVIDUAL'S LAST NAME                  FIRSTNAME                           MIDDLE NAMESUFFIkl



13. U M thia spaca for additional Information




                                                                                                           I     THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY

      PRAETEREA PRETEREA, never r e b u t t e d , d u l y p r o t e c t e d and s e c u r e d , by p u b l i c
      p o l i c y , i n c l u s i v e o f UCC 1-103, and any and a l l the former U n i t e d S t a t e s o f

      America F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s , STATE OF .
      S t a t e o f . . ., and i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r UCC 1-103, NUNc'
      PRO
      TUNC, PRAETEREA PRETEREA;

      The e a r t h , a s u l t i m a t e and s u p e r i o r c u s t o d i a n , warehouseman, and t r u s t e e o f

      s a i d c r e a t o r ' ' s v a l u e and a s s e t s , h e r e a f t e r S u p e r i o r C u s t o d i a n , NUNC PRO
      TUNC, PRAETEREA PRETEREA, d u l y n o t i c e d upon c r e a t i o n t h e r e o f , r a t i f i e d by
      d o m i c i l by c r e a t i o n thereby, never r e b u t t e d , d u l y p r o t e c t e d and s e c u r e d , by

      p u b l i c p o l i c y , i n c l u s i v e o f UCC 1-103, and any and a l l t h e former U n i t e d
      S t a t e s o f America F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s STATE
      OF

      . . ., S t a t e o f . . ., and i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r UCC 1-103,

     NUNC PRO TUNC, PRAETEREA PRETEREA;

     S u p e r i o r Custodian d u l y o p e r a t i n g s a i d c r e a t o r ' ' s v a l u e and a s s e t s w i t h
     f u l l p e r s o n a l l i a b i l i t y t o t h e c r e a t o r , under t h e p e n a l t y o f p e r j u r y under

     the laws o f t h e c r e a t o r , NUNC PRO TUNC, PRAETEREA PRETEREA, never                                                                    rebutted,

     d u l y p r o t e c t e d and s e c u r e d , by p u b l i c p o l i c y , i n c l u s i v e o f UCC 1-103, and
     any and a l l t h e former U n i t e d S t a t e s o f America F e d e r a l Government, UNITED

     STATES, U n i t e d S t a t e s , STATE OF . . ., S t a t e o f . . ., and i n t e r n a t i o n a l
     e q u i v a l e n t s , h e r e a f t e r UCC 1-103;

     Any and a l l s t a t e s o f body, c r e a t e d by t h e c r e a t o r , e q u a l l y h a v i n g r i g h t o f

     o p p o r t u n i t y t o c o - e x i s t , co-operate                       and c o - t r u s t s a i d c r e a t o r " s v a l u e and

     a s s e t s w i t h the S u p e r i o r C u s t o d i a n , ONLY under t h e c o n d i t i o n o f bond and
     oath t o t h e c r e a t o r and the S u p e r i o r C u s t o d i a n , a b s e n t u s u r p a t i o n ,
     violation
     and i n v a s i o n t h e r e t o and t h e r e o f , d u l y made and s e c u r e d , under t h e p e n a l t y

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 11. INITIAL RNANCING STATEMENT R L E # (sam* a« itim l a on Anwndnwit tam)
      2000043135                                                                                     PROCESSING                     $                  5.00
                                                                                                     E-RECORD                       $                  25.00
12. NAME O F P A R T Y AUTHORIZING THIS AMENDMENT (lama a s iHm 9 on Amandnwnl fomi)
     12a. ORGANIZATION'S NAME                                                                        ESURCHARGE                     $                   6.50
      THE ONE PEOPLE CREATED BY THE CREATOR
OR
     12b. INDIVIDUAL'S LAST NAME                 FIRSTNAME                  MIDDLE NAME.SUFFIX



13. Use this space for additional Information




                                                                                                   THE ABOVE SPACE IS FOR R U N G O F R C E USE ONtY
      O f f e r o f custody              o f s a i d c r e a t o r ' ' s v a l u e and a s s e t s by S u p e r i o r          Custodian

      d u l y a c c e p t e d , r a t i f i e d , and n o t i c e d by p u b l i c r e g i s t r a t i o n i n t o
      I n t e r n a t i o n a l Law Ordinance; Any and a l l subsequent t r a n s f e r s o r l e d g e r s ,

     by l a w f u l means, commandering o r o t h e r w i s e , i n c l u s i v e o f ALL i d e n t i f i e r s ,
     s o c i a l s e c u r i t y numbers, a b b r e v i a t i o n s , ' idem sonans, o r o t h e r l e g a l ,
     f i n a n c i a l and managerial forms ( s e c u r e d a c c o u n t s ) , o r o t h e r w i s e purported
     to
     be h e l d i n custody o r p o s s e s s i o n by any and a l l s t a t e s o f body o r any and
     a l l systems o f any s t a t e s o f body, o r those purported t o be t h e former one

     p e o p l e ' ' s systems,                 i n c l u s i v e o f any and a l l e n t i t i e s and systems                purported

     to be t h e one people''s                         o r operated       on b e h a l f o f the one p e o p l e ,             inclusive

     of t h e former U n i t e d S t a t e s o f America F e d e r a l Government, UNITED STATES,
     U n i t e d S t a t e s , STATE OF . . ., S t a t e o f . . ., and i n t e r n a t i o n a l
     e q u i v a l e n t s , o r o t h e r w i s e i n t h e custody o r p o s s e s s i o n o f any and a l l
     states
     of body, domestic o r f o r e i g n , l o c a l o r n o n - l o c a l , a r e a m a t t e r o f p u b l i c
     r e c o r d , NUNC PRO TUNC; S a i d subsequent t r a n s f e r s o r l e d g e r s a c c e p t e d o f f e r

     by any and a l l s t a t e s o f body p r o v i d i n g c u s t o d i a n , warehouseman, o r t r u s t e e

     s e r v i c e s from date o f i n c e p t i o n , account                       a c t i v i t y , or otherwise t r a n s f e r r e d

     or l e d g e r e d i n any and a l l systems, l a w f u l l y o r o t h e r w i s e , f o r s e c u r i n g
     v a l u e o f the c r e a t o r . Secured P a r t y , any and a l l t a n g i b l e s , t h e c r e a t o r ' ' s

     v a l u e and a s s e t s d e p o s i t e d by c r e a t i o n w i t h the S u p e r i o r C u s t o d i a n by
     Secured P a r t y , NUNC PRO TUNC; S a i d c r e a t o r " s v a l u e and a s s e t s , i n c l u s i v e

     of knowing o r unknowing l e v e r a g e d , borrowed, d e r i v e d , earned,                                      generated o r

     o t h e r w i s e c r e a t e d , used o r c o l l e c t e d a s s e t s , p r o f i t s , d e r i v a t i v e s , o r o t h e r

     f u t u r e v a l u e from Secured P a r t y ' ' s v a l u e and a s s e t s and v a l u e p l a c e d i n t o
     s e c u r e d a c c o u n t s , m i r r o r a c c o u n t s , o r the l i k e , NUNC PRO TUNC, and
     inclusive
     off   a n y a n d a l l .aooMUQd               intoi?ee»    fee   a a e u f a    aBBBUntigi    i n a l u o i v o   of   any   awA   a l l
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      2000043135                                                                                      PROCESSING                                           5.00
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12. NAMEOF P A R T Y AUTHORIZING THIS AMENDMENT (»am*a«il*m 9 on Am«ndm«nt fomi)
     12a. ORGANIZATIONS NAME                                                                         ESURCHARGE                                            6.50
      THE ONE PEOPLE CREATED BY THE CREATOR
OR
     12b. INOIVIDUAL'S LAST NAME                FIRSTNAME                   MIDDLE NAME.SUFFIld



13. Use this spaca for additional Informalion




                                                                                              I     THE ABOVE SPACE IS FOR R U N G O F R C E USE   ONtY
      a l l t h e former U n i t e d S t a t e s o f America F e d e r a l Government, UNITED STATES,

      U n i t e d S t a t e s , STATE OF . . ., S t a t e o f . . ., and i n t e r n a t i o n a l
      e q u i v a l e n t s , NUNC PRO TUNC; Any and a l l f i d u c i a r y o b l i g a t i o n s , f u l l
      c o r p o r a t e l i a b i l i t y , and f u l l p e r s o n a l l i a b i l i t y a c c e p t e d f o r any and a l l
      s t a t e s o f body, and any and a l l systems c r e a t e d therefrom, i n c l u s i v e o f t h e

     former U n i t e d S t a t e s o f America F e d e r a l Government, UNITED STATES, U n i t e d
     S t a t e s , STATE OF . . ., S t a t e o f . . ., and i n t e r n a t i o n a l e q u i v a l e n t s , NUNC

     PRO TUNC, Whether a c t i n g a s P r i n c i p a l , Agent, C o n t r a c t o r , o r o t h e r w i s e
     s e r v i n g t h e i r i n t e r e s t s over Secured P a r t y ' s i n t e r e s t t o any and a l l o f
     the
     c r e a t o r ' ' s v a l u e and a s s e t s . Secured P a r t y , NUNC PRO TUNC; NUNC PRO TUNC
     o r i g i n a l a c t i v i t y under d u l y s e c u r e d c r e a t o r ' ' s v a l u e and a s s e t s and l e g a l

     and l a w f u l o b l i g a t i o n s o f any and a l l s t a t e s o f body a s r e c o g n i z e d i n any
     and a l l j u r i s d i c t i o n s , NUNC PRO TUNC; Secured P a r t y ' ' s d i r e c t i v e s and
     orders
     to be completed by t h e S u p e r i o r C u s t o d i a n and any and a l l s t a t e s o f body a s

     c o - c u s t o d i a n , c o - o p e r a t o r , and c o - t r u s t e e , w i t h bond and oath d u l y made,
     s e c u r e d and n o t i c e d a s r e q u i r e d by t h e c r e a t o r a s d i r e c t e d h e r e i n ; Done,
     e f f e c t i v e , p e r f e c t e d and c a l l a b l e from v a l u e and a s s e t c r e a t i o n by the
     c r e a t o r , d u l y r a t i f i e d by any and a l l subsequent t r a n s f e r s and l e d g e r s , o r

     o t h e r w i s e account a c t i v i t y , l a w f u l and o t h e r w i s e , NUNC PRO TUNC;

     WHEREAS THIS RE-CONFIRMATION AND RATIFICATION I S DULY MADE, ENTERED, AND
     SECURED, n o t i c e by p u b l i c r e g i s t r a t i o n , t o and on a l l s t a t e s o f body,
     f u r t h e r by i n t e r n a l d e l i v e r y methods a s w e l l a s open n o t o r i o u s n o t i c e by
     p u b l i c r e g i s t r a t i o n and p u b l i s h i n g on the world-wide web a t
     www.peoplestrustl776.org; NOTICE TO PRINCIPAL I S NOTICE TO AGENT; NOTICE TO

     AGENT I S NOTICE TO
     PRINCIPAL;

     DULY MADE, DONE, AUTHORIZED, and ISSUED, September 4, 2012, and KNOWINGLY,

     WILLINGLY, AND INTENTIONALLY RESTATED, RE-RATIFIED, RECONFIRMED, VERIFIED,

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 Case 3:17-cr-00082-TAV-DCP Document 25 Filed 08/18/17 Page 94 of 309 PageID #: 751
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      12a. ORGAMZATIOirS NAME                                                                                          ESURCHARGE                                      6.50
       THE ONE PEOPLE CREATED B Y THE CREATOR
OR
      12b. INOIVIDUAL'S LAST NAME                   FIRSTNAME                                 MIDDLE NAME.SUFFIXI




13. U M this spacs for additional Information




                                                                                                                I     THE ABOVE SPACE IS FOR R U N G OFWCE USE ONtY
       the U n i t e d S t a t e s o f America F e d e r a l Government, UNITED STATES, U n i t e d
       S t a t e s , STATE OF . . ., S t a t e o f . . ., and i n t e r n a t i o n a l e q u i v a l e n t s ,
       h e r e a f t e r UCC 1-308:

      Duly R e - D e c l a r e d and Reconfirmed a s S t a t e d h e r e i n , UCC 1-308: / s / Heather
      Ann T u c c i - J a r r a f , bondservant t o t h e c r e a t o r ; / s / Caleb P a u l S k i n n e r ,
      bondservant t o the c r e a t o r ; / s / H o l l i s R a n d a l l H i l l n e r , bondservant'to t h e

      c r e a t o r ; D u l y Accepted and R a t i f i e d , UCC 1-308: / s / Heather Ann
      T u c c i - J a r r a f , a s s t a t e o f body and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC

      PRO TUNC; / s / Caleb P a u l S k i n n e r , a s s t a t e o f body and c u s t o d i a n o f v a l u e
      d o m i c i l therein,NUNC PRO TUNC; / s / H o l l i s R a n d a l l H i l l n e r , a s s t a t e o f body

      and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC PRO TUNC; Duly Confirmed a s
      R e c e i v e d : / s / Heather Ann T u c c i - J a r r a f , a s T r u s t e e ; / s / Caleb P a u l
      Skinner,
      as T r u s t e e ; / s / H o l l i s R a n d a l l H i l l n e r , a s T r u s t e e ;

      The c r e a t o r b e i n g the c r e a t o r o f t h e s e v e r a l s t a t e s o f body, t h e one
      p e o p l e ; The s e v e r a l s t a t e s o f body b e i n g t h e one people d o m i c i l by c r e a t i o n

      i n s a i d s t a t e s o f body, the body d o m i c i l b y c h o i c e on t h e a i r s , l a n d s , and

      s e a s d o m i c i l by c r e a t i o n on and
      i n e a r t h ; e a r t h being the c r e a t o r s Superior Custodian,                                                r a t i f i e d by d o m i c i l

     by c r e a t i o n o f t h e a i r s , l a n d s and s e a s t h e r e i n and thereon; The U n i t e d
     s t a t e s o f America 1781 c o n s t r u c t i o n , o r i g i n a l n a t i o n a l s t a t e ; S a i d P a r t i e s

     c o r r e c t e d above due t o
     automated f i l i n g systems a l t e r i n g o r i g i n a l c a p a c i t y ( i e s ) and s t a n d i n g ( s )

     O r i g i n a l UCC-1 f i n a n c i n g statement Debtor names
     added f o r i n d e x i n g purposes

     CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C. MILLER D/B/A CHARLES C. MILLER
     the one people, c r e a t e d by t h e c r e a t o r
     (f»jwno»)i B h o Unii.tod CfaaiiQo Fedea-al a e ¥ B M M i i t n R 4 > ; m i U D B D mmEB,                                          »he e a w u a l
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    UCC FINANCING STATEMENT AMENDMENT ADDENDUM                                                  RECORDER OF DEEDS
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    1 i. INITIAL RNANCING STATEMENT R L E # (sama M itam la on AnwidmwK Inm)
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                                                                                                    E-RECORD                       $                  25.00
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         12a. ORGANIZATIONS NAME                                                                    ESURCHARGE                     $                   6.50
         THE ONE PEOPLE CREATED BY THE CREATOR
    OR
         I2b. INDIVIDUAL'S LAST NAME                FIRSTNAME              MIDDLE NAME,SUFFIX



    13. Use this spaca for additional Infonnation




                                                                                                  THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY


_        Debtor names added f o r i n d e x i n g

         THE ONE PEOPLE, CREATED BY THE CREATOR
         CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
         CHARLES C MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
         CHARLES C. MILLER D/B/A CHARLES C. MILLER
         THE UNITED STATES FEDERAL GOVERNMENT
         UNITED STATES
         THE SEVERAL STATES OF . . .
         AND ANY AND ALL INTERNATIONAL EQUIVALENTS




    FlUNG O F R C E C O P Y - NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                  ANNEX 16

                               Case No. 1:17 mj-531




    TITLE                          DESCRIPTION                          PAGES


  Annex 16                 UCC record number 2012094309                     1- 7




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  |A. NAME & PHONE OF CONTACT AT FILER [optonal]
     The One Peoples P u b l i c T                                        253-509-4597                                                             PROCESSING                                                        5.00
  |B. SEND ACKNOWLEDGMENT TO: (Nama and Address)                                                                                                  E-RECORD                                                          25.00

            r                                                                                                          1
                                                                                                                                                  ESURCHARGE                                                         6.50


     The One Peoples P u b l i c T r u s t 1776


     G i g Harbor, WA 98335
                                                                                                                      J
                                                                                                                                            THE ABOVE SPACE IS FOR FILING O F H C E USE ONLY
 1a. INITIAL FINANCING STATEMENT FILE #
                                                                                                                                                                      lb.   This FINANCING STATEMENT AMENDMENT Is
     2000043135 - 05-04-2000
         T E R M I N A T I O N : Eff«aiven.s. of Ihe Flnahgng Slatwh.nl identfied above is iemiinai^l wilh respea to s«nir,ly lm«.st(s) ol Ihe s i i m d p ! i ^ ^ l m o ^ ? n g ^ " " " " ' '
                                                                                                                                                                               diisTemUnationStatomem.




 4. I J A S S I G N M E N T (fuH or paniai): Giv. name of assignee in iiem 7a or 7b and aodress of assignee in item 7c: and also give nam, of assignor in il.m 9

 5. A M E N D M E N T ( P A R T Y I N F O R M A T I O N ) : This Amendment affects J o e b t o r           at | J "             Pany of record. Check only aos of these two boxes.
     Also c h « k ans of th. (ijllowing throe boxes aoii provid. appropnate infomialion m items 6 and,'or 7,

         CHANGE name and/or address: Give current record name in item Sa or 6b: also give new                          f - l DELETE namo- Give mmrd n^mn
                                                                                                                                                       i—i
   •     n a m , (if name chanoel in item 7a or 7h .nd/or now addmss iif adc"^^charoe> i^ ..om°7c                       M lo lik d ^ o S        uZTST'"'   ADDf lname: Complete item 7a or 7b, and also
                                                                                                                                                           item 7c: also complete items 7d.7o fif aoplkabki|.

        6a. ORGANIZATION'S NAME


 OR
                                                                                                      ; FIRST NAME                                                   MIDDLE NAME
                                                                                                      I

 7. C H A N G E D (NEW) OR ADDED INFORMATION:
       l7a. ORGANIZATION'S NAME

             THE ONE PEOPLE, CREATED BY THE CREATOR
OR
       7b. INDIVIDUAL'S U S T NAME                                                                     FIRST NAME
                                                                                                                                                                     MIDDLE NAME                       SUFFIX



                                                                                                                                                                     STATE     POSTAL C O D E          COUNTRY


7d. TAXID#:       SSNOREIN         ADD'L INFO RE 17o. T Y P E OF ORGANIZATION                         ; 7f. JURISDPCTION OF ORGANIZATION
                                   ORGANIZATION                                                                                                                      7g. ORGANIZATIONAL ID #, if any

                                   DEBTOR              I
8. A M E N D M E N T ( C O L L A T E R A L C H A N G E ) : check only aufl box.

     D.acnbe coltatefal Q d . l . W   o r ^ a d d a d . or give e n t i r . [ ] r e s i a : e d collateral descnption. or descnbe collateral [ ] a s s i g n e d .


 ALL RIGHTS RESERVED WITHOUT PREJUDICE: UCC Doc. # 2000043135, t h e
 p e r p e t u i t y hereby amended o n l y t o
 include the following a d d i t i o n a l c o l l a t e r a l ;

 DEMAND FOR EQUITY CALL and ORDER OF RECONCILATION, n o t i c e b y p u b l i c
 r e g i s t r a t i o n d u l y made b y t h e u n d e r s i g n e d b o n d s e r v a n t s o f t h e c r e a t o r ,
 a c c e p t e d and r a t i f i e d by t h e u n d e r s i g n e d s t a t e s o f body, and d u l y confirmed
 as r e c e i v e d by t h e u n d e r s i g n e d T r u s t e e s , UCC Doc. # 2012094308 w i t h R e c e i p t
 No. 1248179, September 4, 2012, r e s t a t e d and i n c o r p o r a t e d h e r e by r e f e r e n c e
9. N A M E O F S E C U R E D P A R T Y O F R E C O R D A U T H O R I Z I N G T H I S A M E N D M E N T (nameofas^^or.^thisis an Assignment). If this is an Am.ndmert au»ionz«l bv a Debtor w h » ,
   addscollateral or adds the authorang Debtor, or ,f this is a TemtinaHn- authcr«d by a Debtor, chock here H and ont» n            "                      Am.ndmer. authonz«l by a D*tor whch

       9a. ORGANIZATION'S NAME                                                                                                -LJ

       THE ONE PEOPLE CREATED BY THE CREATOR
OR
                                                                                                      FIRST NAME                                                     MIDDLE NAME                       SUFFIX


10.C


       Without            p r e j u d i c e / s / Heather Ann T u c c i - J a r r a f , a s T r u s t e e / a s                                                                  Bondservant
FILING O F F I C E COPY - NATIONAL U C C FINANCING STATEMENT AMENDMENT (FORM UCC3) (REV. 07/29/98)



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                                                                                    WASH DC RECORDER OF DEEDS
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UCC FINANCING STATEMENT AMENDMENT ADDENDUM I RECORDER OF DEEDS
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
                                                                                    Doc Type: EFINANCING
 11. INITIAL RNANCING STATEMENT R L E # (sam* aa itam la on Am«idm«i( forni)
        2000043135                                                                      PROCESSING                     $                                5.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (sam* a« it«m 9 on Amwdmant fomi)
                                                                                        E-RECORD                       $                                25.00
      12a. ORGANIZATIONS NAME                                                          ESURCHARGE                      $                                 6.50
       THE ONE PEOPLE CREATED BY THE CREATOR
OR
      12b. INDIVIDUAL'S LAST NAME               I FIRST NAME              M I D D U NAME,SUFFIX|



13. Use thia spaca for additional Information




                                                                                                    THE ABOVE SPACE 13 FOR R U N G O F R C E USE ONLY


      Additional c o l l a t e r a l                 info

      as i f s e t f o r t h i n f u l l , d u l y r a t i f i e d ;

      WITH FULL STANDING AND AUTHORITY, FOR CAUSE DULY RECORDED I N THE PUBLIC
      FORUM, RECONCILIATION o f s a i d c r e a t o r " s v a l u e and a s s e t s ARE DULY ORDERED

      by t h e undersigned b o n d s e r v a n t s , knowingly, w i l l i n g l y and i n t e n t i o n a l l y ,
      under bond, d u l y s e c u r e d and made w i t h f u l l p e r s o n a l l i a b i l i t y , a s f o l l o w s


     S a i d bondservants do DECLARE, by p u b l i c r e g i s t r a t i o n , t h a t c e r t a i n s t a t e s
     o f body, the systems and agents t h e r e t o , and any and a l l o t h e r s t a t e s o f
     body t a k i n g o r r e c e i v i n g an u n l a w f u l b e n e f i t , d i d and do knowingly,
     w i l l i n g l y , and i n t e n t i o n a l l y make c e r t a i n t r a n s a c t i o n s and t r a n s f e r s o f
     said
     c r e a t o r ' ' s v a l u e and a s s e t s , i n c l u s i v e o f t h o s e by any and a l l p r i v a t e
     money systems, i s s u i n g , c o l l e c t i o n , l e g a l enforcement systems, o p e r a t i n g
     SLAVERY SYSTEMS, o r o t h e r w i s e t h e t a k i n g o r r e c e i p t o f u n l a w f u l b e n e f i t by

     s a i d c e r t a i n s t a t e s o f body o f any and a l l s a i d c r e a t o r ' ' s d u l y s e c u r e d
     v a l u e and a s s e t s , a b s e n t f u l l p e r s o n a l l i a b i l i t y , u s u r p i n g , v i o l a t i n g , and

     i n v a d i n g the c r e a t o r ' ' s s t a n d i n g , a u t h o r i t y , v a l u e and a s s e t s , and
     p r i n c i p l e s o f law therefrom, NUNC PRO TUNC; That s a i d u s u r p a t i o n ,
     violation,                                                                                                 '
     and i n v a s i o n h a s caused a c t u a l damage t o t h e c r e a t o r , t h e c r e a t o r ' ' s                         value

     and a s s e t s , t h e S u p e r i o r C u s t o d i a n ' ' s a b i l i t y t o perform i t s d u t i e s and
     o b l i g a t i o n s t h e r e t o , a b s e n t t h e o p p o r t u n i t y f o r remedy from any and a l l
     s t a t e s o f body t h e r e o f , NUNC PRO TUNC; That s a i d u s u r p a t i o n , v i o l a t i o n and

     invasion of creator''s                         s a i d v a l u e and a s s e t s h a s and does r e s u l t i n c e r t a i n

     damages t h e r e t o and a r e a m a t t e r o f p i a b l i c r e c o r d , NUNC PRO TUNC;

     Due n o t i c e      of public             r e g i s t r a t i o n of Declaration,             with opportunity to cure

     a b s o l u t e l y made, and p u r s u a n t t o t h e d e c l a r e d p r i n c i p l e o f law a l i g n e d                    with

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       2000043135                                                                     PROCESSING                     $                 5.00
                                                                                     E-RECORD                        $                 25.00
 12. NAME OF PARTY AUTHORIZING THIS AMENDMENT (lanw a . ilam 9on Anwndnwnl forni)
      12a. ORGANIZATIONS NAME                                                        ESURCHARGE                      $                 6.50
      THE ONE PEOPLE CREATED BY THE CREATOR
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME         MIDDLE NAME.SUFFIX



13. Usa this spaca for additional Information




                                                                                   _    THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY

      common law under the laws o f the c r e a t o r , s a i d undersigned                            bondservants do

     now ORDER t h a t an immediate t r u e , a c c u r a t e and complete RECONCILLIATION o f

     s a i d c r e a t o r ' ' s v a l u e and a s s e t s , i n c l u s i v e o f i n d e f e a s i b l e t i t l e and
     ownership, be made t o the c r e a t o r by the s u p e r i o r bookkeeper t o the
     c r e a t o r " s S u p e r i o r C u s t o d i a n , w i t h a l l i n f e r i o r bookkeeping and l e d g e r i n g

     r e c o n c i l e d t h e r e t o a u t o m a t i c a l l y , d u l y p r o t e c t e d and s e c u r e d i n t o
     I n t e r n a t i o n a l Law Ordinance, b y p u b l i c p o l i c y , i n c l u s i v e o f UCC 1-103, and

     any and a l l the former U n i t e d S t a t e s o f America F e d e r a l Government, UNITED

     STATES, U n i t e d S t a t e s , STATE OF . . ., S t a t e o f . . ., and i n t e r n a t i o n a l
     e q u i v a l e n t s , h e r e a f t e r UCC 1-103, a s f o l l o w s :

     BY POWER OF DECLARATION and ORDER, any and a l l c l a i m s o f t i t l e ,                              ownership,

     custody, t r u s t , a u t h o r i t y , o r o t h e r w i s e p o s s e s s i o n o f any and a l l o f
     c r e a t o r " s d u l y s e c u r e d v a l u e and a s s e t s , s p e c i f i c a l l y the a i r s , s e a s , and

     l a n d s d o m i c i l by c r e a t i o n on and i n e a r t h , and a n y t h i n g ,       therein, thereof,

     therefrom, and t h e r e w i t h , i n c l u s i v e o f i n d e f e a s i b l e t i t l e and ownership
     t h e r e t o and t h e r e o f , a r e c a n c e l e d , NUNC PRO TUNC;

     BY POWER OF DECLARATION and ORDER, any and a l l c l a i m s o f s t a n d i n g o f
     c o - o p e r a t o r and c o - t r u s t e e o f s a i d c r e a t o r ' ' s d u l y s e c u r e d v a l u e and a s s e t s

     a r e c a n c e l e d , f o r cause, NUNC PRO TUNC; That s a i d c a n c e l l a t i o n i s
     i r r e v o c a b l y r e v e r s i b l e t o any and a l l s t a t e s o f body ONLY upon the
     undersigned T r u s t e e s r e c e i v i n g and d u l y s e c u r i n g due bond and oath, sworn
     by
     any and a l l s a i d s t a t e s o f body made under the p e n a l t y o f p e r j u r y , a l i g n e d

     w i t h common law, under the laws o f the c r e a t o r , w i t h f u l l                     personal
     r e s p o n s i b i l i t y t o the c r e a t o r ;

     BY POWER OF DECLARATION and ORDER, any and a l l a i r s , l a n d s and s e a s , and
     a n y t h i n g , t h e r e i n , t h e r e o f , therefrom, and t h e r e w i t h , i n c l u s i v e o f
I    i i n r i r i f f n n n i l n l n f i i J t l n nmri . . . . n j j. fcl.....*..^    • r g g t i o n on and i l . U._
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11. INITIAL RNANCING STATEMENT R L E # (sama u Ilam la on AmanknaM Inm)
      2000043135                                                                                      PROCESSING                                          5.00
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12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (aam. »«ilam 9 on Am«idm«nt (omi)
                                                                                                     ESURCHARGE                                           6.50
      THE ONE PEOPLE CREATED BY THE CREATOR
OR
     12b. INDIVIDUAL'S LAST NAME                 HRSTNAME                   MIDDLE NAME,SUFFIXi



13. Usa this spaca for additional Information




                                                                                              I      THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY
      BY POWER OF DECLARATION and ORDER, any and a l l c l a i m s , p r e s e n t a t i o n s o r
      r e p r e s e n t a t i o n s o f t h e c r e a t o r ' ' s d u l y s e c u r e d v a l u e and a s s e t s a r e n u l l ,

      v o i d and •worthless                    on t h e i r f a c e a s a m a t t e r o f I n t e r n a t i o n a l Law
      Ordinance,
        NUNC PRO TUNC;

      BY POWER OF DECLARATION and ORDER, s a i d RECONCILIATION o f t h e a i r s ,                                                  lands,

      and s e a s o f t h e c r e a t o r a r e a u t o m a t i c a l l y RETURNED, RECORDED, and LEDGERED

     by t h e s u p e r i o r bookkeeper and r e q u i r e no f u r t h e r r e c o n f i r m a t i o n o r
     s i g n a t u r e f o r r a t i f i c a t i o n i n any i n f e r i o r systems o r l e d g e r i n g ; S a i d
     RECONCILIATION, RETURN and LEDGER t h e r e o f d u l y made, e n t e r e d i n t o
     I n t e r n a t i o n a l Law Ordinance, s e c u r e d and n o t i c e d by p u b l i c r e g i s t r a t i o n ,
     a c c e p t e d and p r o t e c t e d , by p u b l i c p o l i c y , i n c l u s i v e o f UCC 1-103, and any
     and a l l t h e former U n i t e d S t a t e s o f America F e d e r a l Government, UNITED
     STATES, U n i t e d S t a t e s , STATE OF . . ., S t a t e o f . . ., and i n t e r n a t i o n a l
     e q u i v a l e n t s , h e r e a f t e r UCC 1-103;

     BY POWER OF DECLARATION and ORDER, any and a l l s t a t e s o f body, t h e i r
     a g e n t s , s h a l l be s e l f - r e s p o n s i b l e
     f o r complying w i t h t h i s ORDER OF RECONCILIATION; Absent s e l f r e s p o n s i b i l i t y

     by c h o i c e o f f r e e - w i l l , a s g r a n t e d by t h e c r e a t o r , b e i n g i m m e d i a t e l y
     e x e r c i s e d p u r s u a n t t o t h i s ORDER OF RECONCILIATION, each s a i d s t a t e s o f
     body, i n c l u s i v e o f any and a l l stibsequent and i n f e r i o r t r e a s u r i e s , systems,

     of any s t a t e s o f body t h a t d i d , do o r may h o l d , h a r b o r o r o t h e r w i s e c l a i m
     to have i n custody any and a l l c r e a t o r ' ' s d u l y s e c u r e d v a l u e and a s s e t s ,
     s h a l l be h e l d r e s p o n s i b l e and l i a b l e t o t h e c r e a t o r , and t h e s t a t e s o f body

     therefrom, w i t h an immediate t r u e , a c c u r a t e and complete bookkeeping
     r e c o n c i l e d by the s u p e r i o r bookkeeper, w i t h r e v o c a t i o n o f s a i d s t a t e s o f
     body, and the v a l u e d o m i c i l by c r e a t i o n t h e r e i n a u t o m a t i c a l l y r e t u r n e d t o
     the c r e a t o r a c c o r d i n g l y ;

     BY POWER OF DECLARATION and ORDER, h e r e a f t e r , any and a l l c o - t r u s t e e s and
     c o - o p e r a t o r s o f c r e a t o r ' ' s s a i d d u l y s e c u r e d v a l u e and a s s e t s s h a l l be made

     linowiinglTj,        oiHiitngly;              a n d infeeufciBwally       b y   aay     a a d    a l l   ofagtao    BS   bedyy      by
FlUNG O F F I C E C O P Y - NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)



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11. INITIAL RNANCING STATEMENT R L E # (sama >$ itam la on AmandmNK fomi)
       2000043135                                                                     PROCESSING                    $                               5.00
                                                                                     E-RECORD                       $                               25.00
 12. NAME OF PARTY AUTHORIZING THIS AMENDMENT (»ama a . ilam 9 on Amandmanl fomi)
      12a. OROAMZATIONS NAME                                                         ESURCHARGE                     $                               6.50
      THE ONE PEOPLE CREATED BY THE CREATOR
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME                 MIDDLE NAMasUFFIXl



13. Usa this spaca for addlllonal Infonnation




                                                                                           I    THE ABOVE SPACE IS FOR R U N G O F R C E USE OW.Y
      ***THIS EQUITY CALL I S PRE-PAID, PRE-AUTHORIZED, AND PRE-APPROVED***
      ***THIS ORDER OF RECONCILIATION I S PRE-PAID, PRE-AUTHORIZED, AND
      PRE-APPROVED***

      WHEREAS THIS ORDER OF RECONCILIATION I S DULY MADE, ENTERED, AND SECURED,
      n o t i c e by p t i b l i c r e g i s t r a t i o n , t o and on any and a l l s t a t e s o f body,
      without
      e x c e p t i o n , f u r t h e r by i n t e r n a l d e l i v e r y methods a s w e l l a s open n o t o r i o u s
      n o t i c e by p u b l i c r e g i s t r a t i o n and p u b l i s h i n g on t h e world-wide web a t
      www.peoplestrustl776.org; NOTICE TO PRINCIPAL I S NOTICE TO AGENT; NOTICE TO

     AGENT I S NOTICE TO PRINCIPAL;

     DULY MADE, DONE, AUTHORIZED, ORDERED, and ISSUED, September 4, 2012, and
     KNOWINGLY, WILLINGLY, AND INTENTIONALLY RESTATED, RE-RATIFIED, RECONFIRMED,

     VERIFIED, INSURED, and GUARANTEED, b e i n g o f a b s o l u t e s t a n d i n g , a u t h o r i t y ,
     and c a p a c i t y , sworn under t h e p e n a l t i e s o f p e r j u r y governed under t h e laws

     of our c r e a t o r , by our bond and oath, e v i d e n c e d by our o r i g i n a l s i g n a t u r e
     and s e a l , made w i t h u n l i m i t e d p e r s o n a l l i a b i l i t y ; Duly r a t i f i e d ; Without
     p r e j u d i c e a s promised, p r e s e r v e d and p r o t e c t e d by p u b l i c p o l i c y , i n c l u s i v e

     of UCC 1-308, and any and a l l former t h e U n i t e d S t a t e s o f America F e d e r a l
     Government, UNITED STATES, U n i t e d S t a t e s , STATE OF . . ., S t a t e o f .
     and i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r UCC 1-308:

     Duly D e c l a r e d and Ordered: / s / Heather Ann T u c c i - J a r r a f , bondservant t o
     the c r e a t o r ; / s / C a l e b P a u l S k i n n e r , bondservant t o t h e c r e a t o r ; / s / H o l l i s

     R a n d a l l H i l l n e r , bondservant t o the c r e a t o r ; Duly Accepted and R a t i f i e d ,
     UCC 1-308: / s / Heather Ann T u c c i - J a r r a f , a s s t a t e o f body and c u s t o d i a n ' o f

     v a l u e d o m i c i l t h e r e i n , NUNC PRO TUNC; / s / C a l e b P a u l S k i n n e r , a s s t a t e o f
     body and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC PRO TUNC; / s / H o l l i s
     R a n d a l l H i l l n e r , a s s t a t e o f body and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n ,
     NUNC PRO TUNC; Duly R a t i f i e d f o r Immediate Enforcement, UCC 1-308: / s /
     Heather Ann T u c c i - J a r r a f , a s T r u s t e e ; / s / C a l e b P a u l S k i n n e r , a s T r u s t e e ;
     / s / H o l l i s Randall H i l l n e r , a s Trustee;

     mha    o»aitto»          taoing     bho     oinggteei;   aS   feha   BBvaual     otatoen      o f   body;    t h e   ewa
FlUNG O F F I C E C O P Y - N A T I O N A L U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)



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      12a. OROAIMZATIONS NAME                                                        ESURCHARGE                                                                      5.50
      THE ONE PEOPLE CREATED B Y THE CREATOR
OR
     12b. INDIVIDUAL'S LAST NAME                 FIRSTNAME                           MIDDLE NAME,SUFFIXl



13. U M tN$ spacs for additional Information




                                                                                                                THE ABOVE SPACE 13 FOR R U N G O F R C E USE ONtY


     i n s a i d s t a t e s o f body, t h e body d o m i c i l by c h o i c e on t h e a i r s , l a n d s , and

     s e a s d o m i c i l by c r e a t i o n on and
     i n e a r t h ; e a r t h b e i n g t h e c r e a t o r s S u p e r i o r C u s t o d i a n , r a t i f i e d by d o m i c i l
     by c r e a t i o n o f t h e a i r s , l a n d s and s e a s t h e r e i n and t h e r e o n ; The U n i t e d
     s t a t e s o f America 1781 c o n s t r u c t i o n , o r i g i n a l n a t i o n a l s t a t e ; S a i d P a r t i e s

     c o r r e c t e d above due to
     automated f i l i n g systems a l t e r i n g o r i g i n a l c a p a c i t y ( i e s ) and s t a n d i n g ( s )

     O r i g i n a l UCC-1 f i n a n c i n g statement Debtor names
     added f o r i n d e x i n g purposes

     CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C. MILLER D/B/A CHARLES C. MILLER
     the one people, c r e a t e d by t h e c r e a t o r
     (former) The U n i t e d S t a t e s F e d e r a l Government, UNITED STATES, t h e s e v e r a l
     STATES OF . . ., and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s


     Debtor names added f o r i n d e x i n g

     THE     ONE      PEOPLE, CREATED                    BY    THE      CREATOR
     CHARLES          C. M I L L E R         [AN A R T I F I C I A L        PERSON         & LEGAL           FICTION]
     CHARLES          C MILLER             [AN A R T I F I C I A L        PERSON         & LEGAL           FICTION]
     CHARLES          C. M I L L E R        D/B/A        CHARLES          C.     MILLER
     THE     UNITED           S T A T E S F E D E R A L GOVERNMENT
     UNITED         STATES
     THE     SEVERAL STATES OF                       . . .
     AND A N Y        AND      A L L INTERNATIONAL                    EQUIVALENTS




FlUNG O F F I C E C O P Y -   NATIONAL U C C F I N A N C I N G S T A T E M E N T A M E N D M E N T A D D E N D U M (FORM UCC3Ad) (REV.   07/29/98)




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                                ANNEX 17

                              Case No. 1:17 mj-531




  TITLE                          DESCRIPTION                           PAGES


 Annex 17                UCC record number 2012113593                      1. 7




                                                                       Pg. 1 ofl


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                                                                                                                                   WASH DC RECORDER OF DEEDS
                                                                                                                                   IDA WILLIAMS
 UCC FINANCING STATEMENT AMENDMENT                                                                                                 RECORDER OF DEEDS
 F O a o w INSTRUCTIONS (front and back) C A R E R J I L Y
 [A. NAME 4 PHONE OF CONTACT AT FILER [optionall                                                                                   Doc Type: EFINANCING
     The One P e o p l e s P u b l i c T                               253-509-4597                                                    PROCESSING                                                         5.00
  B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                       E-RECORD                                                           25.00
                                                                                                                                      ESURCHARGE                                                          6.50
                                                                                                              1
     The One P e o p l e s P u b l i c T r u s t 1776


   G i g Harbor, WA                       98335




4. U    ASSIGNMENT ( M or p.ni.1): Q i " " a " i . ° > assignee in ilem 7a or 7b and a c d r e s . c f . s ^ g n . . in i.em 7c; and also give nam,   o f —

5. AMENDMENT (PARTY INFORMATION): This Ain.ndn,en. affect [ J o e b l o r g, [ J Secored Pany of record. ChacUnly a i . of these ^vo boxes '
   Also checkfioaof the following Ihree boxes anS provide appropriate information m items 6 and,'or 7.

       1 ?™^?r                                               "ams in Hem 5a or 6b: also give n e *
       J name (if name change) in item 7a nr 7b and/or new address iif adc-ess chanoel in lem 7c                  1 DELETE name: Give record name         q ADD name: Complete item 7a or 7b, and also




     7a, ORGANIZATION'S NAME


OR
            THE ONE PEOPLE, CREATED BY THE CREATOR, STATES OF BODY
     7b, INOIVIDUAL'S LAST NAME                                                                FIRST NAME
                                                                                                                                                      MIDDLE NAME                         SUFFIX

7c. MAILING ADDRESS
                                                                                              I CITY
                                                                                                                                                       STATE   POSTAL C O D E             COUNTRY

7d, TAXIDff:     SSNOREIN
                                  ORGWIWTION                                                  rnjURISDICTIONOFORGANIZATION                            7g. ORGANIZATIONAL ID #, if any
                                  DEBTOR            I

8, AMENDMENT (COLLATERAL CHANGE): check only ans box.

  Descnbe collateral Odeletmi or | ] added, or give eniir.nrestated collateral descnption, or descnbe collaleral • a s s i g n e d .


ALL RIGHTS RESERVED WITHOUT PREJUDICE: UCC Doc. # 2000043135 t h e
p e r p e t u i t y hereby amended o n l y t o i n c l u d e the f o l l o w i n g a d d i t i o n a l
c o l l a t e r a l as follows:

BY DUE RE-DECLARATION AND ORDER, t h e c r e a t o r of a l l t h a t e v e r was, e v e r i s
and e v e r w i l l be; S u p e r i o r Secured P a r t y ; F i r s t L i e n Holder; The c r e a t e d
b e i n g the c r e a t o r , e x t e n d i n g and expanding c o m p l e t e l y i n t o any and a l l
m a n i f e s t a t i o n s , i n any and a l l e x i s t e n c e , known and unknown, t h a t e v e r was
e v e r i s , and e v e r w i l l be; The u n d e r s i g n e d b o n d s e r v a n t s . T r u s t e e s , and


  |9a. ORGANIZATION'S NAME

     BONDSERVANTS, TRUSTEES, AND                                             STATES OF BODY




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                                                                                    WASH DC RECORDER OF DEEDS
                                                                                    IDA WILLIAMS
UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
F O U O W INSTRUCTIONS (front and bacK) CAREFULLY
11. INITIAL RNANCING STATEMENT R L E # (sam. n ilam la on AmandmM Ibmi)
                                                                                    Doc Type: EFINANCING
       2000043135                                                                       PROCESSING                                                  5.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (sam* a« ilam 9 on Amandmwl fomil
                                                                                       E-RECORD                                                    25.00
      12a. ORQANBATIOWS NAME                                                           ESURCHARGE                                                   6.50
 OR
        BONDSERVANTS, TRUSTEES, AND STATES OF BODY
       12b. INDIVIDUAL'S LAST NAME                FIRSTNAME             MIDDLE NAME,SUFFIX|



 13. U M thia space for additional Inforniation




                                                                                               THE ABOVE SPACE 13 FOR R U N G O F R C E USE ONLY


       Additional c o l l a t e r a l                info

       s t a t e s o f body,with due s t a n d i n g and a u t h o r i t y , r e c o n f i r m and r e - r a t i f y
       the d u l y e n t e r e d I n t e r n a t i o n a l Law O r d i n a n c e s , n o t i c e d by p u b l i c
       r e g i s t r a t i o n , UCC Doc # " s 2012079290, 2012079322, 2012088851, 2012088865,

       2012086794, 2012086802,                           2012094308, 2012094309, and 2012096047, p r e s e r v e d

      under p e r p e t u i t y , 2000043135, a l l r e s t a t e d and i n c o r p o r a t e d i n t h e i r
      e n t i r e t y h e r e by r e f e r e n c e a s i f s e t f o r t h i n f u l l , d u l y p r o t e c t e d and
      s e c u r e d , by p u b l i c p o l i c y , i n c l u s i v e o f UCC 1-103, and any and a l l t h e
      former U n i t e d S t a t e s o f America F e d e r a l Government, UNITED STATES, U n i t e d
      S t a t e s , STATE OP . . ., S t a t e o f . . ., and i n t e r n a t i o n a l e q u i v a l e n t s ,
      h e r e a f t e r UCC 1-103, NUNC PRO TUNC, PRAETEREA PRETEREA, n e v e r r e b u t t e d , and

      the u n d e r s i g n e d do DECLARE, ORDER, RECONFIRM, RATIFY and ACCEPT, a s
      follows:                                                                 '

      BY DECLARATION AND ORDER, t h e c r e a t o r - ' s v a l u e a s s e t c e n t e r s , d u l y
      e s t a b l i s h e d and v a l i d a t e d upon c r e a t i o n w i t h any and a l l v a l u e o f t h e
      c r e a t o r d u l y r a t i f i e d and r e c o n f i r m e d on d e p o s i t and f u l l y unencumbered, a s

      o r i g i n a l l y d o m i c i l t h e r e i n e q u a l l y by c r e a t i o n , and o t h e r v a l u e a s s e t
      c e n t e r s d u l y e s t a b l i s h e d and v a l i d a t e d by c r e a t i o n , i n any and a l l
      m a n i f e s t a t i o n s and e x i s t e n c e , known and unknown, i n c l u s i v e o f , b u t not
      l i m i t e d t o , the S u p e r i o r C u s t o d i a n and any and a l l s t a t e s o f body, UCC Doc

      # " s 2012079290, 2012079322, 2012088851, 2012088865, h e r e a f t e r                                        collectively

      and i n d i v i d u a l l y , c r e a t i o n ' ' s v a l u e a s s e t   centers;

      BY DECLARATION AND ORDER, c r e a t i o n ' ' s v a l u e a s s e t c e n t e r s b e i n g the
      o r i g i n a l , s o l e , and a b s o l u t e s u p e r i o r s t r u c t u r e , network and system b y
      c r e a t i o n f o r t h e l a w f u l and t r a n s p a r e n t e x i s t e n c e , c o - e x i s t e n c e , knowledge,

    co-knowledge, custody, co-custody, o p e r a t i o n , c o - o p e r a t i o n , c r e a t i o n ,
    c o - c r e a t i o n , u s e , and co-use, o f any and a l l c r e a t i o n " s v a l u e , i n c l u s i v e
    of
    any and a l l t r a c k i n g , t r a n s f e r , appointment, assignment, g i f t , and growth

FlUNG O F F I C E C O P Y - N A T I O N A L U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                                                                IDA WILLIAMS
UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
R a a O W INSTRUCTIONS (front and b»cK) CAREFULLY
11. INITIAL FINANCING STATEMENT FILE # (sanu »itam 1a on AmandmaM lomi)
                                                                                Doc Type: EFINANCING
       2000043135                                                                   PROCESSING                    $                              5.00
12. NAME OF PARTY AUTHORIZING THIS AMENDMENT (.am* a» itam 9 on Amandmant torn)
                                                                                   E-RECORD                       $                             25.00
      12a. ORGANIZATION'S NAME                                                     ESURCHARGE                     $                              6.50
 OR
        BONDSERVANTS, TRUSTEES, AND                           STATES OF BODY
       12b. INDIVIDUAL'S LAST NAME               [FIRSTNAME               MIDDLE NAME.SUFFIXI



 13. Use this spaca for addlllonal Information




                                                                                            _    THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY
       therefrom, under the p r i n c i p l e of common law,                              under the laws of             the
       creator,
       under the laws of c r e a t i o n , and i s and s h a l l be i r r e v o c a b l y c a l l e d and
       known a s CVAC, i n c l u s i v e o f i t s p a r t s , the CVAC S t r u c t u r e , CVAC System
       CVAC Network, and a l l the s u b - p a r t s t h a t may l a w f u l l y m a n i f e s t or be bound

       t h e r e u n d e r , as       follows:

      BY DECLARATION AND ORDER, the purpose of CVAC i s t o : 1.) p r e s e r v e and
      p r o t e c t any and a l l v a l u e of c r e a t i o n , i n c l u s i v e of the v a l u e o f the
      c r e a t o r , i n c l u s i v e of any and a l l v a l u e a s s e t c e n t e r s t h e r e t o ; 2.)
      preserve,
      p r o t e c t , and implement the r i g h t o f o p p o r t u n i t y of f r e e - w i l l of each, any
      and a l l c r e a t i o n " s m a n i f e s t a t i o n s , i n any e x i s t e n c e , known and unknown;

      to s i m p l i f y and u n i f y the laws governing any and a l l of c r e a t i o n ' ' s
      m a n i f e s t a t i o n s , i n any and a l l e x i s t e n c e , known and unknown, and e n t e r s a i d

      g o v e r n i n g laws i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e d by p u b l i c
      r e g i s t r a t i o n , f o r a l l c r e a t i o n to r e l y upon; 4.) to i r r e v o c a b l y e n s u r e
      l a w f u l and t r a n s p a r e n t e x i s t e n c e , c o - e x i s t e n c e , knowledge, co-knowledge,
      custody, co-custody, o p e r a t i o n , c o - o p e r a t i o n , use, and co-use t h e r e o f ,
      i n c l u s i v e of any and a l l t r a c k i n g , t r a n s f e r , appointment, assignment, g i f t ,

      and growth            therefrom, under the laws of c r e a t i o n ,                       f o r the h i g h e s t good of
      a l l , under         f u l l p e r s o n a l l i a b i l i t y of c r e a t i o n " s     value a s s e t centers, i n
      any and a l          l e x i s t e n c e and m a n i f e s t a t i o n , known and           unknown; and, 5.) to
      p e r m i t the       r i g h t o f o p p o r t u n i t y to l a w f u l l y l e d g e r     and account to zero, any

      and a l l l i a b i l i t i e s t h a t may and do e x i s t i n any and a l l u n l a w f u l , or
      s t r u c t u r e s i n f e r i o r to the l a w f u l s t r u c t u r e , i n c l u s i v e o f a l l owners,
      p a r t i c i p a n t s , and r e c i p i e n t s t h e r e t o , t h e r e u n d e r and t h e r e o f , t h a t may       and

      do e x i s t ;

      BY DECLARATION AND                    ORDER, the GOVERNING LAW                o f CVAC i s and          s h a l l be    aligned

    w i t h the laws of the           c r e a t o r under the laws of c r e a t i o n , w i t h the
    p r i n c i p l e o f s a i d laws a l i g n e d w i t h the p r i n c i p l e o f common law, and,
    unless
    fiiiioplaaad O B iQMohAb.1 «ir^ri In..          • I....    r            ••• ^      i     p
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                                                                                 IDA WILLIAMS
UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
F O a O W INSTRUCTIONS (front and back) CAReFULLY
1i. INITIAL RNANCING STATEMENT R L E # (sama a« itam la on Am*niim«ii fomi)
                                                                                 Doc Type: EFINANCING
       2000043135                                                                    PROCESSING                                                        5.00
 12. NAME OF PARTY AUTHORIZING THIS AMENDMENT (sama ai ilam 9 on Amandmant fomi)
                                                                                    E-RECORD                                                          25.00
      12a. ORQANttATIONS NAME                                                       ESURCHARGE                                                         6.50
 OR
        BONDSKRVANTS, TRUSTEES, AND                             STATES OF BODY
       12b. INOIVIOUAL'S LAST NAME               [FIRSTNAME                MIDDLE NAME.SUFFIXI



 13. U M thia spaca for additional Information




                                                                                                  THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY
       o r d e r to d u l y m a n i f e s t and o p e r a t e l a w f u l systems and networks operated
       t h e r e u n d e r to be a b s e n t of, and p r o t e c t e d from, undue i n f l u e n c e , s p e c i a l
       i n t e r e s t s and s e l f - i n t e r e s t of any k i n d t h a t may harm, i n c l u s i v e of
       v i o l a t i o n , u s u r p a t i o n , or i n v a s i o n , of any and a l l c r e a t i o n ' ' s v a l u e a s s e t

       c e n t e r s , t h a t were, a r e , or e v e r w i l l be m a n i f e s t e d and                   created,        i n any      and

       a l l e x i s t e n c e , known and unknown, under the laws o f c r e a t i o n , and                                   the laws

       o f the c r e a t o r          thereunder;

      BY DECLARATION AND ORDER, the INITIATION and ISSUANCE of any and a l l
      e x i s t e n c e and a c t i v i t y of c r e a t i o n and the c r e a t o r ' ' s v a l u e i s and s h a l l
      always be i n i t i a t e d and i s s u e d d i r e c t l y , by each, any and a l l c r e a t i o n ' ' s
      v a l u e a s s e t c e n t e r s t h e r e t o , a b s e n t accommodation, agreement, t a c i t or
      o t h e r w i s e , i n c l u s i v e of any and a l l e x i s t e n c e and a c t i v i t y of custody,
      co-custody, o p e r a t i o n , c o - o p e r a t i o n , c r e a t i o n , c o - c r e a t i o n , use, and
      co-use,
      i n c l u s i v e of any and a l l t r a c k i n g , t r a n s f e r , appointment, assignment, and
      growth therefrom; I n i t i a t i o n and I s s u a n c e i s and s h a l l be made knowingly,
      w i l l i n g l y and i n t e n t i o n a l l y , done w i t h o u t p r e j u d i c e by o r i g i n a l s i g n a t u r e
      and s e a l of each, any and a l l c r e a t i o n " s v a l u e a s s e t c e n t e r s , w i t h f u l l
      p e r s o n a l l i a b i l i t y , sworn under the p e n a l t y of p e r j u r y under the p r i n c i p l e

      of common law, under the laws of the c r e a t o r , under the laws o f c r e a t i o n ,
      p r e s e r v e d by p u b l i c p o l i c y , t h a t the f o r e g o i n g i s t r u e and a c c u r a t e ; Each,

      any and        a l l I n i t i a t i o n and            Issuance   s h a l l be   i n the FORM o r ORDER of                  lawful

      c o n t r a c t e n t e r e d i n t o by two or more o f c r e a t i o n ' ' s v a l u e a s s e t c e n t e r s ,
      i n c l u s i v e o f c o n s t i t u t i o n or t r e a t y , h e r e a f t e r c o n t r a c t ; S a i d c o n t r a c t i s
      and s h a l l be p e r f e c t e d as l a w f u l when e n t e r e d i n t o I n t e r n a t i o n a l Law
      Ordinance, n o t i c e d by p u b l i c r e g i s t r a t i o n f o r a l l c r e a t i o n ' ' s v a l u e a s s e t
      c e n t e r s to r e l y upon, which i s a c c o m p l i s h e d by f i l i n g on the o f f i c i a l
      Uniform Commercial Code r e g i s t r y ( i e s ) ;

      Lawful s t r u c t u r e defined:       The s t r u c t u r e under which c r e a t i o n extends and
      expands by m a n i f e s t a t i o n i n v a r i o u s forms, i n any and a l l e x i s t e n c e , known

    and unknown; Any and a l l m a n i f e s t a t i o n s e x i s t i n g , c o - e x i s t i n g , o p e r a t i n g ,
— " " f * °° ipoimtiing) i n unifay, gai. bha iiuj.^juuu BS feha h l y h a n t good uf a l l
R U N G OFFICE COPY -       NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCCSAd) (REV. 07/29/98)



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                                                                                     MASH DC RECORDER OF DEEDS
                                                                                     IDA WILLIAMS
UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
roaoW      INSTHUCTIONS (front and back) CAREFULLY
 11. INITIAL RNANCING STATEMENT R L E «(saim as itam 1a on A m m l i M M itm)
                                                                                     Doc Type: EFINANCING
       2000043135                                                                        PROCESSING                   $                               5.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (sam. aa ilam 9 on Amandmant fonn)
                                                                                        E-RECORD                      $                              25.00
      12a. Of^QANIZATIONS NAME                                                          ESURCHARGE                    $                               g.50
       BONDSERVANTS, TRUSTEES, AND STATES OF BODY
 OR
       12b. INDIVIDUAL'S U S T NAME              FIRSTNAME                 MIDDLE NAME.SUFFIX



 13. Us« this spacs fot additional infomiation




                                                                                            _    THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY
       A l l c r e a t i o n " s e x t e n s i o n s and e x p a n s i o n s , i n any and a l l m a n i f e s t a t i o n s ,
       known and unknown, o p e r a t i n g under the l a w f u l s t r u c t u r e , p u r s u a n t to the
       g o v e r n i n g law s e t f o r t h and r e q u i r e d h e r e i n , a r e deemed l a w f u l ; F r e e w i l l

       of c h o i c e o f any and a l l c r e a t i o n " s e x t e n s i o n s and e x p a n s i o n s a r e
       guaranteed by the l a w f u l s t r u c t u r e , i n c l u s i v e of the r e s p o n s i b i l i t y ,
       l i a b i l i t y and a c c o u n t a b i l i t y n a t u r a l l y and i n h e r e n t l y f l o w i n g therefrom-
       The                                                                                                                '
       f r e e w i l l of c h o i c e i n s u r e s t h a t the e x t e n s i o n s and e x p a n s i o n s of c r e a t i o n

      may c r e a t e o t h e r s t r u c t u r e s f o r the purpose of s e l f i n t e r e s t and s p e c i a l
      i n t e r e s t of each e x t e n s i o n and expansion of c r e a t i o n to know i t s t r u e
      nature
      and s o u r c e ; Other s t r u c t u r e s a r e p e r m i t t e d i n so f a r as t h o s e o t h e r
      s t r u c t u r e s do not u s u r p , v i o l a t e , or i n v a d e the i n t e r e s t s and the h i g h e s t
      good o f any and a l l o t h e r e x t e n s i o n s and e x p a n s i o n s of c r e a t i o n ; Any and
      ^2.1
      i n f e r i o r s t r u c t u r e s , networks and systems to the l a w f u l s t r u c t u r e h e r e i n
      d e f i n e d , may be deemed l a w f u l o n l y i n so f a r as t h e y do not u s u r p , v i o l a t e ,

      o r invade the l a w f u l s t r u c t u r e and the i n t e r e s t s , s t a n d i n g , a u t h o r i t y ,
      v a l u e and r i g h t s of the h i g h e s t good of a l l or any p a r t c r e a t i o n , i n c l u s i v e

      o f c r e a t i o n ' ' s v a l u e a s s e t c e n t e r s as d e f i n e d        i n t h i s DECLARATION             AND
      ORDER;
      The immediate implementation o f the CVAC, i n c l u s i v e of any and a l l l a w f u l
      s t r u c t u r e s , networks, and systems t h e r e u n d e r , by oath and bond sworn under

      p e n a l t y of p e r j u r y under the g o v e r n i n g law as s e t f o r t h and                        required
      herein,

      and d u l y submitted to the d u l y bonded guard. The                                    P u b l i c T r u s t , through i t s

      undersigned T r u s t e e s ,               w i t h t h e i r due   r e c e i p t entered into International                      Law

      Ordinance, n o t i c e d by p u b l i c r e g i s t r a t i o n , under a b s o l u t e                 transparency            and
      w i t h t h e i r f u l l p e r s o n a l l i a b i l i t y , made and done by oath and bond as s e t
      f o r t h and r e q u i r e d h e r e i n ;

       ***THE CVAC I S PRE-PAID, PRE-AUTHORIZED, AND PRE-APPROVED***
             CVAC MTD VSa imiBDIiTirDD DUB IHrLDllDNgjATIOlT 10
FlUNG O F F I C E C O P Y -   NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                           766
                                                                                          Doc# : 2012113593
                   Case 1:17-mj-00531-DAR Document 2-1 Filed
                                                       Page 08/02/17
                                                             6 of 7  Page 100 of 156
                                                                                                  Date: 10/22/2012            6:00AM
                                                                                                  F i l e d & Recorded i n
                                                                                                  O f f i c i a l Records o f
                                                                                                  WASH DC RECORDER OF DEEDS
                                                                                                  IDA WILLIAMS
UCC FINANCING STATEMENT A M E N D M E N T A D D E N D U M IRECORDER OF DEEDS
F O a O W INSTRUCTIONS (front and back) CAREFULLY
                                                                                                  Doc Type: EFINANCING
 U. INITIAL FINANCING STATEMENT FILE # (s«n. M ilam la on Amwtlnwnt tatm)
        2000043135                                                                                    PROCESSING                     $     5.00
                                                                                                     E-RECORD                        $    25.00
 12. N A M E O F PARTY A U T H O R I Z I N G T H I S AMENDMENT («am. aa ilwn 9 on Amandmant fomi)
      12a. ORGANIZATIONS NAME                                                                        ESURCHARGE                      $     6.50
      BONDSERVANTS, TRUSTEES, AND STATES OF BODY
OR
      12b. INOIVIDUAL'S LAST NAME               FIRSTNAME            MIDDLE NAME,SUFFIX



13. U M this spaca for additional Information




                                                                                           THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONtY
      r e g i s t r a t i o n , t o c r e a t i o n , t h e c r e a t e d , i n c l u s i v e o f any and a l l
      c r e a t i o n ' ' s v a l u e a s s e t c e n t e r s , i n any and a l l m a n i f e s t a t i o n and
      existence,
      known and unknown, without e x c e p t i o n , f u r t h e r by i n t e r n a l d e l i v e r y methods

      as w e l l a s open n o t o r i o u s n o t i c e by p u b l i c r e g i s t r a t i o n and p u b l i s h i n g on
      the world-wide web a t www.peoplestrustl776.org;

      NOTICE TO PRINCIPAL I S NOTICE TO AGENT; NOTICE TO AGENT I S NOTICE TO
      PRINCIPAL;

      DULY MADE, DONE, AUTHORIZED, ORDERED, and ISSUED, October 21, 2012, and
      KNOWINGLY, WILLINGLY, AND INTENTIONALLY RESTATED, RE-RATIFIED, RECONFIRMED,

      VERIFIED, INSURED, and GUARANTEED, b e i n g o f a b s o l u t e s t a n d i n g , a u t h o r i t y ,
      and c a p a c i t y , sworn under the p e n a l t i e s o f p e r j u r y governed under t h e laws

     o f our c r e a t o r , by our bond and oath, e v i d e n c e d by our o r i g i n a l s i g n a t u r e
     and s e a l , made w i t h u n l i m i t e d p e r s o n a l l i a b i l i t y ; Duly r a t i f i e d ; Without
     p r e j u d i c e a s promised, p r e s e r v e d and p r o t e c t e d by p u b l i c p o l i c y , i n c l u s i v e

     of UCC 1-308, and any and a l l former t h e U n i t e d S t a t e s o f America F e d e r a l
     Government, UNITED STATES, U n i t e d S t a t e s , STATE OF . . ., S t a t e o f .
     and i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r UCC 1-308:

     / s / Heather Ann T u c c i - J a r r a f , bondservant t o t h e c r e a t o r ; / s / C a l e b P a u l
     S k i n n e r , bondservant t o t h e c r e a t o r ; / s / H o l l i s R a n d a l l H i l l n e r ,
     bondservant t o t h e c r e a t o r ; Duly D e c l a r e d and Reconfirmed a s S t a t e d , UCC
     1-308: / s / Heather Ann T u c c i - J a r r a f , a s s t a t e o f body and c u s t o d i a n o f
     value
     d o m i c i l t h e r e i n , NUNC PRO TUNC; / s / C a l e b P a u l S k i n n e r , a s s t a t e o f body
     and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC PRO TUNC; / s / H o l l i s R a n d a l l
     H i l l n e r , a s s t a t e o f body and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC PRO

     TUNC; Duly Accepted and R a t i f i e d f o r Immediate Enforcement, UCC 1-308: / s /

     Heather Ann T u c c i - J a r r a f , a s T r u s t e e ; / s / C a l e b P a u l S k i n n e r , a s T r u s t e e ;
     / s / H o l l i s Randall H i l l n e r , as Trustee;

     The c r e a t o r b e i n g the c r e a t o r o f a l l t h a t e v e r was, e v e r i s , and e v e r
     u i i l l . iinaluoivo of t h'a o Q w u a .l
                                                   .    .
                                                   flfea»aB "eg bogly;      tihe o n o p o o p i o ; iphe eueafeiLd
FlUNG O F F I C E C O P Y - NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)



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                                                                                                    Date: 10/22/2012           6:00AM
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                                                                                                    O f f i c i a l Records o f
                                                                                                    WASH DC RECORDER OF DEEDS
                                                                                                    IDA WILLIAMS
UCC FINANCING STATEMENT AMENDMENT ADDENDUM                                                          RECORDER OF DEEDS
roaOW     INSTRUCTIONS (front and back) C A R E R J t L Y
                                                                                                    Doc Type: EFINANCING
  . INITIAL RNANCING STATEMENT R L E # (sun* as itam la on Annndmwx forni)
      2000043135                                                                                        PROCESSING                    $                    5.00
                                                                                                        E-RECORD                      $                   25.00
12. NAME OF P A R T Y AUTHORIgNG THIS AMENDMENT (.am* as il*m 9 on Am*odm«nt fomi)
     12*. ORQAMZATIONS NAME                                                                            ESURCHARGE                     $                    6.50
      BONDSERVANTS,                  TRUSTEES, AND STATES OF BODY
OR
     12b. INOIVIOIML'S LAST NAME                   FIRSTNAME                  MIDDLE NAME,SUFFI)d




13. Use this s p a M for additional Information




                                                                                                I     THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY
      e v e r i s , and e v e r w i l l be, i n c l u s i v e o f t h e s e v e r a l s t a t e s o f body b e i n g
      the one people d o m i c i l by c r e a t i o n i n s a i d s t a t e s o f body, the body d o m i c i l

      by c h o i c e on t h e a i r s ,                 l a n d s , and s e a s d o m i c i l by c r e a t i o n on and i n e a r t h ;

     E a r t h b e i n g the u l t i m a t e S u p e r i o r C u s t o d i a n o f a l l t h a t i s d o m i c i l by
     c r e a t i o n thereupon; The U n i t e d s t a t e s o f America 1781 c o n s t r u c t i o n ,
     original
     n a t i o n a l s t a t e ; S a i d P a r t i e s c o r r e c t e d above due t o automated f i l i n g
     systems a l t e r i n g o r i g i n a l c a p a c i t y ( i e s ) and s t a n d i n g ( s ) , c o r r e c t i o n


     Debtor names added f o r i n d e x i n g

     the one people, c r e a t e d by t h e c r e a t o r , s t a t e s o f body
     The (former) U n i t e d S t a t e s F e d e r a l Government
      (former) UNITED STATES
     the (former) s e v e r a l STATES OF . . .
     and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s
     CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C. MILLER D/B/A CHARLES C. MILLER


     Debtor names added f o r i n d e x i n g

     THE     ONE P E O P L E ,          CREATED         B Y THE CREATOR,          S T A T E S O F BODY
     THE      (FORMER) U N I T E D                STATES FEDERAL           GOVERNMENT
     (FORMER) U N I T E D               STATES
     THE      (FORMER)           SEVERAL           STATES OF       . . .
     AND A N Y AND A L L I N T E R N A T I O N A L                EQUIVALENTS
     CHARLES          C. M I L L E R        [AN A R T I F I C I A L    PERSON     & LEGAL           FICTION]
     CHARLES          C       MILLER        [AN A R T I F I C I A L    PERSON     & LEGAL           FICTION]
     CHARLES          C. M I L L E R D/B/A C H A R L E S              C. M I L L E R




FlUNG O F F I C E C O P Y -   NATIONAL UCC        FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)



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                                 ANNEX 18

                              Case No. 1:17 mj-531




  TITLE                          DESCRIPTION                           PAGES


 Annex 18                UCC record number 2012127914                      1 -6




                                                                       Pg. 1 0 / 1


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                                                                                                                                                       MASH DC RECORDER OF DEEDS
                                                                                                                                                       IDA WILLIAMS
  UCC FINANCING STATEMENT AMENDMENT                                                                                                                    RECORDER OF DEEDS
                                                                                                                                                       Doc Type: EFINANCING
      The One P e o p l e s P i i b l i c T 253-509-4597                                                                                                   PROCESSING                     $                                                 5 00
  B. SEND ACKNOWLEDGMENT TO: (Nama and Address)                                                                                                           E-RECORD                        $                                                25 00
              r                                                                                                                n
                                                                                                                                                          ESURCHARGE                      $                                                 6 50
      The One P e o p l e s P u b l i c T r u s t 1776


     G i g Harbor, WA 98335

              L                                                                                                               J

     2000043135 - 5-4-2000                                                                                                                                             to ba filed [for record) (or recorded) In Ihe
                                                                                                                                                                              •
 TT TERMINATION:                                                                                                                                                       REAL ESTATE RECORDS.
                                    Effectvenee. ofthe Finanong S t a t i n . , , ident^ed a b o s , t e n n i n a t e d with n..pea to aegntylnteresK.) o(»,e S ^ r ^ Rarty autfton.no mi.             r.^..,>r«>>,,,^

 T"        C O N T I N U A T I O N : ElfKtivwiMs of the Financing Stat.m.nt i c n t i f i M abov. with resoect to securitv interettlal of t h .
           continued for th* additional pehod provided by applicable law.                                            ^
                                                                                                                                                       e n , , ...^      .J-' ^   •
                                                                                                                           imerestis) ot t n . secured Party authorizing this Continuation Slatenwnt ia


 4. U      A S S I G N M E N T (full or paniai): Giv. n a m , of asslgnw in il.m 7 . or 7b and address of assignee in item 7c: and also giv. nam, of a s s i g n T I ^ Z T

 5. A M E N D M E N T ( P A R T Y I N F O R M A T I O N ) : This Amendment affects ( J o e b t o r                 at [J    Secured Party of record. Check only «             of these Nvo boxes.
      Also check S M of Ihe following Ihree boxes and provide appropnate infomialion m items 6 and,'or 7.

           CHANGE name and/or address: Give current record name in item 5a or 6b: also oive new                                f-1 npi m : nam... m . ™ ,
        nam.(ifn.mechande)inltem7aor7b.nd/nrn.w.dd,esslifadc"sg^rSanL'?,nmyc.                                                  H    Pn'h'^^lTn i l l ^ ' s ^ r ^°               •    ?em°7"c™^so c S S i J l S S : , ' ? d % ^ ' ^ 1also
                                                                                                                                                                                                                                    2
 6. C U R R E N T R E C O R D INFORMATION:                                                                                     "                                                U ' 1 ° " ' T c . also comoiete items 7d-7<i (if apph
        6a. ORGANIZATION'S NAME


 OR
        6b. INDIVIDUALS U S T NAME
                                                                                                               FIRSTNAME                                                      MIDDLE NAME                                  SUFFIX


 7. C H A N G E D (NEW) O R A D O E O INFORMATION:
       |7a. ORGANIZATION'S NAME

               THE PUBLIC TRUST
 OR
        7b. INDIVIDUAL'S U S T NAME
                                                                                                              iFIRST NAME
                                                                                                                                                                             [MIDDLE NAME                                  SUFFIX


7c, MAILING ADDRESS
                                                                                                                                                                             STATE      POSTAL C O D E                     COUNTRY


7d. TAXID#:          SSNOREIN            ADD'L INFO R E |7e. T Y P E OF ORGANIZATION                         ; 71. JURISDICTION OF ORGANIZATION
                                         ORGANIZATION                                                                                                                        7g, ORGANIZATIONAL ID #. If any "
                                         DEBTOR         I

8, AMENDMENT (COLLATERAL CHANGE): ch.ck only sna box.

     D . a o n b . c o t l . l « . l • d . l . t . d or g a d d e d , or giv. e n U r e Q r e s i a i e d collateral descnption, or descnbe collaleral Q a s s i g n e d ,


 ALL RIGHTS RESERVED WITHOUT PREJUDICE, UCC Doc. # 2000043135, t h e
 p e r p e t u i t y , i s hereby d u l y amended o n l y t o i n c l u d e t h e f o l l o w i n g a d d i t i o n a l
 c o l l a t e r a l a s f o l l o w s , and s a i d a d d i t i o n s h a l l be h e r e a f t e r r e f e r e n c e d and
 c i t e d a s NOTICE OF DECLARATION OF FACTS, U n i v e r s a l and I n t e r n a t i o n a l Law
 Ordinance UCC Doc. No. . . ., o r s h o r t e n e d t o UILO Doc. No. . . .:

 X. I n t e r n a t i o n a l Law Ordinance UCC Doc. No. 2012127907, w i t h R e c e i p t No
 1273051, s p e c i f i c a l l y A r t i c l e s I - I X and any and a l l s e c t i o n s t h e r e u n d e r a r e
 r e s t a t e d and i n c o r p o r a t e d i n i t s e n t i r e t y h e r e a s i f s e t f o r t h i n f u l l ;
9, NAME OF S E C U R E D P A R T Y OF RECORD AUTHORIZING THIS AMENDMENT (nameof
     ,^sc^ddstheau.on.ngDeblor,orlfd,isisaTennlna..^
      9a, ORGANIZATION'S NAME

       THE PUBLIC TRUST
OR
      9b, INDIVIDUAL'S U S T NAME
                                                                                                             FIRST NAME
                                                                                                                                                                             MIDDLE NAME                                 SUFFIX


10,OPTlONALFILERREFERENCEDATA


       Without p r e j u d i c e / s / H e a t h e r Ann T u c c i - J a r r a f , a s T r u s t e e , a s s t a t e o f body
FILING O F F I C E COPY - NATIONAL UCC FINANCING STATEMENT AMENDMENT (FORM UCC3) (REV.                                                                           07/29,98)


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                                            770
                 Case 1:17-mj-00531-DAR Document 2-1 Filed
                                                      Doc# 08/02/17  Page 104 of 156
                                                            : 2012127914
                                                                                   Page 2 of 6
                                                                                   Date: 11/28/2012           11:28AM
                                                                                   F i l e d & Recorded i n
                                                                                   O f f i c i a l Records of
                                                                                   WASH DC RECORDER OF DEEDS
                                                                                   IDA WILLIAMS
UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
F O a O W INSTRUCTIONS (front and back) C A R E F U I L Y
11 INITIAL FINANCING S T A T E M E N T R L E # (sam* aa ilam la on Amandm«« l»m)
                                                                                   Doc Type: EFINANCING
       2000043135                                                                      PROCESSING                    $                            5.00
                                                                                      E-RECORD                       $                           25.00
      12a. ORQAMZATIONS fMME          ~                     "                    —    ESURCHARGE                     $                            6.50
       THE PUBLIC TRUST
OR
     ia>. INOIVIDUAL-S LAST NAME               FIRSTNAME             M I D D U NAME,SUFFIX



13. UM thia spaca for additional Infomtaiion




                                                                                             THE ABOVE SPACE IS FOR R U N G O F R C E USE ONtY


      Additional c o l l a t e r a l              info

      Duly v e r i f i e d as d u l y r e c o n f i r m e d and r a t i f i e d , e n t e r e d i n t o U n i v e r s a l
      Law Ordinance, n o t i c e by a c t i o n o f e n t r y i n t o I n t e r n a t i o n a l Law Ordinance,

     n o t i c e by r e g i s t r a t i o n , p u b l i c p o l i c y UCC 1-202, m a t t e r o f r e c o r d , p u b l i c
     p o l i c y UCC 1-201(31);                                                                              ' ^

     XI.      A r t i c l e s I-X, and any and a l l s u b s e c t i o n s thereunder a r e r e s t a t e d , and

     the undersigned b o n d s e r v a n t s , s t a t e s o f body, and T r u s t e e s , a s PUBLIC
     SERVANTS, knowingly, w i l l i n g l y , and i n t e n t i o n a l l y d e c l a r e , r e c o n f i r m
     verify                                                                                                   '
     and e n t e r i n t o U n i v e r s a l Law Ordinance,               n o t i c e by a c t i o n d u l y e n t e r e d i n t o

     I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c r e g i s t r a t i o n , t h a t we d i d
     l a w f u l l y and l e g a l l y a c t and r e p r e s e n t on b e h a l f o f the a g g r i e v e d s t a t e s o f

     body d o m i c i l w i t h o u t p r e j u d i c e by c r e a t i o n on e a r t h , UCC 1-201(2, 31 and
     3 3 - 3 4 ) , d u l y guarded, p r e s e r v e d , and p r o t e c t e d by T r u s t , p u r s u a n t to'remedy

     d u l y p r e s e r v e d , p r o t e c t e d and guaranteed,           p u b l i c p o l i c y UCC 1-305, A r t i c l e

     I V s e c t i o n C, r e s t a t e d , UCC Doc. N o . " s 2012114093, 2012114586,
     2012114776, s p e c i f i c a l l y r a t i f y i n g UCC Doc. No. 2012096074, d u l y
     reconfirmed
     and r a t i f i e d by COMMERCIAL B I L L UCC Doc. No. 2012114586, d u l y r e c o n f i r m e d
     and r a t i f i e d by TRUE B I L L UCC Doc. No. 2012114776, a l l d u l y r e c o n f i r m i n g

     r a t i f y i n g 2012079290 and 2012079322, a s a m a t t e r o f r e c o r d , UCC                            1-201(31),

     specifically:


  A. Duly v e r i f i e d due NOTICE OF CANCELATION OF CHARTERS, p u r s u a n t t o p u b l i c

  p o l i c y , UCC 1-309, w i t h d u l y v e r i f i e d due TRUE B I L L , were d u l y i s s u e d
  a g a i n s t any and a l l P r i n c i p a l s , a g e n t s , and b e n e f i c i a r i e s o f , and any and
  a l l u n l a w f u l and i l l e g a l p r i v a t e money systems, i s s u i n g , c o l l e c t i o n , l e g a l


       O F R C E C O P Y - N A T I O N A L U C C RNANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)


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11. INITIAL RNANCING STATEMENT R L E # (sanw a$ itam 1a on AmandmaM fomi)
      2000043135                                                                                       PROCESSING                     $                   5.00
                                                                                                      E-RECORD                        $                  25.00
12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (lama a» ilam 9 on Amandmant fomi)
     12a. ORQAI«ZATIONS NAME                                                                          ESURCHARGE                      $                   6.50
      THE PUBLIC TRUST
OR
     12b. INOIYIDUAL'S LAST NAME                FIRSTNAME                   MIDDLE NAME,SIJFFj)q



13. Usa this spaca for additional Infomiation




                                                                                               I     THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY
      enforcement systems t h e r e t o , o p e r a t i n g SLAVERY SYSTEMS a g a i n s t s t a t e s o f
      body w i t h o u t s a i d s t a t e s o f body''s knowing, w i l l i n g , and i n t e n t i o n a l
      c o n s e n t , s p e c i f i c a l l y BANKS and BRANCHES t h e r e t o , p u b l i c p o l i c y UCC 1-201(4

      and 7 ) , NUNC PRO TUNC, PRAETEREA PRETEREA, was d u l y e n t e r e d i n t o
      I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c r e g i s t r a t i o n , unrebutted,
      duly
      v e r i f i e d a s a matter o f r e c o r d , UCC 1-201(31), s p e c i f i c a l l y : (1.)
      A r t i c l e s I - V I I I and any and a l l s e c t i o n s and t h e i r s u b - s e c t i o n s thereunder

      a r e r e s t a t e d , and knowledge t h e r e o f d u l y v e r i f i e d a s d u l y r e c e i v e d by s a i d

     P r i n c i p a l s , agents, and b e n e f i c i a r i e s , and s a i d SLAVERY SYSTEMS t h e r e t o ,
     and
     were l a w f u l l y and l e g a l l y d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance,
     n o t i c e by p u b l i c r e g i s t r a t i o n , UCC 1-202, i n c l u s i v e o f d u l y s e c u r e d a s
     CUSTODIANS, UCC Doc. No. 2012079322, under P r i n c i p a l Agent D o c t r i n e ,
     p r e s e r v e d by p u b l i c p o l i c y , UCC 1-103, s p e c i f i c a l l y CUSTODIAN BANK FOR
     INTERNATIONAL SETTLEMENTS B I S , UCC 1 - 2 0 1 ( 4 ) , a s p r i n c i p a l , agent and
     b e n e f i c i a r y o f and t o any and a l l u n l a w f u l and i l l e g a l p r i v a t e money
     systems, i s s u i n g , c o l l e c t i o n , l e g a l enforcement systems, o p e r a t i n g SLAVERY

     SYSTEM, d u l y v e r i f i e d a s d u l y FORECLOSED, i n c l u s i v e o f ANY AND ALL
     BRANCHES,
     UCC 1 - 2 0 1 ( 7 ) , i n c l u s i v e o f B I S MEMBERS (any and a l l CENTRAL BANK, f i n a n c i a l

     i n s t i t u t i o n , c o r p o r a t i o n and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s ) , AND
     ANY AND ALL THE MEMBERS THERETO and THEREUNDER (any and a l l n a t i o n a l ,
     state,
     and p r i v a t e banks, f i n a n c i a l i n s t i t u t i o n , c o r p o r a t i o n , and any and a l l
     i n t e r n a t i o n a l e q u i v a l e n t s , r e - o r g a n i z e d under CENTRAL BANK membership,
     i n c l u s i v e o f t h e c u r r e n t r e - o r g a n i z a t i o n b e g i n n i n g 1918), u n r e b u t t e d ; (2.)

     Duly v e r i f i e d due presentment o f t h e u n d e r s i g n e d b o n d s e r v a n t s , s t a t e s o f
     body, and T r u s t e e s o f r e c o r d o f the P u b l i c T r u s t , a t B I S , w i t h d u l y
     verified
     due NOTICE OF DEMAND FOR ACCOUNT(S) INSPECTION AND BOOKKEEPING,
     s p e c i f i c a l l y o f any and a l l g o l d and s i l v e r a c c o u n t s and h o l d i n g s , p u r s u a n t

     to d u l y v e r i f i e d due FORECLOSURE and DECLARATIONS AND ORDERS, i n c l u s i v e o f

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                                                                                 IDA WILLIAMS
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11. INITIAL RNANCING STATEMENT R L E # (sama a> ilam l a on A m a n d m M Ibmi)

       2000043135                                                                    PROCESSING                     $                       5.00
                                                                                     E-RECORD                       $                      25.00
 12. NAME OF PARTY AUTHORIZING THIS AMENDMENT (sama aa ilam 9 on Amandmant (omi)
      12a. ORGANIZATIONS NAME                                                       ESURCHARGE                      $                       6.50
      THE PUBLIC TRUST
OR
     12b. INOIVIDUAL-S LAST NAME                FIRSTNAME        MIDDLE NAME.SUFFixi



13. Use this spaca for additional Information




                                                                                   I   THE ABOVE SPACE IS FOR R U N G O F R C E USE OW.Y
     and
     l e g a l l y d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c
     r e g i s t r a t i o n , u n r e b u t t e d , s p e c i f i c a l l y UCC Doc. No.''s 2012114093; (4.)
     A r t i c l e V I I I s e c t i o n C s u b s e c t i o n 3 i s r e s t a t e d , and t h e u n d e r s i g n e d do
     duly
     v e r i f y t h a t they d i d a c c e p t d u l y v e r i f i e d due NOTICE OF INTENT TO DEFAULT
     and NOTICE OF INSOLVENCY, p u b l i c p o l i c y UCC 1-201(23), s p e c i f i c a l l y
     unlawful
     and i l l e g a l r e f u s a l t o p e r m i t due l a w f u l and l e g a l INSPECTION and
     BOOKKEEPING, a s knowingly, w i l l i n g l y and i n t e n t i o n a l l y made and g i v e n by
     B I S , a s CUSTODIAN and a s P r i n c i p a l , agent, and b e n e f i c i a r y o f and t o s a i d
     SLAVERY SYSTEMS, and d u l y v e r i f i e d due NOTICE OF DEFAULT, NOTICE OF
     REVOCATION, TERMINATION, AND CANCELLATION OF CUSTODIAN and COMMERCIAL B I L L ,

     were d u l y made and g i v e n , and l a w f u l l y and l e g a l l y d u l y e n t e r e d i n t o
     I n t e r n a t i o n a l Law Ordinance, u n r e b u t t e d , s p e c i f i c a l l y UCC Doc. No.
     2012114093 and 2012114586;

     B. A r t i c l e X I s e c t i o n A s u b s e c t i o n s 1-4 a r e r e s t a t e d , and knowledge
     t h e r e o f d u l y v e r i f i e d a s d u l y r e c e i v e d by s a i d P r i n c i p a l s , a g e n t s , and
     b e n e f i c i a r i e s , p u b l i c p o l i c y UCC 1-202 and 1-103, s p e c i f i c a l l y P r i n c i p a l
     Agent D o c t r i n e , and d u l y v e r i f i e d due TRUE B I L L , p u r s u a n t t o p u b l i c p o l i c y

     1-305, was d u l y i s s u e d a g a i n s t B I S , a s CUSTODIAN and a s P r i n c i p a l , agent,
     and b e n e f i c i a r y o f and t o s a i d SLAVERY SYSTEMS, f o r c a u s e , s p e c i f i c a l l v
     that
     t h e r e was no m i s t a k e , and t h a t t h e y were u n w i l l i n g o r i n c a p a b l e t o produce

     s a i d a c c o u n t s f o r s a i d due i n s p e c t i o n and bookkeeping, w a i v i n g any and a l l

     r i g h t s and o p p o r t u n i t i e s g r a n t e d t o c u r e , knowingly, w i l l i n g l y , and
     i n t e n t i o n a l l y choosing t o f o r e c l o s e upon themselves w i t h o u t t h e p o s s i b i l i t y

     o f d e f e n s e , u n r e b u t t e d , and was l a w f u l l y and l e g a l l y d u l y e n t e r e d i n t o
     I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c r e g i s t r a t i o n , u n r e b u t t e d ,
     s p e c i f i c a l l y UCC Doc. N o . " s 2012114776, TRUE B I L L UCC Doc. No. 2012114776,

     s p e c i f i c a l l y r a t i f y i n g UCC Doc. No. 2012114093, 2012114586, 2012096074, and

     A r t i c l e I , restated;

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roaOW INSTWUCTtONS (front and back) CAREFULLY
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   . INITIAL FINANCING STATEMENT FILE # (sama a> ilim l a on AmandmaM fomi)
       2000043135                                                                    PROCESSING                     $                            5.00
                                                                                     E-RECORD                       $                           25.00
 12. NAME OF PARTY AUTHORIZING THIS AMENDMENT (sama aa ilam 9 on Amandmant fomi)
      12a. ORQAMZATICm NAME                                                          ESURCHARGE                     $                            6.50
       THE PUBLIC TRUST
OR
     12b. INOIVIOUAL'S LAST NAME                iFIRST NAME                MIDDLE NAME.SUFFIX|



13. Use this spaca for additional infomiation




                                                                                             I   THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY
      and T r u s t e e s do knowingly, w i l l i n g l y , and i n t e n t i o n a l l y d e c l a r e , c o n f i r m ,
      and v e r i f y t h i s NOTICE OF DECLARATION OF FACTS i s knowingly, w i l l i n g l y and

      i n t e n t i o n a l l y made, sworn and v e r i f i e d a s b e i n g l a w f u l l y and l e g a l l y duly
      made, g i v e n , known, s e c u r e d , e n t e r e d , n o t i c e d , and knowledge t h e r e o f duly
      r e c e i v e d , p u b l i c p o l i c y UCC 1-202, s p e c i f i c a l l y by any and a l l P r i n c i p a l s ,

      a g e n t s , and b e n e f i c i a r i e s any and a l l u n l a w f u l and i l l e g a l p r i v a t e money
      systems, i s s u i n g , c o l l e c t i o n , l e g a l enforcement systems, o p e r a t i n g SLAVERY

      SYSTEMS, under governing                           law, p r e s e r v e d and p r o t e c t e d under p e r p e t u i t y , a s

     h e r e i n s t a t e d , r e s t a t e d , w i t h a d d i t i o n a l due n o t i c e made and g i v e n v i a
     world-wide web, f u r t h e r p o s t e d a t www.peoplestrustl776.org, f o r a l l s t a t e s

     o f body, the u n i v e r s e and c r e a t i o n t o r e l y upon and c i t e , l a w f u l l y and
     l e g a l l y c o n s t i t u t i n g d u l y v e r i f i e d and bonded u n d e r w r i t i n g o f the v a l u e o f

     c r e a t i o n and i t s v a l u e a s s e t c e n t e r s h e r e i n h e r e i n d u l y i d e n t i f i e d and d u l y

     s e c u r e d and e n t e r e d i n t o U n i v e r s a l and I n t e r n a t i o n a l Law O r d i n a n c e s , a s a
     matter o f r e c o r d , p u b l i c p o l i c y UCC 1-201(31); NUNC PRO TUNC, PRAETEREA
     PRETEREA, UNREBUTTED;

     NOTICE TO PRINCIPAL I S NOTICE TO AGENT AND NOTICE TO AGENT I S NOTICE TO
     PRINCIPAL, p u b l i c p o l i c y UCC 1-103, without p r e j u d i c e UCC 1-308,
     unrebutted.



     DULY VERIFIED a s ISSUED, w i t h due s t a n d i n g , a u t h o r i t y and a u t h o r i z a t i o n ,
     November 28, 2012, knowingly, w i l l i n g l y and i n t e n t i o n a l l y made, g i v e n , and

     n o t i c e d , w i t h u n l i m i t e d p e r s o n a l l i a b i l i t y , sworn under the p e n a l t i e s o f
     p e r j u r y i n accordance w i t h l a w f u l U n i v e r s a l C o n t r a c t , under governing law.

     I n t e r n a t i o n a l Law Ordinance UCC Doc No. 2012113593 and WA UCC Doc. No.
     2012-296-1209-2, p r e s e r v e d and p r o t e c t e d under p e r p e t u i t y 2000043135,
     guaranteed, p r o t e c t e d and s e c u r e d , p u b l i c p o l i c y , UCC 1-103, common law
     remedy thereunder guaranteed, p u b l i c p o l i c y , UCC 1-305; Duly w i t n e s s e d ,
     s e c u r e d , e n t e r e d and n o t i c e d ; Without p r e j u d i c e a s promised, p r e s e r v e d , and

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11. INITIAL RNANCING STATEMENT R L E # (sama a* Ilam la on Amandmant fomi)
                                                                                                  PROCESSING                      $                    5.00
     2000043135
                                                                                                  E-RECORD                        $                   25.00
I Z NAMEOF PARTY AUTHORIZING THIS AMENDMENT ( i a m a a » i t a m 9 o n Amandmant fomi)
    12a. ORGANIZATIONS NAME                                                                       ESURCHARGE                      $                    6.50
     THE PUBLIC TRUST
    12b. INDIVIDUAL'S LAST NAME                 pRSTNAME                  I MIDDLE NAME.SUFFIXI



13. Use thia spaca for addlllonal Information




                                                                                                  THE ABOVE SPACE IS FOR R U N G O F R C E USE OW.Y

      ;     / s / Heather Ann T u c c i - J a r r a f , a s bondservant; / s / Caleb P a u l S k i n n e r , a s

     bondservant; / s / H o l l i s R a n d a l l H i l l n e r ,                    a s bondservant;              / s / Heather Ann

     T u c c i - J a r r a f , as s t a t e o f body; / s / C a l e b P a u l S k i n n e r , a s s t a t e o f body;
     / s / H o l l i s R a n d a l l H i l l n e r , a s s t a t e o f body.

     Any and a l l I n t e r n a t i o n a l Law O r d i n a n c e s ' ' p r i o r c o r r e c t i o n s made t o
     c a p a c i t y and s t a n d i n g o f t h e c r e a t o r , c r e a t e d , s t a t e s of body, t h e s e v e r a l

    u n i t e d s t a t e s o f America, and t h e P t i b l i c T r u s t , due t o automated f i l i n g
    systems a l t e r i n g o r i g i n a l c a p a c i t y ( i e s ) and s t a n d i n g ( s ) w i t h o u t c o n s e n t * ,
    r e s t a t e d and i n c o r p o r a t e d by r e f e r e n c e h e r e i n as i f s e t i n f o r t h i n f u l l ,
    r e s t a t e d h e r e , s p e c i f i c a l l y A r t i c l e I . : Debtor names added f o r i n d e x i n g
    and
    c o r r e c t i n g c a p a c i t y and s t a n d i n g * : P u b l i c T r u s t ; The U n i t e d S t a t e s of
    America, a P u b l i c T r u s t ; CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL
    FICTION] ; CHARLES C MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION] ;
    CHARLES C. MILLER D/B/A CHARLES C. MILLER; and, BANK FOR INTERNATIONAL
    SETTLEMENTS [BIS] ; B I S , a s p r i n c i p a l , agent, and b e n e f i c i a r y o f any and
    all
    P r i n c i p a l s , a g e n t s , and b e n e f i c i a r i e s o f , and any and a l l u n l a w f u l and
    i l l e g a l p r i v a t e money systems t h e r e t o , i s s u i n g , c o l l e c t i o n , l e g a l
    enforcement systems, o p e r a t i n g SLAVERY SYSTEMS a g a i n s t s t a t e s o f body
    w i t h o u t s a i d s t a t e s o f body''s knowing, w i l l i n g , and i n t e n t i o n a l c o n s e n t ,
    NUNC PRO TUNC, PRAETEREA PRETEREA, i n c l u s i v e o f UNITED STATES TREASURY ;
    FEDERAL RESERVE SYSTEM AT BANK OF NEW YORK ; the one p e o p l e , c r e a t e d by t h e

    c r e a t o r , s t a t e s o f body ; The (former) U n i t e d S t a t e s F e d e r a l                        Government ;
     (former) UNITED STATES ; t h e (former) s e v e r a l STATE OF . . .                                            ; and any and

    all      international equivalents                        ; Rothschild                Trust



    Debtor names added f o r i n d e x i n g

    THE PUBLIC TRUST
    CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
    CHARLES C MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
    CHARLES C. MILLER D/B/A CHARLES C. MILLER
    Bftinr. FOn IHIHBraTABIOllTAL CBTQUiBUBHTO     . ••—-
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                                ANNEX 19

                              Case No. 1:17 mj-531




  TITLE                          DESCRIPTION                           PAGES


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 UCC FINANCING STATEMENT AMENDMENT                                                                                              RECORDER OF DEEDS
  A. NAME S PHONE OF CONTACT AT FILER (opUonall                                                                '''              uoc        T y p e :       JSi'iNANCiNG

     The One Peoples P u b l i c T                                     253-509-4597                                                  PROCESSING                                                $                  5 00
  B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                      E-RECORD                                                  $                 25 00

            r                                                                                               n                        ESURCHARGE                                                $                  6 50

     The One Peoples P u b l i c T r u s t 1776


     G i g Harbor, WA 98335


            L                                                                                              J
                                                                                                                                                     1b. This FINANCING STATEMENT AMENDMENT is
     2000043135 - 5-4-2000                                                                                                                           r - i to ba tllad (for raeord] (of racordad) In th*

          T E R M I N A T I O N : Efra.^v.n.s. of tha Finangng Stat«nar« id.nt^ad abos, .s tmm,na.«i w,th n.spac to sacnty in..r«.(.) o ( » i . s J u r L p I ^ l ^ T r l l o m ^ T a ^ ^ ^




 4. •     A S S I G N M E N T (fuH or paniai): G i v n a m , of assigna. in ilem 7a or 7b and aodress of asagnaa in item 7c: and also giva nam, of assignor in Ham 9.

 5, A M E N D M E N T ( P A R T Y I N F O R M A T I O N ) : This Amendment aff«ts J o e b t o r   « | J Secured Pany of record. Check only s n s of these two boxes.
      Also check fioj of the following three boxes ansj provide appropnate infomialion m items 6 and,'or 7.


     D    CHANGE nam. and/or address: Qlve current record name in item Sa or 6b: also give new
          nam, (if name change) in Item 7a or 7b and/or new address nf adc-ess ehanqel m -lem 7c,
 6, C U R R E N T R E C O R D INFORMATION:
                                                                                                            n 1DELE
                                                                                                                DELETE name: Give record name
                                                                                                            U to be
                                                                                                                  a deleted in itam Ba nr eb.
                                                                                                                                                       H
                                                                                                                                                           ADD name: Complete Item 7a or 7b, and also
                                                                                                                                                           Item 7c: also comoiete items 7d-7o fif aeolicahl.|.

        16a. ORGANIZATION'S NAME                                                ~ ~ ~                  —


 OR
                                                                                               FIRSTNAME                                             MIDDLE NAME                               SUFFIX


 7. C H A N G E D (NEW) O R A D O E O INFORMATION:
        17a. ORGANIZATION'S NAME

             THE PUBLIC TRUST
 OR
        7b. INDIVIDUAL'S LAST NAME                                                            iFIRST NAME
                                                                                                                                                    MIDDLE NAME                                SUFFIX


                                                                                              I CITY
                                                                                                                                                    STATE       POSTAL C O D E                 COUNTRY


7d. TAXID#:        SSNOREIN        ADD'L INFO RE 17e. T Y P E OF ORGANIZATION                 ; 7f. JURISDICTION OF ORGANIZATION
                                   ORGANIZATION                                                                                                     7g. ORGANIZATIONAL ID #. if any
                                   DEBTOR        I

8. AMENDMENT ( C O L L A T E R A L CHANGE): check only ADS box.

     Descnbe coBateral Qdeleted or g a d d e d , or give e n l i r . [ ] r e s i a : e d collateral descnption. or descnbe coilataral [^assigned.


 ALL RIGHTS RESERVED WITHOUT PREJUDICE, UCC Doc. # 2000043135, t h e
 p e r p e t u i t y , i s hereby d u l y amended o n l y t o i n c l u d e t h e f o l l o w i n g a d d i t i o n a l
 c o l l a t e r a l as follows:             VIII.         I n t e r n a t i o n a l Law Ordinance UCC Doc. No.
 2012127854, w i t h R e c e i p t No. 1273007, s p e c i f i c a l l y A r t i c l e s I - V I I and any
 and a l l s e c t i o n s t h e r e u n d e r a r e r e s t a t e d and i n c o r p o r a t e d i n i t s e n t i r e t y
 here a s i f s e t f o r t h i n f u l l ; D u l y v e r i f i e d as d u l y r e c o n f i r m e d and
 r a t i f i e d , e n t e r e d i n t o U n i v e r s a l Law Ordinance, n o t i c e by a c t i o n o f e n t r y
 i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e by r e g i s t r a t i o n , p u b l i c p o l i c y UCC
 1-202;            I X . A r t i c l e I - V I I I and any and a l l s e c t i o n s t h e r e u n d e r a r e
9. N A ^ E O F S E C U R E D P A R T Y O F R E C O R D AUTHORIZING THIS AMENDMENT (nameof a s ^ ^ o r . f t h l s l s an As.^^^^^^^
   addscollateral or adds lha aulhonang Debtor, or if this Is a TerniinaHcr aulhcrsed by a Debtor, check here D and enter                                        '^'"•"^"^     ^^^anmi    by a Debtor wheh
        9a. ORGANIZATION'S NAMF                                                  —                                   LJ                      _

        THE PUBLIC TRUST
OR
       og. Inuiviuu/\L O LAa t NAMb                                                           FIRST NAME                                            MIDDLE NAME                               SUFFIX


10.C


        Without p r e j u d i c e / s / H e a t h e r Ann T u c c i - J a r r a f , a s T r u s t e e , a s s t a t e o f body
FILING O F F I C E COPY       - NATIONAL UCC FINANCING STATEMENT AMENDMENT (FORM UCC3) (REV. 07/29/98)

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UCC FINANCING STATEMENT AMENDMENT                                      ADDENDUM                   RECORDER OF DEEDS
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11. INITIAL RNANCING STATEMENT R L E # (satna M ilain 1a on AnwidmaM fonn)
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      2000043135
                                                                                                      E-RECORD                       $                  25.00
12. NAME OF PARTY AUTHORIZING THIS AMENDMENT (lama aa ilam 9 on Amandmant fomi)
     12a. ORGANIZATIONS NAME                                                                          ESURCHARGE                     $                   6.50
      THE PUBLIC TRUST
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME                    MIDDLE NAME.SUFFIX




13. Usa this spaca for additional Information




                                                                                                    THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY


     Additional c o l l a t e r a l                info

     r e s t a t e d , and the u n d e r s i g n e d b o n d s e r v a n t s , s t a t e s o f body, and
     T r u s t e e s , a s PUBLIC SERVANTS, knowingly, w i l l i n g l y , and i n t e n t i o n a l l y
     d e c l a r e , r e c o n f i r m , v e r i f y and e n t e r i n t o U n i v e r s a l Law Ordinance, n o t i c e
     by
     a c t i o n d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c
     r e g i s t r a t i o n , t h a t we d i d l a w f u l l y and l e g a l l y a c t and r e p r e s e n t on b e h a l f

     of t h e a g g r i e v e d s t a t e s o f body d o m i c i l w i t h o u t p r e j u d i c e by c r e a t i o n on
     e a r t h , UCC 1-201(2, 31, and 33-34), d u l y guarded, p r e s e r v e d , and p r o t e c t e d

     by T r u s t , p u r s u a n t t o remedy d u l y p r e s e r v e d , p r o t e c t e d and guaranteed,
     p u b l i c p o l i c y UCC 1-305, A r t i c l e I V s e c t i o n C, r e s t a t e d , UCC Doc. N o . " s
     2012114093, 2012114586, 2012114776, s p e c i f i c a l l y r a t i f y i n g UCC Doc. No.
     2012096074, d u l y r e c o n f i r m e d and r a t i f i e d by COMMERCIAL B I L L UCC Doc. No.
     2012114586, d u l y r e c o n f i r m e d and r a t i f i e d by TRUE B I L L UCC Doc. No.
     2012114776, a l l d u l y r e c o n f i r m i n g and r a t i f y i n g 2012079290 and 2012079322,

     as a m a t t e r o f r e c o r d , UCC 1-201(31), s p e c i f i c a l l y :                           A.     Duly v e r i f i e d due

     COMMERCIAL B I L L , d u l y i s s u e d f o r the f u l l d u l y v e r i f i e d DEBT, i n c l u s i v e o f

     sum c e r t a i n EQUITY and DAMAGES, p e r f e c t e d a s due, owed, and c o l l e c t i b l e ,
     a g a i n s t any and a l l P r i n c i p a l s , agents, and b e n e f i c i a r i e s o f , and any and
     a l l u n l a w f u l and i l l e g a l p r i v a t e money systems t h e r e t o , i s s u i n g ,
     collection,
     l e g a l enforcement systems, o p e r a t i n g SLAVERY SYSTEMS a g a i n s t s t a t e s o f body

     without s a i d s t a t e s o f body''s knowing, w i l l i n g , and i n t e n t i o n a l consent,
     NUNC PRO TUNC, PRAETEREA PRETEREA, by d u l y v e r i f i e d due FORECLOSURE
     thereof,
     remedy d u l y p r e s e r v e d , p r o t e c t e d and guaranteed, p u b l i c p o l i c y , UCC 1-305,

     and d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e b y p u b l i c
     r e g i s t r a t i o n , unrebutted, s p e c i f i c a l l y d u l y v e r i f i e d a s a m a t t e r o f r e c o r d ,

     UCC 1-201(31), s p e c i f i c a l l y : (1.) Duly v e r i f i e d due NOTICE OF MISTAKE o f
     o p e r a t i o n o f p r i v a t e money systems, i s s u i n g , c o l l e c t i o n , l e g a l enforcement

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 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT ( l a m * a« il*m 9 on Am*ndm*nt (omi)
      12*. ORQANKATION^ NAME                                                                         ESURCHARGE                      $                   6.50
       THE PUBLIC TRUST
OR
     12b. INOIVIDUAL'S LAST NAME                  FIRSTNAME                 MIDDLE NAME,SUFFIXi



 13. U M this spaca for additional Infomiation




                                                                                             I      THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY

      systems, o p e r a t i n g SLAVERY SYSTEMS a g a i n s t s a i d s t a t e s o f body d o m i c i l
      w i t h o u t p r e j u d i c e by c r e a t i o n on e a r t h , w i t h o u t t h e i r knowing, w i l l i n g , and

      i n t e n t i o n a l consent, i n c l u s i v e o f any and a l l systems o p e r a t i n g under the
      g u i s e o f g o v e r n m e n t " , i n any and a l l m a n i f e s t a t i o n s without p r e j u d i c e ,
      i n c l u s i v e o f (former) The U n i t e d S t a t e s o f America F e d e r a l Government,
      UNITED STATES, the s e v e r a l STATE OF . . ., and any and a l l i n t e r n a t i o n a l
      e q u i v a l e n t s , i n c l u s i v e o f any and a l l departments thereunder p u r p o r t i n g t o

      be e x e c u t i v e , l e g i s l a t i v e , j u d i c i a l , and f i n a n c i a l , i n c l u s i v e o f anv and
      all
     TREASURIES and BANKS, and any and a l l REPRESENTATIONS therefrom, f o r
     c a u s e , NUNC PRO TUNC, PRAETEREA PRETEREA,duly made i n c o n j u n c t i o n w i t h
     v e r i f i e d due NOTICE OF INSECURITY, NOTICE OF ACCEPTANCE OF REMEDY OFFERED,

     as a matter r i g h t , a matter o f r e c o r d , UCC 1-201(31), guaranteed under duty

     o f good f a i t h t o perform, OMB, p u b l i c p o l i c y UCC 1-201(31-32 and 34) and
     1-304, t o re-pay any and a l l u n l a w f u l l y and i l l e g a l l y commandeered v a l u e o f

     s t a t e s o f body upon demand made, NOTICE OF OPPORUTNITY TO CURE, and NOTICE

     OF DEMAND TO CURE p u r s u a n t t o d u l y s e c u r e d r i g h t o f remedy p r e s e r v e d ,
     p u b l i c p o l i c y UCC 1-201(32 and 3 4 ) , and p r e s e n t e d by s a i d o f f e r o f remedy,

     guaranteed under duty o f good f a i t h performance, UCC 1-304, were d u l y made

     and n o t i c e d , f o r c a u s e , and d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance,

     n o t i c e by p u b l i c r e g i s t r a t i o n , u n r e b u t t e d , s p e c i f i c a l l y d u l y u n d e r w r i t t e n
     UCC Doc. No." 2000043135, 2011125777, 2011-353-7388-9, 2011-353-7395-7,
     2011121448, 2011-339-3764-9, 2011119645, 2011-360-8868-3; (2.) A r t i c l e
     VIII
     s e c t i o n B s u b s e c t i o n 1 i s r e s t a t e d , and knowledge t h e r e o f d u l y v e r i f i e d a s

  d u l y r e c e i v e d by s a i d P r i n c i p a l s , agents, and b e n e f i c i a r i e s , and d u l y
  e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c r e g i s t r a t i o n ,
  UCC
  1-202, unrebutted; (3.) P r i n c i p a l s , a g e n t s , and b e n e f i c i a r i e s " d u l y
  v e r i f i e d due NOTICE OF INTENT TO DEFAULT, NOTICE OF INSOLVENCY, p u b l i c
—PPitiiO'-'      tfgg 1       fmi         n n n i nnrnTPTH   mmmTm mn r . n . , . , T m T^-,mr^^ VniT.m     g g g i i u t

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12. NAME OF PARTY AUTHORIZING THIS AMENDMENT (sama »a Ilam 9 on Amandmant him)
      12a. ORGANIZATION'S NAME                                                                    ESURCHARGE                      $                      6.50
      THE PUBLIC TRUST
OR
     12b. INOIVIDUAL-S LAST NAME                FIRSTNAME              MIDDLE NAME.SUFFIXI



13. Usa this spaca for additional Information




                                                                                              I     THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY
      i n c l u s i v e o f any and a l l damages caused thereby, t o s a i d s t a t e s o f body
      s p e c i f i c a l l y damage caused and t o be caused by u n l a w f u l and i l l e g a l a c t s o f

      d e c e p t i o n , f r a u d , and t h e f t by s a i d P r i n c i p a l s , a g e n t s , and b e n e f i c i a r i e s
      a g a i n s t s t a t e s o f body, a m a t t e r o f r e c o r d , UCC 1-201(31) by u n l a w f u l and
      i l l e g a l EXECUTIVE ORDER, TREATY, ACT, CODE and o t h e r AGREEMENT, e n t e r e d
      into
      I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c r e g i s t r a t i o n , were d u l y
      a c c e p t e d by t h e u n d e r s i g n e d a s b e i n g knowingly, w i l l i n g l y , and
      intentionally
      made and g i v e n , and d u l y v e r i f i e d due NOTICE OF DEFAULT and NOTICE OF
      FORECLOSURE were d u l y made, f o r c a u s e , and d u l y e n t e r e d i n t o I n t e r n a t i o n a l

     Law Ordinance, n o t i c e by r e g i s t r a t i o n , by due DECLARATION AND ORDER,
     u n r e b u t t e d , s p e c i f i c a l l y UCC Doc. No.''s 2011-362-9411-4, 2012049126
     2012-125-1787-8, 2012079290, 2012079322, 201208334; ( 4 ) . A r t i c l e i x '
     section
     A s u b s e c t i o n 3 i s r e s t a t e d , and knowledge t h e r e o f d u l y v e r i f i e d a s d u l y
     r e c e i v e d by s a i d P r i n c i p a l s , a g e n t s , and b e n e f i c i a r i e s , and d u l y e n t e r e d
     i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c r e g i s t r a t i o n , UCC 1-202,

     u n r e b u t t e d ; (5.) Duly v e r i f i e d due NOTICE OF REVOCATION, TERMINATION,
     CANCELATION, p u r s u a n t t o p u b l i c p o l i c y , UCC 1-309, and NOTICE OF ORDER TO
     CEASE AND DESIST, i n c l u s i v e o f any and a l l d u l y s e c u r e d CORPORATIONS,
     OFFICES, DEPARTMENTS, and commercial i n d e n t u r e s t h e r e t o , was d u l y made,
     with                                                                                                                  '
     d u l y v e r i f i e d due COMMERCIAL B I L L f o r EQUITY and DAMAGES, d u l y i s s u e d ,
     r a t i f i e d and e n t e r e d , f o r c a u s e , c o n c u r r e n t l y w i t h v e r i f i e d due NOTICE OF
     DEMAND OF ORDER FOR RECONCILIATION f o r any and a l l v a l u e d o m i c i l by
     creation
     i n any and a l l s t a t e s o f body d o m i c i l w i t h o u t p r e j u d i c e by c r e a t i o n on
     e a r t h , d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c
     r e g i s t r a t i o n , a g a i n s t any and a l l P r i n c i p a l s , a g e n t s , and b e n e f i c i a r i e s o f ,

     and any and a l l u n l a w f u l and i l l e g a l p r i v a t e money systems, i s s u i n g ,
     c o l l e c t i o n , l e g a l enforcement systems, o p e r a t i n g SLAVERY SYSTEM t h e r e t o ,
     u n r e b u t t e d , s p e c i f i c a l l y UCC Doc. No.-'s 2012086794, 2012086802
     2012088787;
     (6.) A r t i c l e I X s e c t i o n A s u b s e c t i o n 5 i s r e s t a t e d , and knowledge t h e r e o f

     duly    vojiigiLod          an    liuly     gaooiyetl   b y   mtiii    r u i n a i p a l e )   a g a n t a ,   a n d
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UCC FINANCING STATEMENT AMENDMENT ADDENDUM                                                               RECORDER OF DEEDS
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12. NAME O F P A R T Y AUTHORIZING THIS AMENDMENT (sama aa ilwn 9on Amandmant fomi)
    12a. ORQAMZATION-S NAME                                                                                  ESURCHARGE                      $                  6.50
     THE PUBLIC TRUST
    12b. INDIVIDUAL'S LAST NAME                 I FIRST NAME                  I M I D D U NAME.SUFFIXI




13. U M thia spaca for addlllonal Information




                                                                                                           THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY

     p u b l i c r e g i s t r a t i o n , UCC 1-202, u n r e b u t t e d ; (7.) A r t i c l e I X s e c t i o n A
     s u b s e c t i o n 5 i s r e s t a t e d , and d u l y v e r i f i e d due DECLARATIONS AND ORDERS
     r e - c o n f i r m i n g , r a t i f y i n g , and v e r i f y i n g due FORECLOSURE and s a i d COMMERCIAL

     B I L L was d u l y i s s u e d              a g a i n s t P r i n c i p a l s , a g e n t s , and b e n e f i c i a r i e s         o f , and

     any and a l l u n l a w f u l and i l l e g a l p r i v a t e money systems, i s s u i n g ,
     c o l l e c t i o n , l e g a l enforcement systems, o p e r a t i n g SLAVERY SYSTEM t h e r e t o ,
     u n r e b u t t e d , s p e c i f i c a l l y UCC Doc. No. 2012088851, 2012088865 d u l y r a t i f y i n g

    and v e r i f y i n g 2012079290, 2012079322, 2012083304, 2012086794, 2012086802,
    2012088787, s p e c i f i c a l l y : ( i . ) A r t i c l e s I - I X and any and a l l s e c t i o n s and
    t h e i r s u b - s e c t i o n s t h e r e i n and t h e r e u n d e r a r e r e s t a t e d , and knowledge
    t h e r e o f d u l y v e r i f i e d a s d u l y r e c e i v e d by s a i d P r i n c i p a l s , a g e n t s , and
    b e n e f i c i a r i e s , and d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e by

    p u b l i c r e g i s t r a t i o n , UCC 1-202, u n r e b u t t e d ; ( i i . ) That s a i d P r i n c i p a l s ,
    a g e n t s , and b e n e f i c i a r i e s , by t h e i r d u l y v e r i f i e d c h o i c e o f f a i l u r e t o c u r e

    and DEFAULT, d i d knowingly, w i l l i n g l y , and i n t e n t i o n a l l y c o n s e n t t o
    immediate l a w f u l and l e g a l FORECLOSURE o f any and a l l p r i v a t e money
    systems,
    i s s u i n g , c o l l e c t i o n , l e g a l enforcement systems, o p e r a t i n g SLAVERY SYSTEMS
    a g a i n s t s a i d s t a t e s o f body, w i t h o u t s a i d s t a t e s o f body''s knowing,
    w i l l i n g , and i n t e n t i o n a l c o n s e n t , u n r e b u t t e d ; ( i i i . ) That any and a l l
    p r i v a t e money systems, i s s u i n g , c o l l e c t i o n , l e g a l enforcement systems,
    o p e r a t i n g SLAVERY SYSTEMS a g a i n s t s t a t e s o f body d o m i c i l w i t h o u t p r e j u d i c e

    by c r e a t i o n       on e a r t h ,        w i t h o u t s a i d s t a t e s o f body''s knowing, w i l l i n g , and

    i n t e n t i o n a l c o n s e n t , a r e and were d u l y v e r i f i e d a s u n l a w f u l and i l l e g a l ,
    NUNC PRO TUNC, PRAETEREA PRETEREA, u n r e b u t t e d ; ( i v . ) That s a i d P r i n c i p a l s ,

    a g e n t s , and b e n e f i c i a r i e s o f and any and a l l p r i v a t e money systems,
    i s s u i n g , c o l l e c t i o n , l e g a l enforcement systems, o p e r a t i n g SLAVERY SYSTEMS
    a g a i n s t s a i d s t a t e s o f body were l a w f u l l y and l e g a l l y FORECLOSED, a s a
    m a t t e r o f law, m a t t e r o f f a c t , and a s a m a t t e r o f p u b l i c p o l i c y , and d u l y
    e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e by p'ublic r e g i s t r a t i o n ,
    NUNC PRO TUNC, PRAETEREA PRETEREA, u n r e b u t t e d ; (v.) t h a t c e r t a i n sum o f
    EQUITY i n t h e amount o f 5,000,000,000.00 ( f i v e b i l l i o n ) t o each o f s a i d
    o^iatoo o f b o d y ,         d ' u l y o e o u B a t l b y OOlflfliinoIAL OLAIM a n d OOininiinaiAL D I L L ; M a e
FlUNG O F F I C E C O P Y - N A T I O N A L U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)


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UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
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                                                                                     Doc Type: EFINANCING
 11. INITIAL RNANCING STATEMENT R L E # (sam. as ilKn l a on AmandmwK (om.)
                                                                                         PROCESSING                      $                              5.00
       2000043135
                                                                                         E-RECORD                        $                              25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (sama a» itam 9 on Amandmant fomi)
      12a. 0ROANI2ATI0KS NAME                                                            ESURCHARGE                      $                              6.50
      THE PUBLIC TRUST
OR
     12b. INDIVIDUAL'S LAST NAME                RRSTNAME                   MIDDLE NAME,SUFFIXl




13. U M this spaca for additional Information




                                                                                                    THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY
     payable
     i n t h e form o f l a w f u l money o f The U n i t e d S t a t e s o f America, g o l d and
     s i l v e r , h e r e a f t e r DEBT, u n r e b u t t e d ; ( v i . ) t h a t c e r t a i n sum o f DAMAGES i n
     the
     amount o f 5,000,000,000.00 ( f i v e b i l l i o n ) t o each o f s a i d s t a t e s o f body
     damaged thereby, d u l y s e c u r e d by COMMERCIAL CLAIM and COMMERCIAL B I L L , was

     and i s d u l y v e r i f i e d a s DEBT p e r f e c t e d a s due, owed, c o l l e c t i b l e and
     payable
     i n t h e form o f l a w f u l money o f The U n i t e d S t a t e s o f America, g o l d and
     s i l v e r , h e r e a f t e r a l s o DEBT, u n r e b u t t e d ; ( v i i . ) t h a t t h e form o f payment o f

     s a i d d u l y v e r i f i e d DEBT was d u l y v e r i f i e d a s p r e v i o u s l y knowingly,
     w i l l i n g l y , and i n t e n t i o n a l l y agreed t o by s a i d P r i n c i p a l s , agents, and
     b e n e f i c i a r i e s , n o t i c e made and g i v e n by a c t i o n , i n c l u s i v e o f c r e a t i o n ,
     i s s u a n c e , and u n l a w f u l and i l l e g a l enforcement, t r a n s f e r and acceptance o f

     c u r r e n t funds and any and a l l d e r i v a t i v e s therefrom, i n c l u s i v e o f i n v a l i d
     and u n e n f o r c e a b l e i n s t r u m e n t s t h e r e t o u n l a w f u l l y and i l l e g a l l y e n t e r e d i n t o

     I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c r e g i s t r a t i o n , w i t h u n l a w f u l
     and i l l e g a l demand f o r payment t h e r e o f i n l a w f u l money o f The U n i t e d S t a t e s

     of America, u n r e b u t t e d ,               s p e c i f i c a l l y US C o n s t i t u t i o n f o r the u n i t e d S t a t e s

     of America, A r t i c l e 1 s e c t i o n 10;                     (viii.)      That s a i d d u l y v e r i f i e d DEBT was

     d u l y l e d g e r e d a g a i n s t s a i d P r i n c i p a l s , a g e n t s , and b e n e f i c i a r i e s f o r
     immediate r e c o n c i l i a t i o n , and was l a w f u l l y and l e g a l l y d u l y e n t e r e d i n t o
     I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c r e g i s t r a t i o n , u n r e b u t t e d ;
      (ix.)        That d u l y v e r i f i e d due NOTICE OF ORDER FOR RECONCILIATION f o r any
     and
     a l l v a l u e , i n c l u s i v e o f s a i d DEBT, was d u l y made, g i v e n and n o t i c e d t o ,
     w i t h knowledge t h e r e o f d u l y r e c e i v e d by, s a i d P r i n c i p a l s , a g e n t s , and
     b e n e f i c i a r i e s , and was l a w f u l l y and l e g a l l y d u l y e n t e r e d i n t o I n t e r n a t i o n a l

     Law Ordinance, n o t i c e by p u b l i c r e g i s t r a t i o n , u n r e b u t t e d ; (x.) That d u l y
     v e r i f i e d due NOTICES OF DEMAND FOR PAYMENT o f s a i d DEBT was d u l y made,
     given
     and n o t i c e d t o , w i t h knowledge t h e r e o f d u l y r e c e i v e d by, s a i d P r i n c i p a l s ,
     agantio,        anA     bonoffiLaiaBiao;              and   was   l a w f u l l y   and     l e g a l l y   d u l y   oK^jegeBl   intee
FILING O F F I C E C O P Y - NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)


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11 INITIAL RNANCING STATEMENT R L E # (sinw M itm U on AnMndnwM fbrni)
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                                                                                                E-RECORD                        $                   25.00
12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (iim* »8 itwn 9 on Aimndnwnt forni)
     12*. ORQAMZATION-S fMME                                                                    ESURCHARGE                      $                    6.50
     THE PUBLIC TRUST
    12b. INOIVIDIML'S LAST NAIitE               I RRSTNAME              I MIDDLE NAME.SUFFIXI




13. Use this spaca for additional Information




                                                                                                THE ABOVE SPACE IS FOR R U N G O F R C E USE OM.Y

     a b b r e v i a t i o n s , idem sonans, o r o t h e r l e g a l , f i n a n c i a l and m a n a g e r i a l                  forms,

     and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s , i n c l u s i v e o f any and a l l
     OFFICES, i n c l u s i v e o f any and a l l OFFICERS, PUBLIC SERVANTS, EXECUTIVE
     ORDERS, TREATIES, CONSTITUTIONS, MEMBERSHIP, ACTS, and any and a l l o t h e r
     c o n t r a c t s and agreements made t h e r e u n d e r and t h e r e b y , a r e n u l l , v o i d ,
     w o r t h l e s s , o r o t h e r w i s e c a n c e l e d , u n r e b u t t e d ; ( x i i . ) e x c e p t f o r the s o l e
     purpose o f bookkeeping, l e d g e r i n g and r e c o n c i l i a t i o n o f v e r i f i e d e q u i t y
     debt
     and v e r i f i e d debt o f damages p u r s u a n t t o v e r i f i e d due ORDER FOR
     RECONCILIATION, any and a l l REPRESENTATION OF VALUE, i n any e x i s t e n c e and
     form, i n c l u s i v e o f any and a l l p u r p o r t e d paper, c h a t t e l s , c u r r e n t funds,
     n a t u r a l r e s o u r c e s , human c a p i t a l , m e t a l s , and any and a l l d e r i v a t i v e s
     t h e r e o f and therefrom, a r e n u l l , v o i d , w o r t h l e s s , o r o t h e r w i s e c a n c e l e d ,
     u n r e b u t t e d ; ( x i i i . ) e x c e p t f o r the s o l e purpose o f bookkeeping, l e d g e r i n g
     and r e c o n c i l i a t i o n o f v e r i f i e d e q u i t y debt and v e r i f i e d debt o f damages
     p u r s u a n t t o v e r i f i e d due ORDER FOR RECONCILIATION, any and a l l
     REPRESENTATION OF PERSON, i n any e x i s t e n c e and form, i n c l u s i v e o f ALL
     p u r p o r t e d i d e n t i f i e r s , s o c i a l s e c u r i t y numbers, a b b r e v i a t i o n s , idem sonans,

     or o t h e r l e g a l , f i n a n c i a l and m a n a g e r i a l forms, s e c u r e d a c c o u n t s , a r e n u l l ,

     v o i d , w o r t h l e s s , o r o t h e r w i s e c a n c e l e d , u n r e b u t t e d ; ( x i v . ) REPRESENTATION
     OF T I T L E , OWNERSHIP, AND AUTHORITY o f and over any and a l l t h e a i r s , l a n d s ,

     and s e a s d o m i c i l by c r e a t i o n on e a r t h , i n any and a l l e x i s t e n c e and form,
     i n c l u s i v e o f any and a l l p u r p o r t e d t i t l e s , a c t s , and d e r i v a t i v e s therefrom,

     are n u l l , v o i d , w o r t h l e s s , or otherwise canceled, unrebutted;                                   (8.)      Article

    I X s e c t i o n A s u b s e c t i o n 7, i n c l u s i v e o f a l l s u b s e c t i o n s thereunder, a r e
    r e s t a t e d , and knowledge t h e r e o f d u l y v e r i f i e d a s d u l y r e c e i v e d by s a i d
    P r i n c i p a l s , a g e n t s , and b e n e f i c i a r i e s , and d u l y e n t e r e d i n t o I n t e r n a t i o n a l

    Law Ordinance, n o t i c e by p u b l i c r e g i s t r a t i o n , UCC 1-202, u n r e b u t t e d ; B.
    Duly v e r i f i e d due NOTICE OF DECLARATION AND ORDER FOR RECONCILIATION t o
    duly
    v e r i f i e d P u b l i c S e r v a n t s f o r l a w f u l and l e g a l ARREST and REPOSSESSION o f
    s a i d P r i n c i p a l s , a g e n t s , and b e n e f i c i a r i e s , and t h e u n l a w f u l and i l l e g a l
    p r i v a t e money systems, i s s u i n g , c o l l e c t i o n , l e g a l enforcement systems,
    o p o m a i i i n g BLATOny GIGmUD,            f a g eauee      e £ fflRBAOOH a n d o f e h o * h a i n a u e egiwteB
FlUNG O F F I C E C O P Y -   NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)


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UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
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11. INITIAL RNANCING STATEMENT R L E » (svn* M itm la on AnMndnwnt forni)
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       2000043135
                                                                                          E-RECORD                       $                            25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT ( w m * M itwn 9 on Amandmant fomi)
      12a. OROANIZATION-S NAME                                                            ESURCHARGE                     $                             6.50
      THE PUBLIC TRUST
OR
     12b. INOIVIDtJAL'S LAST NAME               RRSTNAME                    MIDDLE NAME.SUFFIX




13. Use this spai» for additional Information




                                                                                                  THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY

      DECLARATION AND ORDER, UCC Doc. No. 2012096074, d u l y guaranteed, p u b l i c
      p o l i c y UCC 1-305, s p e c i f i c a l l y d u l y v e r i f y i n g the r e c o r d , p u b l i c p o l i c y UCC

      1-201(31), o f the knowing, w i l l i n g , and i n t e n t i o n a l c h o i c e by s a i d
      P r i n c i p a l s , agents, and b e n e f i c i a r i e s t o c o n t i n u e o p e r a t i o n o f u n l a w f u l and

     i l l e g a l p r i v a t e money systems, i s s u i n g , c o l l e c t i o n , l e g a l enforcement
     systems, o p e r a t i n g SLAVERY SYSTEMS a g a i n s t s a i d s t a t e s o f body w i t h d u l y
     v e r i f i e d p r i o r knowledge o f due FORECLOSURE and COMMERCIAL B I L L ,
     unrebutted;
       C. A r t i c l e I X s e c t i o n B i s r e s t a t e d , and s a i d d u l y v e r i f i e d due NOTICE OF

     DECLARATION AND ORDER, UCC Doc. No. 2012096074, i s d u l y v e r i f i e d as d u l y
     d e c l a r i n g and c o n f i r m i n g automatic and due r e c o n c i l i a t i o n , a c c e p t a n c e , and

     r a t i f i c a t i o n o f any and a l l P u b l i c S e r v a n t s p u r s u a n t t o t h e d u l y v e r i f i e d
     terms and c o n d i t i o n s t h e r e i n , d u l y v e r i f i e d a s s e c u r e d by due bond,
     i n s u r a n c e , and guarantee o f t h e T r u s t e e s of r e c o r d o f t h e P u b l i c T r u s t , was

     d u l y made, g i v e n and n o t i c e d t o , w i t h knowledge t h e r e o f d u l y r e c e i v e d by,
     s a i d P r i n c i p a l s , a g e n t s , and b e n e f i c i a r i e s , and d u l y e n t e r e d i n t o
     I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c r e g i s t r a t i o n , by due
     DECLARATION AND ORDER, u n r e b u t t e d , s p e c i f i c a l l y UCC Doc. No. 2012096074;
     D.
      A r t i c l e I X s e c t i o n s B-C a r e r e s t a t e d , and knowledge t h e r e o f d u l y v e r i f i e d

     as d u l y r e c e i v e d by s a i d P r i n c i p a l s , a g e n t s , and b e n e f i c i a r i e s , and d u l y
     e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c r e g i s t r a t i o n ,
     p u b l i c p o l i c y UCC 1-202 and 1-103, s p e c i f i c a l l y P r i n c i p a l Agent D o c t r i n e ,
     unrebutted;


     Debtor names added f o r i n d e x i n g

     THE     PUBLIC           TRUST
     CHARLES          C.      MILLER       [AN A R T I F I C I A L    PERSON    & LEGAL          FICTION]
     CHARLES          C       MILLER       [AN A R T I F I C I A L    PERSON    & LEGAL          FICTION]
     CHARLES          C.      MILLER      D/B/A      CHARLES         C.   MILLER
     BANK FOR             INTERNATIONAL             SETTLEMENTS
     AS P R I N C I P A L ,      A G E N T , AND      BENEFICIARY          OF   SLAVERY          SYSTEMS


FlUNG O F F I C E C O P Y -   NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)


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                                ANNEX 20

                             Case No. l:17inj-531




  TITLE                          DESCRIPTION                          PAGES


 Annex 20                UCC record number 2012127854                   1-7




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 UCC FINANCING STATEMENT AMENDMENT                                                                                              RECORDER OF DEEDS
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  A. N A M E S P H O N E O F C O N T A C T A T F I L E R [opUonal]
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 fieather,                as T r u s t e e T u c a i                 2535094597                                                     PROCESSING                     $                                                 5.00
 |B. S E N D A C K N O W L E D G M E N T T O : (Name and A d d r e s s )                                                           E-RECORD                        $                                                25.00
                                                                                                                                   ESURCHARGE                      $                                                 6.50

      T u c c i - J a r r a f , Heather, a s T r u s t e e


      G i g Harbor, VIA 98335

             L                                                                                               J
                                                                                                                              THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
 la, INITIAL FINANCING STATEMENT FILE »
                                                                                                                                                    1b.         This FINANCING STATEMENT AMENDMENT Is
      2000043135 - 5-4-2000                                                                                                                                     to be died [for record] (or recorded) In the
                                                                                                                                                    •           REAL ESTATE RECORDS.
 2,        T E R M I N A T I O N : Effectvenes. of Ihe Finanong Statement idenUed a b o « is temiinei«i with resp«i to secunty i n t « « t ( . ) of the Secu'red Party aulhortana IW. Temn'nation Stat^nent




 4. \J A S S I G N M E N T (fuH or paniai): Give name of assignee in ilem 7a or 7b and address of assignee in Item 7c; and also give name of assignor In item 9.

 5. A M E N D M E N T ( P A R T Y I N F O R M A T I O N ) : This Amendment aff«:ts • D e b t o r     at | J S.cun.d Party of record. Check only m cf these two boxes.
      Also check sus of the fallowing Ihree boxes and provide appropnate inforniation m items 6 and.'or 7.

                                                                                                             n ?^^^.   "am.: ,Give_record nama
                                                                                                                                                    n
      •                                                                                                                                                   ADD name: Complete Item 7a or 7b. and also
               »(if namechanoeljnItem 7aor 7b"and;ornewaddresslifTd'c-es'^^^^^^^                             D S to^eleied in item 6a oFeb."
                                                                                                                                                          Ilem 7c: also comoiete items 7d-7o fif applicable).
6. C U R R E N T R E C O R D INFORMATION:
          6a. ORGANIZATION'S NAME                                                                                                              ~      — —                                                       .


OR
          Qo. inuiviuuHL 0 LA!> 1 rjAMt                                                            . FlRgy NAME                                    —
                                                                                                                                                    MIDDLE NAME                               SUFFIX




          7a. ORGANIZATION'S NAME

               THE PUBLIC TRUST
OR
          7b. INOIVIDUAL'S LAST NAME                                                          iFIRST .NAME                                          MIDDLE NAME                               SUFFIX


7c, MAILING ADDRESS
                                                                                                                                                    STATE     POSTAL C O D E                  COUNTRY


7d. TAXID#:         SSNOREIN        ADD'L INFO RE |7e. T Y P E OF ORGANIZATION                ; 71. JURISDICTION OF ORGANIZATION                   7g. ORGANIZATIONAL ID #. if any
                                    ORGANIZATION '
                                    DEBTOR        I

8. A M E N D M E N T ( C O L L A T E R A L C H A N G E ) : ch.ck only ana box.

      DescrtbecomiefalQ deleted or pC) added, or give e n t i r e r e s t a t e d collateral descnption. or describe collateral f~jassigned.


 ALL RIGHTS RESERVED WITHOUT PREJUDICE, UCC Doc. # 2000043135, t h e
 p e r p e t u i t y , i s hereby d u l y amended o n l y t o i n c l u d e t h e f o l l o w i n g a d d i t i o n a l
 c o l l a t e r a l as follows:

 V.        U n i v e r s a l I n t e r n a t i o n a l Law Ordinance UCC Doc. No. 2012127810, w i t h
 R e c e i p t No. 1272974, s p e c i f i c a l l y A r t i c l e s I - I V , a r e r e s t a t e d and
 i n c o r p o r a t e d i n i t s e n t i r e t y h e r e a s i f s e t f o r t h i n f u l l ; Duly v e r i f i e d a s
 d u l y r e c o n f i r m e d and r a t i f i e d , e n t e r e d i n t o U n i v e r s a l Law Ordinance, n o t i c e
 by a c t i o n o f e n t r y i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e by
   X l l ^ f o ^ ' i d ^ ? ^t^^        °n k ' ' ' ' ° ? A U T H O R I Z I N G T H I S A M E N D M E N T (nameof a s . ^ o r , .this is an Assignment,, If this is an Am.ndm.r. authon^l by a Debtor whch
   »lds collateml or adds the authonzmg Debtor, or if Ihis is a T.miinaticr autho-zed by a Debtor, check here H and aniar name of D E B T O R authodzing Ihis Am.ndmenL
           I, ORGANIZATION'S NAME                                                 ~ ~ ~                                               —                           —                 —

          THE PUBLIC TRUST
OR
      I9b. INDIVIDUAL'S U S T NAME                                                            FIRST NAME                                           MIDDLE NAME                               SUFFIX


10.OPT1ONALFILERREFERENCEDATA

          w i t h o u t p r e j u d i c e / s / H e a t h e r Ann T u c c i - J a r r a f , a s T r u s t e e , a s s t a t e o f body
FILING O F F I C E COPY - NATIONAL U C C FINANCING STATEMENT AMENDMENT (FORM UCC3) (REV. 07/29/98)


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UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
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                                                                                 Doc Type: EFINANCING
11. INITIAL RNANCING STATEMENT R L E # (sama as itam la on Amandmant forni)
                                                                                     PROCESSING                     $                          5.00
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                                                                                     E-RECORD                       $                         25.00
 12. NAME OF PARTY AUTHORIZING THIS AMENDMENT (lama aa itam 9 on Amandmant fomi)
      12a. 0RQAf4IZATI0N-S IMME                                                      ESURCHARGE                     $                          6.50
     THE PUBLIC TRUST
OR
     12b. INOIVIOUAL'S LAST NAME                FIRSTNAME            MIDDLE NAME.SUFFIX



13. U w this spaca for additional Information




                                                                                          THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY



     Additional c o l l a t e r a l                info

     r e g i s t r a t i o n , p i j b l i c p o l i c y UCC   1-202;

     V I . With due s t a n d i n g , a u t h o r i t y , and a u t h o r i z a t i o n , I , the u n d e r s i g n e d
     T r u s t e e , knowingly, w i l l i n g l y , and i n t e n t i o n a l l y
     r e c o n f i r m , v e r i f y and e n t e r i n t o U n i v e r s a l Law Ordinance, n o t i c e by a c t i o n

     d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c
     r e g i s t r a t i o n , under p e r p e t u i t y , t h a t I am a T r u s t e e of r e c o r d , p u b l i c
     policy
     UCC 1-201(31) and ( 3 3 ) , and PUBLIC SERVANT of the guard, p r e s e r v e r and
     p r o t e c t o r known as the P u b l i c T r u s t , under U n i v e r s a l T r u s t , under the t r u s t

     o f c r e a t i o n , d u l y e s t a b l i s h e d by c r e a t i o n a t c r e a t i o n , nunc pro tunc,
     p r a e t e r e a p r e t e r e a , u n r e b u t t e d , c o l l e c t i v e l y and i n d i v i d u a l l y T r u s t , whose

     s o l e purpose i s t o guard, p r e s e r v e and p r o t e c t , a b s e n t any                   and a l l
     s e l f - i n t e r e s t o r s p e c i a l i n t e r e s t d e t r i m e n t a l to any s t a t e   of body under
     l a w f u l U n i v e r s a l C o n t r a c t , a l l d u l y a c c e p t e d by T r u s t , and     I have d u l y
     s e c u r e d by my sworn b l o o d bond and oath, w i t h f u l l p e r s o n a l                    responsibility

     and l i a b i l i t y , made under the p e n a l t y of p e r j u r y , under the p r i n c i p l e of
     law
     a l i g n e d w i t h common law, under the laws of the c r e a t o r , under the laws of
     c r e a t i o n , under p e r p e t u i t y , to perform the s o l e s e r v i c e , duty and
     o b l i g a t i o n , to guard, p r e s e r v e and p r o t e c t a b s o l u t e , u n - r e b u t t a b l e t r u t h ,
     and a l l s t a t e s of body''s e q u a l r i g h t o f o p p o r t u n i t y f o r , and the l a w f u l
     unencumbered use and u n f e t t e r e d o p e r a t i o n of knowledge, s t a n d i n g ,
     authority,
     v a l u e d o m i c i l by c r e a t i o n t h e r e i n thereon and r e s u l t i n g therefrom, r i g h t s
     i n c l u s i v e of    i r r e v o c a b l e r i g h t of f r e e w i l l c h o i c e , p r i n c i p l e of law under

     the laws of c r e a t i o n , i n any and a l l e x i s t e n c e s and m a n i f e s t a t i o n s , d u l y
     m a n i f e s t i n g from knowing, w i l l i n g , and i n t e n t i o n a l l a w f u l U n i v e r s a l
     C o n t r a c t , by and between bondservant and the c r e a t o r under the laws of
     c r e a t i o n , a b s e n t any and a l l a b r o g a t i o n , s u b j u g a t i o n , u s u r p a t i o n , i n v a s i o n ,

     and v i o l a t i o n of any o t h e r l a w f u l U n i v e r s a l C o n t r a c t made under the laws of

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                                                                               WASH DC RECORDER OF DEEDS
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                                                                               Doc Type: EFINANCING
11. INITIAL RNANCING STATEMENT R L E # (sama aa itim la on Amandmant fomi)
      2000043135                                                                   PROCESSING                     $                                        5.00
                                                                                   E-RECORD                       $                                       25.00
12. NAMEOF PARTY AUTHORIZING THIS AMENDMENT (sama aa ilam 9 on Amandmant fomi)
     12a. OROANIZATION-S tMME                                                     ESURCHARGE                     $                                         6.50
       THE PUBLIC TRUST
 OR
       12b. INDIVIDUAL'S LAST NAME                 I FIRST NAME                 MIDDLE NAME,SUFFIX|



 13. Usa   this spaca for additional Information




                                                                                                  I   THE ABOVE SPACE IS FOR R U N G O F R C E USE OW.Y
       c r e a t i o n , d u l y a c c e p t e d and               guarded, p r e s e r v e d and p r o t e c t e d      by    the    Public

       T r u s t , under U n i v e r s a l T r u s t , under the t r u s t of c r e a t i o n , d u l y e s t a b l i s h e d

       by c r e a t i o n a t c r e a t i o n , and d u l y s e c u r e d as so, nunc pro t u n c , p r a e t e r e a
       p r e t e r e a , h e r e a f t e r T r u s t e e , d u l y s e c u r e d and e n t e r e d i n t o I n t e r n a t i o n a l
       Law
       Ordinance, n o t i c e by r e g i s t r a t i o n , u n r e b u t t e d . A r t i c l e s I - V and any and a l l

       s e c t i o n s thereunder a r e r e s t a t e d , s p e c i f i c a l l y I n t e r n a t i o n a l Law                 Ordinance

      UCC Doc No."s            2012113593 and WA UCC Doc. No. 2012-296-1209-2, under
      p e r p e t u i t y , 2000043135, p u b l i c p o l i c y , UCC 1-103, UCC 1-103, cornnon law
      remedy thereunder guaranteed, p u b l i c p o l i c y , UCC 1-305, w i t h o u t p r e j u d i c e ,

      p u b l i c p o l i c y UCC 1-308, r e c o n f i r m i n g and r a t i f y i n g I n t e r n a t i o n a l Law
      Ordinance UCC Doc. No. " s 2012079290 and 2012079322, due n o t i c e made and
      g i v e n upon c r e a t i o n , due knowledge r e c e i v e d , p i i b l i c p o l i c y UCC 1-202, and                                 a

      matter of r e c o r d , UCC                     1-201(31), s p e c i f i c a l l y A r t i c l e I r e s t a t e d i n i t s
      entirety;

      V I I . With due s t a n d i n g , a u t h o r i t y , and a u t h o r i z a t i o n , the u n d e r s i g n e d
      b o n d s e r v a n t s , s t a t e s of body, and T r u s t e e s , do knowingly, w i l l i n g l y , and
      i n t e n t i o n a l l y r a t i f y , r e c o n f i r m , v e r i f y and e n t e r i n t o U n i v e r s a l Law
      Ordinance, n o t i c e by a c t i o n d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance,

      n o t i c e by p u b l i c r e g i s t r a t i o n , d u l y a c c e p t e d and guarded, p r e s e r v e d and
      p r o t e c t e d by the P u b l i c T r u s t , under U n i v e r s a l T r u s t , under the t r u s t of
      c r e a t i o n , d u l y e s t a b l i s h e d by c r e a t i o n a t c r e a t i o n , and d u l y s e c u r e d , t h a t :



      A. Any and a l l s t a t e s of body a r e i n d i v i d u a l l y and e q u a l l y c r e a t i o n ' ' s
      v a l u e a s s e t c e n t e r s , each s a i d s t a t e of body d o m i c i l by c h o i c e on e a r t h
      w i t h o u t p r e j u d i c e , and have s o l e p e r s o n a l r e s p o n s i b i l i t y and l i a b i l i t y a s
      the l a w f u l and l e g a l s o l e c u s t o d i a n , o p e r a t o r and t r u s t e e t h e r e t o , t h e r e o f ,

      and f o r a l l t h a t r e s u l t s d i r e c t l y therefrom, h o l d i n g the r e l i g i o u s c r e e d
      and d i c t a t e s of t h e i r c o n s c i e n c e , i n c l u s i v e of any and a l l l a w f u l and l e g a l

— • l a n d i n g )        authoMiity,             v a l u o ;    L-ightiB;   iiinluoiMe      oS xtghb       of    oppoB^uaiteijii       uf
FlUNG O F F I C E C O P Y -   NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)


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                                                                                         E-RECORD                      $                        25.00
 12. NAM6 OF P A R T Y AUTHORIZING THIS AMENDMENT (aama aa ilam 9 on Amandmant (omi)
      12a. OftOANIZATION'S NAME                                                          ESURCHARGE                    $                         6.50
      THE PUBLIC TRUST
     12b. INOIVIOUAL'S LAST NAME                 I FIRST NAME           I MIDDLE NAME.SUFFIXI




13. U M this spatxi for additional Information




                                                                                                THE ABOVE SPACE IS FOR FlUNG OFFICE USE Of«.Y

     s t a t e of body, d u l y a c c e p t e d and r a t i f i e d as d u l y made and e n t e r e d i n t o ,
     w i t h mutual v a l u e g i v e n and r e c e i v e d by and between s a i d bondservant and
     the
     c r e a t o r upon c r e a t i o n of s a i d s t a t e of body and any and a l l v a l u e of
     c r e a t i o n d o m i c i l by c r e a t i o n t h e r e i n , due n o t i c e made and g i v e n upon
     c r e a t i o n , a c c e p t e d and guarded, p r e s e r v e d and p r o t e c t e d by the P u b l i c
     Trust,
     under U n i v e r s a l T r u s t , under the t r u s t of c r e a t i o n , d u l y e s t a b l i s h e d by
     c r e a t i o n a t c r e a t i o n , nunc pro tunc, p r a e t e r e a p r e t e r e a , u n r e b u t t e d .
     A r t i c l e s I - V I and any and a l l s e c t i o n s thereunder a r e r e s t a t e d ,
     specifically
     p r e s e r v e d and p r o t e c t e d under I n t e r n a t i o n a l Law Ordinance UCC Doc No.''s
     2012113593 and WA UCC Doc. No. 2012-296-1209-2, under p e r p e t u i t y ,
     2000043135, p u b l i c p o l i c y , UCC 1-103, UCC 1-103, common law remedy
     t h e r e u n d e r guaranteed, p u b l i c p o l i c y , UCC 1-305, w i t h o u t p r e j u d i c e , p u b l i c

     p o l i c y UCC 1-308, r e c o n f i r m i n g and r a t i f y i n g I n t e r n a t i o n a l Law Ordinance
     UCC
     Doc. No.'"s 2012079290 and 2012079322, due n o t i c e made and g i v e n and due
     knowledge r e c e i v e d , p u b l i c p o l i c y UCC 1-202, and a m a t t e r of r e c o r d , UCC
     1-201(31), i n c l u s i v e of upon c r e a t i o n . A r t i c l e I r e s t a t e d i n i t s e n t i r e t y ,

     and G e n e s i s 1:1,              KJB, Washington C o n s t i t u t i o n A r t i c l e 1 S e c t i o n 11, Oregon

    C o n s t i t u t i o n A r t i c l e 1 S e c t i o n 3, Hawaiian C o n s t i t u t i o n A r t i c l e 1 S e c t i o n
    4,
    US C o n s t i t u t i o n f o r the u n i t e d S t a t e s o f America, A r t i c l e 4, S e c t i o n 3,
    C l a u s e 1, and B i l l of R i g h t s Amendment 1, The D e c l a r a t i o n of Independence,

    J u l y 4, 1776,               and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s ;

    B. The bondservant under l a w f u l U n i v e r s a l C o n t r a c t by and between s a i d
    bondservant and the c r e a t o r r e s u l t i n g i n the  c r e a t i o n o f a s t a t e of body,

    a l s o known a s the p l a n e t e a r t h , e q u a l l y one of c r e a t i o n ' ' s v a l u e a s s e t
    c e n t e r s , w i t h s o l e p e r s o n a l r e s p o n s i b i l i t y and l i a b i l i t y as the l a w f u l and

    l e g a l s o l e c u s t o d i a n , o p e r a t o r and t r u s t e e t h e r e t o , t h e r e o f , and f o r a l l
    t h a t r e s u l t s d i r e c t l y therefrom, h o l d i n g c r e a t i o n ' ' s r e l i g i o u s c r e e d and
    d i c t a t e s of c r e a t i o n ' ' s c o n s c i e n c e t h e r e o f , i n c l u s i v e of any and a l l v a l u e

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                                                                                    WASH DC RECORDER OF DEEDS
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UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
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                                                                                    Doc Tjfpe: EFINANCING
1 i INITIAL RNANCING STATEMENT R L E # (sama as ilam la on Amandm«<( (omi)
                                                                                        PROCESSING                      $                       5.00
      2000043135
                                                                                        E-RECORD                       $                       25.00
12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (lama a« ilam 9 on Amandmant fomi)
     12a. OfiaANIZATtON-S NAME                                                         ESURCHARGE                      $                        6.50
     THE PUBLIC TRUST
    12b. INOIVIDUAfS LAST NAME                  IRRSTNAME             MIDDLE NAMESUFFIxl



13. Us« this spaca for additional Information




                                                                                           THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY

     ratified           a s d u l y made by and between the bondservant and c r e a t i o n upon
     creation           o f s a i d s t a t e o f body and any and a l l v a l u e d o m i c i l by c r e a t i o n
     therein,           thereon, and t h e r e o f , s t a t e o f body d o m i c i l by c h o i c e i n the
     universe           without p r e j u d i c e , due n o t i c e made and g i v e n upon c r e a t i o n , p u b l i c

     p o l i c y , UCC 1-202, nunc p r o t u n c , p r a e t e r e a p r e t e r e a ,             u n r e b u t t e d ; The r i g h t

     o f o p p o r t u n i t y as c o - c u s t o d i a n , c o - o p e r a t o r , and c o - t r u s t e e w i t h s a i d s t a t e

     of body g r a n t e d by c r e a t i o n under and by any and a l l l a w f u l U n i v e r s a l
     C o n t r a c t s e q u a l l y , s a i d r i g h t o f o p p o r t u n i t y d u l y a c c e p t e d and guarded,
     p r e s e r v e d and p r o t e c t e d by t h e P u b l i c T r u s t , under U n i v e r s a l T r u s t , under
     the t r u s t o f c r e a t i o n , d u l y e s t a b l i s h e d by c r e a t i o n a t c r e a t i o n , nunc p r o
     tunc, p r a e t e r e a p r e t e r e a , u n r e b u t t e d ; A l l s a i d , r e s t a t e d , and d u l y v e r i f i e d

    as h a v i n g been knowingly, w i l l i n g l y , and i n t e n t i o n a l l y r e c o g n i z e d ,
    a c c e p t e d , s e c u r e d and e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e by
    p u b l i c r e g i s t r a t i o n , d u l y a c c e p t e d and guarded, p r e s e r v e d and p r o t e c t e d by

     the P u b l i c T r u s t , under U n i v e r s a l T r u s t , under the t r u s t o f c r e a t i o n , d u l y

    e s t a b l i s h e d by c r e a t i o n a t c r e a t i o n , nunc p r o t u n c , p r a e t e r e a p r e t e r e a ,
    u n r e b u t t e d . A r t i c l e s I - V I and any and a l l s e c t i o n s t h e r e u n d e r a r e r e s t a t e d ,

    s p e c i f i c a l l y p r e s e r v e d and p r o t e c t e d   under I n t e r n a t i o n a l Law Ordinance UCC

    Doc No.''s 2012113593 and WA UCC Doc. No. 2012-296-1209-2, under
    p e r p e t u i t y , 2000043135, p u b l i c p o l i c y , UCC 1-103, UCC 1-103, common law
    remedy thereunder guaranteed, p u b l i c p o l i c y , UCC 1-305, w i t h o u t p r e j u d i c e ,

    p u b l i c p o l i c y UCC 1-308, r e c o n f i r m i n g and r a t i f y i n g I n t e r n a t i o n a l Law
    Ordinance UCC Doc. No.''s 2012079290, 2012079322, 2012094308, 2012094309,
    2012096047, due n o t i c e made and g i v e n and due knowledge t h e r e o f d u l y
    r e c e i v e d , p u b l i c p o l i c y UCC 1-202, and a m a t t e r o f r e c o r d , UCC 1-201(31),
    i n c l u s i v e o f upon c r e a t i o n . A r t i c l e I r e s t a t e d i n i t s e n t i r e t y , and G e n e s i s

    1:1, KJB, Washington C o n s t i t u t i o n A r t i c l e 1 S e c t i o n                11, Oregon          Constitution

    A r t i c l e 1 S e c t i o n 3, Hawaiian C o n s t i t u t i o n A r t i c l e 1 S e c t i o n 4, US
    C o n s t i t u t i o n f o r the u n i t e d S t a t e s o f America, A r t i c l e 4, S e c t i o n 3, C l a u s e

R U N G OFFICE COPY -       NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)


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                                                              : 2012127854
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                                                                               O f f i c i a l Records of
                                                                               WASH DC RECORDER OF DEEDS
                                                                               IDA WILLIAMS
UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
F O a O W INSTRUCTIONS (front and back) CAREFULLY
                                                                               Doc Type: EFINANCING
 11. INITIAL RNANCING STATEMENT R L E # (sama as it«ii la on Amandmant Kxm)
       2000043135                                                                  PROCESSING                     $                             5.00
                                                                                  E-RECORD                        $                            25.00
 12. NAME OF PARTY AUTHORIZING THIS AMENDMENT (sama aa Hwn 9on Amandmant fomi)
                                                                                  ESURCHARGE                      $                             6.50
      THE PUBLIC TRUST
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME            MIDDLE NAME,SUFFIXi



13. Use thia   spaca for   additional Information




                                                                                       I   THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY
      p o l i c y , UCC 1-305, a r e d u l y v e r i f i e d a s h a v i n g been knowingly, w i l l i n g l y ,
      and i n t e n t i o n a l l y r e c o g n i z e d , a c c e p t e d , s e c u r e d and e n t e r e d i n t o
      I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c r e g i s t r a t i o n , d u l y a c c e p t e d
      and guarded, p r e s e r v e d and p r o t e c t e d by the P u b l i c T r u s t , under U n i v e r s a l
      T r u s t , under the t r u s t of c r e a t i o n , d u l y e s t a b l i s h e d by c r e a t i o n a t
      c r e a t i o n , nunc pro t u n c , p r a e t e r e a p r e t e r e a , u n r e b u t t e d , s p e c i f i c a l l y d u l y

      v e r i f i e d due         n o t i c e made and g i v e n upon c r e a t i o n , and A r t i c l e s I - V I and           any

     and a l l s e c t i o n s thereunder a r e r e s t a t e d , s p e c i f i c a l l y p r e s e r v e d and
     p r o t e c t e d under I n t e r n a t i o n a l Law Ordinance UCC Doc No.''s 2012113593 and
     WA
     UCC Doc. No. 2012-296-1209-2, under p e r p e t u i t y , 2000043135, p u b l i c p o l i c y ,

     UCC 1-103, UCC 1-103, common law remedy t h e r e u n d e r guaranteed, p u b l i c
     p o l i c y , UCC 1-305, w i t h o u t p r e j u d i c e , p u b l i c p o l i c y UCC 1-308, h e r e i n and
     h e r e a f t e r g o v e r n i n g law;

     D. A r t i c l e V I I s e c t i o n s A-C a r e r e s t a t e d , and t h a t a l l d u l y a c c e p t e d and
     guarded, p r e s e r v e d and p r o t e c t e d by the P u b l i c T r u s t , under U n i v e r s a l
     Trust,
     under the t r u s t of c r e a t i o n , d u l y e s t a b l i s h e d by c r e a t i o n a t c r e a t i o n ,
     i n c l u s i v e o f any and a l l l a w f u l and l e g a l r e c o r d s and I n t e r n a t i o n a l Law
     Ordinances of c r e a t i o n ' ' s v a l u e a s s e t c e n t e r s , h e r e i n i d e n t i f i e d , i n c l u s i v e

     o f any and a l l l a w f u l and l e g a l t i t l e , ownership, c u s t o d i a n s h i p ,                     and
     t r u s t e e s h i p t h e r e o f and t h e r e t o , i n c l u s i v e o f any and a l l r e c o r d s          thereof,

     r e s t a t e d , were and a r e d u l y v e r i f i e d and r e c o n f i r m e d as d u l y a c c e p t e d and
     guarded, p r e s e r v e d and p r o t e c t e d by the P u b l i c T r u s t , under U n i v e r s a l
     Trust,
     under the t r u s t of c r e a t i o n , d u l y e s t a b l i s h e d by c r e a t i o n a t c r e a t i o n , d u l y

     guaranteed and i n s u r e d by p e r s o n a l bond of the T r u s t e e s o f the P u b l i c
     T r u s t , nunc pro tunc, p r a e t e r e a p r e t e r e a , u n r e b u t t e d . A r t i c l e s I - V I and            any

     and a l l s e c t i o n s t h e r e u n d e r a r e r e s t a t e d , s p e c i f i c a l l y p r e s e r v e d and
     p r o t e c t e d under I n t e r n a t i o n a l Law Ordinance UCC Doc No.''s 2012113593 and
     WA
     UCC Doc. No. 2012-296-1209-2, under p e r p e t u i t y , 2000043135, p u b l i c p o l i c y .

R U N G O F F I C E C O P Y - N A T I O N A L UCC RNANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)


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                                                                                 WASH DC RECORDER OF DEEDS
                                                                                 IDA WILLIAMS
UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
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11. INITIAL RNANCING STATEMENT R L E # (sun* M itm 1a on AnMndnwM lam)
                                                                                     PROCESSING                      $                                 5.00
       2000043135
                                                                                     E-RECORD                        $                                25.00
 12. NAME O F PARTY AUTHORIZING THIS AMENDMENT (wina a» HOT 9 on Amaodnwnl (omi)
      12a. OROANIZATION-S NAME                                                       ESURCHARGE                      $                                 6.50
     THE PUBLIC TRUST
    12b. INOIVIDtJAL'S LAST NAME                I FIRST NAME             I MIDDLE NAME,SUFFIX|




13. U M this spaca for additional Information




                                                                                                  THE ABOVE SPACE 18 FOR R U N G O F R C E USE ONLY

     t h e r e o f d u l y r e c e i v e d , p u b l i c p o l i c y UCC 1-202, and a m a t t e r o f r e c o r d , UCC

     1-201(31), i n c l u s i v e o f upon c r e a t i o n . A r t i c l e I r e s t a t e d i n i t s e n t i r e t y ,

     and G e n e s i s 1:1, KJB,                    Washington C o n s t i t u t i o n A r t i c l e 1 S e c t i o n 11, Oregon

     C o n s t i t u t i o n A r t i c l e 1 S e c t i o n 3, Hawaiian C o n s t i t u t i o n A r t i c l e 1 S e c t i o n
     4, US C o n s t i t u t i o n f o r the u n i t e d S t a t e s o f America, A r t i c l e 4, S e c t i o n 3,

     C l a u s e 1, and B i l l o f R i g h t s Amendment 1, The D e c l a r a t i o n o f Independence,

     J u l y 4, 1776,              and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s ;

     E . The u n d e r s i g n e d b o n d s e r v a n t s , s t a t e s o f body, and T r u s t e e s , a s PUBLIC
     SERVANTS, knowingly, w i l l i n g l y , and i n t e n t i o n a l l y d e c l a r e , r e c o n f i r m ,
     verify
     and e n t e r i n t o U n i v e r s a l Law Ordinance, n o t i c e by a c t i o n d u l y e n t e r e d i n t o

    I n t e r n a t i o n a l Law Ordinance, n o t i c e b y p u b l i c r e g i s t r a t i o n , t h a t we have
    and do guard, p r e s e r v e , p r o t e c t , g u a r a n t e e and i n s u r e , w i t h f u l l p e r s o n a l
    r e s p o n s i b i l i t y and l i a b i l i t y , d u l y e x e r c i s e d w i t h a b s o l u t e and extreme
    prudence and c a r e , t h e P i i b l i c T r u s t , under U n i v e r s a l T r u s t , under t h e t r u s t

    of c r e a t i o n , d u l y e s t a b l i s h e d by c r e a t i o n upon c r e a t i o n , and a l l t h a t i s
    d u l y a c c e p t e d t h e r e i n and guarded, p r e s e r v e d and p r o t e c t e d t h e r e b y , nunc
    pro
    t u n c , p r a e t e r e a p r e t e r e a , u n r e b u t t e d . A r t i c l e s I - V I I and any and a l l
    s e c t i o n s thereunder are r e s t a t e d ;




    Debtor names added f o r                           indexing

    THE      PUBLIC         TRUST

    CHARLES          C. M I L L E R        [AN A R T I F I C I A L   PERSON   &   LEGAL          FICTION]

    CHARLES          C     MILLER          [AN A R T I F I C I A L   PERSON   & LEGAL            FICTION]

    CHARLES          C.    MILLER         D/B/A        CH7VRLES C .    MILLER

    BANK      FOR        INTERNATIONAL               SETTLEMENTS

    AS    PRINCIPAL,               AGENT,        AND     BENEFICIARY     OF   SLAVERY            SYSTEMS




FlUNG O F F I C E C O P Y - NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)


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                                ANNEX 21

                              Case No. 1:17 mj-531




  TITLE                          DESCRIPTION                           PAGES


 Annex 21                     The Paradigm Report                          1-16




                                                                       Pg. 1 ofl


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                        TREASURY FINANCE A G
                        I N D U S T R I E S T R A S S E 21, CH-6055 A i P N A C H DORF




                        FINAL B U L L E T REPORT
                           ooPARADIGMoo
INVESTIGATION AUTHORIZATION SUMMARY

 INVESTIGATION        "PARADIGM"
 SENSITIVITY          CLASSIFIED; CONFIDENTIAL
 ORIGINAL PRIORITY    TIME PERMISSIVE
 AMENDMENTS           EPOCH--EACTUAL BASIS
 AUTHORIZED           YES
 ORIGINAL TIME        DISCRETION OF IINVESTIGATION LEAD
AMENDMENTS            EXPEDITED—FACTUAL BASIS
AUTHORIZED            YES
APPROACH              MACRO-~-MICRO
ORIGINAL PROTOCOL     WATCHER
AMENDED PROTOCOL      SUBMERSIVE PARTICIPANT
AUTHORIZED            YES
ORIGINAL OBJECTIVES   INTERNAL-BANKING, TRADE, FINANCE
AMENDED OBJECTIVES    PUBLIC TRUST
AUTHORIZED            YES
ORIGINAL SECURITY     SLIGHT
AMENDED SECURITY      SILENT
AUTHORIZED            YES
REPORT AUTHORIZED     YES
REPORT VERIFICATION   TRINITY PROTOCOLS
REPORT PROTOCOL       TREASURY
COURTESY PimVIEW      SELECTIVE
RESTRICTIONS          QUIET
AUTHORIZED            YES
AUTHORIZATION LEAD    Karl Langenstein
INVESTIGATION LEAD    Heather Ann Tacci-Jfarrjaf
INVESTIGATIVE TEAM    GLOBAL
SUPPLEMENTED          YES—USA NATIONAL

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                                          TREASURY FINANCE AG
                                          I N D U S T R I E S T R A S S E 21, CH-6055 A L P N A C H DORF




                        PARADIGM
             ULTIMATE FINDINGS & CONCLUSIONS
       1.   T H E PRIVATE-MONEY-FOR-PUBLIC-USE BANKING SYSTEM, T H E F E D E R A L R E S E R V E BANK, IS
            A T H R E A T TO:
            A) A L L HUMANITY AND ITS I N A L I E N A B L E R I G H T AND L I B E R T Y
            B) STATE AND NATIONAL A M E R I C A N S E C U R I T Y
            C) INTERNATIONAL S E C U R I T Y
            D) G L O B A L S E C U R I T Y
            E) T H E S E C U R I T Y OF T H E HEAD O F T H E PRINCIPALS TO T H E F E D E R A L
                 RESERVE
            F) C O M M E R C E : STATE; NATIONAL; INTERNATIONAL; G L O B A L
            G) J U S T I C E

      2. T H E PRIVATE-MONEY-FOR-PUBLIC-USE BANKING SYSTEM IS T H E CONSTANT FORUM,
         DENOMINATOR, AND PRIME O F A L L C R I M E S AGAINST HUMANITY, SOVEREIGNS, CONTRACT,
         AND C O M M E R C E , INCLUDING BUT NOT L I M I T E D TO B R E A C H OF P E A C E , TRESPASS, AND
         INVOLUNTARY SERVITUDE, THROUGH I L L E G A L FRAUD, C O E R C I O N , F O R C E , T H E F T AND
         D E C E P T I V E P R A C T I C E S AND ACTS

      3.    T H E F E D E R A L R E S E R V E BANK, AND ITS PRINCIPALS, A R E T H E A B S O L U T E AND FINAL PARTY
            L I A B L E AS ISSUER OF T H E F E D E R A L R E S E R V E NOTES

      4. T H E ONLY SOLUTION TO T H E T H R E A T S , AND TO MITIGATE L I A B I L I T I E S G L O B A L L Y , IS TO
         CHANGE T H E UNITED STATES BANKING S Y S T E M TO T H E T R I E D AND T R U E PUBLIC-MONEY-
         FOR-PRIVATE-USE BANKING S Y S T E M , USING STATE C E N T R A L BANKS AND A NATIONAL
         C E N T R A L BANK

      5.    T H E A M E R I C A N P U B L I C BANKING S Y S T E M , GOVERNMENT, E S P E C I A L L Y T H E JUDICIAL
            S Y S T E M MUST B E 1 0 0 % TRANSPARENT, ACCOUNTABLE, AND L I A B L E

      6.    T H E PRIVATE BANKING SYSTEM'S AGENTS HAVE H E L D T H E HIGHEST O F F I C E S OF T H E
            A M E R I C A N GOVERNMENT S T E A D I L Y SINCE WOODROW WILSON AND T H E Y HAVE
            ESTABLISHED AN E X T E R N A L SUPPORT S Y S T E M T H R O U G H CONGRESS, L O B B Y S , AND MULTI-
            NATIONAL CORPORATIONS;

      7. THROUGH C A R E F U L S E C L E C T I O N AND P L A C E M E N T OF T H E PRIVATE BANK SYSTEM'S
         AGENTS, T H E GOVERNMENT O F UNITED STATES O F A M E R I C A IS AND HAS B E E N SERVING
         T H E PRIVATE BANKING S Y S T E M TO T H E DETRIMENT AND HARM the people of America and the
         people ofthe world; T H E PRIVATE BANKING S Y S T E M HAS I L L E G A L L Y F O R C E D PRINCIPLES ON
         A GLOBAL SCALE




FINAL REPORT: « £ A M a i f i M «                                                                ~         P A G E 2 O F 16
INITIALS:                                         TREASURY




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                                   TREASURY FINANCE A G
                                   I N D U S T R I E S T R A S S E 21, CH-6055 ALPNACH D O R F




8.   T H E public trustees of Tlie United States Public TVust, AND The Public Trusts of the states of America,
     HAVE T H E ONLY C L E A N , PURE AND SENIOR POSITION IN A M E R I C A , L E G A L L Y AND
     F A C T U A L L Y , TO O R D E R T H E NEW BANKING S Y S T E M AND O R D E R their GOVERNMENT TO
     C L E A N I T S E L F UP

9.   T H E C U R R E N T GOVERNMENT O F UNITED STATES OF A M E R I C A , ITS OFFICES, A G E N C I E S AND
     T H E I R O F F I C E R S , AGENTS, ASSIGNS AND SUCCESSORS, CAN ONLY R E S T O R E T H E I R
     NATIONAL AND INTERNATIONAL C R E D I B I L I T Y T H R O U G H ITS principaL.the public trustees of
     The United States Public Trust, AND The Public Trusts of the states of America

10. T H E public trustees MUST B E G I V E N T H E DUE R E C O G N I T I O N AND SUPPORT FROM its
    GOVERNMENT, WORLD GOVERNMENTS AND SOVEREIGNS

11 T H E public trustees MUST B E G I V E N T H E DUE R E C O G N I T I O N B Y T H E CUSTODIANS O F T H E
   PUBLIC W E A L T H IN ORDER TO R E S T O R E B A L A N C E AND HUMANITY IN T H E WORLD

12. A C L E A N AND TRANSPARENT A G R E E M E N T MUST B E ESTABLISHED B E T W E E N the public
    trustees AND T H E WORLD'S OLD PARADIGM B E N E F I C I A R I E S TO B E G I N FINAL S E T T L E M E N T S
    TO C L E A N A L L ASSETS I L L E G A L L Y T A K E N TO T H E S U F F E R A G E OF A L L HUMANS

13. E V E R Y NATION AND GOVERNMENT, E A C H L I V E PERSON IN E V E R Y STATION, O F F I C E , AND
    SEAT, S H A L L D E T E R M I N E FOR T H E M S E L V E S W H E T H E R T H E Y A R E : 1.) A HOSTAGE TO T H E
    OLD PARDIGM, CHOSING TO F R E E I T S E L F F R O M T H E A C T S AND CHOICES OF T H E I R
    P R E D E C E S S O R S ; or 2.) A C O M P L I C I T PARTICIPANT W I T H TFIE OLD PARDIGM, AND E N S L A V E R
    OF the people; E A C H S H A L L I D E N T I F Y T H E M S E L V E S F O R F R E E D O M OR TO B E MADE AN
    EXAMPLE OF THROUGH ENFORCEMENT


                                       T H E R E S T O F THIS PAGE
                                     INTENTIONALLY L E F T B L A N K




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                                         I N D U S T R I E S T R A S S E 21, CH-6055 A L P N A C H DORF




                           PARADIGM—ASSESSMENT
                                public trustees
 T H E public trustees HAVE PRODUCED AND PROVIDED their REPORT. INVESTIGATION LEAD HAS
 V E T T E D T H E trustees REPORT. T H E INVESTIGATION L E A D SUGGESTED, AND IT WAS A G R E E D , THAT
 A L L ORGANIC PLANS OF S T R U C T U R E , IMPLEMENTATION, AND E N F O R C E M E N T O F T H E P U B L I C
 BANKING S Y S T E M B E D E L I V E R E D IN PERSON. T H E INVESTIGATION L E A D HAS CHOSEN AND
 A C C E P T E D T H E POSITION AS public trustee liaison T O ORGANIZE M E E T I N G S FOR FINAL
 DETERMINATION OF S T R U C T U R E , AUTHORIZATIONS, AND ORDERS F O R IMPLEMENTATION OF T H E
 PUBLIC BANKING SYSTEM AND C L E A N GOVERNMENT.

 T H E public trustees A R E E X T R E M E L Y COMPETENT;

 Trustees' INTENT IS BEYOND R E P R O A C H AND PROVEN B Y A C T I O N AND WORDS TO B E FOR T H E
 B E N E F I T O F humankind AND the earth AND NOT JUST TO T H E L I M I T S O F T H E AMERICAN SOIL AND
 Americans;

Trustees' POSITION AS public trustees IS W E L L DEFINED, UNDERSTOOD, A C C E P T E D , A C T I V E AND
UNPENATRABLE; T H E CHANGES A R E HAPPENING R E G A R D L E S S O F E F F O R T S OF T H E AGENTS AND
SUPPORTORS O F T H E OLD AND H A R M F U L PARADIGM

Trustees A R E JUST, SUPPORTED BY their AWARENESS THAT they A R E N E U T R A L AS TO JUDGMENT O F
people; JUDGEMENT AND F O R G I V E N E S S A R E INHERENT IN E A C H person AS IS T H E human will;

Trustees A R E READY, W I L L I N G AND A B L E TO SUPPORT E A C H person IN their PROCESS O F S E L F -
JUDGMENT AND S E L F - R E D E M P T I O N AS I T IS P R E S E N T E D ;

Trustees R E C O G N I Z E TH AT O F F I C E S AND A G E N C I E S OF A M E R I C A A R E E X T R E M E L Y TRAINED AND
CAPABLE OF DOING T H E I R JOBS IN A C C O R D A N C E WITH T H E CONSTITUTION AND A R T I C L E S IN
ESTABLISHING T H E NEW PARDADIGM, D R I V E N BYPUBLfC-MONEY-FOR-FOR-PRIVATE-USE
BANKING S Y S T E M , STATE AND NATIONAL, AND C L E A N I N G T H E GOVERNMENT AND JUDICIAL
SYSTEMS;

THIS IS C R I T I C A L TO UNITED STATES OF A M E R I C A R E - E S T A B L I S H I N G ITS C R E D I B I L I T Y WITHIN
AND W I T H T H E WORLD;

THIS IS C R I T I C A L F O R T H E W O R L D TO T A K E T H E OPPORTUNITY TO B E F R E E F R O M T H E S E L F -
SERVING, P R O F I T E E R I N G OF T H E PRIVATE BANKING S Y S T E M AND T H E ABUSE, ClilMES, AND
SLAVERY THAT HAS B E E N A PART O F WORLD HISTORY F O R N E A R L Y T H E LAST 100 Y E A R S ;

T H E trustees A R E D I V E R S E IN their BACKGROUNDS, S K I L L S , AND T A L E N T S , BUT they A R E T H E SAME
IN their POSITION AS origin source, I N T E G R I T Y , PURITY, AND COMMITTMENT; WITH T H E POSSIBLE


FINAL REPORT: mPARAmGMx                                                                                        P A G E 4 O F 16
ilNlTIALS:                                       TREASURY




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                                          TREASURY FINANCE A G
                                          I N D U S T R I E S T R A S S E 21, CH-6055 A L P N A C H DORF




 E X E C E P T I O N O F ONE, A L L trustees A R E "sensitives", "batteries".

 T H E R E IS ONLY ONE CURRENT public trustee WHOSE STAMINA T H E INVESTIGATION L E A D HAS NOT
 B E E N A B L E TO DETERMINE: "Hiclcer-Rey.

 IVustees HAVE SPENT DECADES T E S T I N G AND PREPARING ORGANIC STRUCTURE AND PLAN, FINAL
 VERSION TO B E M U T U A L L Y DETERMINED AND I M P L E M E N T E D AND ENFORCED W I T H
 C O O P E R A T I V E E F F O R T S O F T H E public trustees, GOVERNMENTS, SOVEREIGNS, T H E CUSTODIANS,,
 T H E earth, AND T H E source OF A L L .

 Trustees' V I E W AND APPROACH A R E COMPETENT, NEUTRUAL, G R A C E F U L AND E L E G A N T

 INVESTIGATION L E A D HAS HAD T H E FIRST HAND OPPORTUNITY TO WATCH, OBSERVE, T E S T AND
 V E T T H E M A J O R I T Y OF T H E trustees AT T H E H I G H E S T AND MOST INDEPTH L E V E L S .

 imMI£MiQgJJAMimiJlUM.A^^^                                  ENDORSEMENT AND RECOGNITION TO THE piihHc
trustees AND their ACTIONS..                                                                ' ~  "

                                              T H E R E S T O F THIS PAGE
                                            INTENTIONALLY L E F T B L A N K




FINAL REPORT: wPARADIGMm                                                                            P A G E S O F 16
INITIALS:                                        TREASURY




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                                     TREASURY FINANCE AG
                                      I N D U S T R I E S T R A S S E 21, CH-6055 ALPNACH D O R F




                              PARADIGM—BACK SUMMARY
    In October of 2008, the Authorization Lead ordered an investigation to be launched to streamline intemal
operations and time management of the house and its members due to exti-eme amounts of waste being incurred
as a result of large quantities of fraudulent "assets" being presented from the banking, trade, and finance
industries. The original goals of the investigation were solely intemal, and they were to:
I.      Identify and assess the entry points of the fraud and reverse engineer to the origin soiirce;
IL     Assess and present options for an intemal database that could be readily and easily updated from external
        soui'ces to record and track perpetrators, vehicles used, and the instruments of fraud;
III     Identify and assess creative options and sources to supplement house intel;
IV.     Review and strengthen house security protocols; Identify the possible global cause and effect that
       proposed internal solutions may have

Primary Investigation^ (Annex 1): concluded approx. January of 2010.
Follow-Up Investigations: concluded approx. July of 2010.
Smmmary of Findpgs; The general entry points of fraudulent "assets" originally identified as the brokers and
the reverse engineering led to the origin source consisting of the highest levels of banking, .Follow-up Intel and
tracking revealed that highest levels of banking actually general entry point and creator offraudulent"assets".
"Assets" then generally given to brokers, directly or indirectly, and then taken back up through the system. Tliis
finding was supplemented and fiirther supported with data obtained that banking officers were covertly sifting
sensitive client information to selective external person(s), "groups", in finance industry for banker's personal
enrichment. The cloaked external investment opportunity usually starts in generally one of three ways: 1.) bank
officer purporting to have "vetted" numerous potential investment opportunities, presenting their group, the
"one" group that "vetted" above all others to client; 2.) leaking clients sensitive information so banker's partner
"group" could approach client externally, knowing and maneuvering client to ultimately come to the banker for
advise on an "investment" opportunity that client had no idea was pre-arranged; or, 3.) the banker trespasses on
and utilizes client account/assets, without disclosure and without client's consent for such actions, in such a
manner that it is virtually untraceable. The last option generally requires highest positions, in internal financial
institutions to manage the lower employees, but also with external institutions, privately held central banks,
and .government. Perpetrators use unsuspecting persons to implement compartmentalized parts of plan. Security
Protocols were internally adjusted. Intel sources were consolidated. Intel operations were compartmentalized
for security Global cause and effect of internal solutions significant as to house reputation in banking, trade,
and finance industries and global govemment. Industiy consensus = morality is not as profitable.

CONCLUSION: THE FRAUD AND CORRUPTION ARE TOO DEEP; THE EFFECTS GLOBAL; THE
PERPETRATORS OFTHE PRIVATELY HELD BANKING SYSTEM AS WE HAVE KNOWN IT FOR NEARLY
1 HE LAST 100 YEARS, THE PRIVATE-MONEY-FOR PUBLIC-USE SYSTEM, HAVE ERODED THEIR OWN
CREATION, FUELED BY THEIR OWN GREED, TO THE POINT THE SYSTEM IS IMPLODING ON ITS-
SELF; BANKING TOUCHES EVERY INDUSTRY, EVERY PERSON, EVERY ACTION ON THE PLANET AND
THE EFFECTS ARE GLOBAL AND SYSTEMIC; THE BANKING SYSTEM IN ITS CURRENT FORM
CANNOT SURVIVE THE EXPONENTIAL AND PERPETUAL AWAICENING OFTHE COLLECTIVE
CONSCIOUS AS THE INHERENT POWER BALANCES THE INJUSTICE; THE PERPETRATORS-
CON VERSION(S) OF THEIR PERSONAL ASSETS TO SUBSTANCE TOAVOID THE FINAL EQUITY C A L L IS
USELESS, AS SAID CONVERSION(S) ARE ALREADY DULY RECOGNIZED TO BE PURCHASED BY
UNCLEAN FUNDS, FUNDS PRODUCED BY SLAVERY, TRACKED EVERY STEP OF THE WAY

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INITIALS!                                     TREASURY



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   In March of 2009, the Authorization Lead ordered tlie investigation's parameters to be expanded in correlation
 to the data gathered and obtamed by tlie Investigation Lead. As the data base and comprehension expanded
 exponentially regarding the various systems and the extremely sensitive and restricted data, the Authorization
 Lead ordered the Investigation Lead to alter the goals to external, and they were to:

     Present possible alternative solutions and strategies of implementation to maintain private banking system;
 II.  Identify the key vehicle the public could identify with to use as the forum to replace the dying private
      banking system that is private-money-for-pubUc-use with the original public-money-for-private-use system;
 HI. Identify, assess, and test the weaknesses of key industries vital to the implementation of dying private
     banking system;

 Preliminary Investigations*; concluded approx. February 2009.
 InvcstijiallQlLSlJilan for rollovv-Up*'^;^; concluded approx. Marcli of 2009; testing fortliwitlj implemented.
 Summary of Fiudingj; An old paradigm is at tlie mil of in opcratlois and esisfencc. Us t tin ctil cciilrtil
  ractliodoninplcnieidiition has hacn the. prh'E'.te-suoncy-for-p«blic-H.se sysfeni and the "for-proiM
  corporation'* system. The eriglaal goveriimcHt in America %vm Isigenioissly c<H.?vertcd and }*rudgiugiy
   accepted by otiser >vorld Principals throngli threat, coorcioti, nml force; Unknowingly accepted hy the.
  jcople of Amcric-i and otijcr world pcwpk.s, rosidting In iRvoloiKtary servitude; iraplemcntrd            amlmfotmi
  ,>y and througli illegal and mimmdmifihU, deceptive, non-traasparcnt itieaas aad mcthod.s, void of any
 accountability. Casualties arc in the bilhons. Many possible alternative solutions for operating in the current
 private bankuig system were explored and policies and protocols were created, adjusted; of all tested-all failed.
 The Principal ofthe private banking system in America, most notably headed by the conservator, House of
 Rothschild, is finding that their own hidden intent, agendas, presmnptions and arrogance, are being over-
 shadowed by those of their Agents, resulting in the self-destraction ofthe private banking system and global
 stability. This would not be of concern to the head ofthe Principal nor the other world Principals, except that the
 public collective conscious has grown at rates unexpected and unpredicted to the point that their expected
 replacement system cannot be implemented without full out breach of peace and annihilation ofthe public by
 the Principals and their Agents. The agents have been permitted to some degree to practice breach of peace and
 annihilation when it served the purpose and intetit of Principals, however, the Principals are now subject to
 victim ofthe breach of peace and annihilation. Dis-accord and greed within a Principal has always been a
reality, but now the head of the Principal has the opportunity to see the level of power of political and financial
influence of their Agents, often ftieled by the junior membership or other world Principals. Regardless, ALL
PRINCIPLES will find that the Agents, and junior membership, being at first necessary, then tolerable, are now
unacceptable. The most notable of the rogue Agents warned as the Texas Camp. A l l attempts to contain the
Agents and their established networks have been time and resource intensive and an inconvenience to the head
Principal and the other world Principals. A L L PRINCIPALS are going to realize that the Agents now pose a
detriment and threat to the head of the Principal, and the other world Principals, and not just the pre-selection of
humanity. The fraud cannot be controlled or eliminated in the private banking system because it is inherent in
its existence. The head of the Principal and other world Principals have lost control over its Agents due to the
Agents'addiction to self-interest, profit and arrogance. Inaction bv ALL THE PRINCIPALS is their estoppel and
dtistrovs their ability for self-correction, threatening their viability and survivabilitv.




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iJNITIALSj                                    TREASURY




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              As was discovered and proven repeatedly in American history prior to 1930's, a piibUc-money-for-private-use
   banking system, implemented and enforced by the knowledgeable public and their govemment, and recognized and relied
   upon by the entire world, is the only solution to prevent the tlireat and abuse inlierently existing in a private banking
   system. The prior two tests of the private banking system concluded in a shorter life-span, due to swift public reaction by a
  knowledgeable and watchftil public with enforcement of penalties against the agents ofthe Principal. Infdtration and
  manipulation of key industries were critical to the preservation of the final and current private banking system: Education
  and Judicial. At the time of the second test, the pubhc and the judicial were cohesively one and the same. The judicial
 Kvorked with an official hat, but they recognized under the hat they were one ofthe public. An educated public and a
  il'udicial that did not differentiate itself from the public was detrimental and key to the fmal destruction ofthe first two tested
  private bank systems. It was necessary to deconstruct a knowledgeable pxibKc and disassociate the judicial from their own
  pubhc. Media and Education Systems were key industries targeted to create an uneducated public. Slowly and
  methodically the industries were infiltrated and manipulated with adjustments made over a period of decades to address
  those who were familiar with the public interests and paradigms in order to reach the level of valueless and selective
  education and media we have now. Media holdings were consolidated to certain Agents to maintain and manipulate. With
  technological advancements, telecommunications was included as a key Industiy to address. The creation ofthe Internet
  was the most life changing and is still a key threat to the private banking system. The intemet is the sole problem they
  have yet to contain. It is humorous that ALL PRINCIPLES acquire the talents of those to contain the internet and yet ALL
  PRINCIPALS are blinded by the an-ogance of their own presumptions and have failed to recognize that theti-uemasters of
  tbe technology, young to old, are inherently aware that the old paradigm has no purpose and are assisting aggressively, yet
  ever so covertly, in the shift to the new collective conscious paradigm.
              The Judicial has been much more interesting to the Investigation Lead due to her background. The Judicial had to
 he made a partner as an uneducated Judicial was not a realistic or effective option. Howevei', the Judicial was not as easy to
 jinfdtrate initially. Once "communism" quieted on American soil and the education and media industries were pretty much
 under control, real legal education, constitutional based, was covertly modified to tiie current system with the BAR'S
 infiltration at the highest levels of Judicial appointment and is secured by the occupation of the highest positions of local,
 state, and national authority agencies and coiporations in America. This was not possible however, while the BAR was on
 the communist list. Investigations have been conducted in the past on the BAR and political and financial influence were
 used to quiet them; as is true with those who investigated the American bankruptcy, the Federal Reserve, etc, anyone who
 rejected or refiised the poHtical and financial influence were imprisoned, disappeared, terminated or discredited to the point
 of public annihilation.
             Much intel has come from the head of the Principal's own house, the houses of other world Principals and usual
 intel sources of our house. The past level of commitment of the private banking system and its Principal is undeniable. The
 past prowess of negotiating and implementing the world acceptance of the private banking system has been genius and
 ruthless. The intent and actions required to implement and maintain it are abhorrent and have traditionally never been
 accepted by the public, when known by the public. Evidence of the premeditation, calculation, plamiing, and constant
   eassessment and adjustment used to preserve this last and current private banking system, and hs Principal, are in the
[pubhc forum. Selective agents of the public and watchers haveti-acked,monitored and vaulted the evidence until
 infrastructure and trustees came forward. Global intel also maintains records, waiting for the order. Tlie beginnings of ALL
|PRINCIPALS, agencies, offices, and the general body ofthe original American government were not corrupt. The
Principals, the agencies, offices, and the general body ofthe current American government, i f corrupt, are only so through
[the self-interest, profit and arrogance of the heirs, agents and assigns of the origin source of their existence.
             The Authorization and Investigation Leads jointly identified the American mortgage issue* (see Annex 1) as the
key vehicle the public could idenfify with to use as the formn to unite the people o f t h e United States o f America,
and the people o f the world, to replace the dying private banking system that is private-money-for-public-use
with the public-money-for-private-use system. The Investigation and Authorization Lead discussed with
members o f the global team and agreed that the Investigation Lead was to remain i n the states and use her own
home as the test case; that the Investigation Lead was m a unique position to test and flush out the remaining


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 points for discovery of eventual implementation of the public-money-for-private-use system and the
 reinstatement of true justice.
           The public trustees initiated contact with the Investigation Lead on December 10,2010, and gave details that they
 could possibly not have known about the Authorization Lead, the Investigation Lead, the Swiss custodians of the public
 wealth, and details related to prior investigations and current is.sues plagidng the highest levels of trade, bank and finance.
 By "social standards" review, they are the least likely to be in possession of this information. An extensive check with the
Authorization Lead and intel sources proved the opposite. Per Authorization Lead's order, the tnistees were invited to
watch and assist at the tail end ofthe investigation in order for the Investigation Lead to establish an assessment ofthe
trustees' competency, intent, and position. It was a mutiial assessment that took place. Their intent was the same as the
leads, i f not more comprehensive as they included that the new hanking system could only work and survive ifthe Judicial
house in America operated on full transparency secured by the fidl personal liabiiity of each Judicial officer, agent, and
assign. Investigation Lead spent two months testing the Judicial House and investigating the current system of liability of
its officers, agents and assigns. While generally the agents work under full personal liabihty and the judicial is required to
be bonded, in practice, accountability and Mabihty does not exist, ie. Codes and statutes require a bond to be pcsted before
taking judicial or public office, however, private contracts, employment or other, contain "hold harmless clauses" or a
similar immunity not disclosed to the public, and the lower levels are protected to a limited degree by restricting access and
process of claims, which are self-administered bythe counties where the judicial house resides and in conjunction with the
Insurance Industry.
           Investigation Lead reported findings and conclusions (identified herein) to Authorization Lead = resounding
"Green Light" to prepare the forums for implementation ofthe public-money-for-private-use system, state and national
levels. Individual report can be issued on foreclosure and judicial issues with greater detail.

OQMjCyUMMl (GLOBAL), T H E PMVATE BANKING S Y S T E M IN A M E R I C A IS A THREAT TO STATE,
NATIONAL AND INTERNATIONAL S E C U R I T Y . IT IS A T H R E A T TO HUMANITY WHO HAS BEEN
ENSLAVED AND UNJUSTLY CONTRIBUTED TO T H E S E L E C T I V E W E A L T H OF THE PRINICIPALS.
MORE INTERESTING, T H E PRIVATE BANKING S Y S T E M HAS B E C O M E A THREAT TO T H E S E C U R I T Y
OF A L L PRINCIPALS (HEAD O F T H E PRINCIPAL OP T H E A M E R I C A N PRIVATE BANKING SYSTEM AND
O T H E R WORLD PRINCIPALS) T H E T H R E A T C R E A T E D B Y T H E U N C O N T R O L L A B L E AGENTS CAN B E
MITIGATED CONSIDERABLY B Y A G R E E M E N T B E T W E E N A L L PRINCIPALS AND T H E public trustees. AS
THIS PROCESS O F A G R E E M E N T F O R FINAL S E T T L E M E N T OF INVOLUNTARY SERVITUDE AND
UNJUST ENRICHMENT BEGINS, INDIVIDUALS, E S P E C I A L L Y T H E U N C O N T R O L L A B L E AGENTS,
C O V E R T L Y AND B L A T E N T L Y SERVING S E L F - I N T E R E S T , S E L F - P R O F I T , AND SELF-PRESERVATION
SHALL R E V E A L T H E M S E L V E S TO BE MADE E X A M P L E S OF B Y T H E I R OWN C H O I C E .

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                           PARADIGM—REQUIRED
 ^- An immediate face-to-face meeting between Heather Ann I\icd-Jarraf (on behalf of the public
trustees) and Karl Langenstein (on behalf of renresentations't: the public trastees discussions with
the Investigation Lead have recognized tlie necessity of the current system operators to have the one-
time opporttmity for quiet implementation ofthe new paradigm and its national and state banking
system backed by the assets that shall remain in the Swiss custodians care. Therefore, they appointed
Heather Ann Tucci-Jarraf as the Public Trustee Liaison to Karl Langenstein to initially organize and
arrange terms, conditions and protocols for meetings between the public trustees and those who will
structure, implement and enforce the public banking system, the cleaning of govemment, especially the
judicial, and meetings for fmal settlement of the unjust enrichment gained tlirough slavery and other
crimes against humanity. Full discussion of authorizations, orders, preliminary plans and requirements
done at this meeting. Final plans, authorizations, orders, terms, and conditions require 100% approval
on both sides.

2. Trustees, specifically Charles C. Miller, has already given notice of slavery claim and equity call
duly served on all appropriate parties. The trustees are ready, willing and able to receive offers of fmal
settlement and appointments to negotiate mitigation of civil damages.

3. Exclusive authorization has already been agreed to be granted to Kari Langenstein to organize and
collect through his systems and methods. Said systems and methods shall be directed by ICari
Langenstein to Heather Ann Tucci-Jarraf at the face-to-face meeting for security reasons.

4. Location of meeting and transport: to be determined and arranged by Kari Langenstein for security.

This report and its annex is hereby issued by the Investigation Lead, imder authorization and order,
with full personal liability, under the penalty of perjury, reserving the sole and exclusive right to the
final determination of all definitions and intent of format and content contained herein. Done this
         _. day of              , 2011, in                    , in the state of Washington, executed by my
unique signature and personal seal herein; all rights reserved,




          Heather Aim Tucci-Jarraf
            Investigation Lead


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                                  PARADIGM-ANNEX 1
  *PRIME INVESTIGATION CATALYST T R I G G E R S : (NOTE-WELLS FARGO MATTER
  REGAimiNG TIGRAN SARGYSIA SCAM INCLUDING. BUT NOT LIMITED TO. AGAPE
  CHRISTIAN FOUNDATION ANP .MAKARIZO (PANAMA) ACCOUNTS. NOT INCLUDED IN THIS
  R E P O R T AS STATUS OF AUl^HORITIES INVESTIGATION IS UNKNOWN; UPON MSOUEST^

  CATALYST 1       : 2008-2009 HSBC-UBS "RENAUD" INVESTIGATION
  BANKS           : HSBC (LONDON, BEJING). UBS (SWITZERLAND)
  ORIGIN PERSON   : PATRICK WANG StRJI CHUNG (HSBC Director); others withheld for cause
  ORIGIN TIME     : cir. Summer 1998 (USADe-reg period of Glass-Stealy Act)
  INTEL CONTACT   ; WONG SHUI LUNG (GEN. WONG)™CHINA
  MAIN OBJECTIVE  : (SCOPE LIMITED TO BANKER CORRUPTION) Microscopic Investigation for
                     assessment of (amended to include solution to release) High Net-Worth ($500M USD
                     equiv. and greater) chents in bank initiated and maintained contracts that created an
                     unregulated and untrained industry of leased Proof of Funds, Capital Accounts, and
                     other contractual struchires to enhance financial positions of persons ofthe general
                     global public; brokers industry.
  REPORT          ; At least one or more Origin Person(s) created, implemented and maintained an intemal
                     bank infrastructure of core persons that could be used complimentary or quid pro quo
                     externally amongst financial institutions. The mfiastructure was discovered to be
                     highly complex, running the divisions with plants, bought or coerced, from the wire
                     room to the board room. Complexity of design was prima facia of pre-meditation,
                     willfiil intent, and long-term commitment, strategies and implementation at the highest
                     levels. De-regulation permitted bank contracts to be implemented; subsequent laws
                    rendered bank contracts illegal. Bank contracts were purposefully kept in-house with
                    no copies permitted to leave, thus clients funds were essentially rendered irretrievable,
                    hence this investigation in 2008. Microscopic case revealed bank contract induced by
                     long-time relationship and taist built with Origin Person, hivestigation ceased prior to
                    determinuig whether Sir Peter Davis was complicit or had knowingly benefited from
                    Origm Person; deemed not-relevant as deceased. It was detemiined that although Sir
                    John Bond was removed as HSBC Chairman for his previous tapping of client gold
                    resei-ves aud moved to the private banking arm, his infrastmcture inside HSBC London
                    main was not extinguished. Patrick Wang Shui Chung had access and opportunity for
                    implementation and his operation ran internationally with damages to the pubhc
                    globally and Intel reported terrorist ties and possible activity.
  ACTIONS        ; Recommended=Meeting with General Wong; Held; Hand-ofFto BIG 3 & wifiidrawal
  EX REPORTS-RAMS : Microscopic client's fimds discovered buried in Switzerland by Origin Person and his
                    agents. Three (3) or more high level executives (HSBC-London) reported dead; mid to
                    low management/employees; quiet international "investigation" by various global
                    alphabets / political pressures from China, USA, & Canada; CHDSrA received special
                    tax treatment of investment in the US. PUBLIC—US demand for Swiss disclosure of
                   American clients for "tax evasion" and other various allegations. Tabled.

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INITIALS:                                  TREASURY



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   CATALYST 2         : 2008-2009 POON / L I SHA INVESTIGATION
   BANKS              : HSBC (BEJING)
   ORIGIN PERSONS : POON K O N G / L I SHA
   PURPOSE            : To investigate and assess origin persons and assets for pending Asset Management
                         Contract
   CONTACT            : Autiiorization Lead, and Jonathan D. Belts of Atlantica
   INTEL CONTACT : Authorization Lead; WONG SHUI LUNG (GEN. WONG).
   M A I N OBJECTIVE ; (SCOPE LIMITED TO BANKER CORRUPTION) Microscopic Investigation for
                        assessment (amended to include solution to case account with request for official
                        assistance from China; branched into informal semi-global negotiations regarding
                        master accounts and AU) of one or more case accounts with signatory Poon Kong.
                        Allegations involved high level bankers who performed tasks, in the normal course of
                        banking, pursuant to chent orders up to last required step and certain bankers
                        demanded "personal payments" prior to maldng normal banking external
                        confirmations to thii'd parties/institutions.
   REPORT            : Parties and Factors initially deemed sensitive and amended to critically sensitive due to
                        international master accounts and historical parties, treaties and agreements.
                        Complexity involved in microscopic case was minimal, more a matter of
                       "unauthorized and illegal institutional practices by world-wide bankers";
                       POON/LISHA due to their failure/inability to follow pre-set and party-mandated secret
                       protocols of enactment and engagement, the final report recommended tennination.


  CATALYST 3                            :   2008-2009 PANAMA-COOSEMUPAR INVESTIGATION
  BANK.S                                :   VARIOUS, PRMARY-HSBC (PANAMA)
  ORIGIN PERSONS                        :   COOS.EMU.PAR
  PURPOSE                               :   To investigate and assess all levels of corruption and political/financial influence
  CONTACT                               :   Authorization Lead, Coosemupar Counsel
  INTEL CONTACT                         ;   Authorization Lead; WONG SHUI LUNG (GEN. WONG); meeting in Hong Kong
  •08
  M A I N OBJECTIVE                     : (SCOPE LIMITED TO BANKER CORRUPTION) Microscopic Investigation for
                                          assessment (amended to include solution to case account with request for official
                                          assistance from China). Follow-up investigation by global team discovered more
                                          complex "land grab" and money laundering by "mirror" World Bank loan as used by
                                          Saddam's food for oil program. Involved parties included but were not limited to
                                          senior officials of Torrijos Adininistration, major Panamanian law firms, and bank
                                          officials. Subsequent data was collected on possible involvement of senior American
                                          officials with direct or indirect interests in agriculture and food industries, exerting
                                          financial and/or political influence in Panama; other Latin American similar influence;
  REPORT                                 Parties and Factors initially deemed semi-sensitive and amended to critically sensitive
                                         on Authorization Lead's order based on notice given by internationals of their intent to
                                         intervene, directiy or indirectiy. First deliver of Report to Mr. Torrijos, ineffective as it

  I N A L R E P O R T : tol'ARAMGIVfm                                                                                   P A G E 12 O F 16
IlNlTIALS:                                                    TREASURY



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                                                    TREASURY FINANCE AG
                                                    I N D U S T R I E S T R A S S E 21, CH-6055 A L P N A C H DORF




                                          was later discovered that he and his wife were mvestigated for "unjust eim'chment".
                                          Second delivery to Mr. Martinelli, used but data collected at the tail-end of
                                          investigations uncovered the beghming of undisclosed/disclosed relations and
                                          partnerships resuhing in prima facia knowing and willing complicitaess on his part.

    CATALYST 4                          2008-2009 FANNIE/FREDDIE INVESTIGATION
    BANKS                               VARIOUS, PRIMARY- JP MORGAN
    PURPOSE                             To investigate and assess diffxculties with securities: Freddie/Fannie securities, CMO,
                                        and other MBS
   INTEL CONTACT                      : managed- Authorization Lead, supplemented (dove-tail World Bank Loan
   investigation)
   M A I N OBJECTIVE                  : Microscopic hivestigation for assessment of validity of various Securities, including,
                                        but not limited to Freddie/Fannie Securities; Monetization of said securities, and
                                        options for trade.
   REPORT                             : Parties and Factors initially deemed not sensitive and amended to critically sensitive
                                        due to investigation's preliminary findings. Securities reported on screens
                                        (NASDAQ, ETC.); attempts to investigate beliind the screens were thwarted,
                                        prevented or otherwise hindered externally by issuers stating fraud, and yet no actions
                                        were taken by issuers to remove, handle, or report them as fraud to take them off the
                                        market. Investigation report recommended tabeling in Febmary '09, for fiirther
                                        investigation plan completed in March '09, and stractimng possible solutions through
                                        testing from March '09 and completed February 16,2011. Fuial report
                                        recommendation for solution, "Green Lighf' for implementation of solution given
                                        February 16, 2011, by Authorization Lead.

   CATALYSTS        2010 ECUADOR      :
   BANKS                              :
                    COUNTRY CENTRAL BANK
   ORIGIN           ENERGY PROJECT    :
   PURPOSE                            :
                    To assess and assist with a "Letter of Credif for an extemal "contracf' for state
                    energy equipment and mfrastructure
  CONTACT        : BROWN ENERGY GROUP (BEG), LOCAL COUNTERPARTS, MINISTERS
  INTEL CONTACT : Managed- Authorization Lead; supplemented
  MAIN OBJECTIVE : BEG wanted assistance with monetizing a purported Letter of Credit issued by the
                   state central bank/government. Preliminary assessment revealed that Letter of Credit
                   had not been issued, contract had not been officially awarded; main objective changed
                   by chent to securing contract.
  REPORT         : Parties and Factors initially deemed sensitive and amended to critically sensitive due to
                   international political and fmancial influence. Investigation discovered corruption of
                   government offlcials, suspected from data gathered to be organized and covertly
                   controlled by cousin of President, A funding solution was presented that did not
                   demand or require state concessions detrimental to the state and its people; no
                   potential bidders/parties could compete with offer; China left table only to come back
                   later indirectiy through Venezuela; Caterpillar implemented deceptive practices and
                   undue pohtical and possibly fmancial influence over the sitiiation; All was predicted

F I N A L R E P O R T : QOPAIUDIGMM                                        ~   '                                   P A G E 13 O F 1 6




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                                    and the funding solution presented was purposefully designed by terms and conditions
                                    to ferret out government and third party corruption, and political/financial influence;
                                    Cfaura came back through Venezuela. Intenrational media reported that China had
                                    agreed to a 50 Billion aitangement with Venezuela's Chief for oil. First report
                                    recommendation was to terminate mvolvement with Ecuador due to time intensity
                                    required to resolve. Investigative Intel reports were that it was actually to be a sale of
                                    the frozen Venezuela USA accoxuits to China disguised by the oil arrangement and
                                    Venezuela's influence on Ecuador to mdirectly re-enter table of energy project.
                                    Ecuador President was called to Venezuela and preliminary deal cut for a "loan".
                                    Subsequently, Ecuador returned to request flinding solution reporting that all
                                    agreements with Venezuela failed, due to failure of Chma-Venezuela agreement.
                                    Follow-up Mvestigative Intel revealed that USA intervention on frozen accounts with
                                    China was the cause. Report recommended tennmation of interaction with Ecuador
                                    due to other obligations already engaged.

       *FOLLOW-TJP INVESTIGATION CATALYST T R I G G E R S :

       hivestigation and interviews within "broker" mdustry; incompetent by design; general industry incapable of
       competency at this time only due to current conditions

       * F O R E C L O S U R E SUMMARY;

      TOTAL MORTGAGES REVIEWED: APPROX. 23,000

      TYPE: CMO, various MBS packages, REMICS, hidividual Mortgages, Legal Case Reviews

      TEST STATE: Washington State
      TEST COUNTY: Pierce County (primary), supplemented by Thurston, Mason
      TEST HOUSE: 3809 116"' st ct NW, Gig Harbor, Washington, 98332
      PURCHASED: 2003, Statutoiy Warranty Deed
      AMOUNT: $255,000 Cash-"loan" mix. Deed of Trust Executed/Recorded, without note, MERS beneficiary.
      DEFECTIVE DEED OF TRUST: YES.
      METHOD: Deed of Trust/Promissory Note CANCELED FOR CAUSE. Recorded. Filed. Served.
      HELOC: 2004, "50,000 heloc". Deed of Trust, without ID of secured debt, Executed/Recorded, without note
      DEFECTIVE DEED OF TRUST: YES.
      METHOD: Deed of Trust/Promissory Note CANCELED FOR CAUSE. Recorded. Filed. Served
      PENDING LEGAL ACTIONS: YES.
      CONTROL: other mortgages used and monitored for comparison.
      OBJECTIVES: 1. test general canceHation process, 2. test judicial bank, commerce, corrupfion, 3. test local
      bank attomeys, corruption, 4. test law enforcement, commerce, corrapfion, 5. test homeowner base level
      knowledge, 5. assess and test strategies for cleaning judicial house, 6. establish cases in various jurisdictions,
      court levels, for use during implementation of public-money-for-private-use bank system and the opportimity
      for banks to adjust to fmal settlements for survival m new system.



    [FINAL llEPORTi giPARADIGiVI»                                                                                P A G E 14 O F I S
    INITIALS:                                         TREASURY



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  Due to the Judicial's mutual aud incestuous relationship with the banks and the insurance companies, the only
   time the court will fmd in favor of the homeowner is generally when one of two things happen, no matter what
  the specific fact pattern is:
  1. the homeowner actually gets an honest judge with the backbone for justice (a needle in a haystack); or
  2. the evidence is so overwhelming in estabhshingfraudor other criminal acts by the bank/lender, that ifthe
  judge found in favor ofthe bank it would result in public outrage, hence, breach ofthe peace.

  PRELIMINARY CONCLUSION O F INVESTIGATIQN. T E S T I N G AND F.INPINGS;

     1. T H E JUDICIAL HOUSE (SYSTEM) IS CORRUPT THROUGH ITS E L I T E AND P R I V I L I G E D
        M E N T A L I T Y AW) PROFIT MAKING, ORDERED, F O S T E R E D AND ENCOURAGED B Y
        T H E PRIVATE BANKING SYSTEM, F I L T E R E D AND MAINTAINED BY T H E BAR
    2. LAW E N F O R C E M E N T IS AN O R D E R T A K E R , AND G E N E R A L L Y SPEAKING, T H E Y TURN
        A BLIND E Y E TO T H E CRIMES T H E I R "SUPERIORS" A R E COMMITTING. LAW
        E N F O R C E M E N T IS NOT CORRUPT IN G E N E R A L TERMS, AND T H E Y S E E WHAT IS
        HAPPENING, T H E Y JUST NEED SUPPORT. .^AP ORDERS.                          TO R E - I G N I T E T H E I R
        STAMINA AND C O U R A G E TO E N F O R C E T R U E J U S T I C E .
    3. A L L MORTGAGES A R E F R A U D - T H E E V I D E N C E OF T H E FRAUD A R E IN T H E
        B O O K K E E P I N G AND TAX REPORTING; F U R T H E R SUPPORTING EVIDENCE IS IN T H E
        H I S T O R I C A L AND P R O C E D U R A L HISTORY O F FREDDIE/FANNIE, S P E C I F I C A L L Y
        WITH R E G A R D S TO T H E "UNIFORM INSTRUMENT" D E E D OF TRUST, AND CHANGES
        IN T H E LAWS , J U D I C I A L AND EDUCATION SYSTEMS O V E R T H E DECADES
    4. T H E INSTRUMENTS OF T H E FRAUD A R E T H E D E E D OF TRUST AND PROMISSORY
        NOTES, W H I C H A R E I L L E G A L S E C U R I T I E S , C O M M E R C I A L LIENS, AND LANDLORD-
        TENANT L E A S E S
    5. T H E ONLY C O R R E C T RESPONSE TO A M O R T G A G E IS CANCELLATION AND
        CORRESPONDING TAX REPORTING (1099A, 1099C, 1099OID, 1096) AND RUNNING
        EVERYTHING UCC
    6. J U D I C I A L C L E R K S TRESPASSED ON T H E C A S E (FAILING TO SCAN DOCUMENTS
        F I L E D , R E M O V I N G SCANS F R O M R E C O R D , E T C , ) - S O L U T I O N : RUN CASE THROUGH
        UCC
    7. COUNTY R E C O R D E R S R E F U S E D TO F I L E RECORDINGS; CANCELATION WAS
        A L T E R E D TO M A K E I T SO THAT R E C O R D E R S HAD TO F I L E ; INITIAL RESPONSE WAS
        TO C H A R G E F I L E R F O R E V E R Y R E F E R E N C E T O PREVIOUSLY F I L E D AND PAID F O R
        AUDITORS F I L I N G S RESULTING IN A F I L I N G O R I G I N A L L Y COSTING $63 TO GO AS
        H I G H AS $1600; INVESTIGATION L E A D SPOKE W I T H P I E R C E COUNTY AUDITOR
        ABOUT AN .INTERNAL E M A I L B E T W E E N COUNTY AUDITORS IN WASHINGTON STATE,
        SUBSEQUENTLY REPORTS THAT T H E F E E HAD GONE B A C K DOWN W E R E
        MADE=NEEDS TO B E RUN THROUGH U C C AS W E L L F O R INDEPENDANT P U B L I C
        R E C O R D AS V ^ ^ L L AS F O R C O M M E R C I A L PURPOSES
    8. CANCELATIONS HAVE B E E N T E S T E D AND A R E MAKING WAVES, I T W I L L B E
        F U R T H E R SOLID WHEN DONE IN CONJUNCTION W I T H TAX REPORTING AND U C C
        FILINGS

FINAL REPORT: M£MtABKM«>                                                           .                 PAGE 15 OF16




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                         TREASURY FINANCE A G
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9. HOMEOWNER BASE L E V E L O F K N O W L E D G E IS MINIMAL, BY DESIGN; THE
    HARDEST POINT F O R HOMEOWNERS TO COME TO T E R M S WITH A R E THAT NO
    LOAN WAS MADE;
10. T H E PRIMARY "ORDER G I V E R " IN T H E STATE O F WASHINGTON WAS ffiENTIFIED AS
    T H E BANK OF NEW Y O R K TRUST COMPANY; BNY W E S T E R N TRUST COMPANY AND
    BNY M E L L O N ASSET S E R V I C E S , IMPLEMENTED IN L A R G E PART BY T H E BAR
    (Washington Bar Association— Inns of Court)


                END                            NNEX
                END                              ORT
       END O F PRIMA                            VESTIGATION




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                                ANNEX 22

                              Case No. 1:17 mj-531




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                                                                                                           WASH DC RECORDER OF DEEDS
                                                                                                           IDA WILLIAMS
 UCC FINANCING STATEMENT                                                                                   RECORDER OF DEEDS
 FOLLOW INSTRUCTIONS (front and back) CAREFULLY                                                            Doc Type: EFINANCING
  A. NAME & PHONE OF CONTACT AT FILER [oplionai]                                                               PROCESSING                     $                                       5 00
     Heather Ann T u c c i - J a r r a f 2535094597                                                            E-RECORD                       $                                      25 00
  B, SEND ACKNOWLEDGMENT TO; (Name and Address                                                                 ESURCHARGE                     $                                       6 50
           r                                                                                  n
         Heather Ann T u c c i - J a r r a f                          (253)       509-4597


         G i g Harbor, WA 98335


                                                                                              J
                                                                                                            THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY


        1a. ORGANIZATION'S NAME                                                                                                  —

        THE UNITED STATES OF AMERICA
 OR
        10. INUIVIUUAU S LAST NAME                                                 FIRST NAME                                    MIDDLE NAME                           SUFFIX


 IC. MAILINO W U R E S S                                                           CIW                                           STATE    POSTAL C O D E               COUNTRY

 General D e l i v sry                                                               Washington                                  DC       NONE                          UNITED
 1(t. TAXID#;    SSNOREIN          A D O ' L I N F O R E |1S.TYPEOFORGANI2ATI0N    1f. JURISDICTION O F ORGANIZATION             1g. ORGANIZATIONAL ID#, Ifany
                                   ORGANIZATION '             , , .   „       ,
unknown                            DEBTOR          [Public Trust                     Public/People's                             unknown
                                                                                                                                                                           FINONE
       2a. ORGANIZATION'S NAME                                                            ~       — —                                 ~   —   —


 OR
       26, INDIVIDUAL'S L ^ S T NAME                                               FIRSTNAME                                     MIDDLE NAME                           SUFFIX
               TUCCI-JARRAF                                                          HEATHER                                     ANN
 2C. MAILING ADDRESS                                                               CITY                                          STATE    POSTAL C O D E               COUNTRY
 3809 116th S t . C t . NW                                                           Gig Harbor                                  WA         98332                       UNITED
2d, TAX ID #:    SSN OR    EIN     ADD'L INFO R E |2e. T Y P E O F ORGANIZATION    2f. JURISDICTION O F ORGANIZATION             2g. ORGANIZATIONAL ID      If any
                                   ORGANIZATION
unknown                            DEBTOR          1 n a t u r a l person            Public/People's                             01012012T8A2C1-1
n c e n t i n c r n nAr>Tv/ie> 1
                                                                                                                                                                           HNONE
                                                                                                             / name (3a or 3b)
       3a, ORGANIZATION'S NAME

               THE PEOPLE OF THE UNITED STATES OF AMERICA
OR
       3b. INDIVIDUAL'S LAST NAME                                                 FIRSTNAME                                      MIDDLE NAME                           SUFFIX


3c, MAILING ADDRESS
                                                                                  CITl'                                          STATE    [POSTAL C O D E              COUNTRY

General D e l i v e r y                                                              Washington                                  OC        NONE                         UNITED STATES
<t. This FINANCING STATEMENT covers Ihe following collaleral:

T r u s t e e ' s Bond and Oath w i t h i s s u e number 01012012T8A2C1-001, d u l y
e x e c u t e d by Heather Ann T u c c i - J a r r a f on January 2, 2012, d u l y a c c e p t e d by
The One P e o p l e ' s P u b l i c T r u s t 1776, w i t h t h e terms and c o n d i t i o n s a s s t a t e d
t h e r e i n , and taken i n t o p h y s i c a l c u s t o d y on January 2, 2012, h e l d by a d u l y
bonded T r u s t e e o f The One P e o p l e ' s P'ublic T r u s t 1776; SECURED PARTY,
p e r f e c t e d J u l y 4, 1776, w i t h a l l p r o p e r t y and r i g h t s t o p r o p e r t y o f SECURED
PARTY t h e r e i n , t h e r e t o , and therefrom, now d u l y a d m i n i s t e r e d by The One
People's P u b l i c T r u s t 1776, through i t s d u l y bonded T r u s t e e ( s ) ; NOTICE OF
DULY BONDED TRUSTEE, d u l y s e r v e d t o any and a l l n e c e s s a r y p a r t i e s and t o
always be f u r t h e r n o t i c e d and e v i d e n c e d by a True, A c c u r a t e , and Complete
d i g i t a l o f o r i g i n a l T r u s t e e ' s Bond and Oath d u l y p o s t e d v i a t h e world-wide

5, AL
        TERNATIVE DESIGNATION (If appllcableliriLESSEE/LESSOR            f l CONSIGNEE/CONSIGNOR    FIBAILEE/BAILOR          IsELLER/BUYER        HAQ. L I E N       NON-UCCFILING
ti.
                                                                                                                           ODiinnaM             lAII Debtors

      Bonds p o s t e d a t www.peoplestrustl776.org

FILING O F F I C E C O P Y -     NATIONAL U C C FINANCING STATEMENT (FORM UCC1) (REV. 07/29/98)


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                                                                                                                          IDA WILLIAMS
UCC FINANCING STATEMENT ADDENDUM                                                                                          RECORDER OF DEEDS
F O L L O W I N S T R U C T I O N S (front and bacK) C A R E F U L L Y                                                    Doc Type: EFINANCING
9. N A M E O F F I R S T     DEBTOR (la or 1b) O N         RELATED FINANCING STATEMENT                                        PROCESSING                     $                                                  5.00
      U. ORGANIZATION'S NAME
                                                                                                                              E-RECORD                       $                                                 25.00
         THE UNITED STATES OF AMERICA
OH                                                                                                                            ESURCHARGE                     $                                                  6.50
      9b. INOIVIOUAL'S LAST NAME                           FIRST NAItiE                           MIDDLE NAME.SUFFIX




 10. M I S C E L L A N E O U S :




                                                                                                                                  T H E A B O V E S P A C E I S F O R F I L I N G O F F I C E USE O N L Y

 11. A D D I T I O N A L DEBTOR'S E X A C T F U L L L E G A L N A M E • Insen only ans name (I la or lib) • bo nol abbreviate or combine names
      11a. ORGANIZATION'S NAME


OR
      11b. INDIVIDUALS LAST NAME                                                         FIRSTNAME                                                 MIDDLE NAME                                SUFFIX.



 11c. MAILING ADDRESS                                                                     CITY                                                    STATE       POSTAL CODE                     COUNTRY



 11d. TAX ID ft S S N O R E I N    ADD'L INFO RE 111 e, TYPE O F ORGANIZATION             11f, JURISOICTIONOF ORGANIZATION                        11g, ORGANIZATIONAL ID ff, If any
                                   ORGANIZATION
                                   DEBTOR       1                                                                                                                                                   PHNONE

 12. ~ | A D D I T I O N A L S E C U R E D P A R T Y ' S   st      ASSIGNOR S/P'S         NAME .insert only ans name (12a or f2b)
       12a. ORGANIZATION'S NAME


 OR
       12b. INDIVIDUALS U S T NAME                                                        FIRST NA,ME                                              MIDDLE NAME                                SUFRX



 12c, MAILING ADDRESS                                                                     CITY                                                     STATE      POSTAL CODE                      COUNTRY



                                                                                          16, Additional collateral descnption:
 13, This FINANCING STATEMENT covers Q umber to oe cut c

     collaleral. or is filed as a Q fixture Dllng,                                               www.peoplestrustl776.org, f o r a l l the
 14, Oescriptlon of real estate:
                                                                                                 World t o r e l y upon.




 15, Name and address of a R E C O R D OWNER of above-descnbed real es:a;e
     (if Debtor does not have a record interest):




                                                                                          17, Check sDly if applicable and check smly one box.

                                                                                          Debtor is a [~] Trust or [~| Tnislee acting wilh respect lo property held In Irust        or [~| Decwient's Estate

                                                                                          18, Check onls: if applicable and checkflfilyone box.

                                                                                              DebtonsaTRANSMITTINGUTIUTY

                                                                                                 Filed In connecdon with a Manufactured-Home Transaclion — effective 30 years

                                                                                              Filed in connedion with a Public-Finance Transaction — effective 30 yeans


 FILING O F F I C E COPY - NATIONAL U C C FINANCING STATEMENT ADDENDUM (FORM UCCIAd) (REV, 07/29/98)


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                                                                                                           WASH DC RECORDER OF DEEDS
                                                                                                           IDA WILLIAMS
 UCC FINANCING STATEMENT                                                                                   RECORDER OF DEEDS
 FOLLOW INSTRUCTIONS (front and back) CAREFULLY                                                            Doc Type: EFINANCING
  A, NAIVIE & PHONE OF CONTACT AT FILER (optional]                                                             PROCESSING                                                          5.00
      Heather Ann T u c c i - J a r r a f                      2535094597                                      E-RECORD                                                           25.00
  B. SEND ACKNOWLEDGMENT TO: (Namo and Address)
                                                                                                               ESURCHARGE                                                          6.50
          r
                                                                             509-4597
        Heather Ann T u c c i - J a r r a f (253)


        Gig Harbor, WA 98335
          L
                                                                                                              THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
 1 • D E B T O R ' S EXACT FULL LEGAL NAME - Insert only ana riebtor name (la or 1b) - do not abbreviate or combine
     la. ORGANIZATION'S NAME
      THE UNITED STATES OF AMERICA
 OR
      10. INUIVIUUALS LAST NAME                                                 FIRSTNAME                                       MIDDLE NAME                         SUFFIX


 ic. MAIUINO AUUKl:BS                                                           CITY                                            STATE    POSTAL CODE                COUNTRY
General D e l i v sry                                                              Washington                                   DC        NONE                       UNITED
1(1. TAX ID ff: SSN OR EIN     ADD'LINFORE lle.TYPEOFORGANIZATION               If. JURISDICTION OF ORGANIZATION                1g. ORGANIZATIONAL ID ff.lfany
                               ORGANIZATION '    , , .  _       ,
unknown                                     1 Public Trust                         Public/People's                              unknc)wn
                               DEBTOR                                                                                                                                   riNONE
      2a. ORGANIZATION'S NAME


OR
      2b. INDIVIDUAL'S LAST NAME                                                FIRST NAME                                      MIDDLE NAME                         SUFFIX
              TUCCI-JARRAF                                                        HEATHER                                       ANN
2c. MAIUNG ADDRESS                                                              CITY                                            STATE    POSTAL CODE                COUNTRY
3809 116th S t . C t . NW                                                          G i g Harbor                                 WA        98332                      UNITED STATES
2d. TAX ID #: SSNOREIN         ADD'L INFO RE I2e. TYPE OF ORGANIZATION          2f. JURISDICTION OF ORGANIZATION                2g. ORGANIZATIONAL ID #, If any
                               ORGANIZATION
unknown                        DEBTOR        [natural person                   | Public/People' s                               |01012012T8A2C1-1
3- S E C U R E D P A R T Y ' S NAME (or NAME of TOTAL ASSIGNEE of ASSIGNOR S/P) - insert only m secured party name (3a or 3b)
                                                                                                                                                                      IL
     3a. ORGANIZATION'S NAME
              THE PEOPLE OF THE UNITED STATES OF AMERICA
OR
      3b. INDIVIDUAL'S lAST NAME                                                FIRST NAME                                      MIDDLE NAME                         SUFFIX

3c. MAILING ADDRESS
                                                                                CITf                                            STATE    I POSTAL CODE              COUNTRY
General D e l i v e r y                                                           Washington                                    DC        NONE                       UNITED STATES
4. This FINANCING STATEMENT covers Ihe following collateral:

T r u s t e e ' s Bond and Oath w i t h i s s u e number 01012012T8A2C1-001, d u l y
e x e c u t e d by Heather Ann T u c c i - J a r r a f on January 2, 2012, d u l y a c c e p t e d by
The One People's P u b l i c T r u s t 1776, w i t h the terms and c o n d i t i o n s a s s t a t e d
t h e r e i n , and taken i n t o p h y s i c a l c u s t o d y on January 2, 2012, h e l d by a d u l y
bonded T r u s t e e o f The One People's P u b l i c T r u s t 1776; SECURED PARTY,
p e r f e c t e d J u l y 4, 1776, w i t h a l l p r o p e r t y and r i g h t s t o p r o p e r t y o f SECURED
PARTY t h e r e i n , t h e r e t o , and therefrom, now d u l y a d m i n i s t e r e d by The One
P e o p l e ' s P u b l i c T r u s t 1776, through i t s d u l y bonded T r u s t e e ( s ) ; NOTICE OF
DULY BONDED TRUSTEE, d u l y s e r v e d t o any and a l l n e c e s s a r y p a r t i e s and t o
always be f u r t h e r n o t i c e d and e v i d e n c e d by a True, A c c u r a t e , and Complete
d i g i t a l o f o r i g i n a l T r u s t e e ' s Bond and Oath d u l y p o s t e d v i a the world-wide

5. ALTERNATIVE DESIGNATION (If appilcable|:nLESSEE/LESSOR           f l CONSIGNEE/CONSIGNOR         [IBAILEE/BAILOR
                                                                                                                            SELLER/BUYER       HAG. LIEN          NON-UCCFILING
                                                                                                                         W
                                                                                                                         00 lonall             All Debtors




FILING O F F I C E C O P Y -   NATIONAL U C C FINANCING STATEMENT (FORM UCC1) (REV. 07/29/98)

  Case 3:17-cr-00082-TAV-DCP Document 25 Filed 08/18/17 Page 157 of 309 PageID #:
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                         Case 1:17-mj-00531-DAR Document 2-1 Doc#
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FOLLOW INSTRUCTIONS (front and backl C A R E F U I L Y                                                             Doc Type: EFINANCING
9. NAME OF FIRST D E B T O R (la or 1b) ON RELATED FINANCING STATEMENT                                                  PROCESSING                                                             5.00
     9a. ORGANIZATION'S NAME
                                                                                                                       E-RECORD                                                               25.00
        THE UNITED STATES OF AMERICA
OR                                                                                                                     ESURCHARGE                                                              6.50
     9b. INOMOUAL'S LAST NAME                        FIRSTNAME                            MIDDLE NAME.SUFFIX




10. MISCELLANEOUS:




                                                                                                                           THE ABOVE S P A C E IS FOR FILING O F F I C E USE ONLY

11. ADDITIONAL D E B T O R ' S EXACT FULL LEGAL NAME • Insert only QCS name (11a or 1 tb) • <J0 not abbreviate or combine names
      1 l a . ORGANIZATION'S NAME


OR
     11b. INDIVIDUALS LAST NAME                                                   FIRSTNAME                                             MIDDLE NAME                        SUFFIX,



11c. MAILING ADDRESS                                                              CITY                                                  STATE     POSTAL CODE              COUNTRY



l i d . TAX ID (f:   SSNOREIN     ADD'L INFO R E 111 e. TYPE O F ORGANIZATION     11f, JURISDICTIONOFORGANIZATION                       11g, ORGANIZATIONAL ID #, ifany
                                  ORGANIZATION
                                  DEBTOR         1                                                                                                                               PHNONE

12. ~ | ADDITIONAL S E C U R E D P A R T Y ' S       ar    ASSIGNOR S/P'S         NAME-msert only ans name (12a or 12b)
      12a. ORGANIZATION'S NAME


OR
      12b. INDIVIDUALS LAST NAME                                                  FIRSTNAME                                             MIDDLE NAME                         SUFFIX



120, lAMUNG ADDRESS                                                               CITY                                                    STATE    POSTAL CODE              COUNTRY



                                                                                  16, Additional collateral description:
13. This FINANCING STATEMENT covers Q timber to oe cut or |
                                                              T T| as-extracted
     collateral, or is filed as a Q fixture Dllng,                                       www.peoplestrustl776.org, f o r a l l the
14, Description of real estate:
                                                                                         World to r e l y upon.




 15, Nama and address of a R E C O R D OWNER of above.descnbed real esa'.e
     (if Debtor does not have a record interest):




                                                                                  17. Chech only if applicable and checl< anil one box.

                                                                                  Debtor is a [~] Trust or [~] Twstee acling with respect to property held In tmst or [~| Decedent's Estate

                                                                                  18. Check enly if applicable and check anly one box.

                                                                                   ^     Debloris a TRANSMITTINGUTILITY

                                                                                         Filed in connection with a Manufactured-Home Transaclion ™ effective 30 years

                                                                                         Filed in connection wilh a Public.Finance Transaction — effective 30 years

 F l U N G O F F I C E C O P Y - NATIONAL U C C FINANCING S T A T E M E N T ADDENDUM (FORM UCCIAd) (REV. 07/29/98)


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                                ANNEX 23

                             Case No. 1:17 mj-531




  TITLE                          DESCRIPTION                          PAGES


 Annex 23                UCC record number 2012028312                   1- 2




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UCC FINANCING STATEMENT AMENDMENT                                                                                            RECORDER OF DEEDS
F O a O W INSTRUCTIONS (front and back) C A R E F U L L Y
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A. NAME 4 PHONE OF CONTACT AT FILER [optional!

  The One Peoples P u b l i c T 253-509-4597                                                                                     PROCESSING                                                                         5.00
B, SEND ACKNOWLEDGMENT TO: (Name and Address)
                                                                                                                                 E-RECORD                                                                          25.00
                                                                                                                                 ESURCHARGE                                                                         6.50

  The One Peoples P u b l i c T r u s t 1776


  Gig Harbor, WA 98335

          L
                                                                                                                           THE ABOVE SPACE IS FOR FILING O F F I C E U S E ONLY
la. INITIAL FINANCING STATEMENT FILE »                                                                                                                1b.   This FINANCING STATEMENT AMENDMENT Is
  2000043135 - 05/04/2000                                                                                                                                   to ba filab [for raconi) (or raconjad) in th«
                                                                                                                                                      O     REAL ESTATE RECORDS.
        T E R M I N A T I O N : Eirwtivanass of Ihe Financing Statament ldencH«d above is lafminaiao wilb rasped to secunty Imefostfs) of tha Secured Party authonang tWs T8min«tion Statenwil

3. M    CONTINUATION: Effectiveness of the Financing Statement ioenSfioO above with resoect lo security Interest(s) of the Secured Party authorizing this Continuation Staterwnt is
        continu»d for the additional penod provided by applicable law.


*• Ll ASSIGNM ENT (full or paniai): GIva name of assignee in ilem 7a or 7b and aodress of assignee in item 7c: and also give name of assignor In item 9.

5. AMENDMENT (PARTY INFORMATION): This Amendment affects [ J O e b t o r at [ J Secured Party of record. Check only aog of these two boxi
   Also check aiut of the fbllowing three boxes and provide appropriate information in items 6 and.'or 7.

  r~| CHANGE name and/or address: Giva current record name in item Sa or 6b: also give new             p i DELETE name: Giva record nama                     AOO nama: Complete item 7a or 7b, an<t also
 ^Jjarnj^i^jam^bange^rnlenW
                                                                                                                                                       •     Item 7c: also complete items 7d-7i] [if appHcahlej.
6. C U R R E N T R E C O R D INFORMATION:
       6a. ORGANIZATION'S NAME


OR
       6b. INOIVIOUAL'S LAST NAME                                                                                                                     MIDDLE NAME



r. C H A N G E D (NEW) O R A D O E O INFORMATION:
       7a, ORGANIZATION'S NAME

            CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
OR
       7b, INDIVIDUAL'S L ^ S T NAME                                                     , F I R S T NAME                                             MIDDLE NAME                                SUFFIX
                                                                                         i
                                                                                         1
7c, MAILING A D D R E S S                                                                ICITY                                                        STATE      POSTAL CODE                     COUNTRY



7d. TAX ID #:    S S N OR EIN    A D D ' L I N F O R E 17e, T Y P E O F ORGANIZATION     ;7'. JURISDICTIONOFORGANIZATION
                                 ORGANIZATION                                           !                                                             7g, ORGANIZATIONAL ID          if any
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   Descnbe collatefal   Q deleted   or p a d d e d , or give   entireDrestaiad collateral descnption. or    describe collateral Q a s s i g n e d .


 A d d i t i o n a l C o l l a t e r a l o f a d d i t i o n a l DEBTOR p a r t y . Heather Ann T u c c i - J a r r a f ,
 s e c u r e d under Doc. # 2012012555, Feb 6, 2012, now d u l y a c c e p t e d by and i n
 custody o f The One Peoples P u b l i c T r u s t 1776, a c c e p t e d from the date o f
 issuance, as follows:                    T r u s t e e s Bond and Oath w i t h i s s u e number
 MB201201255-TBO2/01012012T8A2C1-001, d u l y e x e c u t e d and i s s u e d January 2,
 2012, d u l y a c c e p t e d by The One Peoples P u b l i c T r u s t 1776, w i t h the terms and
 c o n d i t i o n s a s s t a t e d t h e r e i n , and taken i n t o p h y s i c a l c u s t o d y on January 2,
 2012, h e l d by a d u l y bonded T r u s t e e o f The One Peoples P u b l i c T r u s t 1776;
 SECURED PARTY, p e r f e c t e d J u l y 4, 1776, w i t h a l l p r o p e r t y and r i g h t s t o
9. NAME O F S E C U R E D P A R T Y OF R E C O R D A U T H O R I Z I N G T H I S A M E N D M E N T   (name of assignor,»this is an Assignmenl). If this is an Amendment authorized by a Debtor which
       9a. ORGANIZATION'S NAME

       THE UNITED STATES OF AMERICA, A PUBLIC TRUST
OR
       9b, INDIVIDUAL'S U S T NAME                                                           FIRST NAME                                               MIDDLE NAME                                SUFFIX


.A r


       a l l r i g h t s r e s e r v e d and without p r e j u d i c e UCC 1-308 / s / C a l e b P a u l S k i n n e r
FILING O F F I C E C O P Y -    NATIONAL U C C FINANCING S T A T E M E N T AMENDMENT (FORM UCC3) (REV. 07/29/98)



       Case 3:17-cr-00082-TAV-DCP Document 25 Filed 08/18/17 Page 160 of 309 PageID #:
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12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (sanw a» ilwn 9 on Amanditwnt forni)
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     THE UNITED STATES OF AMERICA, A PUBLIC TRUST
OR
     12b, INDIVIDUAL'S LAST NAME                FIRSTNAME                  MIDDLE NAME.SUFFIX



13. Usa this spaca for additional Information




                                                                                                 THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONtY



     Additional c o l l a t e r a l                 info

     p r o p e r t y o f SECURED PARTY t h e r e i n , t h e r e t o , and therefrom, now d u l y
     a d m i n i s t e r e d by The One P e o p l e s P u b l i c T r u s t 1776, through i t s d u l y bonded

     T r u s t e e s ; NOTICE OF DULY BONDED TRUSTEE, d u l y s e r v e d t o any and a l l
     n e c e s s a r y p a r t i e s and t o always be f u r t h e r n o t i c e d and e v i d e n c e d by a True,

     A c c u r a t e and Complete d i g i t a l o f o r i g i n a l T r u s t e e s Bond and Oath d u l y
     p o s t e d v i a t h e world-wide web, a t t h e o f f i c i a l w e b s i t e o f The One Peoples
     P u b l i c T r u s t 1776, www.peoplestrustl776.org, f o r a l l t h e World and B e i n g s
     to
     r e l y upon.

     Heather Ann T u c c i - J a r r a f , n a t u r a l woman, DEBTOR, i s c o r r e c t e d above due t o

     automated f i l i n g systems a l t e r i n g o r i g i n a l c a p a c i t y                   ( t i e s ) and s t a n d i n g ( s ) ;

     c o r r e c t i o n SECURED PARTY, The U n i t e d S t a t e s o f America, The One Peoples
     P u b l i c T r u s t 1776, a p u b l i c t r u s t , and i t s b e n e f i c i a r i e s , t h e o r i g i n a l
     s t a t e s i n n a t i o n a l union.




     Debtor names added f o r i n d e x i n g

     CHARLES           C. M I L L E R      [AN A R T I F I C I A L P E R S O N   S LEGAL        FICTION]
     CHARLES           C. M I L L E R     D/B/A       CHARLES     C.    MILLER




FILING O F F I C E C O P Y -   NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)


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                                ANNEX 24

                              Case No. 1:17 mj-531




  TITLE                          DESCRIPTION                           PAGES


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     Heather Ann T u c c i - J a r r a f                              2535094597                                                   PROCESSING                                                                    5.00
B. SEND ACKNOWLEDGMENT TO: (Nama and Address)
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           r                                                                                              n
     Heather Ann T u c c i - J a r r a f                               (253) 509-4597


     Gig Harbor, WA                      98335

                                                                                                                             THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
la, INITIAL FINANCING STATEMENT FILE #                                                                                                                   1b,
                                                                                                                                                    TWs FINANCING STATEMENT AMENDMENT Is
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3, N    CONTINUATION: Effectiveness of tha Financing Statement Icenlifieo above with resoect to security interest(s) of Ihe Secured Party authorizing this Continualion Statenwrt is
        conlinuad for the additional period provided by applicable law.

4,      ASSIGNM ENT (full or paniai): Giva name of assignee in item 7a or 7b and aodress of assignee in item 7c: and also give name of assignor in item 9,

5, AMENDMENT (PARTY INFORMATION): This Amendment affects | _ | Oeblor                            at | _ ] Secured Party of record. Check only aos of these h«) boxes.
     Also check fios of the following three boxes antJ provide appropnate information m items 6 and-'or 7.
       1 CHANGE name and/or address: Give current record name in item Sa or 6b: also give new
       J nama (if nama change) in Item 7a or 7b and/or new address iif adc-ess changei m lem 7c,
6, C U R R E N T R E C O R D INFORMATION:
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                                                                                                                                                                                             "


       6a, ORGANIZATION'S NAME


OR
       6b, INDIVIDUAL'S U S T NAME                                                                                                                       MIDDLE NAME                           SUFFIX



7, C H A N G E D (NEW) O R A D O E O INFORMATION:
       7a. ORGANIZATION'S NAME

             THE UNITED STATES OF AMERICA [A PUBLIC TRUST]
OR
       7b, INDIVIDUAL'S L^ST NAME                                                           .FIRST NAME                                                  MIDDLE NAME                           SUFFIX
                                                                                            i
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7c, MAILING ADDRESS                                                                         [CITY                                                        STATE     POSTAL C O D E              COUNTRY


7d, TAX ID #;     SSN OR EIN      ADD'LINFORE | 7 e . T Y P E O F 0 R G A N I Z A T I 0 N    : 7', JURISOfCTION OF ORGANIZATION                          7g, ORGANIZATIONAL ID #. If any
                                  ORGANIZATION                                              !
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 A d d i o n t a l C o l l a t e r a l of a d d i t i o n a l DEBTOR p a r t y , C a l e b P a u l S k i n n e r ,
 s e c u r e d : T r u s t e e ' s Bond and Oath 'with i s s u e number 02012012T8A2C1-001,
 d u l y e x e c u t e d by Caleb P a u l S k i n n e r on J a n u a r y 2, 2012, d u l y a c c e p t e d by The
 One People's P u b l i c T r u s t 1776, w i t h the terms and c o n d i t i o n s a s s t a t e d
 t h e r e i n , and taken i n t o p h y s i c a l custody on J a n u a r y 2, 2012, h e l d by a d u l y
 bonded T r u s t e e o f The One People's P u b l i c T r u s t 1776; SECURED PARTY,
 p e r f e c t e d J u l y 4, 1776, w i t h a l l p r o p e r t y and r i g h t s t o p r o p e r t y o f SECURED
 PARTY t h e r e i n , t h e r e t o , and therefrom, now d u l y a d m i n i s t e r e d by The One
 People's P u b l i c T r u s t 1776, through i t s d u l y bonded T r u s t e e s ; NOTICE OF
9, NAME O F S E C U R E D P A R T Y O F R E C O R D A U T H O R I Z I N G T H I S A M E N D M E N T (nameof assignor. 1 this is an Assignmenl). If this is an Amendment authorized by a Debtor which


       9a. ORGANIZATION'S NAME

        THE UNITED STATES OF AMERICA [A PUBLIC TRUST]
OR
       9b. INDIVIDUAL'S U S T NAME                                                              FIRST NAME                                               MIDDLE NAME                           SUFFIX


*n r


       Bonds p o s t e d a t www.peoplestrustl776.org

FILING O F F I C E C O P Y — NATIONAL U C C FINANCING S T A T E M E N T AMENDMENT (FORM UCC3) (REV, 07/29/98)


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      THE UNITED STATES OF AMERICA [A PUBLIC TRUST]
OR
     12b. lf40IVI0lML'S LAST HAMS                FIRSTNAME                  MIDOLHNAME.StJFFIX




13. Usa tfiis spaca for additional information




                                                                                                   THE ABOVE SPACE IS FOR R U N G OFFICE USE ONLY



     Additional c o l l a t e r a l                 info

     DULY BONDED TRUSTEE, d u l y s e r v e d t o any and a l l n e c e s s a r y p a r t i e s and t o
     always be f u r t h e r n o t i c e d and e v i d e n c e d by a True, A c c u r a t e , and Complete
     d i g i t a l o f o r i g i n a l T r u s t e e ' ' s Bond and Oath d u l y p o s t e d v i a t h e world-wide

     web, a t t h e o f f i c i a l w e b s i t e o f The One People''s P u b l i c T r u s t 1776,
     www.peoplestrustl776.org, f o r a l l t h e World to r e l y upon.




     Debtor names added f o r i n d e x i n g

     THE UNITED STATES OF AMERICA [A PUBLIC TRUST]
     HEATHER ANN TUCCI-JARRAF [NATURAL PERSON]




 R L I N G O F F I C E C O P Y — NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)



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                                ANNEX 25

                             Case No. l:17inj-531




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UCC FINANCING STATEMENT AMENDMENT                                                                                          RECORDER OF DEEDS
F O a O W INSTRUCTIONS (front and back) C A R E a i l L Y
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 A. NAME 4 PHONE OF CONTACT A T FILER (optional)
  The One Peoples P u b l i c T 253-509-4597                                                                                   PROCESSING                                                                     5.00
 B. SEND ACKNOWLEDGMENT TO: (Name and Address)
                                                                                                                               E-RECORD                                                                      25.00
                                                                                                                               ESURCHARGE                                                                     6.50

  The One Peoples P u b l i c T r u s t 1776


  Gig Harbor, WA 98335

          L
                                                                                                                         THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1«. INITIAL FINANCING STATEMENT FILE #                                                                                                          lb.     TWs FINANCING STATEMENT AMENDMENT Is
  2000043135 - 05/04/2000                                                                                                                               10 ba filad [for record) (or recordad) In tlia
                                                                                                                                               0      _ R E A L ESTATE RECORDS.


^' U                     Effecbvanass of Uie Finanong Statement identiiled abow is tenninated wiDi respect to secunty InlefesKs) of ttie Secured Party aulfioriang this Tennination Statemanl
3. M CONTINUATION: EITadiveness of tha Financing Statement loentiliea above with respect lo security interest(s) of the Secured Party authorizing this Continuation Statemanl !•
     conlinuad for lha additional period provided by applicable law.


4, [_[ A S S I G N M E N T (full or paniai): Give name of assignee in ilem 7a or 7b and aodress of assignee in item 7c; and also give name of assignor in item 9.

5. A M E N D M E N T ( P A R T Y I N F O R M A T I O N ) : This Amendment affects | J Debtor   at | J Secured Party of record. Check only SOB of these two boxi

                                               anfl
     Also checkflflsof the following three boxes         provide appropriate infonnation m items 6 and.'or 7,


  0      CHANGE name and/or address: Give current record name in item 5a or 6b: also give new
       1name
          name(if
               (ifnama
                   namachange)
                         change)ininitem
                                      item7a
6. C U R R E N T R E C O R D INFORMATION:
                                           7aoror7b
                                                  7band/or
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                                                                                                                                                        AOO name: Complete Ilem 7a or 7b, and also
                                                                                                                                                        item 7c: also complete items 7d-7o fif acolkablel.


      lea. ORGANIZATION'S NAME


OR
      6b. INOIVIOUAL'S LAST NAME                                                                                                                MIDDLE NAME                                SUFFIX



7. C H A N G E D (NEW) O R A D O E O INFORMATION:
      7a. ORGANIZATION'S NAME                                                              "                                             '                          —

            CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
OR
      7b. INDIVIDUAL'S L^ST NAME                                                          ,FIRST NAME                                           MIDDLE NAME                                SUFFIX
                                                                                          i
                                                                                          i
7o. MAIUNG ADDRESS                                                                        iCITY                                                 STATE                                      COUNTRY
                                                                                                                                                            POSTAL C O D E


7d. TAXIDIf:      SSNOREIN       ADD'LINFORE 7e. TYPE OF ORGANIZATION                     ;7f. JURISDICTION OF ORGANIZATION                     7g. ORGA NIZATIONAL ID ». if any
                                 ORGANIZATION                                             !
                                 DEBTOR       1                                           j
                                                                                                                                                                                                IHNONE


   Dasohbe collateral Q d e l e l e b or p a d d e d , or give entireQresia:ed collateral descnption. or describe collateral []]assigned.


 A d d i t i o n a l C o l l a t e r a l o f a d d i t i o n a l DEBTOR p a r t y , C a l e b Paul S k i n n e r ,
 s e c u r e d under Doc. # 2012012659, Feb 6, 2012, now d u l y a c c e p t e d by and i n
 custody o f The One Peoples P u b l i c T r u s t 1776, a c c e p t e d from the date o f
 i s s u a n c e , a s f o l l o w s : T r u s t e e s Bond and Oath w i t h i s s u e number
 MB201201255-TBO1/02012012T8A2C1-001, d u l y e x e c u t e d and i s s u e d J a n u a r y 2,
 2012, d u l y a c c e p t e d by The One Peoples P u b l i c T r u s t 1776, w i t h t h e terms and
 c o n d i t i o n s a s s t a t e d t h e r e i n , and taken i n t o p h y s i c a l custody on J a n u a r y 2,
 2012, h e l d by a d u l y bonded T r u s t e e o f The One Peoples P u b l i c T r u s t 1776;
 SECURED PARTY, p e r f e c t e d J u l y 4, 1776, w i t h a l l p r o p e r t y and r i g h t s t o
9. N A M E O F S E C U R E D P A R T Y OF R E C O R D A U T H O R I Z I N G T H I S A M E N D M E N T (name of assignor,«this is an Assignment). If Ihis is an Amendmert authorized by a Debtor which
   adds collateral or adds the authortang Debtor, or if this is a Terminalicr aulhcr:ed by a Oeblor. check here [~] and entg name of D E B T O R authorizing this AmendmenL

      9a. ORGANIZATION'S NAME                                                                     ~ ~ ~

       THE UNITED STATES OF AMERICA, A PUBLIC TRUST
OR
      9b. INDIVIDUAL'S W S T NAME                                                          FIRST NAME                                           MIDDLE NAME                                SUFFIX



10. OPTIONAL FILER REFERENCEDATA

       a l l r i g h t s r e s e r v e d and without p r e j u d i c e UCC 1-308 / s / Heather Ann T u o c i - J a r r a f
FILING O F F I C E C O P Y - N A T I O N A L U C C FINANCING STATEMENT AMENDMENT (FORM UCC3) (REV. 07/29/98)


       Case 3:17-cr-00082-TAV-DCP Document 25 Filed 08/18/17 Page 166 of 309 PageID #:
                                            823
                                                                                                Doc# : 2012028311
                      Case 1:17-mj-00531-DAR Document 2-2 Page
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                                                                                    IDA WILLIAMS
UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
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                                                                                        E-RECORD                                                     25.00
 12. NAMEOF P A R T Y AUTHORIZING THIS AMENDMENT (sama aa ilam 9 on Amandmant fonn)
      IZa. OROAI«ZATI0N« NAME                                                           ESURCHARGE                                                    6.50
     THE UNITED STATES OF AMERICA, A PUBLIC TRUST
OR
     12b. INOIVIDUAL'S LAST NAME               FIRSTNAME                   MIDDLE NAME.SUFFIX



13. Usa this spaca fw additional infoimatlon




                                                                                                 THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY


     Additional c o l l a t e r a l               info

     p r o p e r t y of SECURED PARTY t h e r e i n , t h e r e t o , and therefrom, now d u l y
     a d m i n i s t e r e d by The One Peoples P u b l i c T r u s t 1776, through i t s d u l y bonded

     T r u s t e e s ; NOTICE OF DULY BONDED TRUSTEE, d u l y s e r v e d t o any and a l l
     n e c e s s a r y p a r t i e s and to always be f u r t h e r n o t i c e d and e v i d e n c e d by a True,

     A c c u r a t e and Complete d i g i t a l of o r i g i n a l T r u s t e e s Bond and Oath d u l y
     p o s t e d v i a t h e world-wide web, a t t h e o f f i c i a l w e b s i t e of The One Peoples
     P u b l i c T r u s t 1776, www.peoplestrustl776.org, f o r a l l t h e World and B e i n g s
     to
     r e l y upon.

     C a l e b Paul S k i n n e r , n a t u r a l man, DEBTOR, i s c o r r e c t e d above due t o
     automated f i l i n g systems a l t e r i n g o r i g i n a l c a p a c i t y ( t i e s ) and s t a n d i n g ( s ) ,

     c o r r e c t i o n SECURED PARTY, The U n i t e d S t a t e s o f America, The One Peoples
     P u b l i c T r u s t 1776, a p u b l i c t r u s t , and i t s b e n e f i c i a r i e s , the o r i g i n a l
     s t a t e s i n n a t i o n a l union.




     Debtor names added f o r i n d e x i n g

     CHARLES         C.    MILLER         [AN A R T I F I C I A L    PERSON     S LEGAL         FICTION]
     CHARLES         C.    M I L L E R D/B/A         CHARLES        C.   MILLER




RLING O F R C E C O P Y - NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)



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                                 ANNEX 26

                              Case No. 1:17 mj-531




   TITLE                         DESCRIPTION                              PAGES


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UCC FINANCING STATEMENT AMENDMENT                                                                                 RECORDER OF DEEDS
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A NAME & PHONE OF CONTACT AT FILER [opHonal]
  The One Peoples P u b l i c T                               253-509-4597                                            PROCESSING                                                             5.00
B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                         E-RECORD                                                              25.00
                                                                                                      I               ESURCHARGE                                                             6.50
          r
  The One Peoples P u b l i c T r u s t 1776


  Gig Harbor, WA                     98335
                                                                                                J
                                                                                                                 THE ABOVE SPACE IS FOR FILING O F R C E USE ONLY
la. INITIAL FINANCING STATEMENT FILE »                                                                                                    Ttlis FINANCING STATEMENT AMENDMENT Is
  2000043135 - 05/04/2000                                                                                                                 to ba Ulab [for reconfj (or reconiad) in the
                                                                                                                                          REAL ESTATE RECORDS.


  d     TERMINATION: Effecliveneai of the Finanong Statamert idenofted abow is lemiinatea with respect to secunty lnten»st(s) of tha Secured Party aulhonang ttiij Tamiinalion Statam«iL
        CONTINUATION: Effectiveness of the Finanong Statement ioenlifiea above with resoect to secunty interesKs) of tha Secured Party authoriting this ConlinUBtion Statemant Is
        continued for the additional padod provided by applicable law,                                                                           "
i. [_| ASSIGNMENT (full or paniai): Give name of assignee in item 7a or 7b and aodress of assignee in item 7c; and also give name of assignor in item 9.    ~

5. AMENDMENT (PARTY INFORMATION): This Amendment affects | J Debtor m [ J Secured Party of record. Chock only ana of these two boxes.
              one ofthe
   Also checkfins of the followino
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                                    throe boxe.i; and provide
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      CHANGE name and/or address: Give current record name in item ca or 6b: also give new          r iDELETE
                                                                                                        DELE name: Give record name         ADD name: Complete Item 7a or 7b, and
  •   nainalif name change) in item 7a or 7b and/or new address nf adc-ess ehanqel in lem 7c.        ^ 'lo be
                                                                                                           deleted In item 6a or 6b.        ilem 7c: also complete items 7d-7o fif aot
 i. CURRENT RECORD INFORMATION-
     6a. ORGANIZATION'S NAME


OR
      6b. INDIVIDUAL'S LAST NAME                                                       FIRSTNAME                                       MIDDLE NAME


r. CHANGED (NEW) ORADOEO INFORMATION:
    7a. ORGANIZATION'S NAME
            CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
OR
      7b. INDIVIDUAL'S U S T NAME                                                  ,FIRST NAME                                         MIDDLE NAME                            SUFFIX
                                                                                   i
                                                                                   i
7o. MAILING ADDRESS                                                                jCITY                                               STATE    POSTAL CODE                   COUNTRY


7d. TAXIDIf: SSNOREIN          ADD'LINFORE 17e. TYPE OF ORGANIZATION                :7r JURISOICTIONOFORGANIZATiON                     7g. ORGANIZATIONAL ID #. ifany
                               ORGANIZATION
                               DEBTOR       1                                      i
                                                                                                                                                                                   IHNONE


     Dascnba collalaral [^deleted or padded, or give enUreQrestated collateral descnption. or describe collateral ^assigned.

 A d d i t i o n a l C o l l a t e r a l o f a d d i t i o n a l DEBTOR p a r t y , H o l l i s R a n d a l l H i l l n e r ,
 d u l y a c c e p t e d by and i n custody of The One Peoples P u b l i c T r u s t 1776,
 a a c e p t e d from t h e date o f i s s u e , a s f o l l o w s : T r u s t e e s Bond and Oath w i t h
 i s s u e number MB201201255-TBO3, d u l y e x e c u t e d and i s s u e d F e b r u a r y 12, 2012,
 d u l y a c c e p t e d by The One Peoples P u b l i c T r u s t 1776, w i t h the terms and
 c o n d i t i o n s as s t a t e d t h e r e i n , and taken i n t o p h y s i c a l custody on F e b r u a r y
 15, 2012, h e l d by a d u l y bonded T r u s t e e of The One Peoples P u b l i c T r u s t
 1776; SECURED PARTY, p e r f e c t e d J u l y 4, 1776, w i t h a l l p r o p e r t y and r i g h t s t o
 p r o p e r t y of SECURED PARTY t h e r e i n , t h e r e t o , and therefrom, now d u l y
9. NAME OF S E C U R E D P A R T Y OF RECORD AUTHORIZING THIS AMENDMENT (name of assignor, if this is an Assignment). If Ihis is an Amendmert authodzed by a Debtor which
   adds collateral or adds the authorizing Oeblor. or if this is a Terminalicr authorzed by a Debtor, check hera J and enlg nama of DEBTOR authorizing this AmendmenL
      9a, ORGANIZATION'S NAME
       THE UNITED STATES OF AMERICA, A PUBLIC TRUST
OR
      9b, INDIVIDUAL'S WST NAME                                                        FIRST NAME                                      MIDDLE NAME                            SUFFIX


10, OPTIONAL FILER REFERENCEDATA

       a l l r i g h t s r e s e r v e d and w i t h o u t p r e j u d i c e UCC 1-308 / s / Heather Ann                                                         Tucci-Jarraf
R U N G O F R C E COPY -       NATIONAL U C C FINANCING STATEMENT AMENDMENT (FORM UCC3) (REV, 07/29/98)



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 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (sama a<i itam 9 on Amandmant fomi)
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no
      THE UNITED STATES OF AMERICA, A PUBLIC TRUST
     12b. INOIVIDUAL'S LAST WMB                 FIRSTNAME                  MIDDLE NAME.SUFFIX



13. Usa this spaca for additional infonnation




                                                                                                 THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY


     Additional c o l l a t e r a l                info

     a d m i n i s t e r e d by The One Peoples P u b l i c T r u s t 1776, through i t s d u l y
     bonded T r u s t e e s ; NOTICE OF DULY BONDED TRUSTEE, d u l y s e r v e d t o any and a l l

     n e c e s s a r y p a r t i e s and t o always be f u r t h e r n o t i c e d and e v i d e n c e d by a True,

     A c c u r a t e and Complete d i g i t a l o f o r i g i n a l T r u s t e e s Bond and Oath d u l y
     p o s t e d v i a t h e world-wide web, a t t h e o f f i c i a l w e b s i t e o f The One Peoples
     P u b l i c T r u s t 1776, www.peoplestrustl776.org, f o r a l l t h e World and Beings
     to
     r e l y upon.

     H o l l i s R a n d a l l H i l l n e r n a t u r a l man, DEBTOR, i s c o r r e c t e d above due t o
     automated f i l i n g systems a l t e r i n g o r i g i n a l c a p a c i t y ( t i e s ) and s t a n d i n g ( s ) ,

     c o r r e c t i o n SECURED PARTY, The U n i t e d S t a t e s o f America, The One Peoples
     P u b l i c T r u s t 1776, a p u b l i c t r u s t , b e n e f i c i a r i e s , t h e o r i g i n a l s t a t e s i n
     n a t i o n a l union.




     Debtor names added f o r i n d e x i n g

     CHAIRLES         C. M I L L E R       [AN A R T I F I C I A L   PERSON     S LEGAL         FICTION]
     CHARLES          C. M I L L E R      D/B/A/ C H A R L E S       C. M I L L E R




FlUNG O F F I C E C O P Y -   NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)



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                                          827
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                                ANNEX 27

                             Case No. 1:17 mj-531




  TITLE                          DESCRIPTION                          PAGES


Annex 27                 UCC record number 2012083304                     1- 8




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                                                                                                                          IDA WILLIAMS
 UCC FINANCING STATEMENT AMENDMENT                                                                                        RECORDER OF DEEDS
 F O U O W INSTRUCTIONS (front and back) C A R E F U I L Y
  A. NAME & PHONE OF CONTACT AT FILER [opdonal]
                                                                                                                          Doc Type: EFINANCING
      The One Peoples P u b l i c T 253-509-4597                                                                              PROCESSING                                                           5.00
 B. SEND ACKNOWLEDGMENT TO:                   (Name and Address)                                                              E-RECORD                                                            25.00
                                                                                                                              ESURCHARGE                                                           6.50

      The One P e o p l e s P u b l i c T r u s t 1776
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      G i g Harbor, WA 98335



                                                                                                                        THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
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                                                                                                                                  1b, This FINANCING STATEMENT AMENt5MENT IS
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 2.                                                                                                                                         JI
                                                                                                                                      REAL ESTATE RECORDS.
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 4, [ J ASSIGNMENT (fuH or paniai): GIva name of assignee in ilem 7a or 7b and aodress of assignee In itam 7e: and also give neme of

 5. AMENDMENT (PARTY INFORMATION): This Amendment affects \J Debtor at •                              Secumd Party of record. Check only ans of these two boxes.
      Also checkfinsof lha fbllowing Ihree boxes aad provide appropnate infomiation m Items 6 and.'or 7.
  P I CHANGE nama and/or address: Give cun-ent record name in Item ca or 6b: also give new                  P I DELETE name-Giva record name m Annn»„«.. r . , ™ . j . . . i . „ _ T . . T K ^
  U nama fif nama chanaa) in Item 7a or 7b and/or new addmls t.f add-ess charoet in lem 7c.                  L J to tifjelei'd i. U^M^T^'"^ • »em 7c-^sn ™m?i2S EJ^n^T^r'^^SiSa..
6. C
        6a. ORGANIZATION'S NAME                                             ™                  ——~            -™——..^             ™_           —                              . .             .

OR
        ou. inutviuuMLo LAa 1 (VAMb                                                            'FIRSTNAME                   ^             —MIDDLE NAME
                                                                                                                                                                                    SUFFIX
                                                                                           1
       17a. ORGANIZATION'S NAME                                                        ~             _ _ _                                  _ _

             CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
OR
        7b, INDIVIDUAL'S WST NAME                                                          iFIRST NAME                                      MIDDLE NAME


7o, MAILING AODRESS
                                                                                                                                            STATE     POSTAL CODE                   COUNTRY

7d. TAXIDIf: SSNOREIN             ADD'L INFO RE 17e, TYPE OF ORGANIZATION                  ; 7f, JURISDICTION OF ORGANIZATION               79, ORGANIZATIONAL ID #. if any
                                  ORGANIZATION
                                  DEBTOR        I                                          j

8, AMENDMENT (COLLATE RAL CHANGE): cheek only m                      box,

      Dascribacollalaral []deleted or padded, or,giveenBreQrestatedcollateral descnption. or describe collalaral Qassigned.

 UCC Doc #'s 2012079290 and 2012079322, and any and a l l t h e r e i n , r e s t a t e d
 i n t h e i r e n t i r e t y and i n c o r p o r a t e d h e r e i n by r e f e r e n c e a s i f s e t f o r t h i n
 f u l l , now d u l y r a t i f i e d and r e c o n f i r m e d ; P u r s u a n t t o t h e one p e o p l e ' s
 s t a n d i n g , a u t h o r i t y , v a l u e , r i g h t s , our p r i n c i p a l o f law knowingly,
 w i l l i n g l y and i n t e n t i o n a l l y p r e s e r v e d and p r o t e c t e d , i n p e r p e t u i t y , by
 n o t i c e t o a l l b e i n g s and t h e world, b e i n g f i r s t implemented by I n t e r n a t i o n a l
 Law Ordinance c o g n i z a b l y n o t i c e d a s t h e C o n s t i t u t i o n f o r t h e U n i t e d S t a t e s
 of America, 1791 a s amended, and t h e l a w f u l progeny j u r i s p r u d e n c e t h e r e o f ,
 i n t e r n a t i o n a l l y a f f i r m e d o r d i n a n c e s , s t a r t i n g J u l y 4, 1776, and completed
  .Tc'ol™fo?ai^? ''f;^^ n                                                 ™^    AMENDMENT (nameof as.gnor. .mis is an Assignment). If m,s is an Amandmart authoh^ by a DebU.wh«,
  adds collateral or adds tha authonang Debtor, or if this is a Terniinabcr aulhorzed by a Debtor, check hera H and entar name of DEBTOR authorizing this AmendmenL
      |9a. ORGANIZATION'S NAME
        THE ONE PEOPLE'S PUBLIC TRUST
OR
      |9b. INDIVIDUAL'S WST NAME                                                           FIRST NAME                                      MIDDLE NAME                              SUFFIX


10. OPTIONAL FILER REFERENCEDATA

       w i t h o u t p r e j u d i c e , u c c 1-308 / s / Heather Ann T u c c i - J a r r a f , a s T r u s t e e
FILING O F F I C E COPY -        NATIONAL U C C FINANCING S T A T E M E N T AMENDMENT (FORM UCC3) (REV, 07/29/98)




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11. INITIAL FINANCING STATEMENT FILE # (sam* a< Ilam la on Am«idmant forni)
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 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (aama aa ilam 9 on Amandmant fomi)
      12*. OROAMZATIISN^ NAME                                                           ESURCHARGE                                             6.50
       THE ONE PEOPLE'S PUBLIC TRUST
OR
      )2b. INDIVIDUAL'S LAST NAME             FIRSTNAME                 MIDDLE NAMESUFFIXl



13. U M Mi spoDt for additional information




                                                                                             THE ABOVE SPACE IS FOR H U N G OFFICE USE ONLY


      Additional c o l l a t e r a l             info

      March 1, 1781, r a t i f i e d 1791, s a i d n e v e r b e i n g r e b u t t e d , r e - r a t i f i e d by
      p u b l i c d e c l a r a t i o n J u l y 25, 2012, i n s u r e d and governed b y p u b l i c p o l i c y ,
      i n c l u s i v e o f UCC 1-103, and any and a l l the U n i t e d S t a t e s o f Ainerica
      F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s , STATE OF . . ., S t a t e o f

      . ., and i n t e r n a t i o n a l e q u i v a l e n t s :

      Secured P a r t y , through i t s b o n d s e r v a n t s , w i t h a l l r i g h t s r e s e r v e d and
      w i t h o u t p r e j u d i c e , a s promised and p r e s e r v e d by p u b l i c p o l i c y , i n c l u s i v e o f

     UCC 1-308, and any and a l l the U n i t e d S t a t e s o f America F e d e r a l
     Government, UNITED STATES, U n i t e d S t a t e s , STATE OF . . ., s t a t e o f .
     and i n t e r n a t i o n a l e q u i v a l e n t s , BY AND WITH DUE AUTHORITY AND STANDING, a s
     h e l d i n t r u s t and a d m i n i s t e r e d by i t s P u b l i c T r u s t , through the a c t i o n s o f

     i t s d u l y bonded T r u s t e e s , do now d u l y r e g i s t e r and s e c u r e p u b l i c n o t i c e o f

     the f o l l o w i n g Orders o f F i n d i n g s            & Actions,        FAO, Suspension, and A u d i t , a l l

     i s s u e d on J u l y 4, 2012,               a g a i n s t DEBTOR, UNITED STATES and the s e v e r a l STATE

     OF. . ., e t . a l . , i n c l u s i v e o f a l l v o l u n t a r y           commercial i n d e n t u r e s       thereto,

     t h e r e o f , and therefrom, f o r c a u s e , NUNC PRO TUNC, PRAETEREA PRETEREA, a l l
     t h r e e Orders r e s t a t e d and i n c o r p o r a t e d h e r e a s i f s e t f o r t h i n f u l l , ' w i t h
     f u r t h e r p u b l i c n o t i c e made v i a p o s t i n g s a i d Orders on the world-wide web a t

     www.peoplestrustl776.org, the o f f i c i a l w e b s i t e o f The P u b l i c T r u s t , t h a t i s

     under the s o l e p o s s e s s i o n            and c o n t r o l o f i t s d u l y bonded T r u s t e e s ,      Ordering

     DEBTOR a s f o l l o w s :

     The one p e o p l e ' ' s law i s a l i g n e d w i t h the laws o f the                      creator;

     The one p e o p l e ' ' s p r i n c i p l e o f law i s a l i g n e d w i t h common law;


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       THE ONE PEOPLE'S PUBLIC TRUST
OR
      12t>. INDIVIDUAL'S LAST NAME              FIRSTNAME               MIDDLE NAME,SUFFIX|



13. Usa this spaca for additional Infonnation




                                                                                         1     THE ABOVE SPACE IS FOR R U N G OFFICE USE ONLY


      WHEREAS I T HAS BEEN DULY FOUND s a i d e v e n t s o f f a c t and a l l e g a t i o n s o f wrong

      doing c o n s t i t u t e o r appear t o c o n s t i t u t e b r e a c h o f peace b e i n g made a g a i n s t

      other world nations                       and t h e i r people a s w e l l a s a g a i n s t the p e o p l e who t h e
      UNITED STATES and the s e v e r a l STATE OF . . . t h e r e t o , were c r e a t e d t o
      s e r v e , the people o f The U n i t e d S t a t e s o f America; That s a i d e v e n t s of f a c t

      and a l l e g a t i o n s have caused, and c o n t i n u e t o c a u s e , a c t u a l damage t o
      t h i r d - p e r s o n s , the h o l d i n g s w i t h i n The P u b l i c T r u s t , and the b e n e f i c i a r i e s

      of The P u b l i c T r u s t and t h e people they s e r v e ;                          That any and a l l wrong
      doing
      c o u l d have o n l y been done by t h e mouth, hand, a c t i o n or i n - a c t i o n o f the
      n a t u r a l p e r s o n s b e i n g v o l u n t a r y commercial i n d e n t u r e s t o the UNITED STATES

     and t h e s e v e r a l STATE OF . . .                     t h e r e t o , and The U n i t e d S t a t e s o f America;

     That a l l d u t i e s and o b l i g a t i o n s o f t h e O f f i c e s , departments, d i v i s i o n s and

     v o l u n t a r y commercial i n d e n t u r e s a r e bound to perform have been PREPAID by
     the people o f The U n i t e d S t a t e s o f America; That s a i d payment was
     PREVIOUSLY ACCEPTED AND TAKEN by Debtor; That Debtor i s u n w i l l i n g o r
     i n c a p a b l e o f p r o v i d i n g s e r v i c e s a l r e a d y p a i d f o r ; That O f f i c e s and
     v o l u n t a r y commercial i n d e n t u r e s a r e r e q u i r e d t o a c t w i t h i n t h e bounds o f
     the

     terms, d u t i e s and o b l i g a t i o n s s e t f o r t h by t h e people o f The U n i t e d S t a t e s

     o f America and the s e v e r a l s t a t e s o f the u n i o n ;                        That e q u i t y o f t h e people

     o f The U n i t e d S t a t e s o f America i s p e r f e c t e d a s due, owing and c o l l e c t i b l e ;
       That c i r c u m s t a n c e s e x i s t and t h e r e i s demand and support f o r f u l l a u d i t ,
     r e v i e w , e q u i t y c a l l s and r e c o n c i l i a t i o n s of a l l known and unknown O f f i c e s ,

     v o l u n t a r y commercial i n d e n t u r e s , t h e i r d u t i e s , o b l i g a t i o n s , performances
     t h e r e t o , o p e r a t i o n s t h e r e o f , a c c o u n t s and l e d g e r s o f t h e UNITED STATES and

     the s e v e r a l STATE OF . . . t h e r e t o , w i t h those o f the people o f The U n i t e d

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                                                                                         ESURCHARGE                                         6.50
       THE ONE PEOPLE' S PUBLIC TRUST
OR
      12b. INOIVIDUAL-S LAST NAME               FIRST WkME            MIDDLE NAME,SUFFIX|



13. Usa this spaca for addlllonal Information




                                                                                       I    THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY
      WHEREFORE I T I S DULY DECLARED t h a t i n o r d e r to r e s p e c t , honor, and p r e s e r v e

      the a l m i g h t y c r e a t i o n and s o v e r e i g n t y o f t h e One people o f t h e world, and
      i n doing so r e s p e c t i n g , honoring and p r e s e r v i n g t h e a l m i g h t y c r e a t i o n and
      s o v e r e i g n t y o f t h e people o f The U n i t e d S t a t e s o f America, t h a t an ORDER OF

      SUSPENSION and an ORDER OF AUDIT s h a l l be f o r t h w i t h i s s u e d and f o l l o w e d out

      of a n e c e s s i t y of a b s o l u t e s e c u r i t y w i t h t h e a u t h o r i t y and s t a n d i n g of
      a b s o l u t e r i g h t and duty, s a i d h a v i n g been a c c e p t e d by t h e world and n e v e r
      rebutted;

     WHEREFORE I T I S DULY NOTICED AND ORDERED t h a t t h i s ORDER OF FINDING S
     ACTION i s e f f e c t i v e immediately and s h a l l remain i n e f f e c t u n t i l such time

      as i t i s superseded by subsequent d u l y a u t h o r i z e d and bonded w r i t t e n ORDER

     OF FINDING S ACTION; No such subsequent Order s h a l l be i s s u e d u n t i l a f t e r
     t h e completion o f t r u e , a c c u r a t e , and complete a u d i t s o f o p e r a t i o n s and
     performance o f t h e UNITED STATES and the s e v e r a l STATE OF . . . t h e r e t o and

     t h a t o f any and a l l o f i t s v o l u n t a r y commercial i n d e n t u r e s w i t h f u l l
     p u b l i s h i n g of s a i d a u d i t r e s u l t s and an a p p r o p r i a t e r e v i e w and commentary
     p e r i o d by t h e people of The U n i t e d S t a t e s o f America;

     WHEREAS I T I S DULY SERVED on a l l p e r s o n s , n a t u r a l and l e g a l f i c t i o n , by
     i n t e r n a l d e l i v e r y methods a s w e l l as open n o t o r i o u s n o t i c e by p u b l i s h i n g on

     the world-wide web a t www.peoplestrustl776.org ;

     THEREFORE, PUSUANT TO THE FAO, UNITED STATES AND THE SEVERAL STATE OF . . .

     THERETO , ARE FORTHWITH SUSPENDED AND CANCELED AS FOLLOWS:

     1. THAT any and a l l O f f i c e s , departments, a g e n c i e s , d i v i s i o n s o r
     m u n i c i p a l i t i e s of t h e UNITED STATES and the s e v e r a l STATE OF . . . t h e r e t o ,

     a r e f o r t h w i t h suspended; Any and a l l a u t h o r i t y and p r o t e c t i o n s t h a t may
     have been p r e v i o u s l y g r a n t e d , e s p e c i a l l y those c r e a t e d by E x e c u t i v e Order,

     ama o a n o o l o d ox n o v o k o d , NUITO m o           'SmOf    and,     -
FlUNG O F F I C E C O P Y -   NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (lam* aa ilam 9 on Amandmant forni)
     12a. ORGANIZATIONS NAME                                                                         ESURCHARGE                                       6.50
      THE ONE PEOPLE' S PUBLIC TRUST
OR
     12b. INDIVIDUAL'S LAST NAME                 FIRSTNAME                 MID01.E NAME.SUFFIXI



13. Use this spaca for adilltlonal information




                                                                                             I      THE ABOVE SPACE IS FOR R U N G OFFICE USE OW.Y
      p r e v i o u s l y g r a n t e d , e s p e c i a l l y those c r e a t e d by E x e c u t i v e Order, a r e
      c a n c e l e d o r revoked, NUNC PRO TUNC; and,

      3.      THAT any and a l l d e p u t i e s ,               a s s i g n s , agents,          contractors, or successors

      o f any and a l l v o l u n t a r y commercial i n d e n t u r e s o r O f f i c e s o f t h e UNITED
      STATES and the s e v e r a l STATE OF . . . t h e r e t o , e s p e c i a l l y those c r e a t e d by

      E x e c u t i v e Order, a r e f o r t h w i t h suspended without pay; Any and a l l a u t h o r i t y

      and p r o t e c t i o n s t h a t may have been p r e v i o u s l y g r a n t e d                    are canceled or
      revoked, NUNC PRO TUNC; and,

      4.     THAT any and a l l o p e r a t i o n s               o f t h e UNITED STATES and t h e s e v e r a l STATE

     OF . . . t h e r e t o , a r e f o r t h w i t h suspended w i t h o u t payment o r c o l l e c t i o n s ;
     Any and a l l a u t h o r i t y and p r o t e c t i o n s t h a t may have been p r e v i o u s l y granted

     f o r s a i d o p e r a t i o n s , e s p e c i a l l y those c r e a t e d by E x e c u t i v e Order, a r e
     c a n c e l e d o r revoked, NUNC PRO TUNC; and,

     5. THAT f u l l , f a i t h and c r e d i t , g u a r a n t e e s , by t h e people o f The U n i t e d
     S t a t e s o f America, made i n t h e p a s t o r p r e s e n t , known o r unknown, f o r any
     and a l l o p e r a t i o n s , indentures, debentures, accounts, pledges, covenants,

     c o n t r a c t s , s i g n a t u r e s , hypothecations o r other p r o p e r t y ( i e s )                     (inclusive of

     a l l c h a t t e l s , g e n e r a l i n t a n g i b l e s , payment i n t a n g i b l e s ) o f t h e UNITED
     STATES
     and t h e s e v e r a l STATE OF . . . t h e r e t o , a r e c a n c e l e d f o r c a u s e , NUNC PRO
     TUNC, PRAETEREA PRETEREA; Any and a l l a u t h o r i t y and p r o t e c t i o n s t h a t may
     have been p r e v i o u s l y g r a n t e d t o a l l o w o r p e r m i t s u c h g u a r a n t e e s t o be made

     on b e h a l f o f t h e p e o p l e o f The U n i t e d              S t a t e s o f America, e s p e c i a l l y those
     by
     E x e c u t i v e Order, a r e c a n c e l e d o r revoked, NUNC PRO TUNC,                                 PRAETEREA
     PRETEREA.

     ***THIS ORDER OF SUSPENSION I S PREPAID, PREAUTHORIZED, AND PRE-APPROVED***

—mimruiiFonE, PTJCUMIT                      m miB        FAO^   TJITUDDD   ogiAfDED     Mro mm CTS^mim, cmm                     or
FlUNG O F F I C E C O P Y - NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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 li. INITIAL RNANCING STATEMENT R L E # (um* n llm 1a on Amandm«Mlonn)
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        2000043135
                                                                                         E-RECORD                       $                    25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (.am* a» ilam 9 on Amandmant fomi)
      12*. ORGANIZATIONS NAME                                                            ESURCHARGE                     $                    6.50
      THE ONE PEOPLE'S PUBLIC TRUST
OR
     12b. INDIVIDUAL'S LAST NAME                RRSTNAME            MIDDLE NAME.SUFFIX



13. U M thia spaca for addlllonal Information




                                                                                         THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY

     1. AUDIT, w i t h t h e f u l l c o o p e r a t i o n o f t h e CFO and bonded a s s u r a n c e s o f
     the Data I n t e g r i t y Board, o f any and a l l O f f i c e s , departments, a g e n c i e s ,
     d i v i s i o n s , m u n i c i p a l i t i e s and l e g a l f i c t i o n s o f the UNITED STATES and t h e
     s e v e r a l STATE OF . . . t h e r e t o , e s p e c i a l l y those c r e a t e d by E x e c u t i v e
     Order,
     NUNC PRO TUNC; and,

     2. AUDIT, w i t h the f u l l c o o p e r a t i o n o f the CFO and bonded a s s u r a n c e s o f
     the Data I n t e g r i t y Board, o f any and a l l v o l u n t a r y commercial i n d e n t u r e s o f

     the UNITED STATES and t h e s e v e r a l STATE OF . . .                             thereto, e s p e c i a l l y       those

     c r e a t e d by E x e c u t i v e Order, NUNC PRO TUNC; and,

     3. AUDIT, w i t h t h e f u l l c o o p e r a t i o n o f t h e CFO and bonded a s s u r a n c e s o f
     the Data I n t e g r i t y Board, o f any and a l l d e p u t i e s , a s s i g n s , a g e n t s ,
     c o n t r a c t o r s , o r s u c c e s s o r s o f any and a l l v o l u n t a r y commercial i n d e n t u r e s
     or
     O f f i c e s o f the UNITED STATES and t h e s e v e r a l STATE OF . . . t h e r e t o ,
     e s p e c i a l l y those c r e a t e d by E x e c u t i v e Order, NUNC PRO TUNC; and,

     4. AUDIT, w i t h the f u l l c o o p e r a t i o n o f t h e CFO and bonded a s s u r a n c e s o f
     the Data I n t e g r i t y Board, o f any and a l l o p e r a t i o n s and t r a n s a c t i o n o f o r
     o p e r a t e d by t h e UNITED STATES and t h e s e v e r a l STATE OF . . . t h e r e t o ,
     e s p e c i a l l y those c r e a t e d by E x e c u t i v e Order, NUNC PRO TUNC; and,

     5.     AUDIT, w i t h the f u l l c o o p e r a t i o n o f t h e CFO, FEDERAL RESERVE BANKS, and

     bonded a s s u r a n c e s o f t h e Data I n t e g r i t y Board, o f any and a l l bookkeeping
     o f t r a n s a c t i o n s , o p e r a t i o n s , and c u r r e n t funds i s s u e d , o r i g i n a l l y o r
     o t h e r w i s e , known and unknown, t h a t were marketed, s o l d , i s s u e d , o r
     otherwise
     made t o e x i s t w i t h t h e guarantee o f t h e people o f The U n i t e d S t a t e s o f
     America, under UNITED STATES and t h e s e v e r a l STATE OF. . . t h e r e t o ,
     e s p e c i a l l y those done so by E x e c u t i v e Order, NUNC PRO TUNC, i n c l u s i v e o f
     any

     and a l l o p e r a t i o n s ,            indentures, debentures, accounts, pledges, covenants,

     c o n t r a c t s , s i g n a t u r e s , hypothecations       or other p r o p e r t y ( i e s )       (inclusive of
   a l l o h a i i l i o l o ; g o n o w n l i n f a a n g i b l a e ; paymomti i w ^ s a a g i b l o o ) o f taho UtlKDED
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 12. NAMEOF P A R T Y AUTHORIZING THIS AMENDMENT («mi*a»ilam9on Amandmant fomi)
      12*. ORQAMZATIONS NAME                                                        ESURCHARGE                     $                          6.50
      THE ONE          PEOPLE'S PUBLIC TRUST
     12>.IN0IVIDtML'S LAST NAME                  [FIRSTNAME        {MIOOL£NAME,SUFFIxi



13. Utia thia spaca for addlllonal Information




                                                                                         THE ABOVE SPACE 18 FOR R U N G O F R C E USE ONLY
      ***THIS ORDER OF AUDIT I S PREPAID, PREAUTHORIZED, AND                                     PRE-APPROVED***

     DULY EFFECTIVE AND DONE J u l y 4, 2012, and RESTATED, RE-RATIFIED,
     RECONFIRMED, RE-DECLARED AND RE-NOTICED, EFFECTIVE THIS 3 r d Day o f August,

     2012,          by our bond and o a t h , e v i d e n c e d by our o r i g i n a l s i g n a t u r e and s e a l ,

     made knowingly, w i l l i n g l y and i n t e n t i o n a l l y , w i t h u n l i m i t e d            liability,
     being
     of a b s o l u t e c a p a c i t y and r e s p o n s i b i l i t y , sworn under the p e n a l t i e s of
     p e r j u r y governed under the laws o f our c r e a t o r . Duly r a t i f i e d ; w i t h o u t
     p r e j u d i c e as promised, p r e s e r v e d and p r o t e c t e d by p u b l i c p o l i c y , i n c l u s i v e

     of UCC 1-308, and any and a l l the U n i t e d S t a t e s o f America F e d e r a l
     Government, UNITED STATES, U n i t e d S t a t e s , STATE OF . . ., S t a t e o f .
     and i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r UCC 1-308: / s / Heather Ann
     T u c c i - J a r r a f , as Trustee; / s / Caleb Paul Skinner, as Trustee / s / H o l l i s
     R a n d a l l H i l l n e r , a s T r u s t e e ; Duly Reconfirmed, UCC 1-308: / s / Heather Ann
     T u c c i - J a r r a f , a s Secured P a r t y ; / s / C a l e b P a u l S k i n n e r , a s Secured P a r t y
     /s/

    H o l l i s R a n d a l l H i l l n e r , a s S e c u r e d P a r t y ; Duly V e r i f i e d by: / s / Heather Ann

    T u c c i - J a r r a f , a s Bondservant; / s / C a l e b P a u l S k i n n e r , a s Bondservant;                      /s/

    H o l l i s R a n d a l l H i l l n e r , a s Bondservant;

    A d d i t i o n a l Secured P a r t y , the c r e a t o r o f the one p e o p l e ; A d d i t i o n a l Debtor

    P a r t y , the one people c r e a t e d by the c r e a t o r , d o m i c i l by c r e a t i o n i n t h e i r

    body, the body d o m i c i l by c h o i c e on the l a n d s and s e a s d o m i c i l by c r e a t i o n
    on and i n e a r t h ; The U n i t e d s t a t e s o f America 1781 c o n s t r u c t i o n , o r i g i n a l
    n a t i o n a l s t a t e ; S a i d P a r t i e s c o r r e c t e d above due to automated f i l i n g
    systems
    a l t e r i n g o r i g i n a l c a p a c i t y ( i e s ) and s t a n d i n g ( s ) , c o r r e c t i o n


    Debtor names added f o r i n d e x i n g

    qilAIU^EC C            M I L L E R [MT A n O i I F I O I J i L rBnOOH G LBOfJi .FIOQiIQllt]
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       12*. ORGANIZATIONS NAME                                                      ESURCHARGE                                                           6.50
       THE ONE PEOPLE'S PUBLIC TRUST
OR   12b. INOIVIDUAL'S LAST NAME                 FIRSTNAME                   MIDDLE NAME.SUFFIXI



13. Use this spaca for additional infomiation




                                                                                                    THE ABOVE SPACE IS FOR R U N G O F R C E USE OM.V


      CHARLES           C. M I L L E R      [AN A R T I F I C I A L    PERSON     S LEGAL          FICTION]
      CHARLES           C     MILLER        [AN A R T I F I C I A L    PERSON     & LEGAL          FICTION]
      CHARLES           C . M I L L E R D/B/A          CHARLES        C.   MILLER
      UNITED          STATES
      A N Y AND        A L L OF      THE        SEVERAL      'STATE OF.        . .'




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                                ANNEX 28

                              Case No. 1:17 mj-531




  TITLE                          DESCRIPTION                           PAGES


 Annex 28                UCC record number 2012086794                      1 - 10




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 |A. NAME 4 PHONE OF CONTACT AT FILER [optionall                                       ' '"
                                                                                                                      Doc Type: EFINANCING
      The One Peoples P u b l i o T                             253-509-4597                                              PROCESSING                                                                  5.00
 |B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                           E-RECORD                                                                   25.00
                                                                                                                         ESURCHARGE                                                                   6.50

      The One Peoples P u b l i c T r u s t 1776


      G i g Harbor, WA 98335



                                                                                                                    THE ABOVE SPACE IS FOR FILING O F H C E USE ONLY
 la. INITIAL FINANCING STATEMENT FILE #
                                                                                                                                      1b. TWs FINANCING STATEMENT AMENDMENT is


 2,
      2000043135 - 05-04-2000
                                                                                                                                         n to ba Iliad [for raconj) (or raconjed) In tha
                                                                                                                                           REAL ESTATE RECORDS.
           TERMINATI ON: Effactvanas. of lha Finanong Statwn.rt ldant<tad abo« is lamiinaiad with fesped to saanty intanisl(») of Ihe Saourad Party aulhonang IW. Tamtination Statamanl
 3.


4. [J ASSIGNMENT (fuH or paniai): Qlve name of assignee In ilem 7a or 7b and address of assignee in item 7e; and also give name of assignor In item 9.

5. AMENDMENT (PARTY INFORMATION): This Amendment affects [J Debtor m • Secured Party of record. Check only m oTihese two boxes.
   Also check am of the fbllowing three boxes ami provide appropnate informalion m items 6 and.'or 7,
                                                                                              iw    P I1DELEl
                                                                                                         DELETE name: Give record name           ADD name: Complete Item 7a or 7b, and also
6. CURRENT RECORD INFORMATION:
                                             u giimm iigw auuicas iii auc-gss gianqei in lem 7c.
                                                                                             rc,    L l .-
                                                                                                        lo .be- .deleted in ilem 6a or 8b.
                                                                                                                                             n   ilem 7c: also comolet. items 7d.7o fif aooliahl.v

    6a. ORGANIZATION'S NAME                                                   ~ ~ ~                      ~                 —                                      —


OR
        00. irtuiviuuAL & LAa 1 MAMt:                                                     ' FIRST NAME                                ~—
                                                                                                                                       MIDDLE NAME                                 SUFFIX
                                                                                      i
                                                                                      i
r.     c
        (a. UKUAniWI lUN'S NAME
              CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
OR
        7b. INDIVIDUAL'S LAST NAME                                                    |FIRST NAME                                        MIDDLE NAME                               SUFFIX


IC. MAILINti AODRESS                                                                  ICITY                                              STATE       POSTAL CODE                   COUNTRY


7d. TAX ID*: SSNOREIN            ADD'LINFORE 7e. TYPE OF ORGANIZATION                  7f, JURISDICTION OF ORGANIZATION                  7g, ORGANIZATIONAL ID #.K any
                                 ORGANIZATION
                                 DEBTOR      1
                                                                                                                                                                                        riNONe


      Dascnba collalaral Q delftted or ^ added, or giv» entirerestated collateral agscnption. or describe collateral {^assigned.

 ALL RIGHTS RESERVED WITHOUT PREJUDICE, p e r p e t u i t y UCC Doc # 2000043135,
 amended o n l y t o add a d d i t i o n a l c o l l a t e r a l :

 Secured P a r t y , through i t s b o n d s e r v a n t s , and p u r s u a n t t o t h e one p e o p l e ' s
 s t a n d i n g , a u t h o r i t y , v a l u e , r i g h t s , and p r i n c i p a l o f law which i s a l i g n e d
 w i t h common law, do h e r e and now d e c l a r e , n o t i c e and s e c u r e f o r a l l b e i n g s
 and t h e world t o r e l y upon a s f o l l o w s :

 BY AND WITH DUE AUTHORITY AND STANDING, a s h e l d i n t r u s t and a d m i n i s t e r e d
9. NAME OF S E C U R E D P A R T Y O F RECORD AUTHORIZING THIS AMENDMENT (name of as^^or.»Ws is an Assignmenl). If this is an Amandm.rt authoriiad by , DebUx whch

       Oa nBr!»ioi74Tinu'<s u/n^c                                             ——                             '-•          —

        THE ONE PEOPLE, BONDSERVANTS TO THE CREATOR
OR
       an. iNuiviuuAL IS LAST NAME                                                     F I R S T NAME                                   MIDDLE NAME                               SUFFIX



10.C

        w i t h o u t p r e j u d i c e : / s / Heather Ann T u c c i - J a r r a f , as t h e one p e o p l e , bonds*s r v a n t

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      12*. ORGANIZATIONS NAME                                                           ESURCHARGE                                                    6.50
      THE ONE PEOPLE, BONDSERVANTS TO THE CREATOR
OR
     12b. INDIVIDUAL'S LAST NAME                RRSTNAME                    MIDDLE NAME,SUFFIX



13. Usa Ihis spaca for addlllonal Information




                                                                                                 THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY


      Additional c o l l a t e r a l               info

      by i t s P u b l i c T r u s t , through the a c t i o n s o f i t s d u l y bonded T r u s t e e s ,
      p u r s u a n t t o the f i n d i n g s and a c t i o n o f s u s p e n s i o n and a u d i t , d u l y
      r e g i s t e r e d , s e c u r e d and e n t e r e d by p u b l i c n o t i c e , UCC Doc # 2012083304,
      R e c e i p t No. 1240396, a g a i n s t DEBTOR, UNITED STATES and the s e v e r a l STATE
      OF.
      . ., i n c l u s i v e o f any and a l l O f f i c e s o f UNITED STATES and the s e v e r a l
      STATE OF . . . t h e r e t o , i n c l u s i v e o f any and a l l v o l u n t a r y commercial
      i n d e n t u r e s , i n c l u s i v e o f Congress, the P r e s i d e n t , S e c r e t a r y o f S t a t e , and

      Secretary o f Treasury,                       e s p e c i a l l y the armed f o r c e s , e s p e c i a l l y i n c l u s i v e o f

     the m i l i t a r y , BARACK OBAMA, HILLARY CLINTON AND TIMOTHY GEITHNER, any and
     a l l d e p u t i e s , a s s i g n s , a g e n t s , c o n t r a c t o r s , o r s u c c e s s o r s o f any and a l l
     v o l u n t a r y commercial i n d e n t u r e s o r O f f i c e s , i n c l u s i v e o f any and a l l the
     O f f i c e s , departments, d i v i s i o n s , a g e n c i e s and o t h e r e n t i t i e s , known and
     unknown, o r o t h e r w i s e e x i s t i n g under the c o l o r o f Debtor, e s p e c i a l l y those

     c r e a t e d by E x e c u t i v e Order,                o f UNITED STATES and the s e v e r a l STATE OF . .

     . t h e r e t o , o t h e r w i s e p r e s e n t i n g and r e p r e s e n t i n g under the c o l o r o f
     government(s) and o t h e r systems o f the one people d o m i c i l by c h o i c e on the

     s e v e r a l u n i t e d s t a t e s o f America, and any and ALL i d e n t i f i e r s ,
     a b b r e v i a t i o n s , idem sonans (not d e s c r i b e d a n t e ) , h e r e a f t e r Debtor; Debtor,

     by a l l i t s r e p r e s e n t a t i o n s          h a v i n g been p r e v i o u s l y a c c e p t e d and     r e l i e d upon

     i n good f a i t h a s the sworn guard o f s a i d one p e o p l e ; S a i d a c c e p t a n c e and
     r e l i a n c e made and r a t i f i e d i n good f a i t h by the one people d o m i c i l by
     choice
     on the s e v e r a l u n i t e d s t a t e s o f America, the one people d o m i c i l by c h o i c e
     on the l a n d s and s e a s d o m i c i l by c r e a t i o n on and i n e a r t h , a l l b e i n g s and
     the world; S a i d Orders i s s u e d f o r c a u s e , NUNC PRO TUNC, PRAETEREA PRETEREA,

     r e s t a t e d and       incorporated            here a s i f s e t f o r t h i n f u l l , w i t h f u r t h e r p u b l i c

     n o t i c e made v i a p o s t i n g           s a i d Orders on the world-wide web a t

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      12a. ORGANIZATIONS NAME                                                            ESURCHARGE                                                       6.50
      THE ONE PEOPLE, BONDSERVANTS TO THE CREATOR
OR
     12b. INOIVIDUAL'S LAST NAME                 FIRSTNAME                   MIDDLE NAME,SUFFIX



13. U M this spat:* for additional Information




                                                                                                     THE ABOVE SPACE IS FOR R U N G O F R C E USE OW.Y

      www.peoplestrustl776.org, t h e o f f i c i a l w e b s i t e o f The P u b l i c T r u s t , t h a t i s

      under t h e s o l e p o s s e s s i o n                and c o n t r o l o f i t s d u l y bonded T r u s t e e s ;

      Said reviews               and a u d i t s h a v i n g been d u l y made a s Ordered, i t i s a b s o l u t e l y

      determined t h a t s a i d Debtor, p o s s i b l e only by t h e hand and energy o f s a i d
      v o l u n t a r y commercial i n d e n t u r e s t h e r e t o , knowingly, w i l l i n g l y and
      i n t e n t i o n a l l y commit f a l s e r e p r e s e n t a t i o n s , p r e s e n t a t i o n s , wrongdoing t o
      the
      damage o f t h e one people d o m i c i l by c h o i c e on t h e s e v e r a l u n i t e d s t a t e s o f

     America, and t h e one people d o m i c i l by c h o i c e on t h e l a n d s and seas                                           domicil

     by c r e a t i o n on and i n e a r t h ; S p e c i f i c a l l y , s a i d d i d and do knowingly,
     w i l l i n g l y and i n t e n t i o n a l l y commandeer t h e g o v e r n m e n t ( s ) , o t h e r systems and

     the v a l u e o f t h e one people d o m i c i l by c h o i c e on t h e s e v e r a l u n i t e d s t a t e s

     of America without t h e knowing, w i l l i n g and i n t e n t i o n a l c o n s e n t o f s a i d one

     people a s f o l l o w s :

     A. WHEREAS t h e body o f t h e one p e o p l e d o m i c i l by c h o i c e on t h e s e v e r a l
     u n i t e d s t a t e s o f America d i d chose and a u t h o r i z e government(s) and o t h e r
     systems, i n c l u s i v e o f any and a l l t h e i r v o l u n t a r y commercial i n d e n t u r e s ,
     bound thereunder by t h e i r oath, t h e i r bond, t o t h e Order f o r l a w f u l
     performance, a d m i n i s t r a t i o n and management o f c e r t a i n d u t i e s and
     obligations
     t h e r e o f t o s a i d one p e o p l e , i n c l u s i v e o f p r o t e c t i n g s a i d one p e o p l e ' ' s
     a u t h o r i t y , s t a n d i n g , v a l u e , r i g h t s , and p r i n c i p l e s o f law, a l i g n e d w i t h
     common law; S a i d government(s) and systems c r e a t e d w i t h t h e purpose and
     i n t e n t t h a t they e x i s t and o p e r a t e f o r s a i d one p e o p l e ' ' s s o l e b e n e f i t by
     t h e i r s o l e a u t h o r i t y ; That s a i d government(s) and systems d i d and do honor

     and r e s p e c t t h e a u t h o r i t y , s t a n d i n g , v a l u e , r i g h t s , and p r i n c i p l e o f law,
     a l i g n e d w i t h common law, o f a l l t h e one p e o p l e , d o m i c i l by c r e a t i o n i n
     their
     b o d i e s , and t h e i r b o d i e s d o m i c i l by c h o i c e on t h e l a n d s and s e a s d o m i c i l by

     O i m a t i i o n on a n d i n          caBtoh;     A f e g e a a i e l e»»un uneLag         tohe   ponalty      off p a f j u u j
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      12a. ORGANIZATIONS NAME                                                         ESURCHARGE                    $                          6.50
      THE ONE           PEOPLE, BONDSERVANTS TO THE                      CREATOR
OR
     12b. INOIVIDUAL-S LAST NAME                FIRSTNAME                 MIDDLE NAME,SUFFIX



13. Usa this spaca for additional information




                                                                                               THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY
     officers,
     i n c l u s i v e of t h e i r employees, a g e n t s , and c o n t r a c t o r s , a l l answerable to
     t h e i r s o l e p r i n c i p a l , the one people d o m i c i l by c h o i c e on the s e v e r a l
     united
     s t a t e s of America;

     2.       Whereas s a i d v o l u n t a r y             commercial i n d e n t u r e s     were authori2;ed        to o p e r a t e

     s a i d government and o t h e r systems p u r s u a n t to the terms and c o n d i t i o n s as
     o r i g i n a l l y s e t f o r t h by c e r t a i n c o n s t i t u t i o n and b i l l of r i g h t s ;
     Especially,
     under n o t i c e of term to honor and r e s p e c t the a u t h o r i t y , s t a n d i n g , v a l u e ,
     r i g h t s , and p r i n c i p l e of law, a l i g n e d w i t h common law, o f a l l the one
     people, d o m i c i l by c r e a t i o n i n t h e i r b o d i e s , w i t h f u r t h e r n o t i c e of term
     t h a t a l l b o d i e s a r e c r e a t e d e q u a l by the c r e a t o r , r e g a r d l e s s of d o m i c i l by

     c h o i c e on the lands and                     s e a s d o m i c i l by c r e a t i o n on and    i n earth;

     3.      Whereas s a i d c o n s t i t u t i o n and b i l l of r i g h t s were p u b l i c l y d e c l a r e d              to

     Debtor, a l l b e i n g s and the world, and e n t e r e d i n t o I n t e r n a t i o n a l Law
     Ordinance c o g n i z a b l y n o t i c e d a s the C o n s t i t u t i o n f o r the U n i t e d S t a t e s of
     America, 1791 as amended, and the l a w f u l progeny j u r i s p r u d e n c e t h e r e o f ,
     i n t e r n a t i o n a l l y a f f i r m e d o r d i n a n c e s , s t a r t i n g J u l y 4, 1776, and completed
     March 1, 1781, r a t i f i e d 1791, n e v e r r e b u t t e d , r e - d e c l a r e d , r e - c o n f i r m e d ,
     r e - r a t i f i e d , and r e - n o t i c e d by p u b l i c d e c l a r a t i o n and n o t i c e , by r e g i s t e r e d

     on J u l y 25, 2012,                 on the o f f i c i a l Uniform Commercial R e g i s t r y , UCC                 Doc    #''s

     2012079290 and 2012079322, a l l r e s t a t e d i n t h e i r e n t i r e t y and                            incorporated

     h e r e i n by r e f e r e n c e as i f s e t f o r t h i n f u l l ,             again, never          rebutted;
     h e r e a f t e r . D e c l a r a t i o n of Commercial C l a i m ;

     4. Whereas s a i d Debtor, w i t h due n o t i c e of D e c l a r a t i o n of Commercial
     C l a i m , d i d and do knowingly, w i l l i n g l y and i n t e n t i o n a l l y pledge t h e i r body,

     by oath, t h e i r bond, as d o m i c i l by c r e a t i o n i n t h e i r body, to the s e r v i c e
     of c e r t a i n d u t i e s and o b l i g a t i o n s to the one people d o m i c i l by c h o i c e on
     the
     oovBMial uniitood otafaoo m£ A m e g i e a ;                    »e ftmfoxm        eaiA    Begteain d u t i a e   aael
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R3U.0W INSTRUCTIONS (front and back) C A R E F U I L Y
                                                                                    Doc Type: EFINANCING
1 i. INITIAL FINANCING STATEMENT FILE # (sam* aa itam la on Amandnwni lorn)
       2000043135                                                                       PROCESSING                    $                            5.00
                                                                                        E-RECORD                      $                            25.00
12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (lam* aa ilam 9 on Amandmant fomi)
      12*. 0ROANIZATI(}NS NAME                                                          ESURCHARGE                    $                            6.50
      THE ONE PEOPLE, BONDSERVANTS TO THE CREATOR
OR
     12b. INOIVIDUAL-S LAST NAME               FIRSTNAME                  MIDDLE NAME.SUFFIX



13. Usa tNs spaca for additional Information




                                                                                               THE ABOVE SPACE IS FOR R U N G O F R C E USE ONtY
      commercial i n d e n t u r e s , occupying s a i d one p e o p l e ' ' s v a r i o u s                      official
      offices
      of government(s) and o t h e r s y s t e m s , o r o t h e r w i s e t a k i n g and r e c e i v i n g a
      b e n e f i t p r e p a i d t h e r e f r o m ; NUNC PRO TUNC PRAETEREA PRETEREA;

      B. Whereas s a i d Debtor, NUNC PRO TUNC, w i t h due n o t i c e o f D e c l a r a t i o n o f
      Commercial C l a i m , d i d and do demand, a u t h o r i z e , o r o t h e r w i s e t a k e payment
      f o r t h e i r promise t o perform c e r t a i n s e r v i c e s , d u t i e s and o b l i g a t i o n s under

     c o n s t i t u t i o n w h i l e a t the same time they d i d and do adopt o r o t h e r w i s e
     a u t h o r i z e , implement, m a i n t a i n and p r o t e c t p r i v a t e systems t h a t u s u r p ,
     i n v a d e and v i o l a t e the one people d o m i c i l by c h o i c e on the s e v e r a l u n i t e d
     s t a t e s o f America, and s a i d one p e o p l e ' ' s s t a n d i n g , a u t h o r i t y , v a l u e ,
     r i g h t s , and p r i n c i p l e o f law, t h e i r p r i n c i p l e o f law t h a t i s a l i g n e d w i t h
     common law, p r e s e r v e d and p r o t e c t e d by s a i d c e r t a i n c o n s t i t u t i o n and b i l l
     of
     r i g h t s d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance; h e r e a f t e r d e c e p t i v e
     a c t s and p r a c t i c e s ; By s a i d d e c e p t i v e a c t s and p r a c t i c e s , d i d and do f o r c e

     and c o e r c e the one people, i n c l u s i v e o f t h o s e d o m i c i l by c h o i c e on the
     s e v e r a l u n i t e d s t a t e s o f America, under d u r e s s t o use s a i d p r i v a t e systems

     by u n l a w f u l commandeer o f s a i d one p e o p l e ' ' s government(s) and s y s t e m ( s ) ,
     e s p e c i a l l y and any and a l l p r i v a t e money systems, i s s u i n g , c o l l e c t i o n ,
     legal

     enforcement systems, o p e r a t i n g SLAVERY SYSTEMS, t o e n f o r c e o r a s t h r e a t o f

     enforcement a g a i n s t the v e r y p r i n c i p a l who g r a n t e d them a u t h o r i t y t o e x i s t

     and o p e r a t e :

     1. Whereas s a i d Debtor, w i t h due n o t i c e o f D e c l a r a t i o n o f Commercial
     C l a i m , d i d perform s a i d d e c e p t i v e a c t s and p r a c t i c e s e i t h e r by: (a)
     knowingly, w i l l i n g l y and i n t e n t i o n a l l y abandoned the performance o f t h e i r
     s e r v i c e , d u t i e s , and o b l i g a t i o n s t o the people d o m i c i l by c h o i c e on the
     s e v e r a l u n i t e d s t a t e s o f America, t o adhere t o the Enemies, the p r i v a t e
     systems, and the owners and b e n e f i c i a r i e s o f s a i d p r i v a t e systems, g i v i n g
     them A i d and Comfort by adopting o r o t h e r w i s e a u t h o r i z i n g , implementing,
     m a i n t a i n i n g and p r o t e c t i n g s a i d p r i v a t e systems t o e x i s t w i t h i n s a i d one
     p e o p l e ' ' s government(s), t h e r e b y s e r v i n g and p r o t e c t i n g s a i d p r i v a t e
     oyotomoM           ounaBO        a n d b a n Q f i e i a g i e a   toegaof)     hageaftiei?     foitaign      paiaeipaly          feia
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UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
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1 i INITIAL FINANCING STATEMENT FILE # (sum M I t n la on AmanlnMnt fonn)
       2000043135                                                                       PROCESSING                    $                  5.00
                                                                                        E-RECORD                      $                 25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (aama aa ilam 9on Amandmant fomi)
      12a. OROAMZATION-S NAME                                                           ESURCHARGE                    $                  6.50
      THE ONE PEOPLE, BONDSERVANTS TO THE CREATOR
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME           MIDDLE NAME,SUFFIX



13. Usa this apaca for addlllonal Information




                                                                                         THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY
      g r a n t e d them a u t h o r i t y t o e x i s t and o p e r a t e t o b e g i n w i t h , w i t h o u t a b i l i t y

      to c l a i m d u r e s s o r o t h e r d e f e n s e a s a m a t t e r o f p u b l i c p o l i c y , e s p e c i a l l y
      when they f a i l e d t o g i v e s a i d p r i n c i p a l due p u b l i c d i s c l o s u r e and n o t i c e o f

      any and a l l e v e n t s and moments o f d u r e s s , c o e r c i o n and f o r c e t o s e r v e an
      u n d i s c l o s e d f o r e i g n p r i n c i p a l ; o r , (b) knowingly, w i l l i n g l y and
      i n t e n t i o n a l l y d i d and do f a i l to preform t h e i r s e r v i c e , d u t i e s , and
      o b l i g a t i o n s t o the people d o m i c i l by c h o i c e on the s e v e r a l u n i t e d s t a t e s o f

     America, when they adopt o r o t h e r w i s e a u t h o r i z e , implement, m a i n t a i n and
     p r o t e c t s a i d p r i v a t e systems, and i t s f o r e i g n p r i n c i p a l s , t o the damage o f

     the v o l u n t a r y commercial i n d e n t u r e s ' ' s o l e p r i n c i p a l who g r a n t e d them
     a u t h o r i t y t o e x i s t and o p e r a t e t o b e g i n w i t h , t h e one people d o m i c i l by
     c h o i c e on t h e s e v e r a l u n i t e d s t a t e s o f America, without s a i d v o l u n t a r y
     commercial i n d e n t u r e s a b i l i t y to c l a i m d u r e s s o r o t h e r d e f e n s e a s a m a t t e r

     of p u b l i c p o l i c y , e s p e c i a l l y when they f a i l e d t o g i v e t h e i r s a i d p r i n c i p a l

     due p u b l i c d i s c l o s u r e and n o t i c e o f any and a l l e v e n t s and moments o f
     d u r e s s , c o e r c i o n and f o r c e t o s e r v e an u n d i s c l o s e d f o r e i g n p r i n c i p a l ; and,

     s a i d c r e a t o r s , owners and o p e r a t o r s      knowingly, w i l l i n g l y , and
     intentionally,
     t a k i n g o r r e c e i v i n g an u n l a w f u l b e n e f i t by means o f c r e a t i n g , c o n s p i r i n g ,
     o r o t h e r w i s e s u p p o r t i n g s a i d d e c e p t i v e a c t s and p r a c t i c e s w h i l e a l l the
     w h i l e h a v i n g had due n o t i c e o f s a i d D e c l a r a t i o n o f Commercial C l a i m ;

     2. Whereas s a i d Debtor, w i t h due n o t i c e o f D e c l a r a t i o n o f Commercial
     C l a i m , d i d o r do knowingly, w i l l i n g l y , and i n t e n t i o n a l l y , w i t h o u t l a w f u l
     c o n s e n t , commandeer s a i d one p e o p l e ' ' s government(s) and o t h e r systems o f
     s a i d one p e o p l e , f o r t h e purpose and a c t i o n commandeering, c o n v e r t i n g , and

     t r a n s f e r r i n g t h e v a l u e o f s a i d one p e o p l e , and o t h e r s s i m i l a r l y s i t u a t e d ,
     e f f e c t i v e l y s e r v i n g f o r e i g n p r i n c i p a l ( s ) , r e s u l t i n g i n t h e b r e a c h o f peace,

     and o t h e r heinous c r i m e s , committed a g a i n s t and t o t h e damage o f the one
     people d o m i c i l by c h o i c e on t h e s e v e r a l u n i t e d s t a t e s o f America and those

   domaioil b y ohoitoo, a n d a g a i a e t a a d tis faha damage ag fchoon o f tohe ewa p a e p l e
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UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
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                                                                                    Doc Type: EFINANCING
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                                                                                        PROCESSING                   $                       5.00
       2000043135
                                                                                        E-RECORD                     $                     25.00
12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (aama aa ilam 9 on Amandmant fomi)
      12a. ORGANIZATION'S NAME                                                          ESURCHARGE                   $                      6.50
      THE ONE         PEOPLE, BONDSERVANTS TO THE               CREATOR
OR
     12b. INOI\flOUAL-S LAST NAME               FIRSTNAME         MIODt.£NAME,SUFFIX



13. Usa Ihis space for additional Information




                                                                                   .   THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY

      C. Whereas the one people, a l l b e i n g s and the world can and do r e l y upon
      the p r o o f of Debtor''s knowing, w i l l i n g and i n t e n t i o n a l f a l s e
      p r e s e n t a t i o n s , r e p r e s e n t a t i o n s , and wrongdoings, i n c l u s i v e o f any and a l l
      d e c e p t i v e a c t s and p r a c t i c e s , to usurp, v i o l a t e and invade s a i d one people,

      and o t h e r of the one people d o m i c i l by c h o i c e on the l a n d s and s e a s d o m i c i l

     by c r e a t i o n on and i n e a r t h , t h e i r a u t h o r i t y , s t a n d i n g , v a l u e , r i g h t s ,     and

     p r i n c i p l e s of law; S p e c i f i c a l l y they d i d and do commandeer the
     government(s) and o t h e r systems o f and p r e - p a i d by s a i d one p e o p l e i n order

     to commandeer the v a l u e o f s a i d one people,                      and o t h e r s s i m i l a r l y   situated,

     as b e i n g a matter of f a c t , s a i d d e c e p t i v e a c t s and p r a c t i c e s h a v i n g been
     d u l y r e c o r d e d and u n l a w f u l l y e n t e r e d i n I n t e r n a t i o n a l Law Ordinances,
     w i t h o u t the knowing, w i l l i n g , and i n t e n t i o n a l consent of s a i d one people,
     e n a c t e d under the g u i s e o f t r e a t y p r o c e s s , and o t h e r government(s) and
     systems p r o c e s s e s , i n c l u s i v e o f the l e g a l p r o c e s s e s , to e n a c t , support,
     i n s t i t u t e and perform s a i d d e c e p t i v e a c t s and p r a c t i c e s a g a i n s t the one
     people, i n c l u s i v e of the C o n s t i t u t i o n o f The U n i t e d N a t i o n s I n d u s t r i a l
     Development O r g a n i z a t i o n , T r e a t y Doc. No. 97-19, U.S. Government P r i n t i n g
     O f f i c e , Washington, 1981, form 89-1180, h e r e a f t e r UNIDO, Membership to and

     a c c e p t a n c e of the C h a r t e r of the U n i t e d N a t i o n s , e s p e c i a l l y t h e oath
     r e q u i r e d to be knowingly, w i l l i n g l y and i n t e n t i o n a l l y made and g i v e n by                   any

     and a l l members and p a r t i c i p a n t s i n U n i t e d Nation a c t i v i t i e s , h e r e a f t e r             UN,

     and any and a l l s p e c i a l a g e n c i e s , and r e c e n t c e r t a i n d e c l a r a t i o n s of
     a d m i s s i o n of wrongdoing made under p e r c e i v e d a u t h o r i t y o r c o l o r o f
     a u t h o r i t y , or o t h e r w i s e those r e c e i v i n g a b e n e f i t t h e r e t o , therefrom,
     t h e r e w i t h , and t h e r e o f , and any and a l l p r i v a t e money systems, i s s u i n g ,
     c o l l e c t i o n , l e g a l enforcement systems, o p e r a t i n g SLAVERY SYSTEMS; F u r t h e r
     p r o o f o f s a i d wrongdoings and d e c e p t i v e a c t s and p r a c t i c e s , e s p e c i a l l y
     commandeered u n i t s of v a l u e , t h e i r c o n v e r s i o n , and t r a n s f e r by commandeered

     t r a n s f e r and t r a c k i n g systems p r e - p a i d by s a i d one people and those one
     people d o m i c i l by c h o i c e on the l a n d s and s e a s d o m i c i l by c r e a t i o n on and
     in
     o a i f i i h ) boing o o i M i t i i h t i Q d aa a wiafefeag faoh, d u l y Booogdod and aapegtietl by
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                                                                                     WASH DC RECORDER OF DEEDS
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       2000043135                                                                        PROCESSING                                                5.00
                                                                                         E-RECORD                                                 25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (lam* aa ilam 9 on Amandmant fomi)
      IZa-OROANIZATION-SNAMg                                                             ESURCHARGE                                                6.50
      THE ONE PEOPLE, BONDSERVANTS TO THE CREATOR
OR
     12b. INOIVIDUAL'S LAST NAME                FIRSTNAME                 MIDDLE NAME.SUFFIXI



13. Usa this spaca for additional information




                                                                                           I    THE ABOVE SPACE IS FOR RLING O F R C E USE ONLY
      U n i t e d S t a t e s of America F e d e r a l Government, UNITED STATES, t h e s e v e r a l
      STATE OF . . ., and o t h e r f r a n c h i s e s , a f f i l i a t e s , a g e n t s , c o n t r a c t o r s ,
      s u b s i d i a r i e s and o t h e r off-book e n t i t i e s r e l a t e d o r o t h e r w i s e r e c e i v i n g a
      b e n e f i t t h e r e t o , t h e r e o f , t h e r e f r o m and t h e r e w i t h ;

      D. Whereas t h e one p e o p l e , a l l b e i n g s and the world can and do r e l y upon
      the p r o o f a s n t e r e d i n t o p u b l i c r e g i s t r a t i o n o f s a i d p r i v a t e systems and
      t h e i r owners, i n c l u s i v e o f any and a l l p r i v a t e money systems, i s s u i n g ,
      c o l l e c t i o n , l e g a l enforcement systems, o p e r a t i n g SLAVERY SYSTEMS knowingly,

     w i l l i n g l y , and i n t e n t i o n a l l y f a l s e l y r e p r e s e n t i n g , p r e s e n t i n g , c r e a t i n g ,
     o p e r a t i n g o r o t h e r w i s e t a k i n g or r e c e i v i n g a b e n e f i t from s a i d SLAVERY
     SYSTEMS commandeering t h e government(s) and systems o f t h e one people
     d o m i c i l by c h o i c e on t h e s e v e r a l u n i t e d s t a t e s of America, and those
     s i m i l a r l y s i t u a t e d , and u s u r p i n g , v i o l a t i n g , and i n v a d i n g t h e i r s a i d
     s t a n d i n g , a u t h o r i t y , v a l u e , r i g h t s , and p r i n c i p l e o f law, by t h e i r knowing,

     w i l l i n g , and i n t e n t i o n a l v i o l a t i o n i n bad f a i t h o f e n t e r e d I n t e r n a t i o n a l
     Law Ordinance, s p e c i f i c a l l y t h e o f f e r and p r o c e s s o f remedy and
     reimbursement, whether f o r commandeered u n i t s o r o t h e r w i s e , promised and
     p r e s e r v e d , i n c l u s i v e o f Form 1099 C, OMB No. 1545-1424, form 1096, OMB No.

     1545-0108, Form 1099 A, OMB No. 1545-0877, Form 1096 OMB No. 1545-0108,
     s a i d p r o c e s s o f remedy and reimbursement f u r t h e r p u b l i s h e d by The P u b l i c
     T r u s t , by the d u l y bonded T r u s t e e s , under f u l l p e r s o n a l l i a b i l i t y , under
     the
     p e n a l t y o f p e r j u r y under t h e laws o f t h e c r e a t o r w i t h t h e a f o r e s a i d b e i n g
     t r u e and c o r r e c t a t www.peoplestrustl776.org;

     WHEREFORE I T             I S DULY DECLARED, NOTICED, ORDERED, and ENTERED BY PUBLIC
     REGISTRATION              f o r a l l b e i n g s and t h e w o r l d t o r e l y upon, e f f e c t i v e
     immediately,              UPON THESE FINDINGS THAT FURTHER ACTION AGAINST DEBTOR I S
     REQUIRED AND              ORDERED FOR CAUSE: f o r t h e b a s i s s t a t e d h e r e i n , r e s t a t e d now.

     The P u b l i c T r u s t , by i t s d u l y bonded T r u s t e e s , under f u l l p e r s o n a l
     l i a b i l i t y , under t h e p e n a l t y o f p e r j u r y under t h e laws o f the c r e a t o r w i t h

     the a f o r e s a i d b e i n g t r u e and c o r r e c t a t www.peoplestrustl776.org, s h a l l
     d u l y i s s u e and p u b l i c l y r e g i s t e r a g a i n s t t h e Debtor, a s h e r e i n i d e n t i f i e d ,

     mooliatoii now;             a n OiPdoip o f        rPeHBiaafeiea bS E a p l B y a e n t i o f D a b t o g ;     a « OnAtu laS
FlUNG O F F I C E COPY -   NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




     Case 3:17-cr-00082-TAV-DCP Document 25 Filed 08/18/17 Page 188 of 309 PageID #:
                                          845
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                    Case 1:17-mj-00531-DAR Document 2-2 Page                 Filed908/02/17
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                                                                            IDA WILLIAMS
UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
                                                                            Doc Type: EFINANCING
11. INITIAL FINANCING STATEMENT FILE # (um* » i t t m la on Amandmant fomi)
                                                                                PROCESSING                   $                           5.00
       2000043135
                                                                                E-RECORD                     $                          25.00
      12a. ORQANIZATION'S NAME                                                  ESURCHARGE                   $                           6.50
      THE ONE PEOPLE, BONDSERVANTS TO THE CREATOR
OR
     12b, INDIVIDUAL'S LAST NAME           FIRSTNAME                MIDDLE NAME.SUFFIX



13. U w this   apaa lot addlllonal Information


                                                                                         THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY

      an Order o f C a n c e l l a t i o n o f Any and A l l T r e a t i e s and Memberships to P r i v a t e

      Systems, and an E q u i t y C a l l f o r a l l Commandeered V a l u e and Systems.                               These

      s a i d Orders a r e p r e - p a i d , p r e - a u t h o r i z e d , and pre-approved.

     WHEREAS I T I S DULY SERVED on a l l p e r s o n s , n a t u r a l and l e g a l f i c t i o n , by
     i n t e r n a l d e l i v e r y methods a s w e l l as open n o t o r i o u s n o t i c e by p u b l i c
     r e g i s t r a t i o n and by p u b l i s h i n g on t h e world-wide web a t
     www.peoplestrustl776.org ;

     DULY EFFECTIVE AND DONE August 15, 2012, and RESTATED, RE-RATIFIED,
     RECONFIRMED, and V E R I F I E D , by our bond and o a t h , e v i d e n c e d by our o r i g i n a l

     s i g n a t u r e and s e a l , made knowingly, w i l l i n g l y and i n t e n t i o n a l l y , w i t h
     u n l i m i t e d p e r s o n a l l i a b i l i t y , b e i n g o f a b s o l u t e c a p a c i t y and
     responsibility,
     sworn under t h e p e n a l t i e s o f p e r j u r y governed under the laws o f our
     c r e a t o r . Duly r a t i f i e d ; w i t h o u t p r e j u d i c e a s promised, p r e s e r v e d and
     p r o t e c t e d by p u b l i c p o l i c y , i n c l u s i v e o f UCC 1-308, and any and a l l the
     U n i t e d S t a t e s o f America F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s ,

     STATE OF . . ., S t a t e o f . . ., and i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r
     UCC
     1-308: Duly i s s u e d by: / s / Heather Ann T u c c i - J a r r a f , a s the one people
     d o m i c i l by c h o i c e on t h e s e v e r a l u n i t e d s t a t e s o f America; / s / C a l e b P a u l
     S k i n n e r , a s t h e one people d o m i c i l by c h o i c e on the s e v e r a l u n i t e d s t a t e s
     of
     America; / s / H o l l i s R a n d a l l H i l l n e r , a s t h e one people d o m i c i l by c h o i c e on

     the s e v e r a l u n i t e d s t a t e s o f America; Duly Reconfirmed, UCC 1-308: / s /
     Heather Ann T u c c i - J a r r a f , a s T r u s t e e ; / s / C a l e b P a u l S k i n n e r , a s T r u s t e e ;
     / s / H o l l i s R a n d a l l H i l l n e r , a s T r u s t e e ; Duly V e r i f i e d and i n s u r e d by: / s /
     Heather Ann T u c c i - J a r r a f , a s Bondservant; / s / C a l e b P a u l S k i n n e r , a s
     Bondservant; / s / H o l l i s R a n d a l l H i l l n e r , a s Bondservant;

     the one people c r e a t e d by the c r e a t o r , d o m i c i l by c r e a t i o n i n t h e i r body,
     the body d o m i c i l by c h o i c e on t h e l a n d s and s e a s d o m i c i l by c r e a t i o n on and

     i n e a r t h ; t h e one people d o m i c i l by c h o i c e on t h e s e v e r a l u n i t e d s t a t e s o f

FlUNG O F F I C E C O P Y - N A T I O N A L UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                                                                                                WASH DC RECORDER OF DEEDS
                                                                                                                IDA WILLIAMS
    UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
    TOLLOW INSTRUCTIONS (front and back) CAREFULLY
                                                                                                                Doc Type: EFINANCING
    11. I N I T I A L F I N A N C I N G S T A T E M E N T F I L E # (sun* M IIWI la on Anwndmant form)
                                                                                                                    PROCESSING                              5.00
             2000043135
                                                                                                                    E-RECORD                               25.00
     12. N A M E O F P A R T Y A U T H O R I Z I N G THIS A M E N D M E N T (aam* aa ilam 9 on Amandmant forni)
           12a. OROANIZATION-S NAME                                                                                 ESURCHARGE                              6.50
          THE ONE PEOPLE, BONDSERVANTS TO THE CREATOR
    OR
         12b. INDIVIDUAL'S LAST NAME                 FIRSTNAME                    MIDDLE NAME.SUFFIX



    13. Usa Ihis spaca for additional Information




                                                                                                        THE ABOVE SPACE IS FOR FILING OFFICE USE ONtY


_        Debtor names added f o r i n d e x i n g

         CHARLES C. M I L L E R                 [AN A R T I F I C I A L    PERSON      S LEGAL         FICTION]
         CHARLES          C     MILLER          [AN A R T I F I C I A L    PERSON      & LEGAL         FICTION]
         C H A R L E S C. M I L L E R D/B/A C H A R L E S                 C. M I L L E R
         UNITED         STATES
         the s e v e r a l u n i t e d S T A T E O F . . . t h e r e t o


         Debtor names added f o r i n d e x i n g

         CHARLES C. M I L L E R                [AN A R T I F I C I A L     PERSON      & LEGAL         FICTION]
         CHARLES          C     MILLER         [AN A R T I F I C I A L     PERSON      & LEGAL         FICTION]
         CHARLES          C. M I L L E R D/B/A C H A R L E S              C. M I L L E R
         UNITED         STATES
         THE     SEVERAL UNITED                     STATE   OF . . . THERETO




    FlUNG OFFICE COPY -          NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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       Case 1:17-mj-00531-DAR Document 2-2 Filed 08/02/17 Page 25 of 130




                                ANNEX 29

                              Case No. 1:17 mj-531




  TITLE                          DESCRIPTION                           PAGES


 Annex 29                UCC record number 2012086802                      1-6




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                                                                       Pg. 1 of\


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                                                                                                                                 WASH DC RECORDER OF DEEDS
                                                                                                                                 IDA WILLIAMS
  UCC FINANCING STATEMENT AMENDMENT                                                                                              RECORDER OF DEEDS
 FOLLOW INSTRUCTIONS (from and back) C A R E R J L L Y
  I A. NAME & PHONE OF CONTACT AT FILER [opBonal]
                                                                                                                                 Doc Type: EFINANCING
     The One Peoples P u b l i c T 253-509-4597                                                                                      PROCESSING                                                                  5.00
  |B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                    E-RECORD                                                                    25.00
                                                                                                                                    ESURCHARGE                                                                   6.50
            r

     The One Peoples P u b l i c T r u s t 1776


     G i g Harbor, WA 98335
           L                                                                                                   J
                                                                                                                                THE ABOVE SPACE IS FOR RLING O F R C E USE ONLY
  l l . INITIAL FINANCING STATEIIENT FILE »
                                                                                                                                                    1b. This FINANCING STATEMENT AMENDMENT Is
     2000043135 - 05-04-2000                                                                                                                        P I to ba filad [for raeord) (or racordad) In tha



                                                                                                                                                                                      Statament is

 4. •    ASSIGNMENT (fuB or parfaiiT Giv. nam, of assignaa In it.m 7a or 7b and acdrass of assigna. in itam 7c: and also give nam, of assignor in it.m 9.               "

 5. AMENDMENT (PARTY INFORMATION): This Am.ndment affects \J Debtor at | J S.cun,d Party of raeord. Ohack o n l y « of thas, Iwo box.s.
     Also check ant ot the following three boxes aoil provide appropriate infonnation m Items 6 and,'or 7.
         CHANGE name and/or address; Give current record name in item ca or 6b: also give new                       1 1 DELETE namo- r^iuo m^nr^        i—i
   •                                                                                                                                                      ADD namo: Complete Item 7a or 7b, and also
    . M r ™ ! ! l ' ^ I l " " l " T . l ! r . . ' ' ' " ' ' " " ° " ' ' ' ' " " '"'"'c-e^'^anoeiiS .,.m°7c.     •   t n t ^ ^ ^ T n itiKmgb"''""      f l itam 7c: also comoiete iimis 7d-7a fif aoplicabl»|.
 6. CURRENT RECORD INFORMATION:
     l6a. ORGANIZATION'S NAME


 OR
        VU. inuiviwu«Lou«oi p(rtMc                                                              ' F I R S T >WME                         "         MIDDLE NAME                               SUI=F1X
                                                                                                i
 7. C


             CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
 OR
        7b. INDIVIDUAL'S LAST NAME                                                               FIRST NAME                                        MIDDLE NAME                               SUFFIX


                                                                                                iCITY                                              STATE     POSTAL CODE                     COUNTRY


 /O. FAA ID pf:   SSNOREIN         « U U L INfO Kt: 7e. T Y P E O F ORGANIZATION                 7f. JURISDICTION OF ORGANIZATION                  7g, ORGANIZATIONAL ID #. if any
                                   ORGANIZATION '
                                   DEBTOR          1


     Dascnba conataral Qdelalad or padded, or give eniireQrestatad collateral descnpuon. or describe collateral []assigned.

  ALL RIGHTS RESERVED WITHOUT PREJUDICE, p e r p e t u i t y                                                                     UCC Doc # 2000043135,
  amended o n l y t o add a d d i t i o n a l c o l l a t e r a l :

 P u r s u a n t t o F i n d i n g s and Orders, p u b l i c l y r e g i s t e r e d and s e c u r e d , UCC Doc
 # 2012086794 w i t h R e c e i p t No. 1242796, r e s t a t e d and i n c o r p o r a t e d h e r e by
 reference as i f s e t forth i n f u l l ;

 WHEREAS DAMAGE I S A MATTER OF PUBLIC RECORD, f o r t h e b a s i s s t a t e d i n UCC
 Doc. # 2012086794, r e s t a t e d h e r e , t h a t any and a l l promises t o perform s a i d
9. N / ^ ^ E O F S E C U R E D P A R T Y O F R E C O R D A U T H O R I Z I N G T H I S AMENDMENT (nameola.^gnor.^,hisisanAsslgnmem) If this is an Am.ndm.r. authonzed bv a Debtor wh>^
   addscoHateraloradds th. aulhort:ing Debtor, or if this is a Tenrtnadcr aulhor:,d by a Debtor, check hem H and enter n       "^                                       '
    9a. ORGANIZATION'S NAMF                  ~ ~                                 — ~                       LJ                —

        THE ONE PEOPLE'S PUBLIC TRUST, 1776
OR
          iiiL'ivll.JU/M.O LftOI MAMC                                                           FIRST NAME                                         MIDDLE NAME                              SUFFIX

10. c

        a l l r i g h t s reserved                       without p r e j u d i c e :                          /s/Heather Ann T u c c i - J a r r a f , a s T r u s t e e
R U N G O F F I C E COPY - NATIONAL U C C FINANCING STATEMENT AMENDMENT (FORM UCC3) (REV. 07/29/98)




        Case 3:17-cr-00082-TAV-DCP Document 25 Filed 08/18/17 Page 192 of 309 PageID #:
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                                                                                                    of 6     Page 27 of             130
                                                                                      Date: 08/15/2012           8:46AM
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                                                                                      WASH DC RECORDER OF DEEDS
                                                                                      IDA WILLIAMS
UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
                                                                                      Doc Type: EFINANCING
H . INITIAL RNANCING STATEMENT R L E # ( J i m . >s llim ia on Amandnvm Ibnn)
       2000043135                                                                         PROCESSING                                          5.00
                                                                                          E-RECORD                                           25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (aawa aa ilam 9 on Amandmant faniil
      12a. ORQAMZATItSN-S NAME                                                           ESURCHARGE                                           6.50
      THE ONE PEOPLE'S PUBLIC TRUST, 1776
OR
     12b. INDIVIDUAL'S LAST NAME                RRSTNAME              MIDDLE NAMtSUmxl



13. Use this spaca for additional Information




                                                                                         THE ABOVE SPACE 18 FOR R U N G O F R C E USE ONLY


      Additional c o l l a t e r a l               info

      c e r t a i n d u t i e s and o b l i g a t i o n s by Debtor , i n c l u s i v e o f any and a l l t h e
      O f f i c e s , departments, d i v i s i o n s , a g e n c i e s and o t h e r e n t i t i e s , known and
      unknown, o r o t h e r w i s e e x i s t i n g under the c o l o r o f Debtor, e s p e c i a l l y those

      c r e a t e d by E x e c u t i v e Order, a r e bound t o d e l i v e r s a i d performance and have

      been PREPAID by the one people d o m i c i l by c h o i c e on the s e v e r a l u n i t e d
      s t a t e s o f America t o do so; That s a i d t a k i n g by Debtor, NUNC PRO TUNC, was

     made under due n o t i c e o f D e c l a r a t i o n o f Commercial C l a i m ; That s a i d Debtor

      i s i n c a p a b l e o r u n w i l l i n g t o perform, o r o t h e r w i s e a c t w i t h i n the bounds o f

     the terms, d u t i e s and o b l i g a t i o n s s e t f o r t h by the one people d o m i c i l by
     c h o i c e on the s e v e r a l u n i t e d s t a t e s o f America; That the damage and
     commandeered v a l u e o f s a i d one people exceeds $5,000,000,000.00 ( F i v e
     B i l l i o n ) l a w f u l money o f the u n i t e d s t a t e s o f America, pre-1933, p e r e v e r y

     one o f s a i d one people; That e q u i t y o f s a i d one p e o p l e , and t h o s e s i m i l a r l y

     s i t u a t e d , i s p e r f e c t e d a s immediately due, owing and c o l l e c t i b l e due t o
     D e c l a r a t i o n o f Commercial C l a i m h a v i n g been d u l y made, e n t e r e d , a c c e p t e d ,
     r e - c o n f i r m e d , r e - n o t i c e d , and n e v e r r e b u t t e d ;

     WHEREFORE I T I S DULY DECLARED, NOTICED, ORDERED, and ENTERED BY PUBLIC
     REGISTRATION f o r a l l b e i n g s and the w o r l d t o r e l y upon, e f f e c t i v e
     immediately, a g a i n s t Debtor, NUNC PRO TUNC:

     1. TERMINATION OF EMPLOYMENT OF DEBTOR FOR CAUSE:                                    f o r the b a s i s s t a t e d i n

     UCC Doc. # 2012086794, r e s t a t e d h e r e . Debtor, i s t e r m i n a t e d ; S a i d
     t e r m i n a t i o n b e i n g i r r e v o c a b l y r e v e r s i b l e o n l y upon bond and oath, made t o
     the one people, s u b o r d i n a t e t o no o t h e r master and o t h e r w i s e not s u b j e c t e d

     to any i n f e r i o r bond and oath t o a n o t h e r ; S a i d bond and o a t h t o be d u l y
     made
     and d e c l a r e d , w i t h f u l l p e r s o n a l l i a b i l i t y ,   n o t i c e d by any and a l l

FlUNG O F R C E C O P Y - N A T I O N A L UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                    Case 1:17-mj-00531-DAR Document 2-2 Page                         Filed 308/02/17
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                                                                                    IDA WILLIAMS
UCC FINANCING STATEMENT AMENDMENT ADDENDUM RKCORDKR OF DKEDS
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
                                                                                    Doc Type: EFINANCING
H . INITIAL RNANCING STATEMENT R L E # (sam. aa itam la on Afflaodm«<t (om.)
       2000043135                                                                       PROCESSING                                                 5.00
                                                                                        E-RECORD                                                  25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT («am* as ilam 9on AmwKlmam forni)
      12a. ORQANIZATION-S NAME                                                         ESURCHARGE                                                  6.50
       THK ONE PEOPLE'S PUBLIC TRUST, 1776
OR
      12b. INOtVlDlML'S LAST NAME               FIRST NfkME            MIDDLE NAME.SUFFI)d



13. Use this spaca for additional Information




                                                                                        I     THE ABOVE SPACE 18 FOR R U N G O F R C E USE ONLY
      v o l u n t a r y commercial i n d e n t u r e s          to s a i d one p e o p l e , and d u l y s e c u r e d         by The

      P u b l i c T r u s t , through i t s d u l y bonded T r u s t e e s , under t h e i r f u l l                     personal
      l i a b i l i t y ; S a i d bond and oath made a s i s p u b l i s h e d by The P u b l i c                        Trust;

      ***THIS ORDER OF TERMINATION I S PREPAID, PREAUTHORIZED, AND                                              PRE-APPROVED***



      2. CANCELLATION OF OPERATIONS AND REVOCATION OF AUTHORITY FOR DEBTOR TO
      EXIST FOR CAUSE: f o r t h e b a s i s s t a t e d i n UCC Doc. # 2012086794, r e s t a t e d

      h e r e . Debtor''s a u t h o r i t y t o e x i s t and o p e r a t e i n any form i s c a n c e l e d ;
      Said
     c a n c e l l a t i o n b e i n g i r r e v o c a b l y r e v e r s i b l e o n l y upon bond and oath b e i n g
     d u l y made, d e c l a r e d , and n o t i c e d a s s e t f o r t h i n 1. TERMINATION OF
     EMPLOYMENT FOR CAUSE s e c t i o n h e r e i n ; AND BY SUBSEQUENT VALID ORDER DULY
     ISSUED and NOTICED BY PUBLIC REGISTRATION by The P u b l i c T r u s t , through i t s

     d u l y bonded T r u s t e e s , under t h e i r f u l l p e r s o n a l                liability;

     ***THIS ORDER OF CANCELLATION                            I S PREPAID, PREAUTHORIZED, AND
     PRE-APPROVED * * *

     3.       CANCELLATION              OF ANY AND ALL TREATIES and MEMBERSHIPS TO PRIVATE SYSTEMS

     FOR CAUSE:                  f o r t h e b a s i s s t a t e d i n UCC Doc. #            2012086794, r e s t a t e d h e r e ,

     any and a l l t r e a t i e s and memberships to p r i v a t e systems made, e n t e r e d i n t o ,

     or o t h e r w i s e h a v i n g Debtor as a s i g n a t o r y p a r t y t h e r e t o , a r e c a n c e l e d ;             Said

     c a n c e l l a t i o n b e i n g i r r e v o c a b l y r e v e r s i b l e o n l y upon the p a r t i e s and
     s i g n a t o r i e s t o any and a l l t r e a t i e s and p r i v a t e systems d u l y d e c l a r i n g ,
     n o t i c i n g and p u b l i c l y r e g i s t e r i n g t h e i r a c c e p t a n c e o f t h e s t a n d i n g ,
     a u t h o r i t y , v a l u e , r i g h t s , and p r i n c i p l e of law, common law, o f t h e one
     people, d o m i c i l by c r e a t i o n i n t h e i r b o d i e s , t h e i r b o d i e s d o m i c i l by c h o i c e

     on t h e l a n d s and s e a s d o m i c i l by c r e a t i o n on and i n the e a r t h , b o n d s e r v a n t s

     to t h e c r e a t o r , and d e l i v e r i n g s a i d due d e c l a r a t i o n and n o t i c e to The
—PMtoliiB     B i f w o f e . o a a d h n - i n w n«Mi€i,a  ...1^.        T...--g          n n u r o d through Tl._
FlUNG O F F I C E C O P Y -   NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




     Case 3:17-cr-00082-TAV-DCP Document 25 Filed 08/18/17 Page 194 of 309 PageID #:
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                                                                                   WASH DC RECORDER OF DEEDS
                                                                                   IDA WILLIAMS
UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
FOLLOW l^^3TRUCTI0N$ (from and back) CAREFULLY
                                                                                   Doc Type: EFINANCING
11. INITIAL RNANCING STATEMENT R L E # (sam* at itam la on Amandmant Ibmi)
       2000043135                                                                      PROCESSING                    $                                   5.00
                                                                                       E-RECORD                      $                                   25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (lam* aa iHm 9on Am«ndm*nl fomi)
      12*. OROANIZATION'S NAME                                                        ESURCHARGE                     $                                   6.50
      THE ONE P E O P L E ' S P U B L I C T R U S T , 1776
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME                  MIDDLE NAME,SUFFIX



13. Usa thia spaca for additional Information




                                                                                                   THE ABOVE SPACE IS FOR   R U N G O F R C E USE ONLY
      ***THIS ORDER OF CANCELLATION I S PREPAID, PREAUTHORIZED, AND
      PRE-APPROVED***

      4. EQUITY CALL I S MADE FOR CAUSE: f o r the b a s i s s t a t e d i n UCC Doc. #
      2012086794, r e s t a t e d h e r e , t h e one people d o m i c i l by c h o i c e on the s e v e r a l

      u n i t e d s t a t e s o f America, do make t h e e q u i t y c a l l o f any and a l l
      commandeered v a l u e and systems, e s p e c i a l l y the armed f o r c e s , i n c l u s i v e o f
      the m i l i t a r y , o f s a i d one p e o p l e , FULLY LIENED FOR VALUE, p e r f e c t e d a s
      immediately due, owed, and c o l l e c t i b l e , f o r f a i l u r e t o r e n d e r s e r v i c e s ,
      d u t i e s , and o b l i g a t i o n s p r e p a i d by the one people, d o m i c i l by c h o i c e on t h e

     s e v e r a l u n i t e d s t a t e s o f America, BY DUE DECLARATION OF COMMERCIAL CLAIM,
     UNDERWRITTEN, PRESERVED, PROTECTED, AND ENTERED INTO INTERNATIONAL LAW
     ORDINANCE, by p u b l i c p o l i c y , no s i g n a t u r e n e c e s s a r y , funds guaranteed by
     i s s u e r o f Acceptance Performance Bond, The P u b l i c T r u s t , i n s u r e d by the
     bond, oath and v a l u e o f i t s d u l y bonded T r u s t e e s , made w i t h u n l i m i t e d
     p e r s o n a l l i a b i l i t y , t h e r e o f ; S a i d e q u i t y c a l l d u l y i s s u e d , guaranteed,
     i n s u r e d , and r e - c o n f i r m e d a g a i n s t Debtor a s i d e n t i f i e d h e r e i n , r e s t a t e d
     h e r e , by t h e u n d e r s i g n e d i n t h e i r s t a t e d c a p a c i t i e s ; THE C.F.O. AND DATA
     INTEGRITY BOARD, a r e hereby o r d e r e d t o FORTHWITH s u r r e n d e r a l l t r a c k i n g ,
     t r a n s f e r , and l e d g e r systems s o t h a t The P u b l i c T r u s t may make a t r u e ,
     a c c u r a t e , and complete a u d i t , t r a n s f e r ( s ) by l e d g e r a c c o r d i n g l y , from any
     and a l l t r e a s u r i e s a c t i n g a s c u s t o d i a n t o s a i d v a l u e and systems, f o r
     payment i n f u l l therefrom, w i t h o u t h i n d e r o r d e l a y , p u r s u a n t t o any and a l l

     d e p o s i t and t r a n s f e r o r d e r s , and any and a l l documents, f i l e s , and a c c o u n t s

     r e f e r e n c e d and i n c o r p o r a t e d t h e r e i n , a s i f s e t f o r t h i n f u l l , w i t h d u l y
     bonded a u t h o r i t y and s t a n d i n g o f any o f the one people d o m i c i l by c h o i c e on

     the s e v e r a l u n i t e d s t a t e s o f America, NUNC PRO TUNC PRAETEREA PRETEREA; Any

     and a l l s e t - o f f s , i f any, o f any and a l l                        l i a b i l i t i e s o f Debtor t o be d u l y

     determined and made a t t h e d i s c r e t i o n o f The P u b l i c T r u s t , through i t s d u l y

     bonded T r u s t e e s , under f u l l p e r s o n a l l i a b i l i t y , e v i d e n c e d s o l e l y by t h e i r
     s i g n a t u r e s and s e a l s , d u l y p u b l i c l y r e g i s t e r e d and s e c u r e d t h e r e f r o m ;

     •t'lfl-ttlllC BQWIiiBV CMiIi I C r n B P A I D ;            P n E A U m i O n i B B D ; MID    PRE A D r n O V B D * * *
FlUNG O F R C E COPY - NATIONAL UCC             FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV.           07/29/98)




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                                                                                    WASH DC RECORDER OF DEEDS
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UCC FINANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
                                                                                    Doc Type: EFINANCING
11. INITIAL RNANCING STATEMENT R L E »(swn* • • itm la on Amandmant lonn)
       2000043135                                                                       PROCESSING                    $                        5.00
                                                                                        E-RECORD                      $                      25.00
 12. NAME OF P A R T Y AUTHORI23NG THIS AMENDMENT (aama aa ilam 9 on Amandmant (wm)
      12a. ORGANIZATION'S NAME                                                          ESURCHARGE                    $                       6.50
      THK ONE         PEOPLE'S PUBLIC TRUST, 1776
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME           MIDDLE NAME.SUFFIX



13. Use thia spaca for additional Information




                                                                                         THE ABOVE SPACE 13 FOR R U N G O F R C E USE ONLY
      www.peoplestrustl776.org ;

      DULY EFFECTIVE AND DONE August 15, 2012, and RESTATED, RE-RATIFIED,
      RECONFIRMED, and V E R I F I E D , by our bond and o a t h , e v i d e n c e d by our o r i g i n a l

      s i g n a t u r e and s e a l , made knowingly, w i l l i n g l y and i n t e n t i o n a l l y , w i t h
      u n l i m i t e d p e r s o n a l l i a b i l i t y , b e i n g o f a b s o l u t e c a p a c i t y and
      responsibility,
      sworn under the p e n a l t i e s o f p e r j u r y governed under the laws o f our
      c r e a t o r . Duly r a t i f i e d ; w i t h o u t p r e j u d i c e a s promised, p r e s e r v e d and
      p r o t e c t e d by p u b l i c p o l i c y , i n c l u s i v e o f UCC 1-308, and any and a l l the
      U n i t e d S t a t e s of America F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s ,

     STATE OF           . . ., S t a t e of . . ., and i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r
     UCC
      1-308:         Duly i s s u e d by: / s / Heather Ann T u c c i - J a r r a f , a s T r u s t e e ; / s / C a l e b

     P a u l S k i n n e r , a s T r u s t e e ; / s / H o l l i s R a n d a l l H i l l n e r , a s T r u s t e e ; Duly
     A u t h o r i z e d , Ordered and Reconfirmed by:                     / s / Heather Ann T u c c i - J a r r a f , a s
     the one people d o m i c i l by c h o i c e on the s e v e r a l u n i t e d s t a t e s o f America;
     / s / C a l e b P a u l S k i n n e r , a s the one people d o m i c i l by c h o i c e on the s e v e r a l

     u n i t e d s t a t e s o f America; / s / H o l l i s R a n d a l l H i l l n e r , a s the one people
     d o m i c i l by c h o i c e on the s e v e r a l u n i t e d s t a t e s o f America; Duly V e r i f i e d ,
     i n s u r e d and guaranteed by: / s / Heather Ann T u c c i - J a r r a f , a s Bondservant;
     /s/
     C a l e b P a u l S k i n n e r , a s Bondservant; / s / H o l l i s R a n d a l l H i l l n e r , a s
     Bondservant;

     the one people c r e a t e d by the c r e a t o r , d o m i c i l by c r e a t i o n i n t h e i r body,
     the body d o m i c i l by c h o i c e on the l a n d s and s e a s d o m i c i l by c r e a t i o n on and

     i n e a r t h ; the one p e o p l e d o m i c i l by c h o i c e on the s e v e r a l u n i t e d s t a t e s of

     America;            The U n i t e d s t a t e s o f America 1781 c o n s t r u c t i o n , o r i g i n a l n a t i o n a l

     s t a t e ; S a i d P a r t i e s c o r r e c t e d above due to automated f i l i n g systems
     a l t e r i n g o r i g i n a l c a p a c i t y ( i e s ) and s t a n d i n g ( s ) , c o r r e c t i o n


     P a b t o i i namoi
R U N G O F R C E C O P Y — NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                                                                    IDA WILLIAMS
UCC RNANCING STATEMENT AMENDMENT ADDENDUM RECORDER OF DEEDS
F O a O W INSTRUCTIONS (front and back) CAREFULLY
                                                                                    Doc Type: EFINANCING
11. INITIAL RNANCING STATEMENT R L E # (sun* « I t i m l a on AnnKjnwil (omi)
                                                                                        PROCESSING                                                      5.00
       2000043135
                                                                                        E-RECORD                                                       25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (am* M ilam 9 on Amandmant forni)
      12a. ORQAIMZATION'S NAME                                                          ESURCHARGE                                                      6.50
      THE ONE PEOPLE'S PUBLIC TRUST, 1776
OR
     I2b. INDIVIDUAL'S LAST NAME                 FIRSTNAME                  MIDDLE NAME,SUFFI)C



13. Usa this spaca for additional Information




                                                                                                   THE ABOVE SPACE 18 FOR R U N G O F R C E USE ONLY
     the s e v e r a l u n i t e d STATE OF . . . t h e r e t o



     Debtor names added f o r i n d e x i n g

     CHARLES          C.    MILLER          [AN A R T I F I C I A L    PERSON    & LEGAL          FICTION]
     CHARLES          C     MILLER          [AN A R T I F I C I A L    PERSON    & LEGAL          FICTION]
     CHARLES          C. M I L L E R D/B/A              CHARLES       C.   MILLER
     UNITED          STATES
     THE      SEVERAL         UNITED            STATE   OF   . . . THERETO




FlUNG O F F I C E C O P Y - N A T I O N A L U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                 ANNEX 30

                              Case No. 1:17 mj-531




   TITLE                         DESCRIPTION                           PAGES


 Annex 30                UCC record number 2012088865                      1-6




                                                                           Pg. 1   0/1



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                                                                                                                             IDA WILLIAMS
 UCC FINANCING STATEMENT AMENDMENT                                                                                           RECORDER OF DEEDS
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 IA NAME a PHONE OF CONTACT AT FILER (opdonall
                                                                                                                             Doc Type: EFINANCING
     The One Peoples P u b l i c T                                253-509-4597                                                   PROCESSING                                                              5.00
 |B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                  E-RECORD                                                               25.00

            r                                                                                           n                        ESURCHARGE                                                              6.50


     The One Peoples P u b l i c T r u s t 1776


     G i g Harbor, WA 98335

           L
 t i . INITIAL FINANCING STATEMENT FILE /»
                                                                                                             J           THE ABOVE SPACE IS FOR RLING OFFICE USE ONLY
                                                                                                                                  1b. TWs FINANCING STATEMENT AMENDMENT Is
     2000043135 - 05-04-2000                                                                                                          to ba niad [for racortj (or reeonlad) In tlia
 2                                                                                                                                            a
                                                                                                                                      REAL ESTATE RBCORnS
         TERMINATI ON: Eff«tvan«» of lb. Finanong Statwn.nt Idanblt^l abov, is t^minataa with raspaa to sacbnty lnt««t(.) b( tha Seojm<i Pany aulhoriang mi. Tamti'nation Stah»




 4. [J ASSIGNMENT (full or paniai): Giv. name of asslgnw In item 7a or 7b and aooress of assign.. In Item 7c: and also give nam, of assignorin it.m 9.

 5. AMENDMENT (PARTY INFORMATION): This Am.ndment affects [J Debtor ar • Secured Party of record, Check only aim of these two boxes.
    Also checkfiDjOf tha following three boxes and provide appropriate information m Items 6 and.'or 7.

  • S n r ? : a i S : , t ' ? / i n , % S ? i                                                          n DELETE name:.Give.record nama             ADD namo: Complete Item 7a or 7b, and aho
          >(HTriamachanWnItem 7aor7b""and/ornewaddress'ii'fidc-es^^^^^^^
6. CURRENT RECORD INFORMATION:
                                                                                                       D lo^tii^ieied in item ea or ab."
                                                                                                                                               n   Item 7c: also comoiete items 7d-7o fif aoolhablal.

    6a. ORGANIZATION'S NAME~                                                                             ~       —       "                                          —


OR
       au. iiiuiviuuHU9LAO 1 IMAMC:                                                           'FIRSTNAME                      ^ — — ~         MIDDLE NAME                            SUFFIX
                                                                                          j
                                                                                          i


       7a. ORGANIZATION'S NAME

             CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
       7b. INDIVIDUAL'S LAST NAME                                                     ~ " FIRSTNAME
                                                                                                                                              MIDDLE NAME                            SUFFIX


                                                                                          jCITY                                               STATE   POSTAL CODE                    COUNTRY


70. TAX 10 a:     SSN OR EIN      «Ui; LlNt-ORB 7a. TYPE OF ORGANIZATION                  7f. JURISDICTION OF ORGANIZATION                    7g. ORGANIZATIONAL ID #.K any
                                  ORGANIZATION
                                  DEBTOR       1
8. AMENDMENT (COLLATERAL CHANGE): check only ana box.

     Dascnba collalaral [ ] d . l e l « t o r ^ a d d . d , or give enlireQrestared collateral descnption. or descnbe coilataral ^assigned.

 ALL RIGHTS RESERVED WITHOUT PREJUDICE: UCC Doc. # 2000043135, t h e
 p e r p e t u i t y hereby amended o n l y t o i n c l u d e t h e f o l l o w i n g a d d i t i o n a l
 collateral;

 NOTICE OF EQUITY CALL GRANTED and ORDER FOR RECONCILATION, n o t i c e by p u b l i c
 r e g i s t r a t i o n by the s t a t e s o f body and T r u s t e e s i d e n t i f i e d t h e r e i n , UCC
 Doc. # 2012088851with R e c e i p t No. 1244269, August 21, 2012, r e s t a t e d and
 i n c o r p o r a t e d h e r e by r e f e r e n c e a s i f s e t f o r t h i n f u l l , h e r e a f t e r r e f e r r e d
 to a s C l a i m & Demand, d u l y a c c e p t e d and r a t i f i e d by t h e u n d e r s i g n e d
     . T f o i ^ L ^ f ^ 1 ^ ? ^T-l^       n^K " " " T * U ™ 0 « ' Z I N G THIS AMENDMENT (name of as.,^or. ,U,is Is an Assignmenl,. If ^is is an Am.ndmar. authorized by , Dablor whch
     adds collateral or adds the aulhonzing Oeblor. or if this is a Temilnator aulh^j.d by a Debtor, check here H and anl» name of DEBTOR authorizing this AmendmenL       "         """^
      9a. ORGANIZATION'S NAME
       BONDSERVANTS OF THE CREATOR, SECURED PARTY
OR
                                                                                          FIRST NAME                                          MIDDLE NAME                           SUFFIX

10, OPTIONAL FILER REFERENCEDATA

       w i t h o u t p r e j u d i c e ; / s / Heather Ann T u c c i - J a r r a f , a s T r u s t e e / a s bondservant

R U N G O F R C E COPY -         NATIONAL UCC RNANCING STATEMENT AMENDMENT (FORM UCC3) (REV. 07/29/98)




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                                                                                    WASH DC RECORDER OF DEEDS
                                                                                    IDA WILLIAMS
UCC FINANCING STATEMENT AMENDMENT ADOENOUM RECORDER OF DEEDS
F O U O W INSTRUCTIONS (front and back) CAREFULLY
                                                                                    Doc Type: EFINANCING
11. INITIAL FINANCING STATEMENT FILE # (»im« M ittm 1a on Amandmant (omi)
       2000043135                                                                       PROCESSING                                       5.00
                                                                                        E-RECORD                                        25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (am* aa ilam 9 on Amandmant (omi)
      12a. OROANIZATION'S NAME                                                         ESURCHARGE                                        6.50
      BONDSERVANTS OF THE                       CREATOR, SECURED PARTY
OR
     126. INOIVIDUAL'S LAST NAME                FIRSTNAME           MIDDLE NAME.SUFFIX



13. Usa this spaca for additional Information




                                                                                         THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY


      Additional c o l l a t e r a l               info

      b o n d s e r v a n t s , as d e c l a r e d and v e r i f i e d , d u l y s e c u r e d thereby, under
      p r i n c i p l e of law a l i g n e d w i t h common law under the laws of the c r e a t o r ,
      p r o t e c t e d by p u b l i c p o l i c y , i n c l u s i v e of UCC 1-103, and any and a l l the
      U n i t e d S t a t e s of America F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s ,

      STATE OF . . ., S t a t e of .                , and i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r
      UCC
      1-103, d u l y e n t e r e d as f o l l o w s : ;

     WITH FULL STANDING AND AUTHORITY, FOR CAUSE AS STATED by s a i d C l a i m &
     Demand, RECONCILIATION I S DULY ORDERED by the u n d e r s i g n e d b o n d s e r v a n t s ;
     Said
     bondservants do knowingly, w i l l i n g l y and i n t e n t i o n a l l y , under bond d u l y
     s e c u r e d and made w i t h f u l l p e r s o n a l l i a b i l i t y , DECLARE the a f o r e s a i d
     f i n d i n g s of f a c t to be found t r u e , a c c u r a t e and complete FOR CAUSE,
     e s p e c i a l l y the knowing, w i l l i n g , and i n t e n t i o n a l u n l a w f u l i n t e n t ,
     t r a n s a c t i o n s , and t r a n s f e r s by c e r t a i n s t a t e s of body, damages e x i s t i n g
     therefrom, a l l w i t h due n o t i c e o f D e c l a r a t i o n and o p p o r t u n i t y to c u r e
     a b s o l u t e l y made, and p u r s u a n t to the d e c l a r e d p r i n c i p l e of law a l i g n e d w i t h

     common law under the laws o f the c r e a t o r , we do now                            ORDER t h a t an immediate

     t r u e , a c c u r a t e and complete RECONCILLIATION be made to the c r e a t o r by the
     s u p e r i o r bookkeeper as f o l l o w s :

     1. THAT f o r the h i g h e s t good o f a l l , each s t a t e o f body, i t i s no longer
     s u f f i c i e n t to o n l y c o n s c i o u s l y e n t e r and p r e s e r v e by p e r p e t u i t y the
     guarantee of s a i d g i f t of r i g h t of o p p o r t u n i t y to b a l a n c e , r e s t a t e d h e r e ,
     w i t h o u t m a i n t a i n i n g a guard i n t e n t on the w i l l of the c r e a t o r to d u l y
     p r o t e c t and e n f o r c e s a i d guarantee and r i g h t ; THEREFORE, by POWER OF
     DECLARATION and ORDER, the c e r t a i n s t a t e s of body p r e v i o u s l y t a s k e d as s a i d

     guard a r e r e l i e v e d o f s a i d duty and r e p l a c e d t h e r e b y FOR             CAUSE;

     2. THAT any and a l l e q u i t y and damages a r e a m a t t e r of p u b l i c r e c o r d , d u l y

     n o t i c e d by p u b l i c r e g i s t r a t i o n , UCC   Doc.   # " s 2012086794 and 2012086802,

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       2000043135                                                                       PROCESSING                     $                    5.00
                                                                                        E-RECORD                       $                   25.00
12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (lama aa ilam 9 on Amandmant fomi)
      12a. OROANIZATItm^ NAME                                                           ESURCHARGE                     $                    6.50
      BONDSERVANTS OF THE CREATOR, SECURED PARTY
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME         MIDDLE NAME,SUFFIX



13. Usa this spaca for additional Information




                                                                                       THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY
      r e s t a t e d and i n c o r p o r a t e d here by r e f e r e n c e a s i f s e t f o r t h i n f u l l , as
      d e c l a r e d h e r e i n , r e s t a t e d h e r e ; S a i d e q u i t y and damages a r e p e r f e c t e d a s
      immediately due, owed and c o l l e c t i b l e ; That s a i d damages do exceed the
      c e r t a i n sum o f $5,000,000,000.00 ( F i v e B i l l i o n ) l a w f u l money o f t h e u n i t e d

      s t a t e s o f America p e r e v e r y one o f the i n j u r e d s t a t e s o f body; That s a i d
      e q u i t y do exceed t h e c e r t a i n sum o f $5,000,000,000.00 ( F i v e B i l l i o n ) l a w f u l

      money of the u n i t e d s t a t e s o f America p e r e v e r y one o f t h e s t a t e s o f body,

      NUNC PRO TUNC;

     3. THEREFORE, by POWER OF DECLARATION and ORDER, p u r s u a n t to common law
     under t h e laws of t h e c r e a t o r , FOR CAUSE, s a i d v a l u e , e q u i t y , i n t h e
     certain
     sum v a l u e o f $5,000,000,000.00 ( F i v e B i l l i o n ) l a w f u l money o f t h e u n i t e d
     s t a t e s o f America p e r e v e r y one o f t h e s t a t e s o f body c r e a t e d by the
     c r e a t o r , i s now e f f e c t i v e l y and a c t u a l l y RETURNED to s a i d s t a t e s of body by

     the s u p e r i o r bookkeeper and a u t o m a t i c a l l y l e d g e r e d a c c o r d i n g l y ; Said
     damages i n the c e r t a i n sum o f $5,000,000,000.00 ( F i v e B i l l i o n ) l a w f u l money

     of t h e u n i t e d s t a t e s o f America p e r e v e r y one o f the i n j u r e d s t a t e s o f body

     a r e e f f e c t i v e l y and a c t u a l l y PAID by s u p e r i o r bookkeeper and a u t o m a t i c a l l y

     l e d g e r e d a c c o r d i n g l y i n t o s a i d i n j u r e d s t a t e s o f body; Any and a l l v a l u e
     c l a i m e d over and beyond s a i d c e r t a i n sums, o r o t h e r w i s e v a l u e s n o t
     presented
     by t h e o r i g i n a l s t a t e of body wherein they were d o m i c i l by c r e a t i o n , s a i d
     v a l u e and s a i d p r e s e n t a t i o n s a r e n u l l , v o i d and w o r t h l e s s on i t s f a c e as a

     matter o f I n t e r n a t i o n a l Law Ordinance, r e g a r d l e s s o f t h e m a t e r i a l o r form
     s a i d v a l u e and s a i d p r e s e n t a t i o n s a r e made; S a i d c e r t a i n sums RETURNED and

     PAID, r e s t a t e d h e r e , r e q u i r e no f u r t h e r r e c o n f i r m a t i o n o r s i g n a t u r e f o r
     r a t i f i c a t i o n due t o p r e v i o u s due n o t i c e , c l a i m , and o p p o r t u n i t y t o c u r e
     h a v i n g been d u l y made, s e c u r e d and n o t i c e d by p u b l i c r e g i s t r a t i o n , a c c e p t e d

     and p r o t e c t e d by p u b l i c p o l i c y , i n c l u s i v e o f UCC 1-103, and any and a l l t h e

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      12*. ORGANIZATION'S NAME                                                         ESURCHARGE                     $                               6.50
      BONDSERVANTS OF THE CREATOR, SECURED PARTY
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME                  MIDDLE NAME,SUFFIX



13. Usa this spaca for additional Information




                                                                                                 THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY
      a l l systems o f t h e one people a r e c a n c e l e d , and any and a l l v o l u n t a r y
      commercial i n d e n t u r e s t h e r e t o a r e f i r e d , w i t h p r e j u d i c e , FOR CAUSE s t a t e d
      h e r e i n , r e s t a t e d h e r e ; Any and a l l a u t h o r i t y and r e s p o n s i b i l i t y a r e
      e f f e c t i v e l y and immediately RETURNED and RECONCILED t o the o r i g i n a l s t a t e s

      of body as d o m i c i l by c r e a t i o n ; NO WAR                      OR ACTS OF OTHER HEINOUS CRIME I S
      PERMITTED TO BE DONE, NOW OR EVER;

     5. THAT by POWER OF DECLARATION and ORDER, any and a l l s t a t e s o f body,
     t h e i r a g e n t s , s h a l l be s e l f - r e s p o n s i b l e f o r immediately r e t u r n i n g s a i d
     value
     or p a y i n g damages p u r s u a n t t o t h i s ORDER OF RECONCILIATION; Absent s e l f
     r e s p o n s i b i l i t y by c h o i c e o f f r e e - w i l l , a s g r a n t e d by t h e c r e a t o r , b e i n g
     immediately e x e r c i s e d p u r s u a n t t o t h i s ORDER OF RECONCILIATION, each s a i d
     s t a t e s o f body, i n c l u s i v e o f any and a l l sxobsequent and i n f e r i o r
     treasuries

     and systems, t h a t d i d , do o r may h o l d , h a r b o r o r o t h e r w i s e have i n custody

     any and a l l v a l u e , s h a l l be h e l d r e s p o n s i b l e and l i a b l e to t h e c r e a t o r , and

     the s t a t e s o f body therefrom, w i t h an immediate t r u e , a c c u r a t e and complete

     bookkeeping r e c o n c i l e d by t h e s u p e r i o r bookkeeper, w i t h r e v o c a t i o n                           of s a i d
     s t a t e s o f body, and t h e v a l u e d o m i c i l by c r e a t i o n t h e r e i n                   automatically
     r e t u r n e d to t h e c r e a t o r a c c o r d i n g l y ;

     6. THAT by POWER OF DECLARATION and ORDER, any and a l l r e - i s s u a n c e o f v a l u e

     and d e l e g a t i o n of a u t h o r i t y , i f any be made t h e r e a f t e r , s h a l l be made
     knowingly, w i l l i n g l y , and i n t e n t i o n a l l y by any and a l l s t a t e s o f body and
     under t h e new guard, s a i d guard i d e n t i f i e d by t h e i r bond w i t h t h e i r f u l l
     p e r s o n a l bond and l i a b i l i t y , under t h e p e n a l t y o f p e r j u r y under t h e laws o f

     the c r e a t o r , d u l y made, s e c u r e d ,              i n s u r e d t o e a c h o f t h e s t a t e s o f body, and

     e q u a l l y e n f o r c e d r e g a r d l e s s o f d o m i c i l by c h o i c e ; S a i d guard appointed,
     a c c e p t e d and s e c u r e d by the one p e o p l e ' ' s p u b l i c t r u s t . The P u b l i c T r u s t ,
     through i t s d u l y bonded u n d e r s i g n e d T r u s t e e s a s demanded, n e v e r r e b u t t e d ;

      ***miB          BeUI!I!¥       CALL        IC   PRB   PAID/    DnB   JiUrpnoniBBD;         AtlD   prUii   A r m O T O D * * *
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    12*. ORGANIZATION'S NAME                                                           ESURCHARGE                                            6.50
      BONDSERVANTS OF THE CREATOR, SECURED PARTY
OR   t2b. INDIVIDUAL'S LAST NAME                FIRSTNAME        MIDDl£NAME,SUFFIX



13. Usa this spaca for additional Information




                                                                                      THE ABOVE SPACE IS FOR R U N G O F R C E U S E OHLY

      e x c e p t i o n , f u r t h e r by i n t e r n a l d e l i v e r y methods a s w e l l a s open n o t o r i o u s
      n o t i c e by p u b l i c r e g i s t r a t i o n and p\±>lishing on the world-wide web a t
      www.peoplestrustl776.org; NOTICE TO PRINCIPAL I S NOTICE TO AGENT; NOTICE TO

     AGENT I S NOTICE TO PRINCIPAL;

     DULY MADE, DONE, AUTHORIZED, ORDERED, and ISSUED, August 21, 2012, and
     KNOWINGLY, WILLINGLY, AND INTENTIONALLY RESTATED, RE-RATIFIED, RECONFIRMED,

     V E R I F I E D , INSURED, and GUARANTEED, b e i n g o f a b s o l u t e s t a n d i n g , a u t h o r i t y ,
     and c a p a c i t y , sworn under the p e n a l t i e s o f p e r j u r y governed under t h e laws

     o f our c r e a t o r , by our bond and oath, e v i d e n c e d by our o r i g i n a l s i g n a t u r e
     and s e a l , made w i t h u n l i m i t e d p e r s o n a l l i a b i l i t y ; Duly r a t i f i e d ; Without
     p r e j u d i c e a s promised, p r e s e r v e d and p r o t e c t e d by p u b l i c p o l i c y , i n c l u s i v e

     o f UCC 1-308, and any and a l l t h e U n i t e d S t a t e s o f America F e d e r a l
     Government, UNITED STATES, U n i t e d S t a t e s , STATE OF . . ., S t a t e o f . . .,
     and i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r UCC 1-308:

     / s / Heather Ann T u c c i - J a r r a f , bondservant t o t h e c r e a t o r ; / s / C a l e b P a u l
     S k i n n e r , bondservant t o the c r e a t o r ; / s / H o l l i s R a n d a l l H i l l n e r ,
     bondservant t o the c r e a t o r ; Duly D e c l a r e d and Reconfirmed a s S t a t e d , UCC
     1-308: / s / Heather Ann T u c c i - J a r r a f , a s s t a t e o f body and c u s t o d i a n o f
     value
     d o m i c i l t h e r e i n , NUNC PRO TUNC; / s / C a l e b P a u l S k i n n e r , a s s t a t e o f body
     and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC PRO TUNC; / s / H o l l i s R a n d a l l
     H i l l n e r , a s s t a t e o f body and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC PRO

     TUNC; Duly Accepted and R a t i f i e d f o r Immediate Enforcement, UCC 1-308: / s /

     Heather Ann T u c c i - J a r r a f , a s T r u s t e e ; / s / C a l e b P a u l S k i n n e r , a s T r u s t e e ;
     / s / H o l l i s Randall H i l l n e r , as Trustee;

     The c r e a t o r b e i n g the c r e a t o r o f t h e s e v e r a l s t a t e s o f body, t h e one
     p e o p l e ; The s e v e r a l s t a t e s o f body b e i n g t h e one people d o m i c i l by c r e a t i o n

     i n s a i d s t a t e s o f body, t h e body d o m i c i l by c h o i c e on the a i r s , l a n d s , and

     s e a s d o m i c i l by c r e a t i o n on and i n e a r t h ; The U n i t e d s t a t e s o f America 1781

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      BONDSERVANTS OF THE CREATOR, SECURED PARTY
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME                   MIDDLE NAME.SUFFIX



13. Usa this spaca for addlllonal Infonnation




                                                                                                  THE ABOVE SPACE IS FOB R U N G O F R C E USE ONLY
      Debtor names added f o r i n d e x i n g

     CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C. MILLER D/B/A CHARLES C. MILLER
     the one people, c r e a t e d by t h e c r e a t o r
     The U n i t e d S t a t e s F e d e r a l Government
     UNITED STATES
     the s e v e r a l STATES OF . . .
     and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s


     Debtor names added f o r i n d e x i n g

     CHARLES           C.     MILLER       [AN A R T I F I C I A L    PERSON     S. L E G A L    FICTION]
     CHARLES           C      MILLER       [AN A R T I F I C I A L    PERSON     & LEGAL         FICTION]
     CHARLES           C.     M I L L E R D/B/A       CHARLES        C.   MILLER
     T H E ONE         PEOPLE,        CREATED BY             THE   CREATOR
     THE UNITED               STATES      FEDERAL           GOVERNMENT
     UNITED          STATES
     THE      SEVERAL          STATES       OF     . . .
     AND A N Y        AND      ALL    INTERNATIONAL                EQUIVALENTS




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                                 ANNEX 31

                              Case No. 1:17 mj-531




  TITLE                          DESCRIPTION                           PAGES


 Annex 31                UCC record number 2012088851                      1-9




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 B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                  E-RECORD                        $                             25.00
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           r                                                                                                                                                                                   6.50



   The One P e o p l e s P u b l i c T r u s t 1776


   Gig Harbor, WA                       98335
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         ^t'lll^rJatdibS^^^^^^
4. IJ ASSIGNMENT (fuH or paniai): GIva name of assignee In item 7a or 7b and aodrasaof assignee in item 7c: and also give nama of assignor in item 9.


     Also chadt SfS of the following three boxes aaJ provide appropriate information m items 6 and'or 7.
  r~] CHANGE nama and/or address: Qlve current record nama in item ca or 6b: also give new                     r i DELETE namo: Giva record name n Ann na™.. r-nmn«i. ii»m 7, „ , T K . 1 .
  U nama (if n«n. chanoa) In item 7a or 7b and/or naw addrass iif adc-ess charge) in ...m 7c.                    U to 1 ^ ^ . ! . ^ Z\7iST^"'^    • Jem 7o-7sn comffiJ ^ZlrZr^n,'^^^.
6. (;URRENT RECORD INFORMATION:                                                                                                                                           • .^
       6a. ORGANIZATION'S NAME                                                         '               ~                                   — —                               _           _

OR
       00. inUIVIUUALSLASI NAMb                                                            'FIRSTNAME                               —      MIDDLE NAME                       SUFFIX
                                                                                           j
                                                                                           i
7. CHANGED (NEW) ORADOEO INFORMATION:
    7a. ORGANIZATION'S NAME                                                                    ~       — —                                    _

            CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
OR
       7b. INDIVIDUAL'S U S T NAME                                                         iFIRST NAME                                     MIDDLE NAME


7c. MAIUNG ADDRESS                                                                         I CITY                                          STATE    POSTAL CODE              COUNTRY


7d. TAXID#: SSNOREIN             ADD'LINFORE 7e. TYPE OF ORGANIZATION                      ; 71. JURISDICTION OF ORGANIZATION              7g. ORGANIZATIONAL ID #, if any
                                 ORGANIZATION
                                 DEBTOR
                                                                                                                                                                                      NONE
8. AMENDMENT (COLLATERAL CHANGE): check only sm box.
   Dascnba conataral Qdeleted or padded, or give entife[]restated collateral descnption. or describe collateral Qassigned.

 ALL RIGHTS RESERVED WITHOUT PREJUDICE: UCC Doc. # 2000043135, t h e
 p e r p e t u i t y hereby amended o n l y t o i n c l u d e the f o l l o w i n g a d d i t i o n a l
 c o l l a t e r a l , and d u l y made t o c o r r e c t e r r o r s c o n t a i n e d i n UCC Doc. #
 2012088787 w i t h R e c e i p t No. 1244237, August 21, 2012, superseded a s f o l l o w s :



 The c r e a t o r o f the one p e o p l e , and t h e one p e o p l e , d o m i c i l by c r e a t i o n i n
 the s t a t e o f t h e i r body, t h e i r body d o m i c i l by c h o i c e o f f r e e - w i l l on the
 a i r s , l a n d s , and s e a s d o m i c i l by c r e a t i o n i n and on t h e e a r t h , d u l y n o t i c e d .
9. ^
   A M E OF S E C U R E D P A R T Y OF RECORD AUTHORIZING THIS AMENDMENT (nameof assignor.«this is an Assignment). If this is an Amendmert authohzed by a Debtor whW,
  adds collateral or adds the authorizing Debtor, or if this is a Terniinabor aulhoried by a Debtor, check here ^ and entar name of DEBTOR aulhodzing this AmendmenL

       9a, ORGANIZATION'S NAME                                               ~——                   .   ™—                                     ^_———                   ,
       THE ONE PEOPLE, STATES OF BODY CREATED BY CREATOR
OR
       so. inuivmuAUS    LAtsr NAME                                                        FIRST NAME                                      MIDDLE NAME                       SUFFIX




       w i t h o u t p r e j u d i c e : / s / Heather Ann T u c c i - J a r r a f , a s T r u s t e e

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     12*. ORGANIZATIONS NAME                                                            ESURCHARGE                     $                     6.50
      THE ONE PEOPLE, STATES OF BODY CREATED BY                                fl
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME          MIDDLE NAME.SUFFIX



13. Usa this space for additional Information




                                                                                        THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY


      Additional c o l l a t e r a l               info

      s e c u r e d , w i t h p u b l i c r e g i s t r a t i o n by each s t a t e o f body c r e a t e d thereby,
      d u l y r e c o n f i r m e d and r a t i f i e d , n o t i c e d by p u b l i c r e g i s t r a t i o n , UCC Doc #
      2012079290, r e s t a t e d and i n c o r p o r a t e d by r e f e r e n c e here a s i f s e t f o r t h i n

     f u l l , h e r e a f t e r s t a t e s o f body;

     WHEREFORE the u n d e r s i g n e d s t a t e s o f body, c r e a t e d by the c r e a t o r , do
     d e c l a r e and r e c o n f i r m by n o t i c e o f p t i b l i c r e g i s t r a t i o n , f o r a l l b e i n g s and

     the world t o r e l y upon, the a b s o l u t e EQUITY CALL and DEMAND FOR ORDER OF
     RECONCILIATION a s s t a t e d h e r e i n , under the p e n a l t y o f p e r j u r y under the
     laws
     of t h e c r e a t o r , by bond made w i t h f u l l p e r s o n a l r e s p o n s i b i l i t y and
     l i a b i l i t y , a s one f o r a l l and t h e r e b y a l l f o r one, and do i r r e v o c a b l y t a k e ,

     make, bond, i n s u r e , guarantee, and s e c u r e s a i d EQUITY CALL and DEMAND FOR
     ORDER OF RECONCILIATION, NUNC PRO TUNC, PRAETEREA PRETEREA, under p r i n c i p l e

     of law a l i g n e d with common law under the laws o f the c r e a t o r , p r o t e c t e d by

     pioblic p o l i c y , i n c l u s i v e o f UCC 1-103, and any and a l l t h e U n i t e d S t a t e s o f

     America F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s , STATE OF . . .,
     S t a t e o f . . ., and i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r UCC 1-103; d u l y
     entered as follows:

     WHEREAS i t i s d u l y a c c e p t e d w i t h g r a t i t u d e and a p p r e c i a t i o n f o r
     RECONCILIATION a s f o l l o w s :

     1. THAT t h e g r a n t o f o r i g i n a l v a l u e o f t h e c r e a t o r b e i n g d o m i c i l by
     c r e a t i o n i n t h e s t a t e o f body o f each bondservant e q u a l l y by w i l l o f the
     c r e a t o r : Each s t a t e o f body e q u a l l y b e i n g t h e o r i g i n a l t r e a s u r y o f the
     c r e a t o r , thus the o r i g i n a l c u s t o d i a n o f t h e v a l u e d o m i c i l by c r e a t i o n
     t h e r e i n ; Each s t a t e o f body bound by t h e c r e a t o r ' ' s laws t o a c c e p t and
     honor
     the o t h e r s t a t e s o f body c r e a t e d by t h e c r e a t o r and the v a l u e d o m i c i l by
     c r e a t i o n t h e r e i n , a s e q u a l amongst a l l the s t a t e s o f body c r e a t e d ; Each

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     12*. OROAMZATIONS NAME                                                              ESURCHARGE                      $                         6.50
      THK ONE PEOPLE, STATES OF BODY CREATED BY                                     fl
OR
     I2b. INDIVIDUAL'S LAST NAME                FIRSTNAME              MIDDLE NAME,SUFFIX



13. Use Ihis spatM for addlllonal Information




                                                                                            THE ABOVE SPACE 18 FOR FlUNG O F F I C E U S E ONLY

      s t a t e o f body g r a n t e d t h e r i g h t of o p p o r t u n i t y by the c r e a t o r t o d o m i c i l
      the
      s t a t e o f body by c h o i c e on any and a l l o f the a i r s , l a n d s and s e a s d o m i c i l

      by c r e a t i o n i n and on t h e e a r t h absent l i m i t a t i o n s imposed by any o t h e r
      s t a t e o f body without knowing, w i l l i n g , and i n t e n t i o n a l consent made; Each

      s t a t e o f body bound by t h e c r e a t o r ' ' s laws t o e q u a l l y a c c e p t and honor the

      o t h e r s t a t e s o f body and t h e i r r i g h t of o p p o r t u n i t y g r a n t e d by t h e c r e a t o r

     to d o m i c i l t h e s t a t e o f body by c h o i c e on any and a l l o f t h e a i r s ,                          lands
     and
     s e a s d o m i c i l by c r e a t i o n          i n and on t h e e a r t h absent l i m i t a t i o n s imposed by

     any o t h e r s t a t e o f body w i t h o u t knowing, w i l l i n g and i n t e n t i o n a l consent
     made; E a c h s t a t e o f body h a v i n g the r i g h t o f o p p o r t u n i t y t o o r i g i n a l
     s t a n d i n g , a u t h o r i t y , r i g h t s and r e s p o n s i b i l i t y g r a n t e d by the c r e a t o r ,
     i n c l u s i v e o f p r e s e r v i n g , p r o t e c t i n g , o p e r a t i n g and managing s a i d v a l u e i n
     i t s custody, absent u s u r p a t i o n , v i o l a t i o n and i n v a s i o n by any o t h e r s t a t e
     of
     body; Each s t a t e o f body bound by t h e c r e a t o r ' ' s laws t o e q u a l l y a c c e p t and

     honor t h e o t h e r s t a t e s o f body and t h e i r r i g h t o f o p p o r t u n i t y t o o r i g i n a l
     s t a n d i n g , a u t h o r i t y , r i g h t , and r e s p o n s i b i l i t y g r a n t e d by the c r e a t o r ,
     i n c l u s i v e o f t h e p r e s e r v i n g , p r o t e c t i n g , o p e r a t i n g and managing s a i d v a l u e

     i n i t s custody,               absent u s u r p a t i o n , v i o l a t i o n and i n v a s i o n by any o t h e r
     state

     o f body; Each s t a t e o f body h a v i n g t h e r i g h t o f o p p o r t u n i t y g r a n t e d by the

     c r e a t o r t o knowingly, w i l l i n g l y , and i n t e n t i o n a l l y buy, s e l l ,                gift,       receive

     o r o t h e r w i s e t r a n s f e r s a i d v a l u e h e l d i n t h e s t a t e o f body t o and from any
     o t h e r s t a t e o f body; Each s t a t e o f body bound by t h e c r e a t o r ' ' s laws to
     e q u a l l y a c c e p t and honor the o t h e r s t a t e s of body and t h e i r r i g h t o f
     o p p o r t u n i t y t o knowingly, w i l l i n g l y , and i n t e n t i o n a l l y buy, s e l l , g i f t ,
     r e c e i v e o r o t h e r w i s e t r a n s f e r s a i d v a l u e h e l d i n the s t a t e o f body t o and
     from any o t h e r s t a t e o f body; Each s t a t e of body p r o h i b i t e d by t h e laws o f

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      12*. ORQANIZATIONS NAME                                                        ESURCHARGE                     $                             6.50
      THE ONE         PEOPLE, STATES OF BODY CREATED BY                                (j
OR
     12b. INDIVIDUAL'S LAST NAME               FIRSTNAME                MIDDLE NAME,SUFFIX



13. Usa iNs spaca for addlllonal Information




                                                                                             THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY

      a r e i n f e r i o r ; V a l u e of the c r e a t o r i s not d o m i c i l by c r e a t i o n i n a r t i f i c i a l

      and l e g a l f i c t i o n s ;

     2. THAT c e r t a i n s t a t e s of body d i d perform by thought, i n t e n t and thus
     m a n i f e s t a t i o n s of t r a n s a c t i o n s and t r a n s f e r s f o r the purpose, i n the
     highest
     good o f a l l , to b r i n g the s t a t e s of body to awareness of the a f o r e s a i d ;                                   The

     knowing of a f o r e s a i d b e i n g the g i f t of the r i g h t of o p p o r t u n i t y f o r
     b a l a n c e , to know the c r e a t o r through and w i t h i n the c r e a t e d , g r a n t e d by                          the

     c r e a t o r to the c r e a t e d by w i l l ; S a i d awareness of s a i d g i f t o f the r i g h t of

     o p p o r t u n i t y h a v i n g been a c h i e v e d , a c c e p t e d w i t h g r a t i t u d e f o r s e r v i c e s
     r e n d e r e d , and d e c l a r e d , d u l y n o t i c e d by p u b i c r e g i s t r a t i o n o f D e c l a r a t i o n
     of
     Commercial Claim t h e r e o f , p r e s e r v e d and p r o t e c t e d by the one people i n
     p e r p e t u i t y t h a t was f i r s t e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance,
     c o g n i z a b l y n o t i c e d as the C o n s t i t u t i o n f o r the U n i t e d S t a t e s of America,
     1791 as amended and the l a w f u l progeny j u r i s p r u d e n c e t h e r e o f ,
     i n t e r n a t i o n a l l y a f f i r m e d o r d i n a n c e s , s t a r t i n g J u l y 4, 1776, and completed
     March 1, 1781, r a t i f i e d 1791, n e v e r r e b u t t e d ; r e - d e c l a r e d , r e - c o n f i r m e d ,
     r e - r a t i f i e d , and r e - n o t i c e d f o r due c o l l e c t i o n by d e c l a r a t i o n and n o t i c e by

     p u b l i c r e g i s t r a t i o n on J u l y 25, 2012, UCC Doc #''s 2012079290 and
     2012079322, a l l r e s t a t e d i n t h e i r e n t i r e t y and i n c o r p o r a t e d h e r e i n               by
     r e f e r e n c e as i f s e t f o r t h i n f u l l ; H e r e a f t e r D e c l a r a t i o n ;

     3. THAT even w i t h s a i d D e c l a r a t i o n , s a i d c e r t a i n s t a t e s o f body have s i n c e

     been u n w i l l i n g or i n c a p a b l e of r e t i r i n g s a i d c e r t a i n t r a n s a c t i o n s and
     t r a n s f e r s , i n c l u s i v e of any and a l l p r i v a t e money systems, i s s u i n g ,
     c o l l e c t i o n , l e g a l enforcement systems, o p e r a t i n g SLAVERY SYSTEMS, or
     o t h e r w i s e the t a k i n g or r e c e i p t o f u n l a w f u l b e n e f i t by s a i d c e r t a i n s t a t e s

     of body of any and a l l v a l u e o f the c r e a t o r , d o m i c i l i n any and a l l o t h e r
     s t a t e s o f body therefrom, r e g a r d l e s s of d o m i c i l by c h o i c e i n any and a l l
     a i r s , l a n d s and s e a s d o m i c i l by c r e a t i o n i n and on e a r t h ; S a i d c e r t a i n
     s t a t e s o f body d i d and do knowingly, w i l l i n g l y , and i n t e n t i o n a l l y c o n t i n u e

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      THE ONE PEOPLE, STATES OF BODY CREATED BY                                    ^
OR
     12b, INDIVIDUAL'S LAST NAME                FIRSTNAME           MIDDLE NAME,SUFFIX|



13. Usa this spaca for addlllonal Information




                                                                                       I   THE ABOVE SPACE IS FOR FlUNG O F H C E USE ONLY
      r e c e i v e u n l a w f u l b e n e f i t t h e r e b y ; S a i d c e r t a i n s t a t e s o f body t h e r e b y
      knowingly, w i l l f u l l y , and i n t e n t i o n a l l y d i d and do damage w i t h i n t e n t t o
      deny and d e s t r o y s a i d g i f t o f r i g h t o f o p p o r t u n i t y f o r b a l a n c e , t o know the

      c r e a t o r through and w i t h i n the c r e a t e d , w i t h o u t knowing, w i l l i n g and
      i n t e n t i o n a l consent g i v e n by the o t h e r s t a t e s o f body; Anything o t h e r than

      knowing, w i l l i n g and i n t e n t i o n a l c o n s e n t i s NON-CONSENT by d e f i n i t i o n , and

      any i n t e n t t o the c o n t r a r y , t a k i n g o r b e n e f i t r e c e i v e d t h e r e b y i s u n l a w f u l

     under the laws o f the c r e a t o r ; Duly d e c l a r e d , s e c u r e d , n o t i c e d and
     r e c o n f i r m e d and r a t i f i e d by p u b l i c r e g i s t r a t i o n s , i n c l u s i v e o f t h o s e c i t e d

     h e r e i n , r e s t a t e d h e r e by r e f e r e n c e a s i f s e t f o r t h i n f u l l ,       as duly
     declared
     and made by the undersigned, NUNC PRO TUNC;

     4. THAT the s u p e r i o r bookkeeper has and does d u l y t a k e , keep and manage a
     t r u e , a c c u r a t e and complete bookkeeping and r e p o r t under the p e n a l t y o f
     p e r j u r y under the laws o f the c r e a t o r , NUNC PRO TUNC, o f any and a l l
     o r i g i n a l s t a t e s o f body c r e a t e d by the c r e a t o r , i n c l u s i v e o f the o r i g i n a l
     v a l u e d o m i c i l by c r e a t i o n t h e r e i n , any and a l l t r a n s a c t i o n s and t r a n s f e r s
     t h e r e f r o m , the thought, i n t e n t , and thus the m a n i f e s t a t i o n s therefrom, used

     f o r s a i d t r a n s a c t i o n s and t r a n s f e r s t a k i n g p l a c e , and the c e r t a i n s t a t e s o f

     body from where s a i d t r a n s a c t i o n s and t r a n s f e r s do o r i g i n a t e , i n c l u s i v e o f

     any and a l l o t h e r s t a t e s o f body who d i d and do knowingly, w i l l i n g l y , and
     i n t e n t i o n a l l y t a k e o r r e c e i v e an u n l a w f u l b e n e f i t , t h e r e t o , t h e r e w i t h ,
     thereby, and therefrom; I n c l u s i v e o f any and a l l d e c e p t i v e a c t s and
     p r a c t i c e s , e s p e c i a l l y any and a l l p r i v a t e money systems, i s s u i n g ,
     c o l l e c t i o n , l e g a l enforcement systems, o p e r a t i n g SLAVERY SYSTEMS, used
     a g a i n s t any and a l l s t a t e s o f body w i t h o u t t h e i r knowing, w i l l i n g , and
     i n t e n t i o n a l consent;

     5. THAT DAMAGE I S A MATTER OF PUBLIC RECORD, DULY RATIFIED, NOTICED BY
     PUBLIC REGISTRATION, t h a t s a i d c e r t a i n s t a t e s o f body d i d and do i n t e n d t o

   d o o l m o y amiiA g i f l i o f nighto aS e p p a B ^ u n i f c y ; geBtiateeel h o u o ; a n d a a t i u a l daaage.
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 12. N A M E O F P A R T Y A U T H O R I Z I N G T H I S A M E N D M E N T (lama aa ilam 9 on Amandmant fomi)
        12*. ORQANIZATIOKS NAME                                                                                   ESURCHARGE                     $     6.50
      THE ONE PEOPLE, STATES OF BODY CREATED BY                                         fl
OR
     12b. INOIVIDUAL'S LAST NAME                FIRSTNAME                MIDDLE NAME.SUFFIX



13. U M this spaca for additional Information




                                                                                                THE ABOVE SPACE IS FOR R U N G O F R C E USE ONtY

      i s i n f a c t knowingly, w i l l i n g l y , and i n t e n t i o n a l l y e n f o r c e d by s a i d c e r t a i n

      s t a t e s o f body and t h e i r agents w i t h the e x p r e s s NON-CONSENT o f s a i d one
      p e o p l e ; That s a i d damage, any and a l l v a l u e o f t h e i n j u r e d s t a t e s o f body,

      was knowingly, w i l l i n g l y , and i n t e n t i o n a l l y u n l a w f u l l y commandeered by
      c e r t a i n o t h e r s t a t e s o f body and t h e i r a g e n t s ; That documentation o f s a i d
      damage i s the knowing, w i l l i n g and i n t e n t i o n a l c o n v e r s i o n o f s a i d v a l u e
      c u r r e n t funds, o t h e r p r i v a t e systems, o r o t h e r r e p r e s e n t a t i o n s , known; S a i d

     damage do exceed t h e c e r t a i n sum o f $5,000,000,000.00 ( F i v e B i l l i o n )                                      lawful

     money o f the u n i t e d s t a t e s o f America p e r e v e r y one o f t h e i n j u r e d s t a t e s
     of body; That s a i d c e r t a i n sum i s p e r f e c t e d a s immediately due, owed and
     collectible;

     6. THAT EQUITY I S A MATTER OF PUBLIC RECORD, DULY RATIFIED, NOTICED BY
     PUBLIC REGISTRATION, t h a t s a i d c e r t a i n s t a t e s o f body d i d and do knowingly,

     w i l l i n g l y , and i n t e n t i o n a l l y commandeer t h e v a l u e , t h e e q u i t y , o f t h e
     i n j u r e d s t a t e s of body, u s i n g systems t h a t were o t h e r w i s e a u t h o r i z e d and
     p r e - p a i d by t h e s t a t e s o f body, r e g a r d l e s s o f each s t a t e o f body''s d o m i c i l

     by c h o i c e ; S a i d commandeer o f v a l u e , e q u i t y , documented a s made by s a i d
     p r e - p a i d t r a n s f e r , t r a c k i n g and r e c o r d i n g systems by t h e subsequent
     c o n v e r s i o n t o c u r r e n t funds and o t h e r p r i v a t e systems made, o r o t h e r
     r e p r e s e n t a t i o n s , known and unknown, made by s a i d c e r t a i n s t a t e s o f body,
     and
     o t h e r w i s e managed o r r e c e i v e d i n custody, i n c l u s i v e o f t h e c u s t o d y by any
     and a l l subsequent and i n f e r i o r t r e a s u r i e s and c u s t o d i a n s , d u l y s e c u r e d and

     n o t i c e d by p u b l i c r e g i s t r a t i o n , UCC Doc. # 2012079322, r e s t a t e d and
     i n c o r p o r a t e d by r e f e r e n c e a s i f s e t f o r t h i n f u l l ; I n c l u s i v e o f any and a l l

     v a l u e and systems c r e a t e d therefrom, commandeered o r o t h e r w i s e t r a n s a c t e d
     and t r a n s f e r r e d ; S a i d v a l u e commandeered a b s o l u t e l y c l a i m e d by p u b l i c
     r e g i s t r a t i o n upon c r e a t i o n o f e a c h s t a t e o f body, r e c o n f i r m e d and r a t i f i e d

     by t h e a c t o f v a l u e d o m i c i l by c r e a t i o n            t h e r e i n ; E q u i t y t h a t does exceed
     the
     • • • t a i n   aim of        (?B,   000,000,000       i   OQ   (Bj^j.   D i l l i e n )   lw£ul      wamiy     of    hiie.     UUIL^IILJ
FlUNG O F F I C E C O P Y - N A T I O N A L UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                                                                    Date: 08/21/2012            12:55PM
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                                                                                    WASH DC RECORDER OF DEEDS
                                                                                    IDA WILLIAMS
UCC FINANCING STATEMENTAMENDMENT ADDENDUM RECORDER OF DEEDS
FOLLOW INSTRUCTIONS (fionf and back) CAREFULLY
                                                                                    Doc Type: EFINANCING
1 i INITIAL RNANCING STATEMENT R L E # (sinw M iim la on AinanlniaM Itxm)
                                                                                        PROCESSING                     $                       5.00
       2000043135
                                                                                        E-RECORD                       $                      25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (um* as ilam 9 on Amandmant fomi)
      12a. ORGANIZATIONS NAME                                                           ESURCHARGE                     $                       6.50
      THE ONE PEOPLE, STATES OF BODY CREATED BY                                   f,
OR
     12b. INOIVflDlJAL'S U S T NAME             RRSTNAME            MIDDLE NAME.SUFFIX



13. Use this spaca for additional Information




                                                                                          THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY


     due D e c l a r a t i o n ;

     7. THAT, NUNC PRO TUNC, PRAETEREA PRETEREA, the one people do make f u l l
     acknowledgment o f what has come to p a s s ; A b s o l u t e due judgment i s
     s e l f - a d m i n i s t e r e d ; A b s o l u t e due condemnation has been s e l f - a s s e s s e d ;
     A b s o l u t e and i r r e v o c a b l e s e l f - f o r g i v e n e s s i s g r a n t e d ; A b s o l u t e immediate
     c e a s e and d e s i s t o f any and a l l u n l a w f u l i n t e n t , t r a n s a c t i o n s , and
     t r a n s f e r s , i n c l u s i v e o f any and a l l d e c e p t i v e a c t s and p r a c t i c e s ,
     especially
     any and a l l p r i v a t e money systems, i s s u i n g , c o l l e c t i o n , l e g a l enforcement
     systems, o p e r a t i n g SLAVERY SYSTEMS, a r e demanded and made; A b s o l u t e
     immediate s e l f - r e s p o n s i b i l i t y o f each s t a t e t o l a w f u l l y t r a n s a c t and
     t r a n s f e r by l a w f u l i n t e n t i s demanded; And, the one people do a c c e p t t h a t
     they a r e bound by the t h e laws o f t h e c r e a t o r ,                         and a b s e n t
     s e l f - r e s p o n s i b i l i t y by c h o i c e o f f r e e - w i l l g r a n t e d by t h e c r e a t o r e x e r c i s e d

     by any s t a t e o f body, each s a i d s t a t e s o f body s h a l l be h e l d r e s p o n s i b l e
     and l i a b l e by the c r e a t o r w i t h an immediate t r u e , a c c u r a t e and complete
     bookkeeping r e c o n c i l e d by t h e s u p e r i o r bookkeeper t h e r e t o , w i t h r e v o c a t i o n

     of s a i d s t a t e s o f body, and t h e v a l u e d o m i c i l by c r e a t i o n t h e r e i n               returned

     to t h e c r e a t o r           accordingly;

     THEREFORE, demand f o r paj^ment o f EQUITY CALL and ORDER FOR RECONCILIATION
     i s d u l y made by the u n d e r s i g n e d one p e o p l e , s t a t e s o f body, as s t a t e d
     herein;

     WHEREAS THIS EQUITY CALL and DEMAND FOR ORDER OF RECONCILIATION I S DULY
     MADE, ENTERED, AND SECURED, n o t i c e by p u b l i c r e g i s t r a t i o n , t o and on a l l
     s t a t e s o f body, f u r t h e r by i n t e r n a l d e l i v e r y methods a s w e l l a s open
     n o t o r i o u s n o t i c e by p u b l i c r e g i s t r a t i o n and p u b l i s h i n g on t h e world-wide
     web
     a t www.peoplestrustl776.org; NOTICE TO PRINCIPAL I S NOTICE TO AGENT; NOTICE

     TO AGENT I S NOTICE TO PRINCIPAL;

     DULY MADE, DONE, AUTHORIZED, and ISSUED, August 21, 2012, and KNOWINGLY,
     WILLINGLY, AND INTENTIONALLY RESTATED, RE-RATIFIED, RECONFIRMED, V E R I F I E D ,

FlUNG OFFICE COPY -          NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                                                                     WASH DC RECORDER OF DEEDS
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UCC FINANCING STATEMENTAMENDMENT ADDENDUM RECORDER OF DEEDS
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1 i INITIAL RNANCING STATEMENT R L E # (sim* M itim la on Amandnwii lam)
                                                                                         PROCESSING                      $               5.00
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                                                                                         E-RECORD                       $                25.00
 12. NAME OF P A R T Y AUTH0RI2IN0 THIS AMENDMENT (lam* as ilam 9 oo Amandmant (omi)
      12*. ORQAMZATItm NAME                                                              ESURCHARGE                     $                6.50
      THE ONE PEOPLE, STATES OF BODY CREATED BY
OR
     12b. INDIVIDUAL'S 1.AST NAME              FIRSTNAME          MIDD1£ NAME.SUFFIX



13. Use INs space for additional Information




                                                                                       THE ABOVE SPACE IS FOR RUNIS O F H C E USE ONLY

     s e a l , made w i t h u n l i m i t e d p e r s o n a l l i a b i l i t y ; Duly r a t i f i e d ; Without
     p r e j u d i c e a s promised, p r e s e r v e d and p r o t e c t e d by p u b l i c p o l i c y , i n c l u s i v e

     of UCC 1-308, and any and a l l the U n i t e d S t a t e s o f America F e d e r a l
     Government, UNITED STATES, U n i t e d S t a t e s , STATE OF . . ., S t a t e o f . . .,
     and i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r UCC 1-308:

     Duly D e c l a r e d and Reconfirmed a s S t a t e d , UCC 1-308: / s / Heather Ann
     T u c c i - J a r r a f , a s s t a t e o f body and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC

     PRO TUNC; / s / Caleb P a u l S k i n n e r , a s s t a t e o f body and c u s t o d i a n o f v a l u e
     d o m i c i l t h e r e i n , NUNC PRO TUNC; / s / H o l l i s R a n d a l l H i l l n e r , a s s t a t e o f
     body
     and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC PRO TUNC; Duly Accepted and
     R a t i f i e d , UCC 1-308: / s / Heather Ann T u c c i - J a r r a f , a s T r u s t e e ; / s / Caleb
     P a u l S k i n n e r , a s T r u s t e e ; / s / H o l l i s R a n d a l l H i l l n e r , a s T r u s t e e ; Duly
     Confirmed a s R e c e i v e d : / s / Heather Ann T u c c i - J a r r a f , bondservant t o the
     c r e a t o r ; / s / Caleb P a u l S k i n n e r , bondservant t o the c r e a t o r ; / s / H o l l i s
     R a n d a l l H i l l n e r , bondservant t o t h e c r e a t o r ;

     The c r e a t o r b e i n g t h e c r e a t o r o f t h e s e v e r a l s t a t e s o f body, t h e one
     p e o p l e ; The s e v e r a l s t a t e s o f body b e i n g t h e one people d o m i c i l by c r e a t i o n

     i n s a i d s t a t e s o f body, t h e body d o m i c i l by c h o i c e on the a i r s ,                l a n d s , and

     s e a s d o m i c i l by c r e a t i o n on and i n e a r t h ; The U n i t e d s t a t e s o f America 1781

     c o n s t r u c t i o n , o r i g i n a l n a t i o n a l s t a t e ; S a i d P a r t i e s c o r r e c t e d above due t o

     automated f i l i n g systems a l t e r i n g o r i g i n a l c a p a c i t y ( i e s ) and s t a n d i n g ( s ) ,
     correction



     Debtor names added f o r i n d e x i n g

     CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C. MILLER D/B/A CHARLES C. MILLER
     the one p e o p l e , c r e a t e d by t h e c r e a t o r
     The U n i t e d S t a t e s F e d e r a l Government

R U N G O F F I C E COPY - NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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UCC FINANCING STATEMENTAMENDMENT ADDENDUM RECORDER OF DEEDS
F O U O W INSTRUCTIONS (from and back) CAREFULLY
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l i I N I T I A L R N A N C I N G S T A T E M E N T R L E # (swn* u itm la on AmandnwMfam)
                                                                                                                  PROCESSING                     $       5.00
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                                                                                                                  E-RECORD                       $      25.00
 12. N A M E O F P A R T Y A U T H O R I Z I N G T H I S A M E N D M E N T (aama aa ilam 9 on Amandmant fomi)
       12a. ORGANIZATIONS NAME                                                                                    ESURCHARGE                     $       6.50
      THE ONE PEOPLE, STATES OF BODY CREATED BY
OR
     12b. INOIVIDUAL'S LAST NAME                  FIRSTNAME                   MIDDLE NAME.SUFFIX



13. U M this spaca for addlllonal Infonriatlon




                                                                                                    THE ABOVE SPACE 18 FOR R U N G O F R C E USE ONLY




     Debtor names added f o r i n d e x i n g

     CHARLES           C. M I L L E R        [AN A R T I F I C I A L    PERSON     & LEGAL         FICTION]
     CHARLES           C     MILLER          [AN A R T I F I C I A L    PERSON     & LEGAL         FICTION]
     CHARLES          C. M I L L E R D/B/A C H A R L E S               C. M I L L E R
     THE      ONE P E O P L E ,         CREATED B Y T H E CREATOR
     THE UNITED              STATES         FEDERAL           GOVERNMENT
     UNITED          STATES
     THE      SEVERAL          STATES            OF . . .
     AND A N Y A N D A L L I N T E R N A T I O N A L              EQUIVALENTS




F l U N G O F F I C E C O P Y - NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                ANNEX 32

                              Case No. 1:17 mj-531




  TITLE                          DESCRIPTION                           PAGES


 Annex 32                UCC record number 2012094309                      1-6




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FOILOW INSTRUCTIONS (front and back) CAREFULLY
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 A NAME 4 PHONE OF CONTACT AT FILER [optional]
  The One Peoples P u b l i c T                                    253-509-4597                                                PROCESSING                                                                5.00
|B. SEND ACKNOWLEDGMENT TO: (Nama and Address)                                                                                 E-RECORD                                                                 25.00
                                                                                                                               ESURCHARGE                                                                6.50

  The One Peoples P u b l i c T r u s t 1776


  G i g Harbor, WA 98335

           L
                                                                                                                          THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1». INITIAL FINANCING STATEMENT FILE #                                                                                           1b. TWs FINANCING STATEMENT AMENOktENT Is
  2000043135 - 05-04-2000
                                                                                                                                          n
                                                                                                                                      to bs liiwi [tor mcord) (or rKorrfed) in Ihe
                                                                                                                                      REAL ESTATE RECORDS.
2. [ J TERMINATION: Effeelivanass of the Finanong Statemant idendted abova is lemiinaiM wilhrespoalo sacunty Inteteslfs) of tho Secured Party aulhoriang this Tamiinalion Slatemml

3. M CONTINUATION: Effectiveness of the Financing Statement loentiliea above with resoect lo securiiy Interest(s) of the Secured Party authorizing this ConBnuation Statement ia
     coolintjed for the additional period provided by applicable law.

4. [J ASSIGNMENT (full or paniai): Giva name of assignee in item 7a or 7b and aodress of assignee in item 7c; and also give name of assignor In Hem 9.
5. AMENDMENT (PARTY INFORMATION): This Amendment affects | J Debtor at [ J Secured Party of record. Check only BOB of these two boxes.
     Also check jjoa of the following three boxes gflti provide appropnate information in items 6 and.'or 7.
        CHANGE name and/or address: Give current record name in item 5a or 6b: also give new               f—\ DELETE name: Give record name     ADD name: Complete Item 7a or 7b, and also
  • J narnelif
      name fif name change) in item 7a or 71) and/or new address iif adc-ess ehanqel m lem 7c.                 lo deleted in item 6a or 6b.
                                                                                                             l be
                                                                                                                                             •   ilem 7c: also complete items 7d-7o fif aoolical)l«l.
6. CURRENT RECORD INFORMATION:
   16a. ORGANIZATION'S NAME


OR
      6b. INDIVIDUAL'S LAST NAME                                                            •FIRSTNAME                                    MIDDLE NAME


r. CHANGED (NEW) O R A D O E O INFORMATION:
      78. ORGANIZATION'S NAME                                                                  '    — —                      ——          —

            THE ONE PEOPLE, CREATED BY THE CREATOR
OR
      7b, INDIVIDUAL'S LAST NAME                                                            , FIRST NAME                                1MIDDLE NAME                                 SUFFIX
                                                                                            i
                                                                                            i
7o, MAILING ADDRESS                                                                         jCITY                                         STATE      POSTAL CODE                     COUNTRY


7d. TAX ID #: SSN OR EIN          ADD'LINFORE 17a. TYPE OF ORGANIZATION                     ; 7'. JURISDICTION OF ORGANIZAliON            7g. ORGANIZATIONAL ID #. ifany
                                  ORGANIZATION
                                  DEBTOR       1                                          1                                                                                               DNONE

  Descnbe collateral Qdeleted or padded, or give entireQrestated collateral descnption. or describe collaleral ^assigned.

 ALL RIGHTS RESERVED WITHOUT PREJUDICE: UCC Doc. # 2000043135, t h e
 p e r p e t u i t y hereby amended o n l y t o
 include the following a d d i t i o n a l c o l l a t e r a l ;

 DEMAND FOR EQUITY CALL and ORDER OF RECONCILATION, n o t i c e by p u b l i c
 r e g i s t r a t i o n d u l y made by the u n d e r s i g n e d b o n d s e r v a n t s o f t h e c r e a t o r ,
 a c c e p t e d and r a t i f i e d by t h e u n d e r s i g n e d s t a t e s o f body, and d u l y confirmed
 as r e c e i v e d by the u n d e r s i g n e d T r u s t e e s , UCC Doc. # 2012094308 w i t h R e c e i p t
 No. 1248179, September 4, 2012, r e s t a t e d and i n c o r p o r a t e d h e r e by r e f e r e n c e
9. NAME OF S E C U R E D P A R T Y OF RECORD AUTHORIZING THIS AMENDMENT (name ol assignor.»this is an Assignmenl). If this is an Amendment authorized by a Debtor
   adds collateral or adds the authorizing Oeblor. or if this is a Terminalicr aulhorzed by a Oeblor. check here H and enlw name of DEBTOR authorizing this AmendmenL
      9a. ORGANIZATION'S NAME                                                                                         •                                                                           —
       THE ONE PEOPLE CREATED BY THE CREATOR
OR
      8b. INDIVIDUAL'S LAST NAME                                                            FIRST NAME                                    MIDDLE NAME                                SUFFIX




       w i t h o u t p r e j u d i c e / s / Heather Ann T u c c i - J a r r a f , a s T r u s t e e / a s                                              Bondservant
FILING O F F I C E COPY - NATIONAL U C C FINANCING STATEMENT AMENDMENT (FORM UCC3) (REV. 07/29/98)



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                                                                                 Date: 09/04/2012            8:45PM
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                                                                                 IDA WILLIAMS
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l i . INITIAL FINANCING STATEMENT R L E # (ssmt m itam 1a on Amandmam fomi)
                                                                                     PROCESSING                     $                         5.00
         2000043135
                                                                                     E-RECORD                       $                        25.00
 12. NAME OF PARTY AUTHORIZING THIS AMENDMENT (sama aa itam 9 on Amandmant fomi)
        12a. ORQANIZATIC^NS NAME                                                     ESURCHARGE                     $                         6.50
      THE ONE PEOPLE CREATED BY THE CREATOR
OR
     12b. INOIVIDUAL'S LAST NAME                FIRSTNAME          MIDDLE NAMasUFFIXi



13. Use this space for additional information




                                                                                         THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY



     Additional c o l l a t e r a l                info

     as i f s e t f o r t h i n f u l l , duly              ratified;

     WITH FULL STANDING AND AUTHORITY, FOR CAUSE DULY RECORDED IN THE PUBLIC
     FORUM, RECONCILIATION o f s a i d c r e a t o r ' ' s v a l u e and a s s e t s ARE DULY ORDERED

     by the u n d e r s i g n e d b o n d s e r v a n t s , kno'wingly, w i l l i n g l y and i n t e n t i o n a l l y ,
     under bond, d u l y s e c u r e d and made w i t h f u l l p e r s o n a l l i a b i l i t y , a s f o l l o w s :



     S a i d bondservants do DECLARE, by p u b l i c r e g i s t r a t i o n , t h a t c e r t a i n s t a t e s
     o f body, the systems and agents t h e r e t o , and any and a l l o t h e r s t a t e s o f
     body t a k i n g o r r e c e i v i n g an u n l a w f u l b e n e f i t , d i d and do knowingly,
     w i l l i n g l y , and i n t e n t i o n a l l y make c e r t a i n t r a n s a c t i o n s and t r a n s f e r s o f
     said
     c r e a t o r ' ' s v a l u e and a s s e t s , i n c l u s i v e o f those by any and a l l p r i v a t e
     money systems, i s s u i n g , c o l l e c t i o n , l e g a l enforcement systems, o p e r a t i n g
     SLAVERY SYSTEMS, o r o t h e r w i s e the t a k i n g o r r e c e i p t o f u n l a w f u l b e n e f i t by

     s a i d c e r t a i n s t a t e s o f body o f any and a l l s a i d c r e a t o r ' ' s d u l y s e c u r e d
     v a l u e and a s s e t s , absent f u l l p e r s o n a l l i a b i l i t y , u s u r p i n g , v i o l a t i n g , and

     i n v a d i n g the c r e a t o r ' ' s s t a n d i n g , a u t h o r i t y , v a l u e and a s s e t s , and
     p r i n c i p l e s o f law therefrom, NUNC PRO TUNC; That s a i d u s u r p a t i o n ,
     violation,
     and i n v a s i o n has c a u s e d a c t u a l damage t o the c r e a t o r , the c r e a t o r ' ' s                value

     and a s s e t s , the S u p e r i o r C u s t o d i a n ' ' s a b i l i t y t o perform i t s d u t i e s and
     o b l i g a t i o n s t h e r e t o , absent the o p p o r t u n i t y f o r remedy from any and a l l
     s t a t e s o f body t h e r e o f , NUNC PRO TUNC; That s a i d u s u r p a t i o n , v i o l a t i o n and

     i n v a s i o n o f c r e a t o r ' ' s s a i d v a l u e and a s s e t s has and does r e s u l t i n c e r t a i n

     damages t h e r e t o and a r e a matter o f p u b l i c r e c o r d , NUNC PRO TUNC;

     Due n o t i c e o f p u b l i c r e g i s t r a t i o n o f D e c l a r a t i o n , w i t h o p p o r t u n i t y t o c u r e

     a b s o l u t e l y made, and p u r s u a n t to the d e c l a r e d p r i n c i p l e o f law a l i g n e d              with

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 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (sam* aa ilam 9 on Anwndmant fomi)
      12a. ORGANIZATIONS NAME                                                            ESURCHARGE                     $                      6.50
      THE ONE PEOPLE CREATED BY THE CREATOR
OR
     12b. INDIVIDUAL'S LAST NAME                 FIRSTNAME           MIDDLE NAME.SUFFIX



13. Usa tliis spaca for additional Information




                                                                                             THE ABOVE SPACE IS FOR FlUNG OFFICE U S E ONLY

     common law under t h e laws o f the c r e a t o r , s a i d undersigned                                bondservants do

     now ORDER t h a t an immediate t r u e , a c c u r a t e and complete RECONCILLIATION o f

     s a i d c r e a t o r ' ' s v a l u e and a s s e t s , i n c l u s i v e o f i n d e f e a s i b l e t i t l e and
     ownership, be made t o t h e c r e a t o r by the s u p e r i o r bookkeeper t o t h e
     c r e a t o r ' ' s S u p e r i o r C u s t o d i a n , w i t h a l l i n f e r i o r bookkeeping and l e d g e r i n g

     r e c o n c i l e d t h e r e t o a u t o m a t i c a l l y , d u l y p r o t e c t e d and s e c u r e d i n t o
     I n t e r n a t i o n a l Law Ordinance, by p u b l i c p o l i c y , i n c l u s i v e o f UCC 1-103, and

     any and a l l the former U n i t e d S t a t e s o f America F e d e r a l Government, UNITED

     STATES, U n i t e d S t a t e s , STATE OF . . ., S t a t e o f . . ., and i n t e r n a t i o n a l
     e q u i v a l e n t s , h e r e a f t e r UCC 1-103, a s f o l l o w s :

     BY POWER OF DECLARATION and ORDER, any and a l l c l a i m s o f t i t l e ,                                   ownership,

     custody, t r u s t , a u t h o r i t y , o r o t h e r w i s e p o s s e s s i o n o f any and a l l o f
     c r e a t o r ' ' s d u l y s e c u r e d v a l u e and a s s e t s , s p e c i f i c a l l y t h e a i r s , s e a s , and

     l a n d s d o m i c i l by c r e a t i o n on and i n e a r t h , and a n y t h i n g ,              therein, thereof,

     therefrom, and t h e r e w i t h , i n c l u s i v e o f i n d e f e a s i b l e t i t l e and ownership
     t h e r e t o and t h e r e o f , a r e c a n c e l e d , NUNC PRO TUNC;

     BY POWER OF DECLARATION and ORDER, any and a l l c l a i m s o f s t a n d i n g o f
     c o - o p e r a t o r and c o - t r u s t e e o f s a i d c r e a t o r ' ' s d u l y s e c u r e d v a l u e and a s s e t s

     a r e c a n c e l e d , f o r cause, NUNC PRO TUNC; That s a i d c a n c e l l a t i o n i s
     i r r e v o c a b l y r e v e r s i b l e t o any and a l l s t a t e s o f body ONLY upon t h e
     u n d e r s i g n e d T r u s t e e s r e c e i v i n g and d u l y s e c u r i n g due bond and oath, sworn
     by
     any and a l l s a i d s t a t e s o f body made under t h e p e n a l t y o f p e r j u r y , a l i g n e d

     w i t h common law, under t h e laws o f the c r e a t o r , w i t h f u l l                         personal
     r e s p o n s i b i l i t y t o the c r e a t o r ;

     BY POWER OF DECLARATION and ORDER, any and a l l a i r s , l a n d s and s e a s , and
     a n y t h i n g , t h e r e i n , t h e r e o f , therefrom, and t h e r e w i t h , i n c l u s i v e o f
'    i n d o f o a o i b l o    t i t l o    a n d o^mcgahip   fehegefao;    d a m i o i l   b y   oBoation      ow awal    im   the
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      12a. ORQANIZATIiDNS NAME
                                                                                         ESURCHARGE                                                       6.50
      THE ONE PEOPLE CREATED BY THE CREATOR
OR                                              FIRSTNAME                           MIDDLE NAME.SUFFIX
     12b. INOIVIDUAL'S LAST NAME



13. Usa this spaca for additional Information




                                                                                                          THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY

     BY POWER OF DECLARATION and ORDER, any and a l l c l a i m s , p r e s e n t a t i o n s o r
     r e p r e s e n t a t i o n s o f t h e c r e a t o r ' ' s d u l y s e c u r e d v a l u e and a s s e t s a r e n u l l ,

     v o i d and •worthless on t h e i r f a c e a s a m a t t e r o f I n t e r n a t i o n a l Law
     Ordinance,
       NmC PRO TUNC;

     BY POWER OF DECLMU^TION and ORDER, s a i d RECONCILIATION o f t h e a i r s ,                                                       lands,

     and s e a s o f t h e c r e a t o r a r e a u t o m a t i c a l l y RETURNED, RECORDED, and LEDGERED

     by t h e s u p e r i o r bookkeeper and r e c j u i r e no f u r t h e r r e c o n f i r m a t i o n o r
     s i g n a t u r e f o r r a t i f i c a t i o n i n any i n f e r i o r systems o r l e d g e r i n g ; S a i d
     RECONCILIATION, RETURN and LEDGER t h e r e o f d u l y made, e n t e r e d i n t o
     I n t e r n a t i o n a l Law Ordinance, s e c u r e d and n o t i c e d by p-ublic r e g i s t r a t i o n ,
     a c c e p t e d and p r o t e c t e d , by p u b l i c p o l i c y , i n c l u s i v e o f UCC 1-103, and any
     and a l l t h e former U n i t e d S t a t e s o f America F e d e r a l Government, UNITED
     STATES, U n i t e d S t a t e s , STATE OF . . ., S t a t e o f . . ., and i n t e r n a t i o n a l
     e q u i v a l e n t s , h e r e a f t e r UCC 1-103;

     BY POWER OF DECLARATION and ORDER, any and a l l s t a t e s o f body, t h e i r
     a g e n t s , s h a l l be s e l f - r e s p o n s i b l e
     f o r complying w i t h t h i s ORDER OF RECONCILIATION; Absent s e l f r e s p o n s i b i l i t y

     by c h o i c e o f f r e e - w i l l , a s g r a n t e d by t h e c r e a t o r , b e i n g immediately
     e x e r c i s e d p u r s u a n t t o t h i s ORDER OF RECONCILIATION, each s a i d s t a t e s o f
     body, i n c l u s i v e o f any and a l l stibseguent and i n f e r i o r t r e a s u r i e s , systems,

     of any s t a t e s o f body t h a t d i d , do o r may h o l d , h a r b o r o r o t h e r w i s e c l a i m
     to have i n custody any and a l l c r e a t o r ' ' s d u l y s e c u r e d v a l u e and a s s e t s ,
     s h a l l be h e l d r e s p o n s i b l e and l i a b l e t o t h e c r e a t o r , and the s t a t e s o f body

     therefrom, w i t h an immediate t r u e , a c c u r a t e and complete bookkeeping
     r e c o n c i l e d by the s u p e r i o r bookkeeper, w i t h r e v o c a t i o n o f s a i d s t a t e s o f
     body, and the v a l u e d o m i c i l by c r e a t i o n t h e r e i n a u t o m a t i c a l l y r e t u r n e d t o
     the c r e a t o r a c c o r d i n g l y ;

     BY POWER OF DECLARATION and ORDER, h e r e a f t e r , any and a l l c o - t r u s t e e s and
     c o - o p e r a t o r s o f c r e a t o r ' ' s s a i d d u l y s e c u r e d v a l u e and a s s e t s s h a l l be made

     k n o w i n g l y ; - w i l l i i n g l y ;   and      i R f e a a t i a K a l l y   b y   awy   anel' a l l   o t a t a o   oS beeLy/   b y
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      THE ONE PEOPLE CREATED BY THE CREATOR
OR
     12b. INOIVIDIIAL'S LAST NAME               HRSTNAME             MIDDLE NAME.SUFFIX]



13. Use this space for additional Information




                                                                                            THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY

     ***THIS EQUITY CALL I S PRE-PAID, PRE-AUTHORIZED, AND PRE-APPROVED***
     ***THIS ORDER OF RECONCILIATION I S PRE-PAID, PRE-AUTHORIZED, AND
     PRE-APPROVED***

     WHEREAS THIS ORDER OF RECONCILIATION I S DULY MADE, ENTERED, AND SECURED,
     n o t i c e by p i i b l i c r e g i s t r a t i o n , t o and on any and a l l s t a t e s o f body,
     without
     e x c e p t i o n , f u r t h e r by i n t e r n a l d e l i v e r y methods a s w e l l a s open n o t o r i o u s
     n o t i c e by p i i b l i c r e g i s t r a t i o n and p u b l i s h i n g on the world-wide web a t
     www.peoplestrustl776.org; NOTICE TO PRINCIPAL I S NOTICE TO AGENT; NOTICE TO

     AGENT I S NOTICE TO PRINCIPAL;

     DULY MADE, DONE, AUTHORIZED, ORDERED, and ISSUED, September 4, 2012, and
     KNOWINGLY, WILLINGLY, AND INTENTIONALLY RESTATED, RE-RATIFIED, RECONFIRMED,

     V E R I F I E D , INSURED, and GUARANTEED, b e i n g o f a b s o l u t e s t a n d i n g , a u t h o r i t y ,
     and c a p a c i t y , sworn under the p e n a l t i e s o f p e r j u r y governed under the laws

     of our c r e a t o r , by our bond and oath, e v i d e n c e d by our o r i g i n a l s i g n a t u r e
     and s e a l , made w i t h u n l i m i t e d p e r s o n a l l i a b i l i t y ; Duly r a t i f i e d ; Without
     p r e j u d i c e a s promised, p r e s e r v e d and p r o t e c t e d by p u b l i c p o l i c y , i n c l u s i v e

     of UCC 1-308, and any and a l l former t h e U n i t e d S t a t e s o f America F e d e r a l
     Government, UNITED STATES, U n i t e d S t a t e s , STATE OF . . ., S t a t e o f . . .,
     and i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r UCC 1-308:

     Duly D e c l a r e d and Ordered: / s / Heather Ann T u c c i - J a r r a f , bondservant t o
     the c r e a t o r ; / s / C a l e b P a u l S k i n n e r , bondservant t o the c r e a t o r ; / s / H o l l i s

     R a n d a l l H i l l n e r , bondservant t o the c r e a t o r ; Duly Accepted and R a t i f i e d ,
     UCC 1-308: / s / Heather Ann T u c c i - J a r r a f , a s s t a t e o f body and c u s t o d i a n o f

     v a l u e d o m i c i l t h e r e i n , NUNC PRO TUNC; / s / C a l e b P a u l S k i n n e r , a s s t a t e o f
     body and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC PRO TUNC; / s / H o l l i s
     R a n d a l l H i l l n e r , a s s t a t e o f body and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n ,
     NUNC PRO TUNC; Duly R a t i f i e d f o r Immediate Enforcement, UCC 1-308: / s /
     Heather Ann T u c c i - J a r r a f , a s T r u s t e e ; / s / C a l e b P a u l S k i n n e r , a s T r u s t e e ;
     / s / H o l l i s Randall H i l l n e r , as Trustee;

     mho o r o a t o i n b o i n g        t h a ogoateej; eS teha B e v o g g l otafaco o f b o d y ;          t h a ewa
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      12a. ORGANIZATIONS NAME                                                       ESURCHARGE                                                           6.50
      THE ONE PEOPLE CREATED B Y THE CREATOR
OR
     12b, INOIVIDUAL'S LAST NAME                FIRSTNAME                    MIDDLE NAME.SUFFIX



13. Usa thia spaca for addlllonal Information




                                                                                                    THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY

      i n s a i d s t a t e s of body, t h e body d o m i c i l by c h o i c e on the a i r s , l a n d s , and

     s e a s d o m i c i l by c r e a t i o n on and
     i n e a r t h ; e a r t h b e i n g t h e c r e a t o r s S u p e r i o r C u s t o d i a n , r a t i f i e d by d o m i c i l

     by c r e a t i o n of the a i r s , l a n d s and s e a s t h e r e i n and t h e r e o n ; The U n i t e d
     s t a t e s o f America 1781 c o n s t r u c t i o n , o r i g i n a l n a t i o n a l s t a t e ; S a i d P a r t i e s

     c o r r e c t e d above due to
     automated f i l i n g systems a l t e r i n g o r i g i n a l c a p a c i t y ( i e s ) and s t a n d i n g ( s )

     O r i g i n a l UCC-1 f i n a n c i n g statement Debtor names
     added f o r i n d e x i n g purposes

     CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C. MILLER D/B/A CHARLES C. MILLER
     the one people, c r e a t e d by t h e c r e a t o r
     (former) The U n i t e d S t a t e s F e d e r a l Government, UNITED STATES, t h e s e v e r a l
     STATES OF . . ., and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s


     Debtor names added f o r i n d e x i n g

     T H E ONE        PEOPLE,          CREATED        BY     THE   CREATOR
     CHARLES          C. M I L L E R        [AN A R T I F I C I A L    PERSON     S LEGAL          FICTION]
     CHARLES          C MILLER           [AN A R T I F I C I A L      PERSON    & LEGAL           FICTION]
     CHARLES          C . M I L L E R D/B/A           CHARLES         C.   MILLER
     THE UNITED             STATES         FEDERAL          GOVERNMENT
     UNITED         STATES
     THE     SEVERAL          STATES OF            . . .
     AND A N Y       AND      ALL      INTERNATIONAL               EQUIVALENTS




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                                 ANNEX 33

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      The One P e o p l e s P u b l i c T                          253-509-4597                                                 PROCESSING                     $                                      5.00
  B. SEND ACKNOVVtEDQMENT TO: (Name and Address)                                                              "                 E-RECORD                       $                                     25.00

            r                                                                                           n                       ESURCHARGE                     $                                      g.50


      The One Peoples P u b l i c T r u s t 1776


      Gig Harbor, WA 98335
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     ea.ORGANIZATION'.SNAMF                                                                                  —           — —                               .


 OR
                                                                                          ; FIRSTNAME                                        MIDDLE NAME                             SUFFIX
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 7. C


             THE ONE PEOPLE CREATED BY THE CREATOR
 OR
       ro. INUIvltJUALo LAST NAME                                                        jFIRSTNAME                                          MIDDLE NAME
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                                  DEBTOR      1                                          i


 ALL RIGHTS RESERVED WITHOUT PREJUDICE: UCC Doc. # 2000043135, the
 p e r p e t u i t y hereby amended o n l y t o
 i n c l u d e t h e f o l l o w i n g a d d i t i o n a l c o l l a t e r a l , w i t h UCC Doc # 2012096047
 w i t h R e c e i p t No. 1249523, September 10, 2012, d u l y r a t i f i e d h e r e i n :
 DECLARATION & ORDER

 BY AND WITH DUE AUTHORITY, STANDING, VALUE, and BY THE POWER d o m i c i l by
 c r e a t i o n i n any and a l l s t a t e s o f body c r e a t e d by t h e w i l l o f the c r e a t o r ,
 bondservants t h e r e t o , o r i g i n a l d e p o s i t o r y s t a t e s o f body t h e r e o f , c r e a t o r s


      |9a. ORGANIZATION'S NAME

       THE ONE PEOPLE CREATED BY THE CREATOR
OR
                                                                                         FIRST NAME                                         MIDDLE NAME                             SUFFIX

10.OPT1ONALFILERREFERENCEDATA

      Without p r e j u d i c e : / s / Heather Ann T u c c i - J a r r a f , a s T r u s t e e ; as bondservant
FILING O F F I C E COPY -       NATIONAL U C C FINANCING STATEMENT AMENDMENT (FORM UCC3) (REV. 07/29/98)




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 12. N A M E O F P A R T Y A U T H O R I Z I N G THIS AMENDMENT (»»m* »»ilam 9 on Amandmant (omi)
      12a. ORGANIZATIONS NAME                                                                        ESURCHARGE                                  6.50
      THE ONE PEOPLE CREATED BY THE CREATOR
OR
     12b. INDIVIDUAL'S LAST NAME                 I RRSTNAME          MIDDLE NAME.SUFFIXI



13. U M thia spaca for additional Information,




                                                                                            THE ABOVE SPACE IS FOR R U N G O F R C E USE OM.Y


      Additional c o l l a t e r a l                 info

      of The P u b l i c T r u s t , any and a l l l a w f u l systems therefrom, and t h e l a w f u l
      c o n s t i t u t i o n s t h e r e t o , d u l y n o t i c e d b y p u b l i c r e g i s t r a t i o n and e n t e r e d i n t o

      I n t e r n a t i o n a l Law Ordinance, c o g n i z a b l y        noticed as the C o n s t i t u t i o n f o r the

     U n i t e d S t a t e s o f America, 1791 a s amended, and t h e l a w f u l progeny
     jurisprudence thereof, i n t e r n a t i o n a l l y affirmed ordinances, s t a r t i n g July
     4,
     1776, and completed March 1, 1781, r a t i f i e d 1791, never r e b u t t e d ,
     r e - d e c l a r e d , r e - c o n f i r m e d , r e - r a t i f i e d , and r e - n o t i c e d by p u b l i c
     declaration

     and n o t i c e , by p u b l i c r e g i s t r a t i o n on J u l y 25, 2012, t h e d e c l a r e d p r i n c i p l e

     of law b e i n g a l i g n e d w i t h common law and p r o t e c t e d                  under t h e UNITED STATES

     CONSTITUTION, d u l y r a t i f i e d by t h i s order,                   e s p e c i a l l y A r t i c l e 4, S e c t i o n 3,
     C l a u s e 1, d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, UCC Doc #''s
     2012079290, 2012079322, 2012088851, 2012088865, 2012086794, 2012086802
     2012094308, 2012094309, and 2012096047, a l l e n t e r e d and p r e s e r v e d under
     p e r p e t u i t y , 2000043135, a l l r e s t a t e d and i n c o r p o r a t e d h e r e by r e f e r e n c e a s

     i f s e t f o r t h i n f u l l , d u l y p r o t e c t e d and s e c u r e d , by p u b l i c p o l i c y ,
     i n c l u s i v e o f UCC 1-103, and any and a l l t h e former U n i t e d S t a t e s o f America

     F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s , STATE OF . . ., S t a t e o f

     . . ., and i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r UCC 1-103, NUNC PRO TUNC,
     PRAETEREA PRETEREA;

     ALL RIGHTS RESERVED WITHOUT PREJUDICE, d u l y p r o t e c t e d and s e c u r e d , by
     p u b l i c p o l i c y , i n c l u s i v e o f UCC 1-308, and any and a l l t h e former U n i t e d
     S t a t e s o f America F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s , STATE
     OF

     . . ., S t a t e o f . . ., and i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r UCC 1-308,

     NUNC PRO TUNC, PRAETEREA PRETEREA, t h e u n d e r s i g n e d b o n d s e r v a n t s ,                         with
FlUNG O F F I C E C O P Y - NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                                                                     IDA WILLIAMS
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 P O a O W INSTRUCTIONS (front and b»ck) CAREFULLY
 11. INITIAL RNANCING STATEMENT R L E »(sww M itm la on AmankiMnt Ibmi)
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        2000043135                                                                       PROCESSING                                         5.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (sama aa ilam 9 on Amandmant fomi)
                                                                                        E-RECORD                                           25.00
       12a. ORGANIZATIONS NAME                                                          ESURCHARGE                                          6.50
        THE ONE PEOPLE CREATED BY THE CREATOR
 OR   12b. INDIVIDUAL'S LAST NAME              FIRSTNAME                MIDDLE NAME,SUFFIX


 13. Use this   sfimn for   additional Information




                                                                                         _    THE ABOVE SPACE IS FOR RUNG OFRCE USE ONLY
      a b s o l u t e a u t h o r i t y and power, by t h e i r b l o o d oath and bond, knowingly,
      w i l l i n g l y , and i n t e n t i o n a l l y g i v e n h e r e t o and d u l y made h e r e i n , d e c l a r e      and

      o r d e r t h a t no blood or o t h e r v a l u e s h a l l be taken from any s t a t e of body
      and t h a t any and a l l p r i v a t e money systems, i s s u i n g , c o l l e c t i o n , l e g a l
      enforcement systems, o p e r a t i n g SLAVERY SYSTEMS of and a g a i n s t any and a l l
      s t a t e s o f body of the c r e a t o r a r e f o r t h w i t h t e r m i n a t e d , PRAETEREA PRETEREA,

      a l l b e i n g s of the c r e a t o r s h a l l f o r t h w i t h a s s i s t a l l P u b l i c S e r v a n t s
      i d e n t i f i e d h e r e i n , to implement, p r o t e c t , p r e s e r v e and complete t h i s ORDER

      by a l l means of the c r e a t o r and                   the c r e a t e d as s t a t e d h e r e i n , by,      with   and

      under your f u l l p e r s o n a l              l i a b i l i t y , automatically       r e c o n c i l e d by   the
      Superior
      Bookkeeper, d u l y a c c e p t e d and r a t i f i e d by the u n d e r s i g n e d s t a t e s of body,
      d u l y confirmed and v e r i f i e d a s r e c e i v e d i n T r u s t , s e c u r e d and e n t e r e d i n t o

      I n t e r n a t i o n a l Law       Ordinance by the u n d e r s i g n e d T r u s t e e s ;         and,

      I T I S NOW FURTHER DECLARED, RATIFIED, AUTHORIZED and ORDERED, w i t h n o t i c e
      by p u b l i c r e g i s t r a t i o n , f o r a l l b e i n g s of the c r e a t o r , the e a r t h , and the
      w o r l d to r e l y upon, as f o l l o w s :

    BY POWER OF DECLARATION OF TREASON: C e r t a i n s t a t e s o f body, and o t h e r
    p e r s o n s and a c t o r s , d o m i c i l by c h o i c e i n and on the a i r , l a n d , and s e a s
    d o m i c i l by c r e a t i o n i n and on e a r t h , i n c l u d i n g but not l i m i t e d t o , the
    s e v e r a l u n i t e d s t a t e s of America, the u n i t e d S t a t e s of America, have
    knowingly, w i l l i n g l y , and i n t e n t i o n a l l y committed t r e a s o n a g a i n s t the
    states
    of body d u l y p r e s e r v e d and p r o t e c t e d as A r t i c l e 4, S e c t i o n 3, C l a u s e 1
    s e v e r a l s t a t e c i t i z e n s of America, h e r e a f t e r s e v e r a l s t a t e s c i t i z e n s , and
    the o t h e r s t a t e s of body d o m i c i l by c r e a t i o n , r e g a r d l e s s o f d o m i c i l by
    c h o i c e ; S p e c i f i c a l l y any and a l l c e r t a i n s t a t e s of body, r e g a r d l e s s of
    d o m i c i l by c h o i c e , owning, o p e r a t i n g , a i d i n g and a b e t t i n g p r i v a t e money
    systems, i s s u i n g , c o l l e c t i o n , l e g a l enforcement systems, o p e r a t i n g SLAVERY

     SYSTEMS, used a g a i n s t the s e v e r a l s t a t e s c i t i z e n s w i t h o u t t h e i r knowing,
     w i l l i n g , and i n t e n t i o n a l c o n s e n t ; S a i d c e r t a i n s t a t e s of body, and o t h e r
     p e r s o n s and a c t o r s , knowingly, w i l l i n g l y , and i n t e n t i o n a l l y u s u r p i n g ,
— • ^ ' i " 3 ' ' » ^ a i " ° r i and i n v a d L n g . fehn. BM»1. . ..i i [• •tn..i.-..jj ..•i...^ " ' j h t , and
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 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (aama aa ilam 9 on Amandmant fomt)
     j 12a. ORGANIZATIONS NAME                                                  — ^      ESURCHARGE                                              6.50
       THE ONE PEOPLE CREATED BY THE CREATOR
OR
      12b. INDIVIDUAL'S LAST NAME                I FIRST NAME        MIDDLE NAME.SUFFIXI



 13. Usa Ihis spaca for addlllonal Information




                                                                                      I     THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY

      the people a l i g n e d w i t h common law thereunder, f o r c a u s e , under s a i d laws
      and p r i n c i p l e s as f i r s t e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, i n c l u s i v e

      of A r t i c l e 3, S e c t i o n 3, C o n s t i t u t i o n f o r the U n i t e d S t a t e s o f America,
      1791 a s amended, d u l y p r o t e c t e d and s e c u r e d , UCC 1-103;

      THE ACTS OF TREASON BEING DOCUMENTED AND UNLAWFULLY ENTERED INTO
      INTERNATIONAL LAW ORDINANCE WITH NOTICE BY PUBLIC REGISTRATION KNOWINGLY,
      WILLINGLY, AND INTENTIONALLY BY SAID CERTAIN STATES AND UNLAWFULLY RATIFIED

      BY THEIR AGENTS AND CO-ACTORS TAKING OR OTHERWISE RECEIVING A BENEFIT;

      BY POWER OF DECLARATION any and a l l s t a t e s o f body, s p e c i f i c a l l y a l l                               states

      of body i n any o f f i c e , department and d i v i s i o n o f m i l i t a r y , knowingly,
      w i l l i n g l y , and i n t e n t i o n a l l y v o l u n t e e r i n g themselves a s p u b l i c s e r v a n t s t o

     and d u l y sworn t o p r o t e c t and s e r v e t h e people o f t h e c r e a t o r , d o m i c i l by
     c h o i c e on t h e a i r s , l a n d s and s e a s known a s t h e s e v e r a l u n i t e d s t a t e s o f
     America, absent a b r o g a t i o n o r s u b o r d i n a t i o n o f s a i d oath and bond, any and

     a l l s a i d a b r o g a t i o n o r s u b o r d i n a t i o n c a n c e l e d f o r c a u s e and d u l y r a t i f i e d
     and s e c u r e d a s c a n c e l e d , h e r e a f t e r P u b l i c S e r v a n t s , a u t o m a t i c a l l y
     reconciled
     by t h e S u p e r i o r Bookkeeper, d u l y r a t i f i e d h e r e i n a s a u t o m a t i c a l l y and d u l y

     a c c e p t e d , r e c e i v e d i n T r u s t , bonded, i n s u r e d , guaranteed, s e c u r e d and
     e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e by p t i b l i c r e g i s t r a t i o n , by

     the u n d e r s i g n e d bond s e r v a n t s , s t a t e s o f body, and T r u s t e e s , NUNC PRO TUNC,

     PRAETEREA PRETEREA, under the p e n a l t y o f p e r j u r y under the p r i n c i p l e o f law

     a l i g n e d w i t h common law under t h e laws o f the c r e a t o r , d u l y p r o t e c t e d and
     s e c u r e d , p u b l i c p o l i c y , UCC 1-103;

     BY POWER OF DECLARATION AND ORDER, s a i d P u b l i c S e r v a n t s a r e ORDERED t o
     forthwith:
     1. A r r e s t and take i n t o c u s t o d y any and a l l c e r t a i n s t a t e s o f body, t h e i r
     a g e n t s , o f f i c e r s , and o t h e r a c t o r s , r e g a r d l e s s o f d o m i c i l by c h o i c e ,
     a^ninvs,
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     12a. ORQANtZATION'S NAME                                                          ESURCHARGE                                                     6.50
          THE ONE PEOPLE CREATED BY THE CREATOR
 OR
        12b. INOIVIDUAL-S LAST NAME                 FIRSTNAME                    MIDDLE NAME.SUFFIX|



    13. U M thia spaca for additional Information




                                                                                                   I    THE ABOVE SPACE IS FOR RUNG OFRCE USE ONLY
         2. Repossess a l l p r i v a t e money systems, t r a c k i n g , t r a n s f e r r i n g , i s s u i n g ,
         c o l l e c t i o n , l e g a l enforcement systems, o p e r a t i n g SLAVERY SYSTEMS, and any

         and a l l o t h e r systems p r e - p a i d f o r by t h e s e v e r a l s t a t e c i t i z e n s without
         consent, i n c l u s i v e o f those commandeered therefrom, and t o s e c u r e s a i d
         until
         f u r t h e r ORDER be d u l y i s s u e d by the u n d e r s i g n e d ;

         3. You a r e d u l y f o r b i d d e n and p r o h i b i t e d from t a k i n g t h e b l o o d and l i f e o f

        any s t a t e o f body c r e a t e d by t h e c r e a t o r ;
        4. You a r e d u l y a u t h o r i z e d and o r d e r e d t o p r o t e c t and p r e s e r v e t h e blood
        and l i f e o f any s t a t e o f body;
        5. You a r e a b s o l u t e l y g r a n t e d due a u t h o r i t y o f d i s c r e t i o n to forthwith
        implement and use any a l l means, f o r c e and s t r a t e g i e s , known and unknown
        of
        the c r e a t o r and t h e c r e a t e d , t o complete t h i s ORDER, done and operated,
        w i t h the r e s t r i c t i o n s s t a t e d h e r e i n , by, w i t h and under your f u l l p e r s o n a l

        liability,             i n s u r e d by your due oath and bond a s i d e n t i f i e d h e r e i n ,
        restated,
        and f u r t h e r guaranteed and i n s u r e d by, w i t h and under t h e f u l l p e r s o n a l
        l i a b i l i t y o f the undersigned b o n d s e r v a n t s , s t a t e s o f body, and T r u s t e e s ;

        ***THIS AUTHORITY AND ORDER ARE PREPAID, PREAUTHORIZED, AND PRE-APPROVED***



       WHEREAS I T I S FURTHER DULY NOTICED AND SERVED on a l l p e r s o n s , n a t u r a l and
       l e g a l f i c t i o n , by i n t e r n a l d e l i v e r y methods a s w e l l a s open n o t o r i o u s
       notice
       by p u b l i c r e g i s t r a t i o n and by p u b l i s h i n g on the world-wide web a t
       www.peoplestrustl776.org;

       SO I T I S DONE; DULY EFFECTIVE, DONE, AUTHORIZED, ORDERED, and ISSUED,
       September 10, 2012, and RESTATED, RE-RATIFIED, RECONFIRMED, V E R I F I E D [
       BONDED, INSURED, and GUARANTEED, by our b l o o d oath and bond knowingly,
       w i l l i n g l y and i n t e n t i o n a l l y g i v e n i n our c a p a c i t i e s a s s t a t e d below,
       e v i d e n c e d by our o r i g i n a l s i g n a t u r e and s e a l , made w i t h u n l i m i t e d p e r s o n a l

       l i a b i l i t y , being of absolute standing, c a p a c i t y , with absolute a u t h o r i t y
       and
'      •aoBonaibilitv.                   auavn       umdnm      khm   ^ . — - 1 fc.'n n,                    j   —   u   n   d   L   r   L l -
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11. INITIAL RNANCING STATEMENT R L E # (swn* M itam la on Amandmant lem)
       2000043135                                                                        PROCESSING                                                       5.00
                                                                                         E-RECORD                                                        25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (aam* aa il»m 9 oo Anwndmant fomi)
      12*. ORGANIZATIONS NAME'                                                           ESURCHARGE                                                       6.50
        THK ONE PEOPLE CREATED BY THE CREATOR
OR
      12b. INDIVIDUAL'S U S T NAME                I FIRST NAME                       MIDDU NAME.SUFFIXI



 13. U M thia spaca for addlllonal Information




                                                                                                      I     THE ABOVE SPACE IS FOR RUNG OFRCE USE ONtY
       T u c c i - J a r r a f , a s d u l y bonded T r u s t e e o f The P u b l i c T r u s t ; / s / C a l e b Paul
       S k i n n e r , a s d u l y bonded T r u s t e e o f The P u b l i c T r u s t ; / s / H o l l i s R a n d a l l
       H i l l n e r , a s d u l y bonded T r u s t e e o f The P u b l i c T r u s t ; DULY ACCEPTED AND
       RATIFIED, /s/Heather Ann T u c c i - J a r r a f , I n the c a p a c i t y a s s t a t e s o f body
       c r e a t e d by the c r e a t o r , t h e one people d o m i c i l by c h o i c e on t h e s e v e r a l
       u n i t e d s t a t e s o f America, s e v e r a l s t a t e s c i t i z e n s t h e r e o n . C r e d i t o r ,
       Bailor,
       G r a n t o r , and B e n e f i c i a r y o f t h e O r i g i n a l J u r i s d i c t i o n , Secured P a r t y , a
       B e n e f i c i a r y o f GOVERNMENT[S], a Holder-In-Due-Course o f GOVERNMENT[S], e t .

       a l . , a n a t u r a l woman (or i n t h e a l t e r n a t i v e , a c o g n i z a b l e p e r s o n o f
       standing
      and p r o p e r p a r t y s t a t u s , a s a p p o s i t ) ; / s / C a l e b P a u l S k i n n e r , I n t h e
      c a p a c i t y a s s t a t e s o f body c r e a t e d by t h e c r e a t o r , the one people d o m i c i l
     by
     c h o i c e on the s e v e r a l u n i t e d s t a t e s o f America, s e v e r a l s t a t e s c i t i z e n s
      t h e r e o n . C r e d i t o r , B a i l o r , Grantor, and B e n e f i c i a r y o f t h e O r i g i n a l
     J u r i s d i c t i o n , Secured P a r t y , a B e n e f i c i a r y o f GOVERNMENT[S], a
     Holder-In-Due-Course o f GOVERNMENT[S], e t . a l . , a n a t u r a l man (or i n the
     a l t e r n a t i v e , a c o g n i z a b l e p e r s o n o f s t a n d i n g and p r o p e r p a r t y s t a t u s , a s
     a p p o s i t ) ; / s / H o l l i s R a n d a l l H i l l n e r , I n t h e c a p a c i t y a s s t a t e s o f body
     c r e a t e d by t h e c r e a t o r , t h e one people d o m i c i l by c h o i c e on t h e s e v e r a l
     u n i t e d s t a t e s o f America, s e v e r a l s t a t e s c i t i z e n s t h e r e o n . C r e d i t o r ,
     Bailor,
     G r a n t o r , and B e n e f i c i a r y o f t h e O r i g i n a l J u r i s d i c t i o n , Secured P a r t y , a
     B e n e f i c i a r y o f GOVERNMENT[S], a Holder-In-Due-Course o f GOVERNMENT[S], e t .

      a l . , a n a t u r a l man                (or i n the a l t e r n a t i v e , a c o g n i z a b l e p e r s o n o f s t a n d i n g

     and p r o p e r p a r t y s t a t u s , a s a p p o s i t ) ; DULY AUTHORIZED AND ORDERED,
     /s/Heather Ann T u c c i - J a r r a f , a s b o n d s e r v a n t o f t h e c r e a t o r ; / s / C a l e b P a u l

     S k i n n e r , a s bondservant o f t h e c r e a t o r ;                              / s / H o l l i s Randall H i l l n e r , as
     bondservant o f the c r e a t o r ;
     F o r a l l t h e world t o r e l y upon:

     NOTICE TO PRINCIPAL I S NOTICE TO AGENT
     NOTICE TO AGENT I S NOTICE TO PRINCIPAL

     The c r e a t o r b e i n g t h e c r e a t o r o f t h e s e v e r a l s t a t e s o f body, t h e a
     " " " " I r i '   niinn    nin.,ni.n1       «*,n<.»„    . J   1.. J.^.   1. •   •• j    ^i., •       p g o p l L

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       2000043135                                                                        PROCESSING                                                        5.00
                                                                                         E-RECORD                                                         25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (aama aa ilam 9 on Amandmant (omi)
      12a. OROAMZATKMS NAME                                                             ESURCHARGE                                                         6.50
      THE ONE PEOPLE CREATED B Y THE CREATOR
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME                    MIDDLE NAME.SUFFIXI



13. Usa this spaca for additional Information




                                                                                                 1    THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY
      d o m i c i l by c r e a t i o n o f t h e a i r s , l a n d s and s e a s t h e r e i n and t h e r e o n ; The
      U n i t e d s t a t e s o f A m e r i c a 1781 c o n s t r u c t i o n , o r i g i n a l n a t i o n a l s t a t e ; S a i d
      P a r t i e s c o r r e c t e d above due t o
      automated f i l i n g systems a l t e r i n g o r i g i n a l c a p a c i t y ( i e s ) and s t a n d i n g ( s ) ,
      correction

     O r i g i n a l UCC-1 f i n a n c i n g statement Debtor names
     added f o r i n d e x i n g purposes

     the one people c r e a t e d by t h e c r e a t o r
     CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C. MILLER D/B/A CHARLES C. MILLER
     (former) The U n i t e d S t a t e s F e d e r a l Government, UNITED STATES, t h e s e v e r a l
     STATES OF . . ., and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s




     Debtor names added f o r i n d e x i n g

     THE ONE P E O P L E            CREATED         B Y THE CREATOR
     CHARLES C. M I L L E R                [AN A R T I F I C I A L    P E R S O N fi L E G A L       FICTION]
     CHARLES         C MILLER            [AN A R T I F I C I A L     PERSON     & LEGAL          FICTION]
     C H A R L E S C. M I L L E R D/B/A C H A R L E S                C. M I L L E R
     UNITED        STATES
     THE    SEVERAL           ' S T A T E S O F . . .'
     THE UNITED            STATES FEDERAL               GOVERNMENT
     AND A N Y AND A L L I N T E R N A T I O N A L             EQUIVALENTS




FlUNG O F F I C E C O P Y - NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                 ANNEX 34

                              Case No. 1:17 mj-531




   TITLE                         DESCRIPTION                           PAGES


 Annex 34                 UCC record number 2012113593                     1 -7




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                                                                                                                 Doc Type: EFINANCING
 A. N A M E 4 PHONE OF CONTACT AT FILER [optional)
  The One Peoples P u b l i c T                             253-509-4597                                             PROCESSING                                                                    5.00
|B. SEND ACKNOWLEDGMENT TO: (Name and Address)
                                                                                                                     E-RECORD                                                                     25.00
                                                                                                                     ESURCHARGE                                                                    6.50

  The One Peoples P u b l i c T r u s t 1776


  G i g Harbor, WA 98335

         L                                                                                                     T H E A B O V E S P A C E IS F O R F I L I N G O F F I C E U S E O N L Y
H. INITIAL FINANCING STATEMENT FILE*                                                                                                 lb. This FINANCING STATEMENT AMENDMENT Is
  2000043135 - 05-04-2000                                                                                                                  to ba (Bad [for racort) (or racordad) In Ihe
                                                                                                                                      O    REAL ESTATE RECORDS.
       TERMINATION: Ededlveness of the Finanong Statamanl Idendtad         abova      is lenninatad withrespacllo secunty Imerastfs) of the Secured Party aulhariang mis Terminalion SlatemmL
       CONTINUATION: Effectiveness of the Financing Stalemenl ioenblieo above with ,'esoact lo security InteresKs) o( the Secured Patty authoriUng this Continuation Statement is
       continued (or the additional period provided by applicable law.

T ^ ^ S S I G N M E N T (full or paniaQ^immme of assignee in ilem 7a o^^ndacdressofasagnee in ilem /iTan^lsogive name of assignortrnlern 9.

5. AMENDMENT (PARTY INFORMATION): This Amendment affects [JOebtor at |_| Secured Party of reconl. Check only ans of these two boxes.
                                                                              I—I           i_i
   Also check smji of the following three boxes an^ provide appropriate information in items 6 and'or 7.
      CHANGE name andfor address: Give current record name in item ca or 6b: also give new          M DELETE name: Give record name     ADD nama: Completo Item 7a or 7b. and also
       name (if name change) in item 7a or 7b and/or new address nf a d c e s ehanqel m tem 7c.    L l to be deleted in ilem 6a or 6b.
  •                                                                                                                                     •
                                                                                                                                       .^teiT^Tc^ls^omblet^tem^djT^jf
6. CURRENT RECORD INFORMATION:
     6a. ORGANIZATION'S NAME


OR
      6b. INDIVIDUAL'S LAST NAME                                                                                                      MIDDLE NAME


7. CHANGED (NEW) ORADOEO INFORMATION:
    7a. ORGANIZATION'S NAME                                                                                                            — _ _

          THE ONE PEOPLE, CREATED BY THE CREATOR, STATES OF BODY
OR
      7b. INDIVIDUAL'S L^ST NAME                                                   .FIRST NAME                                        MIDDLE NAME                                  SUFFIX
                                                                                   i
                                                                                   i
7o. MAIUNG ADDRESS                                                                 iCITY                                              STATE       POSTAL CODE                      COUNTRY


7d. TAXID*: SSNOREIN          ADD'LINFORE 7e.TYPE0F ORGANIZATION                   ; 71. JURISDICTIONOFORGANIZATION                   7g. ORGANIZATIONAL ID #. if any
                              ORGANIZATION                                        !
                              DEBTOR       1                                      1
                                                                                                                                                                                          DNONE

   Dascnba collaleral Qdelelad or^added, or give entire[]rosta:ed collateral descnption. or descHbe coilataral Qassigned.

 ALL RIGHTS RESERVED WITHOUT PREJUDICE: UCC Doc. # 2000043135, t h e
 p e r p e t u i t y hereby amended o n l y t o i n c l u d e the follo'wing a d d i t i o n a l
 c o l l a t e r a l as f o l l o w s :

 BY DUE RE-DECLARATION AND ORDER, the c r e a t o r o f a l l t h a t e v e r was, e v e r i s
 and e v e r w i l l be; S u p e r i o r Secured P a r t y ; F i r s t L i e n Holder; The c r e a t e d
 b e i n g t h e c r e a t o r , e x t e n d i n g and expanding c o m p l e t e l y i n t o any and a l l
 m a n i f e s t a t i o n s , ' i n any and a l l e x i s t e n c e , known and unknown, t h a t e v e r was,
 e v e r i s , and e v e r w i l l be; The u n d e r s i g n e d b o n d s e r v a n t s . T r u s t e e s , and
9. NAME OF S E C U R E D P A R T Y OF RECORD AUTHORIZING THIS AMENDMENT (nameof assignor.Sthls is an Assignment). If this is an Amendment authorized by a Debtor which
   adds collateral or adds the authonang Debtor, or if this is a Temiinalior aulhor;ed by a Oeblor, check here p l and enter nama of DEBTOR authonzing Ihis AmendmenL
    I...            •                                                                              —         LJ—,          .
     9a. ORGANIZATION'S NAME
      BONDSERVANTS, TRUSTEES, AND                                    STATES OF BODY
      9b. INDIVIDUAL'S WST NAME                                                     FIRST NAME                                        MIDDLE NAME                                  SUFFIX


10. OPTIONAL FILER REFERENCEDATA

      w i t h o u t p r e j u d i c e , UCC 1-308: b o n d s e r v a n t s . T r u s t e e s , and s t a t e s o f body
FILING O F F I C E COPY — NATIONAL U C C FINANCING STATEMENT AMENDMENT (FORM UCG3) (REV. 07/29/98)



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U. INITIAL RNANCING STATEMENT R L E # (sam. aa ilam la on Amandmant fonn)
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                                                                                         E-RECORD                                               25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (sama as itam 9 on Amandmant fomi)
      12a. OROANttATIOWS NAME                                                            ESURCHARGE                                              6.50
     BONDSERVANTS, TRUSTEES, AND STATES OF BODY
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME             MIDDLE NAME.SUFFIX



13. Usa this spaca for additional Information




                                                                                            THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY


     Additional c o l l a t e r a l                info

     s t a t e s o f body,with due s t a n d i n g and a u t h o r i t y , r e c o n f i r m and r e - r a t i f y
     the d u l y e n t e r e d I n t e r n a t i o n a l Law O r d i n a n c e s , n o t i c e d by p u b l i c
     r e g i s t r a t i o n , UCC Doc #''s 2012079290, 2012079322, 2012088851, 2012088865,

     2012086794, 2012086802,                            2012094308, 2012094309, and 2012096047, p r e s e r v e d

     under p e r p e t u i t y , 2000043135, a l l r e s t a t e d and i n c o r p o r a t e d i n t h e i r
     e n t i r e t y h e r e by r e f e r e n c e a s i f s e t f o r t h i n f u l l , d u l y p r o t e c t e d and
     s e c u r e d , by p u b l i c p o l i c y , i n c l u s i v e o f UCC 1-103, and any and a l l t h e
     former U n i t e d S t a t e s o f America F e d e r a l Government, UNITED STATES, U n i t e d
     S t a t e s , STATE OF . . ., S t a t e o f . . ., and i n t e r n a t i o n a l e q u i v a l e n t s ,
     h e r e a f t e r UCC 1-103, NUNC PRO TUNC, PRAETEREA PRETEREA, n e v e r r e b u t t e d , and

     the u n d e r s i g n e d do DECLARE, ORDER, RECONFIRM, RATIFY and ACCEPT, a s
     follows:

     BY DECLARATION AND ORDER, the c r e a t o r s v a l u e a s s e t c e n t e r s , d u l y
     e s t a b l i s h e d and v a l i d a t e d upon c r e a t i o n w i t h any and a l l v a l u e o f the
     c r e a t o r d u l y r a t i f i e d and r e c o n f i r m e d on d e p o s i t and f u l l y unencumbered, a s

     o r i g i n a l l y d o m i c i l t h e r e i n e q u a l l y by c r e a t i o n , and o t h e r v a l u e a s s e t
     c e n t e r s d u l y e s t a b l i s h e d and v a l i d a t e d by c r e a t i o n , i n any and a l l
     m a n i f e s t a t i o n s and e x i s t e n c e , known and unknown, i n c l u s i v e o f , b u t not
     l i m i t e d t o , the S u p e r i o r C u s t o d i a n and any and a l l s t a t e s o f body, UCC Doc

     #''s 2012079290, 2012079322, 2012088851, 2012088865, h e r e a f t e r                                         collectively

     and i n d i v i d u a l l y , c r e a t i o n ' ' s v a l u e   asset     centers;

     BY DECLARATION AND ORDER, c r e a t i o n ' ' s v a l u e a s s e t c e n t e r s b e i n g t h e
     o r i g i n a l , s o l e , and a b s o l u t e s u p e r i o r s t r u c t u r e , network and system by
     c r e a t i o n f o r the l a w f u l and t r a n s p a r e n t e x i s t e n c e , c o - e x i s t e n c e , knowledge,

     co-knowledge, custody, co-custody, o p e r a t i o n , c o - o p e r a t i o n , c r e a t i o n ,
     c o - c r e a t i o n , u s e , and co-use, o f any and a l l c r e a t i o n ' ' s v a l u e , i n c l u s i v e
     of
     any and a l l t r a c k i n g , t r a n s f e r , appointment, assignment, g i f t , and growth

R U N G O F F I C E C O P Y - NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)



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                                                                                    IDA WILLIAMS
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                                                                                        E-RECORD                                                  25.00
 12. UME OF P A R T Y AUTHORIZING THIS AMENDMENT (sama aa ilwn 9 on Amandmant fomi)
      12a. ORGANIZATION'S NAME                                                          ESURCHARGE                                                 6.50
     BONDSERVANTS, TRUSTEES, AND                            STATES OF BODY
OR
     12b. INOIVIDtJAL'S LAST NAME               FIRSTNAME              MIDDLE NAME.SUFFIXI



13. Us« this Spaca for additional Information




                                                                                              THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY

     therefrom, under the p r i n c i p l e of common law, under the laws of the
     creator,
     under the laws of c r e a t i o n , and i s and s h a l l be i r r e v o c a b l y c a l l e d and
     known as CVAC, i n c l u s i v e of i t s p a r t s , the CVAC S t r u c t u r e , CVAC System,
     CVAC Network, and a l l the s u b - p a r t s t h a t may l a w f u l l y m a n i f e s t or be bound

     t h e r e u n d e r , as         follows:

     BY DECLARATION AND ORDER, the purpose of CVAC i s t o : 1.) p r e s e r v e and
     p r o t e c t any and a l l v a l u e of c r e a t i o n , i n c l u s i v e of the v a l u e of the
     c r e a t o r , i n c l u s i v e of any and a l l v a l u e a s s e t c e n t e r s t h e r e t o ; 2.)
     preserve,
     p r o t e c t , and implement the r i g h t of o p p o r t u n i t y of f r e e - w i l l of each, any
     and a l l c r e a t i o n ' ' s m a n i f e s t a t i o n s , i n any e x i s t e n c e , known and unknown;
     3.)
     t o s i m p l i f y and u n i f y the laws governing any and a l l of c r e a t i o n ' ' s
     m a n i f e s t a t i o n s , i n any and a l l e x i s t e n c e , known and unknown, and e n t e r s a i d

     g o v e r n i n g laws i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e d by p u b l i c
     r e g i s t r a t i o n , f o r a l l c r e a t i o n to r e l y upon; 4.) to i r r e v o c a b l y e n s u r e
     l a w f u l and t r a n s p a r e n t e x i s t e n c e , c o - e x i s t e n c e , knowledge, co-knowledge,
     custody, co-custody, o p e r a t i o n , c o - o p e r a t i o n , use, and co-use t h e r e o f ,
     i n c l u s i v e of any and a l l t r a c k i n g , t r a n s f e r , appointment, assignment, g i f t ,

     and growth             therefrom, under the laws of c r e a t i o n , f o r the h i g h e s t good o f
     a l l , under          f u l l p e r s o n a l l i a b i l i t y of c r e a t i o n ' ' s v a l u e a s s e t c e n t e r s , i n
     any and a l           l e x i s t e n c e and m a n i f e s t a t i o n , known and unknown; and, 5.) to
     p e r m i t the        r i g h t of o p p o r t u n i t y to l a w f u l l y l e d g e r and account to zero, any

     and a l l l i a b i l i t i e s t h a t may and do e x i s t i n any and a l l u n l a w f u l , or
     s t r u c t u r e s i n f e r i o r to the l a w f u l s t r u c t u r e , i n c l u s i v e of a l l owners,
     p a r t i c i p a n t s , and r e c i p i e n t s t h e r e t o , t h e r e u n d e r and t h e r e o f , t h a t may          and

     do e x i s t ;

     BY DECLARATION AND                     ORDER, the GOVERNING LAW               of CVAC i s and            s h a l l be    aligned

     w i t h the laws of the          c r e a t o r under the laws o f c r e a t i o n , w i t h the
     p r i n c i p l e of s a i d laws a l i g n e d w i t h the p r i n c i p l e of common law, and,
     unless
     dioplaood or p j o h i b i t o d by fehe l a ^ e »S axaahioni tha l a v o of the egaafeeM,
R U N G O F R C E C O P Y - N A T I O N A L UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)



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                                                                                     WASH DC RECORDER OF DEEDS
                                                                                     IDA WILLIAMS
UCC FINANCING STATEMENTAMENDMENT ADDENDUM RECORDER OF DEEDS
roUOW INSTTtUCTIONS (front and back) CAREFlJtLY
                                                                                     Doc Type: EFINANCING
 l i . INITIAL RNANCING STATEMENT R L E # (sanw as ilam 1a on Amandmant forni)
                                                                                         PROCESSING                                                5.00
          2000043135
                                                                                         E-RECORD                                                 25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (sama aa ilam 9 on Amandmant fomi)
         12a. Of^GANIZATKJN-S f4AME                                                      ESURCHARGE                                                6.50
      BONDSERVANTS, TRUSTEES, AND                           STATES OF BODY
OR
     12b, INDIVIDUAL'S LAST NAME               FIRSTNAME                MIDDLE NAME.SUFFIX



13. Us« tMs spacs for additional Information




                                                                                              THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY

     o r d e r to d u l y m a n i f e s t and o p e r a t e l a w f u l systems and networks operated
     thereunder to be absent of, and p r o t e c t e d from, undue i n f l u e n c e , s p e c i a l
     i n t e r e s t s and s e l f - i n t e r e s t of any k i n d t h a t may harm, i n c l u s i v e of
     v i o l a t i o n , u s u r p a t i o n , or i n v a s i o n , of any and a l l c r e a t i o n ' ' s v a l u e a s s e t

     c e n t e r s , t h a t were, a r e , or e v e r w i l l be m a n i f e s t e d and                 created,        i n any      and

     a l l e x i s t e n c e , known and unknown, under the laws of c r e a t i o n , and                                  the    laws

     of the c r e a t o r           thereunder;

     BY DECLARATION AND ORDER, the INITIATION and ISSUANCE of any and a l l
     e x i s t e n c e and a c t i v i t y of c r e a t i o n and the c r e a t o r ' ' s v a l u e i s and s h a l l
     always be i n i t i a t e d and i s s u e d d i r e c t l y , by each, any and a l l c r e a t i o n ' ' s
     v a l u e a s s e t c e n t e r s t h e r e t o , a b s e n t accommodation, agreement, t a c i t or
     o t h e r w i s e , i n c l u s i v e of any and a l l e x i s t e n c e and a c t i v i t y of custody,
     co-custody, o p e r a t i o n , c o - o p e r a t i o n , c r e a t i o n , c o - c r e a t i o n , use, and
     co-use,
     i n c l u s i v e of any and a l l t r a c k i n g , t r a n s f e r , appointment, assignment, and
     growth therefrom; I n i t i a t i o n and I s s u a n c e i s and s h a l l be made knowingly,
     w i l l i n g l y and i n t e n t i o n a l l y , done w i t h o u t p r e j u d i c e by o r i g i n a l s i g n a t u r e
     and s e a l of each, any and a l l c r e a t i o n ' ' s v a l u e a s s e t c e n t e r s , w i t h f u l l
     p e r s o n a l l i a b i l i t y , sworn under the p e n a l t y of p e r j u r y under the p r i n c i p l e

     o f common law, under the laws of the c r e a t o r , under the laws of c r e a t i o n ,
     p r e s e r v e d by p u b l i c p o l i c y , t h a t the f o r e g o i n g i s t r u e and a c c u r a t e ; Each,

     any and         a l l I n i t i a t i o n and         Issuance   s h a l l be    i n the FORM or ORDER of                   lawful

     c o n t r a c t e n t e r e d i n t o by two or more of c r e a t i o n ' ' s v a l u e a s s e t c e n t e r s ,
     i n c l u s i v e of c o n s t i t u t i o n or t r e a t y , h e r e a f t e r c o n t r a c t ; S a i d c o n t r a c t i s
     and s h a l l be p e r f e c t e d as l a w f u l when e n t e r e d i n t o I n t e r n a t i o n a l Law
     Ordinance, n o t i c e d by p u b l i c r e g i s t r a t i o n f o r a l l c r e a t i o n ' ' s v a l u e a s s e t
     c e n t e r s to r e l y upon, which i s a c c o m p l i s h e d by f i l i n g on the o f f i c i a l
     Uniform Commercial Code r e g i s t r y ( i e s ) ;

     Lawful s t r u c t u r e defined:       The s t r u c t u r e under which c r e a t i o n extends and
     expands by m a n i f e s t a t i o n i n v a r i o u s forms, i n any and a l l e x i s t e n c e , known

     and unknown; Any and a l l m a n i f e s t a t i o n s e x i s t i n g , c o - e x i s t i n g , o p e r a t i n g ,
     and 0 0 opogating, i n u n i t y y gea? the puapooo ef ^he highoot. good e f a l l
R U N G O F R C E COPY -   NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)



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UCC FINANCING STATEMENTAMENDMENT ADDENDUM RECORDER OF DEEDS
FOLLOW INSTRUCTIONS (front and bacK) CAREFULLY
                                                                                       Doc Type: EFINANCING
11. INITIAL FINANCING STATEMENT FILE # (sim* M itam 1a on Amandmwit fomi)
       2000043135                                                                          PROCESSING                     $                        5.00
                                                                                           E-RECORD                       $                       25.00
 12. NAK« OF P A R T Y AUTHORIZING THIS AMENDMENT (satn* aa itam 9 on Am«n<lmanl fotm)
      12a. ORGANIZATION'S NAME                                                             ESURCHARGE                     $                        6.50
      BONDSERVANTS, TRUSTEES, AND                             STATES OF BODY
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME                    MIDDLE NAME.SUFFIX



13. Us« this spat» for additional Information




                                                                                                   THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY

      A l l c r e a t i o n ' ' s e x t e n s i o n s and e x p a n s i o n s , i n any and a l l m a n i f e s t a t i o n s ,
      known and unknown, o p e r a t i n g under the l a w f u l s t r u c t u r e , p u r s u a n t to the
      g o v e r n i n g law s e t f o r t h and r e q u i r e d h e r e i n , a r e deemed l a w f u l ; F r e e w i l l

     of c h o i c e of any and a l l c r e a t i o n ' ' s e x t e n s i o n s and e x p a n s i o n s a r e
     guaranteed by the l a w f u l s t r u c t u r e , i n c l u s i v e of the r e s p o n s i b i l i t y ,
     l i a b i l i t y and a c c o u n t a b i l i t y n a t u r a l l y and i n h e r e n t l y f l o w i n g therefrom;
     The
     f r e e w i l l of c h o i c e i n s u r e s t h a t the e x t e n s i o n s and e x p a n s i o n s of c r e a t i o n

     may c r e a t e o t h e r s t r u c t u r e s f o r the purpose of s e l f i n t e r e s t and s p e c i a l
     i n t e r e s t of each e x t e n s i o n and expansion of c r e a t i o n to know i t s t r u e
     nature
     and s o u r c e ; Other s t r u c t u r e s a r e p e r m i t t e d i n so f a r as those o t h e r
     s t r u c t u r e s do not usurp, v i o l a t e , or invade the i n t e r e s t s and the h i g h e s t
     good of any and a l l o t h e r e x t e n s i o n s and e x p a n s i o n s of c r e a t i o n ; Any and
     all
     i n f e r i o r s t r u c t u r e s , networks and systems to the l a w f u l s t r u c t u r e h e r e i n
     d e f i n e d , may be deemed l a w f u l o n l y i n so f a r as they do not u s u r p , v i o l a t e ,

     o r i n v a d e the l a w f u l s t r u c t u r e and the i n t e r e s t s , s t a n d i n g , a u t h o r i t y ,
     v a l u e and r i g h t s of the h i g h e s t good of a l l or any p a r t c r e a t i o n , i n c l u s i v e

     of c r e a t i o n ' ' s v a l u e          a s s e t c e n t e r s as d e f i n e d    i n t h i s DECLARATION          AND
     ORDER;
     The immetiiate implementation of the CVAC, i n c l u s i v e of any and a l l l a w f u l
     s t r u c t u r e s , networks, and systems thereunder, by oath and bond sworn under

     p e n a l t y of p e r j u r y under the governing law as s e t f o r t h and                                 required
     herein,

     and d u l y submitted to the d u l y bonded guard. The                                       P u b l i c T r u s t , through i t s

     undersigned Trustees,                        w i t h t h e i r due     r e c e i p t entered into International                  Law

     Ordinance, n o t i c e d by p u b l i c r e g i s t r a t i o n , under a b s o l u t e                   transparency         and
     with t h e i r f u l l personal l i a b i l i t y ,                  made and          done by oath and bond as s e t
     f o r t h and r e q u i r e d h e r e i n ;

      ***THE CVAC I S                  PRE-PAID, PRE-AUTHORIZED, AND                          PRE-APPROVED***

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UCC FINANCING STATEMENTAMENDMENT ADDENDUM RECORDER OF DEEDS
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
                                                                                     Doc Type: EFINANCING
 11. INITIAL RNANCING STATEMENT R L E # (sam* as ilam 1a on Amandmant fomi)
                                                                                         PROCESSING                    $                                  5.00
        2000043135
                                                                                         E-RECORD                      $                                 25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (sam* aa ilam 9 on Anwndmant fomi)
       12a. ORGANIZATION'S NAME                                                          ESURCHARGE                    $                                  6.50
     BONDSERVANTS, TRUSTEES, AND STATES OF BODY
OR
     12b. INDIVIDUAL'S LAST NAME                  FIRSTNAME                   MIDDLE NAME.SUFFixi



13. Usa this spaca for additional information




                                                                                                     THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY

     r e g i s t r a t i o n , t o c r e a t i o n , t h e c r e a t e d , i n c l u s i v e o f any and a l l
     c r e a t i o n ' ' s v a l u e a s s e t c e n t e r s , i n any and a l l m a n i f e s t a t i o n and
     existence,
     known and unknown, without e x c e p t i o n , f u r t h e r by i n t e r n a l d e l i v e r y methods

     as w e l l a s open n o t o r i o u s n o t i c e by p u b l i c r e g i s t r a t i o n and p u b l i s h i n g on
     the world-wide web a t www.peoplestrustl776.org;

     NOTICE TO PRINCIPAL I S NOTICE TO AGENT; NOTICE TO AGENT I S NOTICE TO
     PRINCIPAL;

     DULY MADE, DONE, AUTHORIZED, ORDERED, and ISSUED, October 21, 2012, and
     KNOWINGLY, WILLINGLY, AND INTENTIONALLY RESTATED, RE-RATIFIED, RECONFIRMED,

     V E R I F I E D , INSURED, and GUARANTEED, b e i n g o f a b s o l u t e s t a n d i n g , a u t h o r i t y ,
     and c a p a c i t y , sworn under t h e p e n a l t i e s o f p e r j u r y governed under t h e laws

     of our c r e a t o r , by our bond and oath, e v i d e n c e d by our o r i g i n a l s i g n a t u r e
     and s e a l , made w i t h u n l i m i t e d p e r s o n a l l i a b i l i t y ; Duly r a t i f i e d ; Without
     p r e j u d i c e a s promised, p r e s e r v e d and p r o t e c t e d by p x i b l i c p o l i c y , i n c l u s i v e

     o f UCC 1-308, and any and a l l former the U n i t e d S t a t e s o f America F e d e r a l
     Government, UNITED STATES, U n i t e d S t a t e s , STATE OF . . ., S t a t e o f . . .,
     and i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r UCC 1-308:

     / s / Heather Ann T u c c i - J a r r a f , bondservant t o the c r e a t o r ; / s / C a l e b Paul
     S k i n n e r , bondservant t o the c r e a t o r ; / s / H o l l i s R a n d a l l H i l l n e r ,
     bondservant t o the c r e a t o r ; Duly D e c l a r e d and Reconfirmed a s S t a t e d , UCC
     1-308: / s / Heather Ann T u c c i - J a r r a f , a s s t a t e o f body and c u s t o d i a n o f
     value
     d o m i c i l t h e r e i n , NUNC PRO TUNC; / s / C a l e b P a u l S k i n n e r , a s s t a t e o f body
     and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC PRO TUNC; / s / H o l l i s R a n d a l l
     H i l l n e r , a s s t a t e o f body and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC PRO

     TUNC; Duly Accepted and R a t i f i e d f o r Immediate Enforcement, UCC 1-308: / s /

     Heather Ann T u c c i - J a r r a f , a s T r u s t e e ; / s / C a l e b P a u l S k i n n e r , a s T r u s t e e ;
     / s / H o l l i s Randall H i l l n e r , as Trustee;

     The c r e a t o r          b e i n g the c r e a t o r o f a l l t h a t e v e r was, e v e r i s , and e v e r
     Miill,      i n o l u o i v o    of        t h o   ocvai-al   efca^aaa    o f   boely/    -fehc   o n a p o o p l a ;   T h e   Bwaafead
FlUNG O F R C E C O P Y - NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)



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 12. NAMEOF P A R T Y AUTHORIZING THIS AMENDMENT (sam* a» itam 9 on Amandmant fomi)
      12a. ORQANIZATIOWS NAME                                                           ESURCHARGE                                                 6.50
     BONDSERVANTS, TRUSTEES, AND STATES OF BODY
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME                    MIDDLE NAME.SUFFIX



13. Use this spaca for addlllonal information




                                                                                                   THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY

     e v e r i s , and e v e r w i l l be, i n c l u s i v e o f t h e s e v e r a l s t a t e s o f body b e i n g
     the one people d o m i c i l by c r e a t i o n i n s a i d s t a t e s o f body, the body d o m i c i l

     by c h o i c e on t h e a i r s ,               l a n d s , and s e a s d o m i c i l by c r e a t i o n on and i n e a r t h ;

     E a r t h b e i n g t h e u l t i m a t e S u p e r i o r C u s t o d i a n o f a l l t h a t i s d o m i c i l by
     c r e a t i o n thereupon; The U n i t e d s t a t e s o f America 1781 c o n s t r u c t i o n ,
     original
     n a t i o n a l s t a t e ; S a i d P a r t i e s c o r r e c t e d above due t o automated f i l i n g
     systems a l t e r i n g o r i g i n a l c a p a c i t y ( i e s ) and s t a n d i n g ( s ) , c o r r e c t i o n


     Debtor names added f o r i n d e x i n g

     the one p e o p l e , c r e a t e d by t h e c r e a t o r , s t a t e s o f body
     The (former) U n i t e d S t a t e s F e d e r a l Government
     (former) UNITED STATES
     the (former) s e v e r a l STATES OF . . .
     and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s
     CHARLES C. MILLER [AN A R T I F I C I A L PERSON S LEGAL FICTION]
     CHARLES C MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C. MILLER D/B/A CHARLES C. MILLER


     Debtor names added f o r i n d e x i n g

     THE     ONE P E O P L E ,        CREATED B Y THE CREATOR,                    STATES      O F BODY
     THE      (FORMER) U N I T E D              STATES      FEDERAL       GOVERNMENT
      (FORMER) U N I T E D             STATES
     THE      (FORMER)          SEVERAL          STATES     OF   . . .
     AND A N Y AND A L L I N T E R N A T I O N A L               EQUIVALENTS
     CHARLES         C. M I L L E R        [AN A R T I F I C I A L    PERSON      & LEGAL         FICTION]
     CHARLES         C      MILLER         [AN A R T I F I C I A L    PERSON      & LEGAL         FICTION]
     CHARLES         C. M I L L E R D/B/A C H A R L E S              C. M I L L E R




 FlUNG O F F I C E C O P Y — NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)



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                                ANNEX 35

                              Case No. 1:17 mj-531




  TITLE                          DESCRIPTION                           PAGES


 Annex 35                UCC record number 2012114093                      1-7




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                                                                                                                   IDA WILLIAMS
 UCC FINANCING STATEMENTAMENDMENT                                                                                  RECORDER OF DEEDS
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  IA NAME a PHONE OF CONTACT AT FILER [opfonal]
                                                                                                                   Doc Type: EFINANCING
     The One Peoples P u b l i o T                             253-509-4597                                            PROCESSING                                                                    5.00
  B. SEND ACKNOWLEDGMENT TO: (Nama and Address)                                                                       E-RECORD                                                                      25.00

            r                                                                                    1
                                                                                                                      ESURCHARGE                                                                     6.50


     The One Peoples P u b l i c T r u s t 1776


     Gig Harbor, WA 98335
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                                                                                                                 THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
 le. INITIAL FINANCING STATEMENT FILE #
                                                                                                                                      1b. This FINANCING STATEMENT AMENDMENT Is
     2000043135 - 5-4-2000                                                                                                            r-j       "led(forrecon))(orrecorded)inlhe

          TERMINATION: Effectiven^. ofFinanongSlatmnertid.n.J«l abo^,s l«nh,n..«d^|h r.sp«>to s«:untylhlem«t(s) o f t h e s i l l S r t h ^ ' r n o m ^ T ' Z ' n . a ^ a , , , . ^

                                                                                                                                                         this Conbnuetion Statement is

 4. •     ASSIGNMENT (fuH or paniai): Giv. nam, of assignee in item 7a or 7b and aodress of assign., in itam 7c: and also give nam, of assignor in Hem 9

 5. AMENDMENT (PARTY INFORMATION): This Amandment affects [Joebtor « | J Secured Party of record. Check only sns of these two box.s.
    Also checkfiojof the fbllowing Ihrw boxes ami provide appropnate infomialion in It.ms 6 and'or 7.
       CHANGE name and/or address Give current record name in item ca or 6b: also give new          n DELETE name- Giverecordnamo              r-i
   •   name lif name chanoe) in Item 7a or 7b and/or new addmss nf adc-e%s change) in tem 7c.       • lo t i f d e l S n itll^ 6?S? Sb °       ADD • namo: Complete Item 7a or 7b, and also
                                                                                                                                                ilam 7c: also comoiete items 7d.7nfifacolicable|.
 6. CURRENT RECORD INFORMATION:                                                                                                            11
     6a. ORGANIZATION'.'! NAMP                                             •"      —


 OR
        w. iiiui¥iL#u«uiJiJ'*oi nAMC                                                'rlRST>4AME                                      MIDDLE NAME                                 SUFFIX
                                                                                    i
 7. C



 OR
             THE ONE PEOPLE, CREATED BY THE CREATOR, STATES OF BODY
        tu. ii^t./iviuuHua LAdi n^MMt:                                              FIRST NAME                                     1 MIDDLE NAME
                                                                                                                                                                                 SUFFIX


                                                                                    ICITY                                            STATE         POSTAL CODE                   COUNTRY

fti TAV in 41' ecki i^a t^iKi
/a, lAAiDfF. SSN OR ElN ADD'LINFORE |7e. TYPE OF ORGANIZATION                      ;7I. JURISDICTION OF ORtSANrZATION                7g. ORGANIZATIONAL ID #. if any
                              ORGANIZATION                                        i
                              DEBTOR       1                                      1




 ALL RIGHTS RESERVED WITHOUT PREJUDICE: UCC Doc. # 2000043135, t h e
 p e r p e t u i t y , hereby amended o n l y t o i n c l u d e the f o l l o w i n g addi-tional
 c o l l a t e r a l as follows:

 UCC 3-501 NOTICE AND DEMAND

 ENTRY OF ADDITIONAL DEBTOR: BANK FOR INTERNATIONAL SETTLEMENTS ( B I S ) , a t
 any and a l l l o c a t i o n s , i n c l u s i v e o f C e n t r a l b a h n p l a t z 2, B a s e l , S w i t z e r l a n d ,
 CH-4002 B a s e l , T e l . (+41 61) 280 8080, F a x (+41 61) 280 9100 and (+41 61)


      9a. ORGANIZATION'S NAMF                                           ——                              >-*•                               .

        THE SEVERAL UNITED STATES OF AMERICA, PUBLIC TRUST
OR
      sro. inuiviuu/xuo Lrtai NMMt                                                  FIRST NAME                                      MIDDLE NAME                                 SUFFIX

10. c

        Without          p r e j u d i c e , u c c 1-308:/s/ Heather Ann T u c c i - J a r r a f , a s T r u s t e e
FILING O F F I C E COPY - NATIONAL U C C FINANCING STATEMENT AMENDMENT (FORM UCC3) (REV. 07/29/98)



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                                                                                       Doc# : 2012114093
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                                                                                   Date: 10/23/2012            9:24AM
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                                                                                   O f f i c i a l Records o f
                                                                                   WASH DC RECORDER OF DEEDS
                                                                                   IDA WILLIAMS
U C C FINANCING S T A T E M E N T A M E N D M E N T A D D E N D U M RECORDER OF DEEDS
FOLLOW INSTRUCTIONS (froiK and back) CAREFULLY
                                                                                   Doc Type: EFINANCING
l i INITIAL RNANCING STATEMENT R L E # (sanw n itam la on Amandm«« fomi)
      2000043135                                                                       PROCESSING                                            5.00
                                                                                      E-RECORD                                              25.00
 12. NAMEOF P A R T Y AUTHORIZING THIS AMENDMENT (lamaaa ilam 9 on Amandmant fomi)
                                                                                      ESURCHARGE                                             6.50
      THE SEVERAL UNITED STATES OF AMERICA, PUBLIC
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME        MIDDLE NAME.SUFFIXI



13. Usa Ihis spaca for addlllonal Information




                                                                                        THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY


      Additional c o l l a t e r a l               info

      280 8100, E m a i l o f                   email@bis.org, UCC Doc #         2012079322;

      Ref Account Name: UNITED STATES; UNITED STATES OF AMERICA; any and a l l
      i n c l u s i v e o f ALL i d e n t i f i e r s , s o c i a l s e c u r i t y numbers, a b b r e v i a t i o n s , idem

     sonans, o r o t h e r l e g a l , f i n a n c i a l and m a n a g e r i a l forms, a s d e f i n e d and
     i d e n t i f i e d by Bank F o r I n t e r n a t i o n a l S e t t l e m e n t s ' ' 82nd Annual Report, 1
     A p r i l 2011-31 March 2012, r e s t a t e d and i n c o r p o r a t e d i n i t s e n t i r e t y by
     reference as i f s e t forth i n f u l l ;

     •Annexes: UCC Doc # 2012079290, 2012079322, 2012088851, 2012088865,
     2012086794, 2012086802, 2012094308, 2012094309, 2012096047, 2012096074;
     * R e - s t a t e d and i n c o r p o r a t e d i n t h e i r e n t i r e t y h e r e by r e f e r e n c e a s i f s e t
     f o r t h i n f u l l , d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, d u l y
     protected
     by p u b l i c p o l i c y , i n c l u s i v e o f UCC 1-103, and any and a l l t h e former
     U n i t e d S t a t e s o f America F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s ,

     STATE OF . . .,
      S t a t e o f . . ., and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r UCC
     1-103; d u l y e n t e r e d .

     D e l i v e r y by Fax, e m a i l , and a d d i t i o n a l n o t i c e and d e l i v e r y v i a world-wide
     web a t www.peoplestrustl776.org

     UCC 3-501: NOTICE OF MISTAKE; NOTICE OF INSECURITY; NOTICE OF OPPORTUNITY
     TO CURE; REQUEST TO CURE

     BIS:

     P u r s u a n t t o n o t i c e s g i v e n , UCC 1-202(d) and any and a l l i n t e r n a t i o n a l
     e q u i v a l e n t s , by The P u b l i c T r u s t t o B I S , t h e r e f o r e c o n s t i t u t i n g B I S ' '
     notice
     and knowledge t h e r e o f , UCC 1-202 ( a ) - (c) and any and a l l i n t e r n a t i o n a l
     e q u i v a l e n t s , s p e c i f i c a l l y t h e l a w f u l and l e g a l s t a t u s o f due t i t l e ,
     ownership, h o l d e r - i n - d u e - c o u r s e , t h e d u l y bonded R e p r e s e n t a t i v e T r u s t e e s o f


FlUNG O F F I C E C O P Y - NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                                                                      WASH DC RECORDER OF DEEDS
                                                                                      IDA WILLIAMS
U C C FINANCING S T A T E M E N T A M E N D M E N T A D D E N D U M RECORDER OF DEEDS
FOLLOW INSTRUCTIONS (front and back) CARERJLLY
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l i INITIAL RNANCING STATEMENT R L E # {um, M llm la on Amandmant fomi)
       2000043135                                                                         PROCESSING                                                   5.00
                                                                                         E-RECORD                                                     25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (sama aa ilam 9 on Amandmant forni)
      12a. ORGANIZATION'S NAME                                                           ESURCHARGE                                                    6.50
       THE SEVERAL UNITED STATES OF AMERICA                                  PUBLIC
OR
      12b. INOIVIDIML'S LAST NAME               IFIRST NAME                MIDDLE NAME.SUFFIXI



13. Usa this spaca for addlllonal Information




                                                                                            I     THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY

      r e c o r d t h e r e t o , p u b l i c p o l i c y , UCC 1-201 ( 31) and (33) and any and a l l
      i n t e r n a t i o n a l e q u i v a l e n t s , B I S " a u t h o r i z e d r o l e a s c u s t o d i a n o f v a l u e on
      d e p o s i t from i n c e p t i o n o f account a c t i v i t y , and t h e p r i n c i p l e o f common l a w

      under t h e laws o f t h e c r e a t o r under t h e laws o f c r e a t i o n g o v e r n i n g t h e
      above r e f e r e n c e d A c c o u n t ( s ) , d u l y p r e s e r v e d and s e c u r e d by p u b l i c p o l i c y ,
      UCC 1-103 and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s , d u l y s e c u r e d and
      e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e d by p u b l i c r e g i s t r a t i o n ,
      p u r s u a n t t o p u b l i c p o l i c y , UCC Doc # " s 2012079290, 2012079322, 2012088851,

     2012088865, 2012086794, 2012086802, 2012094308, 2012094309, 2012096047,
     2012096074, r e s t a t e d i n t h e i r e n t i r e t y a s i f s e t f o r t h i n f u l l ; B I S d u l y
     bound thereunder t o t h e c o n t r o l l e r o f t h e above r e f e r e n c e d d e p o s i t
     accounts,
     p u b l i c p o l i c y , UCC 9-104 by a c c e p t a n c e o f o f f e r made by agreement f o r
     performance o r a c c e p t a n c e under r e s e r v a t i o n o f r i g h t s w i t h o u t p r e j u d i c e ,
     p u b l i c p o l i c y , UCC 1-308 and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s , d u l y
     s e c u r e d , UCC Doc# 2012079322, r e s t a t e d , NUNC PRO TUNC, PRAETEREA PRETEREA;



     NOTICE OF MISTAKE:                         On October 22, 2012, w i t h o u t c a u s e , and i n v i o l a t i o n o f

     p u b l i c p o l i c y , UCC 1-304 a s d e f i n e d by UCC 1-201 ( 20) and any and a l l
     i n t e r n a t i o n a l e q u i v a l e n t s , B I S , through t h e a c t i o n s and i n - a c t i o n s o f i t s
     employees, i n c l u s i v e o f a man, who d i d i d e n t i f y h i m s e l f t o t h e u n d e r s i g n e d

     T r u s t e e s o f Secured P a r t y a s t h e head o f s e c u r i t y f o r B I S , M a r t i n L o v i e ,
     who

     d i d e x i t the secured                   f a c i l i t y of BIS located a t Centralbahnplatz                       2, B a s e l ,

     S w i t z e r l a n d , e n t e r i n t o t h e u n s e c u r e d lobby o f B I S , same l o c a t i o n , and d i d

     u n l a w f u l l y and i l l e g a l l y          r e f u s e o r r e j e c t t h e d u l y made r e q u e s t by t h e d u l y

     bonded u n d e r s i g n e d T r u s t e e s o f account h o l d e r . Secured P a r t y , p u b l i c
     p o l i c y , UCC 1-201(13) and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s , o f t h e
     above r e f e r e n c e d account ( s ) , t o p h y s i c a l l y e n t e r i n t o t h e s e c u r e d B I S
     f a c i l i t y , l o c a t e d a t C e n t r a l b a h n p l a t z 2, B a s e l , S w i t z e r l a n d , t h e d u l y
     s e c u r e d C u s t o d i a n , i n o r d e r t o d u l y i n s p e c t s a i d r e f e r e n c e d a c c o u n t ( s ) and

— m o a t           Hhth      t h o Cuofaodiano;              a e »e.ll a a L'Qfueaigl eg g g j o o f c o d » h e        L-ttquaate tiM
FlUNG O F F I C E C O P Y - N A T I O N A L U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                                                                      WASH DC RECORDER OF DEEDS
                                                                                      IDA WILLIAMS
UCC FINANCING STATEMENTAMENDMENT ADDENDUM RECORDER OF DEEDS
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11 INITIAL RNANCING STATEMENT R L E # (sim* as it*m 1* on Am«Kjm*n( lam)
       2000043135                                                                         PROCESSING                                                5.00
                                                                                         E-RECORD                                                  25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (s«m* *»       9 on Am*n<lm«nt lam)
      12*. ORGANIZATION'S NAME                                                           ESURCHARGE                                                 6.50
      THE SEVKRAL UNITKD STATES OF AMERICA, PUBLIC ft
OR
     12b. INDIVIDUAL'S LAST NAME               FIRSTNAME                 MIDDU NAME.SUFFIXI



13. Usa INs space for additional Information




                                                                                         i     THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY
      a u t h o r i t y t o r e f u s e e n t r a n c e o f and i n s p e c t i o n by Secured P a r t y , account
      owner, c o n t r o l l e r , and co-owner o f B I S ; DEMAND f o r a d u l y a u t h o r i z e d
      C u s t o d i a n o r Employee, a b l e t o l a w f u l l y and l e g a l l y b i n d B I S , t o produce by

      October 23, 2012, 6:00 P.M., GMT +2, d e l i v e r e d t o and r e c e i v e d by e m a i l a t

     h e a t h e r ( a p e o p l e s t r u s t l 7 7 6 . o r g , c a l e b ( a p e o p l e s t r u s t l 7 7 6 . o r g , and
     r a n d a l l @ p e o p l e s t r u s t l 7 7 6 . o r g , v a l i d and v e r i f i a b l e i d e n t i f i c a t i o n and
     lawful
     a u t h o r i t y o f B I S t o r e f u s e Secured P a r t y ' ' s r e q u e s t s made and i d e n t i f i e d
     h e r e i n , o r to otherwise
      r e f u s e and deny Secured                   P a r t y a c c e s s and u n f e t t e r e d u s e o f Secured         Party''s

     p r o p e r t y , o r Secured P a r t y ' ' s s t a n d i n g a u t h o r i t y ; S a i d demand now d u l y
     e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e d by p u b l i c r e g i s t r a t i o n ;

     NOTICE OF INSECURITY: F o r cause, t h e Secured P a r t y , through i t s
     u n d e r s i g n e d d u l y bonded R e p r e s e n t a t i v e s , T r u s t e e s , o f r e c o r d , does deem
     i t s e l f i n s e c u r e and b e l i e v e s i n good f a i t h t h a t t h e p r o s p e c t o f payment o r

     performance i s impaired, p u b l i c p o l i c y , UCC 1-309 and any and a l l
     international equivalents;

     NOTICE OF ACCELERATION AT WILL:                              I t i s a matter o f p u b l i c record, that BIS

     does h o l d , commandeer, o r o t h e r w i s e p o s s e s s v a s t and u n l i m i t e d r e s o u r c e s ,
     whether u n l a w f u l o r i l l e g a l , t h a t may be used t o e x e r t u n l a w f u l and i l l e g a l

     undue i n f l u e n c e a g a i n s t , and t o cause f u r t h e r damage t o Secured P a r t y a t
     w i l l ; T h e r e f o r e , f o r c a u s e . Secured P a r t y does e x e r c i s e i t s o p t i o n t o
     a c c e l e r a t e a t w i l l t h e : (1. )UCC 3-501, N o t i c e o f M i s t a k e , N o t i c e o f
     I n s e c u r i t y , Opportunity t o Cure, Request t o Cure; (2.) UCC 3-501, N o t i c e o f

     D e f a u l t , Demand f o r Payment; (3.) UCC 3-501, N o t i c e o f S a l e , Demand f o r
     Payment; and, (4.) UCC 3-501, N o t i c e o f F o r e c l o s u r e , N o t i c e o f
     Repossession,
     of any and a l l v a l u e and p r o p e r t y o f Secured P a r t y , s t o r e d i n t h e above
     r e f e r e n c e d a c c o u n t ( s ) , and t o t e r m i n a t e a l l r e l a t i o n s h i p s , memberships, and

     ownership o f B I S by t h e Secured                       Party;

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                                                                                     WASH DC RKCORDER OF DEEDS
                                                                                     IDA WILLIAMS
UCC FINANCING STATEMENT A M E N D M E N T A D D E N D U M IRECORDER OF DEEDS
FOLLOW INSTRUCTtONS (from and back) C A R E R J L L Y
                                                                                     Doc Type: KFINANCING
11. INITIAL RNANCING STATEMENT R L E # (sima M llim la on
       2000043135                                                                        PROCESSING                    $                       5.00
                                                                                        E-RECORD                       $                       25.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (aam* aa ilam 9 on Amaodmani fomi)
      12a. ORQAMZATIOKS NAME                                                            ESURCHARGE                     $                       6.50
       THE SEVERAL UNITKD STATKS OF AMKRICA, PUBLIC Q
OR
      12b. INOIVIDtlAL'S LAST NAME              iFIRST NAME          MIDDLE NAMtSUFFIXl



13. U M thia spaca for additional Infomiation




                                                                                      I    THE ABOVE SPACE 13 FOR R U N G O F R C E USE OM.Y
      d e l i v e r i n g , v i a email to heather@peoplestrustl776.org,
      c a l e b @ p e o p l e s t r u s t l 7 7 6 . o r g , and r a n d a l l @ p e o p l e s t r u s t l 7 7 6 . o r g , by October
      23, 2012, 6:00 P.M., GMT +2, a v a l i d w r i t t e n i n v i t a t i o n and c o n f i r m a t i o n
      for
      the undersigned T r u s t e e s , and the A d v i s o r R e p r e s e n t a t i v e , o f Secured P a r t y

      to e n t e r B I S , C e n t r a l b a h n p l a t z 2, B a s e l , S w i t z e r l a n d , on October 24,             2012,

      9 A.M., GMT +2, i n o r d e r t o i n s p e c t the above r e f e r e n c e d a c c o u n t ( s ) , and
      meet w i t h the C u s t o d i a n s ; and, 2. The C u s t o d i a n s , i n p a r t o r i n whole,
      meeting w i t h the u n d e r s i g n e d T r u s t e e s a t B I S , C e n t r a l b a h n p l a t z 2, B a s e l ,
      S w i t z e r l a n d , on October 24, 2012, 9 A.M., GMT +2, i n c l u s i v e o f a t r u e ,
      a c c u r a t e , and complete r e v i e w b e i n g made o f the above r e f e r e n c e d a c c o u n t ( s )

     by s a i d undersigned T r u s t e e s ;

     REQUEST FOR CURE: The Secured P a r t y , through i t s d u l y bonded
     R e p r e s e n t a t i v e T r u s t e e s o f r e c o r d , does r e q u e s t t h a t B I S and the           Custodians

     do f o r t h w i t h c u r e a s r e q u e s t e d h e r e i n . F a i l u r e t o c u r e , does and s h a l l
     r e s u l t i n B I S c o n f i r m i n g the m i s t a k e i s a c t u a l l y a knowing, w i l l i n g , and
     i n t e n t i o n a l d e f a u l t a g a i n s t Secured P a r t y by B I S t o perform i t s d u t i e s ,
     o b l i g a t i o n s , and s e r v i c e s a s C u s t o d i a n a s d u l y s e c u r e d , UCC Doc No.
     2012079322 and s h a l l be f o r t h w i t h s u b j e c t t o F o r e c l o s u r e , R e p o s s e s s i o n ,
     S a l e , Suspension, R e v o c a t i o n , o r C a n c e l l a t i o n o f C h a r t e r , o r o t h e r l a w f u l
     action.

     A FACSIMILE OR                  DIGITAL COPY OF THIS ORIGINALLY EXECUTED WRITTEN NOTICE OF

     MISTAKE, DEMAND FOR RELEASE AND OPPORTUNITY TO CURE SHALL BE LEGALLY
     BINDING AS AN ORIGINAL AND I T I S EFFECTIVE IMMEDIATELY.

     SO I T I S DONE; DULY EFFECTIVE, DONE, AUTHORIZED, ORDERED, and ISSUED,
     October 23, 2012, knowingly, w i l l i n g l y and i n t e n t i o n a l l y made w i t h
     unlimited
     p e r s o n a l l i a b i l i t y , sworn under the p e n a l t i e s o f p e r j u r y governed under the

     p r i n c i p l e o f common law, under the laws o f the c r e a t o r , under the laws o f
     c r e a t i o n ; Duly w i t n e s s e d , s e c u r e d , e n t e r e d and n o t i c e d ; w i t h o u t p r e j u d i c e
     as

FlUNG O F F I C E C O P Y - NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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R a a O W INSTRUCTIONS (front and back) CAREFULLY
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11. INITIAL FINANCING STATEMENT R L E # {um n lt«n la on Amandmant fonii)
       2000043135                                                                      PROCESSING                                                   5.00
                                                                                       E-RECORD                                                    25.00
12. NAMEOF P A R T Y AUTHORIZING THIS AMENDMENT (aam* aa ilam 9 on Amandmant fomi)
      12*. ORGANIZATION'S NAME                                                        ESURCHARGE                                                    6.50
      THE SEVERAL UNITED STATES OF AMERICA                                 PUBLIC fl
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME                MIDDLE NAME.SUFFIX



13. Usa this spaca for additional Information




                                                                                               THE ABOVE SPACE 13 FOR R U N G O F R C E USE OW.Y
      / s / Heather Ann T u c c i - J a r r a f , a s T r u s t e e ; / s / Caleb P a u l S k i n n e r , a s
      T r u s t e e ; / s / H o l l i s R a n d a l l H i l l n e r , a s T r u s t e e ; Duly A u t h o r i z e d and
      Ordered, UCC 1-308: / s / Heather Ann T u c c i - J a r r a f , bondservant t o t h e
      c r e a t o r ; / s / Caleb P a u l S k i n n e r , bondservant t o the c r e a t o r ; / s / H o l l i s
      R a n d a l l H i l l n e r , bondservant t o the c r e a t o r ; Duly D e c l a r e d and Reconfirmed

      as S t a t e d , UCC 1-308: / s / Heather Ann T u c c i - J a r r a f , a s s t a t e o f body and
      c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC PRO TUNC; / s / C a l e b P a u l S k i n n e r ,

     as s t a t e o f body and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC PRO TUNC; / s /

     H o l l i s R a n d a l l H i l l n e r , a s s t a t e o f body and c u s t o d i a n o f v a l u e d o m i c i l
     t h e r e i n , NUNC PRO TUNC;

     The c r e a t o r b e i n g the c r e a t o r o f a l l t h a t e v e r was, e v e r i s , and e v e r
     w i l l , i n c l u s i v e o f the s e v e r a l s t a t e s o f body, the one p e o p l e ; The c r e a t e d

     b e i n g the c r e a t o r , e x t e n d i n g and expanding c o m p l e t e l y i n t o any and a l l
     m a n i f e s t a t i o n s , i n any and a l l e x i s t e n c e , known and unknown, t h a t e v e r was,

     e v e r i s , and e v e r w i l l be, i n c l u s i v e o f the s e v e r a l s t a t e s o f body b e i n g
     the one people d o m i c i l by c r e a t i o n i n s a i d s t a t e s o f body, the body d o m i c i l

     by c h o i c e on the a i r s ,                l a n d s , and s e a s d o m i c i l by c r e a t i o n on and i n e a r t h ;

     E a r t h b e i n g the u l t i m a t e S u p e r i o r C u s t o d i a n o f a l l t h a t i s d o m i c i l by
     c r e a t i o n thereupon; The U n i t e d s t a t e s o f America 1781 c o n s t r u c t i o n ,
     original
     n a t i o n a l s t a t e ; S a i d P a r t i e s c o r r e c t e d above due t o automated f i l i n g
     systems a l t e r i n g o r i g i n a l c a p a c i t y ( i e s ) and s t a n d i n g ( s ) , c o r r e c t i o n


     Debtor names added f o r                       indexing

     the one people, c r e a t e d by the c r e a t o r , s t a t e s o f body
     The (former) U n i t e d S t a t e s F e d e r a l Government
     (former) UNITED STATES
     the (former) s e v e r a l STATES OF . . .
     and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s
     CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     lailAnMSB .C         HILLBR          [MI A I U D I F I O I A L rBnOOlT & LBOAL F I O T I O H ]
R U N G O F R C E C O P Y - N A T I O N A L UCC RNANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                                                                          PROCESSING                                                    5.00
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                                                                                          E-RECORD                                                     25.00
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      12*. ORQANtZATION'S NAME                                                            ESURCHARGE                                                    6.50
      THE SEVERAL UNITED STATES OF AMERICA, PUBLIC fl
OR
     12b. INDIVIDUAL'S LAST NAME                RRSTNAME                     MIDDLE NAME.SUFFIX



13. Usa thia spaca for additional Information




                                                                                                   THE ABOVE SPACE IS FOR R U N G O F R C E USE OW.Y
     BANK FOR INTERNATIONAL SETTLEMENTS [ B I S ]



     Debtor names added f o r i n d e x i n g

     T H E ONE P E O P L E , C R E A T E D           B Y THE CREATOR,             S T A T E S O F BODY
     THE      (FORMER)          UNITED          STATES FEDERAL             GOVERNMENT
      (FORMER) U N I T E D             STATES
     THE      (FORMER)           SEVERAL STATES OF                . . .
     AND A N Y AND A L L I N T E R N A T I O N A L              EQUIVALENTS
     CHARLES          C. M I L L E R        [AN A R T I F I C I A L    PERSON     & LEGAL         FICTION]
     CHARLES          C     MILLER          [AN A R T I F I C I A L    PERSON     & LEGAL         FICTION]
     CHARLES          C. M I L L E R D/B/A           CHARLES          C. M I L L E R
     BANK F O R I N T E R N A T I O N A L           SETTLEMENTS [ B I S ]




FlUNG O F F I C E C O P Y - NATIONAL U C C FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                 ANNEX 36

                              Case No. 1:17 mj-531




   TITLE                         DESCRIPTION                           PAGES


 Annex 36                 UCC record number 2012114586                     1-7




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FOLLOW INSTRUCTIONS (front and back) CAREFULLY
 I A. NAME S PHONE OF CONTACT AT FILER (optionall
                                                                                                                   Doc Type: EFINANCING
     The One Peoples Pi±ilio T                                253-509-4597                                             PROCESSING                                                             5.00
 B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                         E-RECORD                                                              25.00
                                                                                                                      ESURCHARGE                                                              6.50

     The One Peoples P u b l i c T r u s t 1776


     G i g Harbor, WA 98335

          L
                                                                                                                 THE ABOVE SPACE IS FOR FILING O F F I C E USE ONLY
 1*. INITIAL FINANCING STATEMENT FILE #
                                                                                                                                    lb. Tbis FINANCING STATEMENT AMENDMENT Is
  2000043135 - 5-4-2000                                                                                                                  to be Uled (for recort) (or recorded) In the
                                                                                                                                         REAL ESTATE RECORD.S
        TERMINATION: Effecbvenes. of Die Finanong Slabsmert idencHed abo« is iemiinaiea wilb respect lo s«:uniy Inierestfs) of the Secured Party authoring mis TemHnetkin Slalem«rt.




4. [J ASSIGNMENT (fuH or paniai): Give name of assignee in item 7a or 7b and aodress of assignee in ilem 7c: and also give name of assignor in item 9.

 5. AMENDMENT (PARTY INFORMATION): This Amandment affects | J Debtor m | J Secured Party of record. Check only ana of these two boxes.
    Also checkfiOJiof the fbllowing ihrw boxes ^ provide appropriale intermation in items 6 ani'or 7.

 J ^ ^ S r V l ' i ^ l ^ i l ? ^ , . ^                                                            n .DELETE name: .Giverecordname             ADO name: Complete Item 7a or 7b, and also
      nanie (if nOTechaiiae) in Item 7a or 7b and/or new address iifl'de'es (?iaroeTin''iem''7^
6. CURRENT RECORD INFORMATION:
                                                                                                  C] loto^eletedin item 6 a of e"b."
                                                                                                                                       n      item 7c: also complete items 7d-7ofifaoolic^

   |6a. ORGANIZATION'S NAME


OR
                                                                                     'FIRSTNAME                                        MIDDLE NAME


7. CHANGED (NEW) OR ADDED INFORMATION:
    7a. ORGANIZATION'S NAME                                                         ~                 —

           BANK FOR INTERNATIONAL SETTLEMENTS [ B I S ]
OR
     17b. INDIVIDUAL'S LAST NAME                                                        iFIRST NAME                                I MIDDLE NAME                              SUFFIX


7o. MAIUNG ADDRESS                                                                   iCITY                                             STATE     POSTAL CODE                  COUNTRY

7d. TAXIDHI: SSNOREIN          ADD'LINFORE 17e. TYPE OF ORGANIZATION                 ; 71. JURISDICTION OF ORGANIZATION
                               ORGANIZATION                                                                                            7g. ORGANIZATIONAL ID #. ifany
                               DEBTOR       I
8. AMENDMENT (COLLATERAL CHANGE): check only m                    box.

  Dascriba collaleral []deleted or padded, or give entireQrestated collateral descnption. or describe collateral Qassigned.

 ALL RIGHTS RESERVED WITHOUT PREJUDICE: UCC Doc. # 2000043135, t h e
 p e r p e t u i t y , hereby amended o n l y t o i n c l u d e t h e f o l l o w i n g a d d i t i o n a l
 c o l l a t e r a l as follows:

 DEBTOR: BANK FOR INTERNATIONAL SETTLEMENTS ( B I S ) , a t any and a l l
 l o c a t i o n s , i n c l u s i v e o f C e n t r a l b a h n p l a t z 2, B a s e l , S w i t z e r l a n d , CH-4002
 B a s e l , T e l . (+41 61) 280 8080, Fax (+41 61) 280 9100 and (+41 61) 280 8100,
 E m a i l o f email@bis.org, UCC Doc # 2012079322, i n c l u s i v e o f any and a l l i t s
 members, the members t h e r e t o , t h e i r members, and any and a l l the p r i n c i p a l s
              ^f^^J^^? ^t^^                                AUTHORIZING THIS AMENDMENT (nameolas.c^or. ,U,is is an Assignment,, if this is an /^.ndmert authoh»d by , Debtor wh«,
  adds collateral or adds lha aulhonang Debtor, or if this is a Ternilnancr authcr«d by a Oeblor. check here p and enl^ name of DEBTOR authonzing Ihis Amandment
     9a. ORGANIZATION'S NAME
      THE PUBLIC TRUST
OR
     |9b. INDIVIDUAL'S LAST NAME                                                        FIRST NAME                                 MIDDLE NAME                               SUFFIX


10. OPTIONAL FILER REFERENCEDATA

      Without          p r e j u d i c e      UCC 1 - 3 0 8 / s / Heather Ann T u c c i - J a r r a f ,                                 a s    Trustee,            b o n d s e r v a n t

FILING O F F I C E COPY - NATIONAL U C C FINANCING STATEMENT AMENDMENT (FORM UCC3) (REV. 07/29/98)



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      12a. ORGANIZATIONS NAME                                                         ESURCHARGE                                                6.50
       THE PUBLIC TRUST
OR
     12b. INDIVIDUAL'S LAST NAME                FIRSTNAME             MIDDLE NAMESUFFIX



13. Usa this spaca for addlllonal Information




                                                                                           THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY


      Additional c o l l a t e r a l info

      and b e n e f i c i a r i e s t h e r e o f , any and a l l ' ' l e g a l ' ' s t r u c t u r e s , networks, and

      systems t h e r e t o ;

      R e f Account Name: UNITED STATES; UNITED STATES OF AMERICA; any and a l l
      i n c l u s i v e o f ALL i d e n t i f i e r s , s o c i a l s e c u r i t y numbers, a b b r e v i a t i o n s , idem

     sonans, or o t h e r l e g a l , f i n a n c i a l and m a n a g e r i a l forms, a s d e f i n e d and
     i d e n t i f i e d by Bank F o r I n t e r n a t i o n a l S e t t l e m e n t s ' ' 82nd Annual Report, 1
     A p r i l 2011-31 March 2012, r e s t a t e d and i n c o r p o r a t e d i n i t s e n t i r e t y by
     reference as i f s e t f o r t h i n f u l l ;

     •Annexes: UCC Doc # 2012079290, 2012079322, 2012088851, 2012088865,
     2012086794, 2012086802, 2012094308, 2012094309, 2012096047, 2012096074;
     * R e - s t a t e d and i n c o r p o r a t e d i n t h e i r e n t i r e t y h e r e by r e f e r e n c e a s i f s e t
     f o r t h i n f u l l , d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, d u l y
     protected
     by p u b l i c p o l i c y , i n c l u s i v e o f UCC 1-103, and any and a l l t h e former
     U n i t e d S t a t e s of A m e r i c a F e d e r a l Government, UNITED STATES, U n i t e d S t a t e s ,

     STATE OF                 ...,
      S t a t e o f . . ., and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r UCC
     1-103; d u l y e n t e r e d .

     D e l i v e r y by Fax, e m a i l , and a d d i t i o n a l n o t i c e        and d e l i v e r y v i a world-wide
     web a t www.peoplestrustl776.org

     ENTRY OF DEBTOR''S DEFAULT AND                         TERMINATION AS CUSTODIAN

     Without p r e j u d i c e ,           p u b l i c p o l i c y , UCC 1-308 and any and a l l i n t e r n a t i o n a l
     equivalents:

     B I S , d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e d by p u b l i c
     r e g i s t r a t i o n , a s C u s t o d i a n , i n c l u s i v e o f any and a l l i t s members, the
     members t h e r e t o , t h e i r members, and any and a l l the p r i n c i p a l s and
     b e n e f i c i a r i e s t h e r e o f , o f any and a l l v a l u e o f t h e m a n i f e s t a t i o n s of
     c r e a t i o n , the c r e a t o r , i n c l u s i v e o f a l l s t a t e s o f body, t h e one people.

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       THE PUBLIC TRUST
 OR
      12b. INOIVIDUAL'S LAST NAME                FIRSTNAME                           MIDDLE NAME.SUFFIX



 13. Usa Ihis spaca for addlllonal Information




                                                                                                           THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY
       duly
       s e c u r e d , UCC Doc# 2012079322, r e s t a t e d and i n c o r p o r a t e d by r e f e r e n c e a s i f

       s e t f o r t h i n f u l l , NUNC PRO TUNC, PRAETEREA PRETEREA;

       B I S , h a v i n g been g i v e n due n o t i c e o f m i s t a k e , n o t i c e o f i n s e c u r i t y o f
       Secured P a r t y due t o the a c t i o n s and i n - a c t i o n s o f B I S , n o t i c e o f t h e
       o p p o r t u n i t y f o r B I S t o c u r e by s p e c i f i c a c t i o n ( s ) w i t h i n a s p e c i f i c time i n

      o r d e r t o make the Secured P a r t y s e c u r e a g a i n , and t h e r e q u e s t by Secured
      P a r t y t o B I S t o f o r t h w i t h c u r e , d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law
      Ordinance, n o t i c e d by p u b l i c r e g i s t r a t i o n , d u l y s e r v e d , w i t h a d d i t i o n a l
      d e l i v e r y by Fax (+41 61) 280 9100 and (+41 61) 280 8100, E m a i l o f
      email(abis.org and a d d i t i o n a l l y n o t i c e d v i a world-wide web a t
      www.peoplestrustl776.org, UCC Doc # 2012114093, October 23, 2012, R e c e i p t
      No. 1262883, r e s t a t e d and i n c o r p o r a t e d h e r e i n i t s e n t i r e t y by r e f e r e n c e a s

      i f s e t f o r t h i n f u l l , d u l y r e c o n f i r m e d and r a t i f i e d ;

      B I S , i n c l u s i v e o f any and a l l i t s members, t h e members t h e r e t o , t h e i r
      members, and any and a l l the p r i n c i p a l s and b e n e f i c i a r i e s t h e r e o f , h a v i n g
      knowingly, w i l l i n g l y , and i n t e n t i o n a l l y chosen t o n o t c u r e upon demand and

      as r e q u e s t e d , b u t r a t h e r h a v i n g knowingly, w i l l i n g l y , and i n t e n t i o n a l l y
      chosen t o d e f a u l t and f o r e c l o s e upon themselves, a s a matter o f
      I n t e r n a t i o n a l Law Ordinance, n o t i c e d by p u b l i c r e g i s t r a t i o n , f o r Secured
      P a r t y , and c r e a t i o n t o r e l y upon, NUNC PRO TUNC, PRAETEREA PRETEREA,
      i n c l u s i v e o f any and a l l t h e i r a c t i o n s and i n - a c t i o n s t o d a t e , i n any and

      a l l f i e l d s and j u r i s d i c t i o n s , known and unknown, i n c o r p o r a t e d by r e f e r e n c e

      as i f s e t f o r t h i n f u l l , thereby knowingly, w i l l i n g l y and i n t e n t i o n a l l y
      d e f a u l t i n g a s C u s t o d i a n t o Secured P a r t y by r e f u s i n g , r e j e c t i n g o r
      otherwise
      b e i n g i n c a p a b l e o r unable t o l a w f u l l y perform i t s d u l y s e c u r e d d u t i e s ,
      o b l i g a t i o n s , and s e r v i c e s , nunc p r o t u n c , p e r f e c t e d a s f o r t h w i t h due, owed

      and c o l l e c t i b l e t o Secured P a r t y , nunc p r o t u n c , now d u l y e n t e r e d i n t o
      I n t e r n a t i o n a l Law Ordinance, n o t i c e d by p u b l i c r e g i s t r a t i o n ;

— B ' o m i ' o d    Pairfay     I m o u i n g l y ,   t e i l l i a g l y ,   miA      infceHfaieiially          aohnoulatlgee         ai-itq
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                                                                                     WASH DC RECORDER OF DEEDS
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UCC FINANCING STATEMENTAMENDMENT ADDENDUM RECORDER OF DEEDS
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
11. INITIAL FINANCING STATEMENT FILE » (sinw «$ ittm la on Amandmant Item)
                                                                                     Doc Type: EFINANCING
       2000043135                                                                        PROCESSING                    $                               5.00
 12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (aama aa Ilam 9 on Amandmant form)
                                                                                        E-RECORD                       $                              25.00
      12a. ORGANIZATIONS NAME                                                           ESURCHARGE                     $                               6,50
       THE PUBLIC TRUST
OR
      12b. INOIVIDUAL'S LAST NAME                FIRSTNAME                       MIDDLE NAME.SUFFIX



 13. Us« thia spaca for addlllonal Information




                                                                                                       THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY
      duly

      s e c u r e d , UCC Doc# 2012079322, r e s t a t e d and i n c o r p o r a t e d by r e f e r e n c e a s i f

      s e t f o r t h i n f u l l , NUNC PRO TUNC, PRAETEREA PRETEREA;

      B I S , h a v i n g been g i v e n due n o t i c e o f m i s t a k e , n o t i c e o f i n s e c u r i t y o f
      Secured P a r t y due t o t h e a c t i o n s and i n - a c t i o n s o f B I S , n o t i c e o f the
      o p p o r t u n i t y f o r B I S t o c u r e by s p e c i f i c a c t i o n ( s ) w i t h i n a s p e c i f i c time i n

     o r d e r t o make the Secured P a r t y s e c u r e a g a i n , and t h e r e q u e s t by Secured
     P a r t y t o B I S t o f o r t h w i t h c u r e , d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law
     Ordinance, n o t i c e d by p u b l i c r e g i s t r a t i o n , d u l y s e r v e d , w i t h a d d i t i o n a l
     d e l i v e r y by Fax (+41 61) 280 9100 and (+41 61) 280 8100, E m a i l o f
     email@bis.org and a d d i t i o n a l l y n o t i c e d v i a world-wide web a t
     www.peoplestrustl776.org, UCC Doc # 2012114093, October 23, 2012, R e c e i p t
     No. 1262883, r e s t a t e d and i n c o r p o r a t e d h e r e i n i t s e n t i r e t y by r e f e r e n c e a s

      i f s e t f o r t h i n f u l l , d u l y r e c o n f i r m e d and r a t i f i e d ;

     B I S , i n c l u s i v e o f any and a l l i t s members, t h e members t h e r e t o , t h e i r
     members, and any and a l l the p r i n c i p a l s and b e n e f i c i a r i e s t h e r e o f , h a v i n g
     knowingly, w i l l i n g l y , and i n t e n t i o n a l l y chosen t o not c u r e upon demand and

     as r e q u e s t e d , b u t r a t h e r h a v i n g knowingly, w i l l i n g l y , and i n t e n t i o n a l l y
     chosen t o d e f a u l t and f o r e c l o s e upon t h e m s e l v e s , a s a matter o f
     I n t e r n a t i o n a l Law Ordinance, n o t i c e d by p u b l i c r e g i s t r a t i o n , f o r Secured
     P a r t y , and c r e a t i o n t o r e l y upon, NUNC PRO TUNC, PRAETEREA PRETEREA,
     i n c l u s i v e o f any and a l l t h e i r a c t i o n s and i n - a c t i o n s t o d a t e , i n I n y and

     a l l f i e l d s and j u r i s d i c t i o n s , known and unknown, i n c o r p o r a t e d by r e f e r e n c e

     as i f s e t f o r t h i n f u l l , t h e r e b y knowingly, w i l l i n g l y and i n t e n t i o n a l l y
     d e f a u l t i n g a s Custodian t o Secured P a r t y by r e f u s i n g , r e j e c t i n g o r
     otherwise
     b e i n g i n c a p a b l e o r unable t o l a w f u l l y perform i t s d u l y s e c u r e d d u t i e s ,
     o b l i g a t i o n s , and s e r v i c e s , nunc p r o t u n c , p e r f e c t e d a s f o r t h w i t h due,'owed

     and c o l l e c t i b l e t o Secured P a r t y , nunc p r o t u n c , now d u l y e n t e r e d i n t o
     I n t e r n a t i o n a l Law Ordinance, n o t i c e d b y p u b l i c r e g i s t r a t i o n ;

—^""^iMod            DaMty       ]ino»iMgl»j,          i f i l l i H g l y ;   and   J.n»BHfciaimll.j       aaltauhloglgae       ai'id
FlUNG O F F I C E C O P Y - NATIONAL UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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                                                                                     IDA WILLIAMS
UCC FINANCING STATEMENTAMENDMENT ADDENDUM RECORDER OF DEEDS
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
H. INITIAL RNANCING STATEMENT R L E # (»am. M iltm la on Amandmant fomi)
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       2000043135                                                                        PROCESSING                     $                          5.00
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                                                                                        E-RECORD                        $                         25.00
      12a. ORQAMZATIimS NAME                                                            ESURCHARGE                      $                         6.50
       THE PUBLIC TRUST
OR
      12b. INDIVIDUAL'S LAST NAME             FIRSTNAME                 MIDDLE NAME.SUFFIX



 13. Use this   spaca for additional Infonnation


                                                                                              THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY
      Secured P a r t y b e l i e v i n g f o r cause t h a t no remedy i s a v a i l a b l e by any and
      3.1.2.

       "legal"             means, " l e g a l "           b e i n g unduly i n f l u e n c e d , o p e r a t e d , and owned by

      debtor;

      Thus, f o r c a u s e , any and a l l d u l y e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance,

      n o t i c e d by p u b l i c r e g i s t r a t i o n , m a t t e r o f p u b l i c r e c o r d f o r a l l c r e a t i o n t o

      r e l y upon. Secured P a r t y , hereby t e r m i n a t e s B I S , i n c l u s i v e o f any and a l l
      I t s members, the members t h e r e t o , t h e i r members, and any and a l l t h e
      p r i n c i p a l s and b e n e f i c i a r i e s t h e r e o f , a s C u s t o d i a n , NUNC PRO TUNC;

      Secured P a r t y , through i t s u n d e r s i g n e d b o n d s e r v a n t s . T r u s t e e s o f r e c o r d ,
      and s t a t e s o f body, do hereby DECLARE B I S , i n c l u s i v e o f any and a l l i t s
      members, t h e members t h e r e t o , t h e i r members, any and a l l t h e p r i n c i p a l s and

     b e n e f i c i a r i e s t h e r e o f , and any and a l l s t r u c t u r e s , systems and networks
     r e n d e r e d by t h e i r own hand a s u n l a w f u l , r a t i f i e d and r e - c o n f i r m e d a s
     knowing, w i l l i n g and i n t e n t i o n a l u s u r p e r s , v i o l a t o r s , and i n v a d e r s o f
     Secured P a r t y , UCC Doc # 2012079290, 2012079322, i n v i o l a t i o n o f t h e laws

     of c r e a t i o n and t h e c r e a t o r , l i a b l e and a c c o u n t a b l e by t h e p r i n c i p l e o f
     common law thereunder, NUNC PRO TUNC, PRAETEREA PRETEREA, d u l y p r e s e r v e d ,
     p r o t e c t e d , p u b l i c p o l i c y UCC 1-103, w i t h o u t p r e j u d i c e , p u b l i c p o l i c y , UCC
     1-308, and e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e d by p u b l i c
     r e g i s t r a t i o n , UCC Doc # 2012113593;

     Secured P a r t y now demands t h a t a l l d u l y bonded p u b l i c s e r v a n t s o f c r e a t i o n .

     Secured P a r t y , and t h e one people, implement any and a l l l a w f u l measures
     p u r s u a n t t o DECLARATION AND ORDER, I n t e r n a t i o n a l Law Ordinance, n o t i c e d by

     p u b l i c r e g i s t r a t i o n , UCC Doc # 2012096074, a g a i n s t B I S , i n c l u s i v e o f any
     and
     a l l i t s members, t h e members t h e r e t o , t h e i r members, and any and a l l t h e
     p r i n c i p a l s and b e n e f i c i a r i e s t h e r e o f , f o r t h w i t h be h e l d a c c o u n t a b l e f o r any

   and a l l t h e i r l i a b i l i t i e s , i n c l u s i v e o f a b s o l u t e s u r r e n d e r , r e t u r n , and
   va^manii m n d o in f u l l         im 1 nnff.nl                 r ^.i           ••  i -^.o....       , r  rmnriuLi,             i

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                                                                                   IDA WILLIAMS
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12. NAME OF P A R T Y AUTHORIZING THIS AMENDMENT (lam. aa ilam 9 on AmwOmant fomi)
     12*. ORGANIZATIONS NAME                                                          ESURCHARGE                     $                     6.50
      THE PUBLIC TRUST
OR
     12b. INOIVIDUAL'S LAST NAME                I FIRST NAME         MI0D1£NAME.SUFFIX|



13. Usa this spaca for additional Information




                                                                                      I    THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY
      A FACSIMILE OR                   DIGITAL COPY OF THIS INTERNATIONAL LAW ORDINANCE, NOTICE BY

      PUBLIC REGISTRATION, SHALL BE LEGALLY BINDING AS AN ORIGINAL AND I T I S
      EFFECTIVE IMMEDIATELY.

      SO I T I S DONE; DULY EFFECTIVE, DONE, AUTHORIZED, ORDERED, and ISSUED,
      October 24, 2012, knowingly, w i l l i n g l y and i n t e n t i o n a l l y made w i t h
      unlimited
      p e r s o n a l l i a b i l i t y , sworn under the p e n a l t i e s o f p e r j u r y governed under the

     p r i n c i p l e o f common law, under the laws o f the c r e a t o r , under the laws o f
     c r e a t i o n ; Duly w i t n e s s e d , s e c u r e d , e n t e r e d and n o t i c e d ; w i t h o u t p r e j u d i c e
     as
     promised, p r e s e r v e d , and p r o t e c t e d by p u b l i c p o l i c y , i n c l u s i v e o f UCC
     1-308/1-207, and any and a l l former The U n i t e d S t a t e s o f America F e d e r a l
     Government, UNITED STATES, STATE OF . . ., and any and a l l i n t e r n a t i o n a l
     e q u i v a l e n t s , h e r e a f t e r UCC 1-308:

     / s / Heather Ann T u c c i - J a r r a f , a s T r u s t e e ; / s / C a l e b P a u l S k i n n e r , a s
     T r u s t e e ; / s / H o l l i s R a n d a l l H i l l n e r , a s T r u s t e e ; Duly A u t h o r i z e d and
     Ordered, UCC 1-308: / s / Heather Ann T u c c i - J a r r a f , bondservant t o the
     c r e a t o r ; / s / Caleb P a u l S k i n n e r , bondservant t o the c r e a t o r ; / s / H o l l i s
     R a n d a l l H i l l n e r , bondservant t o the c r e a t o r ; Duly D e c l a r e d and Reconfirmed

     a s S t a t e d , UCC 1-308: / s / Heather Ann T u c c i - J a r r a f , a s s t a t e o f body and
     c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC PRO TUNC; / s / C a l e b P a u l S k i n n e r ,

     a s s t a t e o f body and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC PRO TUNC; / s /

     H o l l i s R a n d a l l H i l l n e r , a s s t a t e o f body and c u s t o d i a n o f v a l u e d o m i c i l
     t h e r e i n , NUNC PRO TUNC;

     The c r e a t o r b e i n g the c r e a t o r o f a l l t h a t e v e r was, e v e r i s , and e v e r
     w i l l , i n c l u s i v e o f the s e v e r a l s t a t e s o f body, the one people; The c r e a t e d

     b e i n g the c r e a t o r , e x t e n d i n g and expanding c o m p l e t e l y i n t o any and a l l
     m a n i f e s t a t i o n s , i n any and a l l e x i s t e n c e , known and unknown, t h a t e v e r was,

     e v e r i s , and e v e r w i l l be, i n c l u s i v e o f the s e v e r a l s t a t e s o f body b e i n g
     the one people d o m i c i l by c r e a t i o n i n s a i d s t a t e s o f body, the body d o m i c i l

FILING O F F I C E C O P Y - N A T I O N A L UCC FINANCING STATEMENT AMENDMENT ADDENDUM (FORM UCC3Ad) (REV. 07/29/98)




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      12a. ORGANIZATIONS NAME                                                         ESURCHARGE                                                       6.50
       THE PUBLIC TRUST
OR
     12b. INOIVIDIML'S LAST NAME                FIRSTNAME                   MIDDU NAME.SUFFj)d



13. Usa this spaca for additional Information




                                                                                             I    THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY
      original
      n a t i o n a l s t a t e ; S a i d P a r t i e s c o r r e c t e d above due to automated f i l i n g
      systems a l t e r i n g o r i g i n a l c a p a c i t y ( i e s ) and s t a n d i n g ( s ) , c o r r e c t i o n


      Debtor names added f o r i n d e x i n g

     BANK FOR INTERNATIONAL SETTLEMENTS [ B I S ]
     the one p e o p l e , c r e a t e d by t h e c r e a t o r , s t a t e s of body
     The (former) U n i t e d S t a t e s F e d e r a l Government
      (former) UNITED STATES
     the (former) s e v e r a l STATES OF . . .
     and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s
     CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
     CHARLES C. MILLER D/B/A CHARLES C. MILLER


     Debtor names added f o r i n d e x i n g

     BANK F O R           INTERNATIONAL SETTLEMENTS                      [BIS]
     T H E ONE         PEOPLE,        CREATED BY            THE   CREATOR,       STATES     OF     BODY
     THE       (FORMER) U N I T E D             STATES      FEDERAL      GOVERNMENT
      (FORMER) U N I T E D            STATES
     THE       (FORMER)          SEVERAL        STATES       OF   .   . .
     AND A N Y        AND      ALL    INTERNATIONAL               EQUIVALENTS
     CHARLES          C. M I L L E R      [AN A R T I F I C I A L     PERSON     & LEGAL         FICTION]
     CHARLES          C       MILLER      [AN A R T I F I C I A L     PERSON     & LEGAL         FICTION]
     CHARLES          C . M I L L E R D/B/A          CHARLES        C.   MILLER




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                                 ANNEX 37

                              Case No. 1:17 mj-531




   TITLE                         DESCRIPTION                           PAGES


 Annex 37                 UCC record number 2012114776                     1-5




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                                                                                                                  IDA WILLIAMS
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  A. NAME S PHONE OF CONTACT AT FILER (opUonal)
                                                                                                                  Doc Type: EFINANCING
      The One Peoples P u b l i c T                            253-509-4597                                           PROCESSING                      $                                  5.00
  B. SEND ACKNOWLEDGMENT TO: (Nama and Address)                                                                       E-RECORD                       $                                  25.00
                                                                                                                     ESURCHARGE                      $                                   6.50

      The One P e o p l e s P u b l i c T r u s t                    1776


      Gig Harbor, WA                   98335

            L                                                                                    J
                                                                                                                THE ABOVE SPACE IS FOR FILING O F H C E USE ONLY
 1a. INITIAL FINANCING STATEMENT FILE #
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      2000043135 - 5-4-2000                                                                                                              10 ba Ulad [for racOfd) (or recontaO) In the
                                                                                                                                         REAL ESTATE RECORO.S
 2.       TERMINATION: Effwalvanasa of lha Finanong Slalemert Id.nrtlad abo« is iemiinaiaa wiDi nespaoi lo s«:uniy lnnmsi(s) ol lha Secumd Parly auHiofiang itil. TamUn^tton'
                                                                                                                                                                            Slatamant



 4, [ J ASSIGNMENT (fijll or paniai): Give nsme of assignee in item 7a or 7b anb aodress of assignee In Item 7c: and also give name of

 5. AMENDMENT (PARTY INFORMATION): This Amendment affects | J Debtor at • Secured Party of reeonJ. Check only aos of these two boxes.
    Also check fits of Ihe fbllowing Ihree boxes ailti provide appropnate information m items 6 and.'or 7.
      j-|CHANI3E name and/or address Give current record name in item 5a or 6b: also give nevn       riDELETEname: Give record nama
                                                                                                                                   |~| ADD name: Complete Itam 7a or 7b, and also
 6. C
        6a. ORGANIZATION'S NAME                                     ™*     '~'                 ~"                                               ™~                  —„

 OR
        ou. inuiviuuMLa i.A!>i nAMt:                                                 -FIRSTNAME                    ^           '^    MIDDLE NAME                         SUFFIX
                                                                                     !
 7. CHANGED (NEW) OR ADDED INFORMATION:
     7a. ORGANIZATION'S NAME                                                     '            ____

             BANK FOR INTERNATIONAL SETTLEMENTS [ B I S ]
 OR
        7b. INDIVIDUAL'S WST NAME                                                    jFIRSTNAME                                      MIDDLE NAME                         SUFFIX

7e. MAILING ADDRESS
                                                                                                                                     STATE    POSTAL CODE                COUNTRY

                                ADD'LINFORE 17e. TYPE OF ORGANIZATION                ;7f. JURISDICTIONOFORGANIZATION
                                ORGANIZATION                                                                                         7g. ORGANIZATIONAL ID #, If any
                                DEBTOR       I
8. AMENDMENT (COLLATERAL CHANGE): check only m box.
      Descnbe collateral Qdelated or padded, or give enUraQrestatad collateral descnption. or describe collateral ^assigned.

  ALL RIGHTS RESERVED WITHOUT PREJUDICE: UCC Doc. # 2000043135, t h e
  p e r p e t u i t y , h e r e b y amended o n l y t o i n c l u d e t h e f o l l o w i n g a d d i t i o n a l
  c o l l a t e r a l as f o l l o w s :

 BY and WITH DUE STANDING AND AUTHORITY: UCC Doc # 2012079290, 2012079322,
 2012088851, 2012088865, 2012086794, 2012086802, 2012094308, 2012094309,
 2012096047, 2012096074, s p e c i f i c a l l y p e r p e t u i t y , t i t l e and ownership o f
 I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c r e g i s t r a t i o n , o t h e r w i s e known
 as the Uniform Commercial Code R e g i s t r y ( i e s ) , and a l l i n t e r n a t i o n a l
9. NM^E OF S E C U R E D P A R T Y OF RECORD AUTHORIZING THIS AMENDMENT (nameof as.^or, »U,ls Is an Assignmenl,. l.ihls is an Amandmert au.hort»d by a Debtor *hch
   adds collateral or adds the authonzing Oeblor, or If this is a Temiinaticraulhcried by a Oeblor, check here P                                arauyaueoiofwnni
        9a. ORGANIZATION'S NAME                                            ~                   —                                               —                .
        THE PUBLIC TRUST
OR
        »o. inuivluUALS LAST I'JAME                                                  FIRSTNAME                                      MIDDLE NAME                          SUFFIX

10. c

        Without          p r e j u d i c e    UCC 1 - 3 0 8 / s / H e a t h e r Ann T u c c i - J a r r a f ,                       a s   Trustee,           b o n d s e r v a n t

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                                                                                           E-RECORD                        $                      25.00
        12a. ORQANBATICm NAME                                                              ESURCHARGE                      $                       6.50
         THK PUBLIC TRUST
 OR
       12b. INDIVIDUAL'S LAST NAME               FIRSTNAME               MIDDLE NAME,SUFFIX



 13. Usa this spaca for additional Information




                                                                                              THE ABOVE SPACE IS FOR R U N G O F R C E USE ONLY


       Additional c o l l a t e r a l info

       e q u i v a l e n t s , 2000043135, d u l y accepted, 2012012675, a l l r e s t a t e d and
       i n c o r p o r a t e d here i n t h e i r e n t i r e t y by r e f e r e n c e a s i f s e t f o r t h i n f u l l •
       GOVERNING STRUCTURE AND LAW:                       UCC 2012113593 and UCC 2012-296-1209-2, a l l
       r e s t a t e d and i n c o r p o r a t e d h e r e i n t h e r e e n t i r e t y by r e f e r e n c e a s i f s e t
       f o r t h i n f u l l ; d u l y p r o t e c t e d by p u b l i c p o l i c y , i n c l u s i v e o f UCC 1-103, and

       any and a l l t h e               former U n i t e d    S t a t e s o f America F e d e r a l Government, UNITED

       STATES, U n i t e d S t a t e s , STATE OF . . ., S t a t e o f . . ., and any and a l l
       i n t e r n a t i o n a l e q u i v a l e n t s , h e r e a f t e r UCC 1-103; d u l y e n t e r e d ;

       THE FOLLOWING CHARTERS ARE DECLARED AND ORDERED IRREVOCABLY CANCELLED, FOR

       CAUSE, NUNC PRO TUNC, PRAETEREA PRETEREA, ENTERED INTO INTERNATIONAL                                                     LAW
       ORIDINANCE, NOTICE BY PUBLIC REGISTRATION, AS FOLLOWS:

      ANY AND ALL CHARTERS FOR BANK FOR INTERNATIONAL SETTLEMENTS ( B I S ) , a t any
      and a l l l o c a t i o n s , i n c l u s i v e o f C e n t r a l b a h n p l a t z 2, B a s e l , S w i t z e r l a n d ,
      CH-4002 B a s e l , T e l . (+41 61) 280 8080, Fax (+41 61) 280 9100 and (+41 61)
      280 8100, E m a i l o f email@bis.org, i n c l u s i v e o f any and a l l i t s members
      t h e r e u n d e r , the members t h e r e t o , any and a l l members t h e r e o f , any and a l l
      the p r i n c i p a l s and b e n e f i c i a r i e s t h e r e o f , i n c l u s i v e o f any and a l l
      s t r u c t u r e s , systems and networks t h e r e t o , therefrom, t h e r e u n d e r , and
      t h e r e w i t h , s p e c i f i c a l l y any and a l l c e r t a i n s t a t e s o f body, r e g a r d l e s s o f
      d o m i c i l by c h o i c e , owning, o p e r a t i n g , a i d i n g and a b e t t i n g p r i v a t e money
      systems, i s s u i n g , c o l l e c t i o n , l e g a l enforcement systems, o p e r a t i n g SLAVERY

      SYSTEMS, used a g a i n s t t h e m a n i f e s t a t i o n s           o f c r e a t i o n , commandeering l a w f u l

      v a l u e by u n l a w f u l        r e p r e s e n t a t i o n , i n c l u s i v e o f any and a l l s t a t e s o f body,

      the one people, without t h e i r knowing, w i l l i n g , and i n t e n t i o n a l consent, a s

      f u l l y i d e n t i f i e d and e n t e r e d by I n t e r n a t i o n a l Law Ordinance, n o t i c e by
      p u b l i c r e g i s t r y , UCC Doc # 2012079322, h e r e a f t e r B I S , e t . a l . ; U n l a w f u l
      C h a r t e r s , i n c l u s i v e o f any and a l l i m m u n i t i e s , knowingly, w i l l i n g l y , and
      i n t e n t i o n a l l y granted t o B I S , e t . a l . , and i n c o r p o r a t e d by Swiss F e d e r a l

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       THE PUBLIC TRUST
OR
      12b. INDIVIDUAL'S LAST NAME                        HRSTNAME                               MIDDLE NAME.SUFFIXI



13. U M thia spaca for addlllonal Information




                                                                                                                  I     THE ABOVE SPACE ISFOR R L I N G O F R C E U S E ONLY

       Government b e g i n n i n g 1930, i n c l u s i v e o f any and a l l amendements, r e s t a t e d
       and i n c o r p o r a t e d h e r e by r e f e r e n c e a s i f s e t f o r t h i n f u l l ; Secured P a r t y ,

      UCC Doc # 2012079290, e n t e r e d i n t o I n t e r n a t i o n a l Law Ordinance, n o t i c e by
      p u b l i c r e g i s t r a t i o n , UCC Doc. # 2012114586, d u l y r e c e i v e d , r e - c o n f i r m e d and

      r a t i f i e d , r e s t a t e d and i n c o r p o r a t e d by r e f e r e n c e a s i f s e t f o r t h i n f u l l ;
      V i o l a t i o n s o f I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c r e g i s t r a t i o n ^
      UCC 2012113593 and UCC 2012-296-1209-2, a l l r e s t a t e d and i n c o r p o r a t e d h e r e

      i n t h e r e e n t i r e t y by r e f e r e n c e a s i f s e t f o r t h i n f u l l ; Now a m a t t e r o f
      I n t e r n a t i o n a l Law Ordinance and s u b j e c t t o immediate implementation o f
      I n t e r n a t i o n a l Law Ordinance, n o t i c e by p u b l i c r e g i s t r a t i o n , UCC Doc #
      2012096074;

      D e l i v e r y by Fax (+41 61) 280 9100 and (+41 61) 280 8100, E m a i l o f
      email@bis.org and a d d i t i o n a l l y n o t i c e d v i a world-wide web a t
      www.peoplestrustl776.org, UCC Doc # 2012114093, October 23, 2012, R e c e i p t
      No. 1262883, r e s t a t e d and i n c o r p o r a t e d h e r e i n i t s e n t i r e t y by r e f e r e n c e a s

      i f s e t f o r t h i n f u l l , d u l y r e c o n f i r m e d and r a t i f i e d ;

     A FACSIMILE OR                          DIGITAL COPY OF THIS ORIGINALLY EXECUTED WRITTEN NOTICE OF

     MISTAKE, DEMAND FOR RELEASE AND OPPORTUNITY TO CURE SHALL BE LEGALLY
     BINDING AS AN ORIGINAL AND I T I S EFFECTIVE IMMEDIATELY.

     SO I T I S DONE; DULY EFFECTIVE, DONE, AUTHORIZED, ORDERED, and ISSUED,
     October 24, 2012, knowingly, w i l l i n g l y and i n t e n t i o n a l l y made w i t h
     unlimited
     p e r s o n a l l i a b i l i t y , sworn under t h e p e n a l t i e s o f p e r j u r y governed under t h e

     p r i n c i p l e o f common law, under t h e laws o f t h e c r e a t o r , under t h e laws o f
     c r e a t i o n ; Duly w i t n e s s e d , s e c u r e d , e n t e r e d and n o t i c e d ; w i t h o u t p r e j u d i c e
     as
     promised, p r e s e r v e d , and p r o t e c t e d by p i i b l i c p o l i c y , i n c l u s i v e o f UCC
     1-308/1-207, and any and a l l former The U n i t e d S t a t e s o f A m e r i c a F e d e r a l
     Government, UNITED STATES, STATE OF . . ., and any and a l l i n t e r n a t i o n a l
     e q u i v a l e n t s , h e r e a f t e r UCC 1-308:

     / • /    HontihBii           A n n     Vvaal           Jniai.nff.          «,    m                  t.i n.i       i,   r.-..i   r.i...   .^-.i.^

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     THB PUBLIC TRtrST
    12b. INOIVIDUAL-S LAST NAME                 IFIRSTNAME                MIDDLE NAME,SUFFIxl



13. Usa this spatM for additional Information




                                                                                                THE ABOVE SPACE IS FOR R U N G O F R C E USE OW.Y

     c r e a t o r ; / s / Caleb P a u l S k i n n e r , bondservant t o t h e c r e a t o r ; / s / H o l l i s
     R a n d a l l H i l l n e r , bondservant t o t h e c r e a t o r ; Duly D e c l a r e d and Reconfirmed

     as S t a t e d , UCC 1-308: / s / Heather Ann T u c c i - J a r r a f , a s s t a t e o f body and
     c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC PRO TUNC; / s / C a l e b P a u l S k i n n e r ,

     as s t a t e o f body and c u s t o d i a n o f v a l u e d o m i c i l t h e r e i n , NUNC PRO TUNC; / s /

     H o l l i s R a n d a l l H i l l n e r , a s s t a t e o f body and c u s t o d i a n o f v a l u e d o m i c i l
     t h e r e i n , NUNC PRO TUNC;

     The c r e a t o r b e i n g t h e c r e a t o r o f a l l t h a t e v e r was, e v e r i s , and e v e r
     w i l l , i n c l u s i v e o f t h e s e v e r a l s t a t e s o f body, t h e one p e o p l e ; The c r e a t e d

    b e i n g t h e c r e a t o r , e x t e n d i n g and expanding c o m p l e t e l y i n t o any and a l l
    m a n i f e s t a t i o n s , i n any and a l l e x i s t e n c e , known and unknown, t h a t e v e r was,

    e v e r i s , and e v e r w i l l be, i n c l u s i v e o f t h e s e v e r a l s t a t e s o f body b e i n g
    the one people d o m i c i l by c r e a t i o n i n s a i d s t a t e s o f body, t h e body d o m i c i l

    by c h o i c e on t h e a i r s ,                l a n d s , and s e a s d o m i c i l by c r e a t i o n on and i n e a r t h ;

    E a r t h b e i n g t h e u l t i m a t e S u p e r i o r C u s t o d i a n o f a l l t h a t i s d o m i c i l by
    c r e a t i o n thereupon; The U n i t e d s t a t e s o f America 1781 c o n s t r u c t i o n ,
    original
    n a t i o n a l s t a t e ; S a i d P a r t i e s c o r r e c t e d above due t o automated f i l i n g
    systems a l t e r i n g o r i g i n a l c a p a c i t y ( i e s ) and s t a n d i n g ( s ) , c o r r e c t i o n


    Debtor names added f o r i n d e x i n g

    BANK FOR INTERNATIONAL SETTLEMENTS [ B I S ]
    BIS, e t . a l .
    the one p e o p l e , c r e a t e d by t h e c r e a t o r , s t a t e s o f body
    The (former) U n i t e d S t a t e s F e d e r a l Government
     (former) UNITED STATES
    the (former) s e v e r a l STATES OF . . .
    and any and a l l i n t e r n a t i o n a l e q u i v a l e n t s
    CHARLES C. MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
    CHARLES C MILLER [AN A R T I F I C I A L PERSON & LEGAL FICTION]
    q i l A n L B B I g . M I L L B n P/D/A GIIfJUiBD 0. l I I L L P n

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l i INITIAL FINANCING STATEMENT FILE » (sun* n itim 1* on AnwidnMnt fnm)
       2000043135                                                                           PROCESSING                     $                                                 5.00
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      12*. ORGANIZATIONS NAME                                                               ESURCHARGE                     $                                                 6.50
      THE PUBLIC TRUST
OR
     12b. INDIVIDUAL'S LAST NAME                  FIRSTNAME                                  MIDDLE NAME.SUFFIXI



13. U M this spaca for addlllonal Information




                                                                                                                      I      THE ABOVE SPACE IS FOR FlUNG OFFICE USE ONLY
     Debtor names added f o r i n d e x i n g

     BANK FOR I N T E R N A T I O N A L                   SETTLEMENTS [ B I S ]
     BIS,       E T . AL.
     THE     ONE P E O P L E , C R E A T E D                B Y T H E CREATOR,                       S T A T E S O F BODY
     THE      (FORMER)           UNITED           STATES FEDERAL                         GOVERNMENT
      (FORMER) U N I T E D               STATES
     THE      (FORMER)           SEVERAL STATES OF                             . . .
     AND A N Y AND A L L I N T E R N A T I O N A L                          EQUIVALENTS
     CHARLES          C. M I L L E R          [AN A R T I F I C I A L              PERSON            S LEGAL              FICTION]
     CHARLES          C     MILLER            [AN A R T I F I C I A L              PERSON            & LEGAL              FICTION]
     CHARLES          C. M I L L E R D/B/A                  CHARLES             C. M I L L E R




FlUNG O F F I C E COPY -   N A T I O N A L U C C F I N A N C I N G S T A T E M E N T A M E N D M E N T A D D E N D U M ( F O R M UCC3Ad) ( R E V . 0 7 / 2 9 / 9 8 )




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                                 ANNEX 38

                              Case No. 1:17 mj-531




   TITLE                         DESCRIPTION                           PAGES


 Annex 38                  DECLARATION OF FACTS                            1-12




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  0«lin«iEK. rijIlcS by            puWicrcgltraiion.S                  accepted and guM^€4 P«serv«l ««J proKcted                                                 S S i c t^^^^^^^^^




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                                 ANNEX 39

                              Case No. 1:17 mj-531




  TITLE                          DESCRIPTION                           PAGES


 Annex 39                UCC record number 2012132883                      1-9




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      7*. M W N i a T M N ' s m t F                                                                               ^ —

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 WITH DUE STANDING, AljfHORITY, a n d AUTHORISATION, w i t h o u t p r e j t i d i c e , p u b l i c
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 p o l i c y ,
 and i n t e B t i o n a l l y m a o i f e e t i n g s e l f through, b y , and between b o n d s e r v a n t
 therefrom a n d a n y and a l l m a n i f e s t a t i o n s t h e r e m d e r b y U n i v e r s a l C o n t r a c t s ,



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        DECIABATION            OF     CIRTIFICATI          OF
                                                       SATISFACTXO», a n d D E C E P T I O N AMD'ORDSR,                             with

        f«ll r e s p o n s i b i l i t y a n d l i a b i l i t y ,          as a m t t e r      o f record.,    d a l y e.iitered   into

        I.a« o u d i n a n e e , n o t i c e      tipon e.seat.ion, i n e l t i a i v e o f anivB.t.9a.l La.« O t d i n a n e a ,

       n o t i c e by a c t i o n o f d « e n t r y i n t o Internationa.l law Ordinance, n o t i c e by
       p t t b l x o r e g i s t r a t i o n , f o r a l l e r m t i o n - m i v e . r , s e t o r e l y «pon          wiS
       a,dd.t««al n o t i c e d«ly « . d e a n d give.n, ™ d e r g o v e r n i n g i L ^ ' ^ I . ^ t e r n i t i o n a l
       Law O r d i n a n c e DCC Doe No,. 2 0 1 2 U 3 5 9 3 a n d m OCC D o c . K o . 201g-296-12iS«2
       g o v e r n i n g l a w , p r e s e r v e d a n d p r o t a e t e d u n d e r OCC Doe,. Mo. 2 0 0 0 0 4 3 1 3 5 t h e
       P e r p e t u i t y , g i j a r a n t e e d , p r o t e c t e d a n d ,s,e.cured, p u b l i c p o l i e y , OCC  l~io3,
       common l a w remedy t h e r e u n d . e r g u a r a n t e e d , public p o l i c y , o c c l-,305,,                 TOIC^PRO
       TTOC, PRAETEREA PRETE..REA, u n r e b u t t e d , . r e s t a t e d a n d i n c o r p o r a t e d h e r e b y
       reference           as i f s e t f o r t h i a f u l l , t h i s D e c e i * e r 9th, i n t h e order o f
       e r e a t a c n , , i n o . l u s l v e o f fwo Tbou,aand a n d T w e l v e , a n d a s c r e a t i o n e x i s t s , t h e

       foregoing i s true                a n d c o r r e c t a n d I am c o m p e t e n t t o s a y bo,           unrebutted:

       I.      I d » l y v e r i f y b y A F F I D A V I T OF             FDLX P E R F O r o a s C E t h a t t h e p«rpose o f
       c r e a t o r , e , J E p e r i e n o l n g by c r e a t i o n ,    h a s b e e n d u l y a c h i e v e d , a n d i s now d,uly

       e n t e r e d i n t o t h e r e c o r d o f c r e a t i o n , l o v i n g l y , Icnowingly, w i l l i n g l y and
       x n t e n t s o n a l l y « d e and k e p t i n t h e n o r m a l cour.:e o f cJeation, i , 2 l L , i v e e f

       a n y a n d a l l _ r e c o r d s t h e r e f , r o a , o f a n d f o r a.ny a n d a l l a a n i f e s t a t i o n s a n d
       e x i s t e n c e s i n t h e u n i v e r s e o f c r e a t i o n , i n c l u s i v e o f a n y and a l l e,xistenee,8

     and m a n i f e s t a t i o n s     t h e r e i n , i n c l u s i v e o f a a y a n d a l l l a w f u l and l e g a l
     U n i v e r s a l C o n t r a c t s result,ln,g from t h e agreement by and b e t w e e n c r e a t o r
     e x p e r i e n c i n g by c r e a t i o n , a n d b o n d s e r v a n t , , d.uly made u n d e r t h e l a w s of ' '
     c r e a t i o n , r e c o r d o f c r e a t i o n , i s d u l y v e r i f i e d a s ha,ving b e e n k n o w i n g l y
     wxn,,ngly, and l n t e . n t i o n a l l y r e c o g n i s e d , a c c e p t e d , s e c u r e d a n d en,tery,Io,to

     Law Ordina.nce, n o t i c e b y c r e a t i o n ,                    inclusive of Universal               Law Ordia,ance,

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          n o t i c e by a c t i o n o f e n t r y      into International                         O    ^    ^   ^   ^   ^   C     "        "         "       "   "

       r e g i s t r a t i o n , d u l y v e r i f i e d aa a e e a p t e d a n d g a a r d e d p r e s e r v e d and
       p r o t e c t e d b y t h e P u b l i c T r u s t , u n d e r U n i v e r s a l Tr«,e.4, ^g«aranteed u n d e r t h e

       t r u s t of creation, duly .established by creator a t creation, duly noticed
       upon, c r e a t i o n , a n d d u l y r a t i f i e d a s a b . s o l u t e t r u t h upon eve^ry iianife,e.t.ation

       t h e r e f r o m , nunc p r o t u n c , p r a e t e r e a      p r e t e r e . a , u n r e b u t t e d , a n d .SO I f         is



                                                                o r e a t i o n , ,l: d u l y v e r i f y t h a t I d i d
      l o v r n g l y , k n o w i n g l y , w i l l i n g l y , and. i n t e n t i o n a l l y c h o o s e t o c r e a t e f r o m

      an e x i s t e n c e      o f d u a l i t y .duly inaftlfe.sted a s bond,.8ervan.t f o r t h e s o l e p u r p o s e

      t o experie.nce remembering . s e l f , knowing s e l f ,                            .and b e - ' i n g s e l f t h r o u g h             duly

      secured and gaaranteed f r e e w i l l                       choice,        thi.e p u r p o s e o f c r e a t i o n ,
      unrebutted;

      B        KB bond.eerva.nt, I d u l y v e r i f y t h a t              I did lovingly,                 too«ing.ly,
      l u i i o ^ f '';    lf--^--n^^lY           c h o o s e t o a c c e p t t o .be o f s e r v i c i Z      this
      pu.rpoae o f c r e a t i o n , t o remember s e l f , know s e l f , a n d b e s e l f , thro«gb
      knowxng, w i l l i n g , a.nd i n t e n t i o n a l c r e a t i o n o f m n i f e s t a t i o n s ; i n a n ? a n d
      all, existences, unrebutted;

     C. As          fflanifestation    o f c r e a t i o n , t h e u n d e r s i g n e d s t a t e s o f body, I d u l y
     v e r x f y t h a t I d i d l o v i n g l y , knowingly, w i l l i n g l y , and i n t e n t i o n a l l y choose

     t o a,gree t o f o r g e t          self      on p u r p o s e s o t h a t       1 could     reneaber s e l f           know
     self,
    and b e s e l f b y f r e e w i l l             .choice, u n r e b u t t e d ;

    D. A r t i c l e I s e c t i o n s A-C a r e r e s t a t e d , a n d I , a s m a n i f e s t a t i o n , do
    l o v i n g l y , knowingly, w i l l i n g l y , and i n t e n t i o n a l l y d e c l a r e , with f u l l
    pe.rsonal r e s p o n s i b i l i t y and l i a b i l i t y , b y f r e e w i l l c h o i c e , under t h e
    penaltie.s o f p e r j u r y under t h e laws o f c r e a t i o n , t h a t I d u l y v e r i f y t h a t
    t h i s purpose o f c r e a t i o n h a s been achieved, and t h a t . s a t i s f a c t i o n o f t h l ^
    purpose o f c r e a t i o n i s duly a matter o f record o f c r e a t i o n , s p e c i f i c a l l y ,
. . . ^           l^'*-^""   a>r.,n.w,fa..»i.ua,          I   du   k.,M,-    ..   t   .1   •                                 . ^   ^        J '

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       ^      ^    ^    .   ^    ^       '       ^       ''''^'^^'^^    » ^    ^ ^ « " ^ ^ e . 3 2 S , ^ r e b u t t e d , and . 0 XT

      E.      A r t i c l e I . a e e t i o n s A.~D a r e r e s t a t e d , and I , a s b o n d s e r v a n t
      l o v i n g l y , k n o w i n g l y , w i l l i n g l y , a n d i n t e n t i o n a l l y r e c o n f i r m a.nd v e r i f y ,


      S'Lrj^^'^irSSfiiff^"^
        a,nd h a s b e e n a c h i e v e d b y f r e e
                                                                   l i a b i l i t y , that t h i s p u r p o s e of c r e a t i o n
                                                                   will    choice         of manifestation,          and s o I T        IS

      DONE, u n r e b u t t e d ;


      II.       1 a s creator, experiencing by creation, i n creation''a universe
      l o v x n g l y , k n o w x n g l y , w i l l i n g l y a n d i n t e n t i o n a l l y .accept t h e a b o v e A F F I D A V I T

      rL^Sr^'^?'^***^'^'                          ^      v e r i f y .and r a t i f y by D E C L i m i J l O H OF
      C E R K F I C A T E O F S A T I S f A C T I O S , .for a l l c r e a t i o n - , L i v e r s e to r e l y upon,

      my f«ll p e r s o n a l r e s p o n M b i l l t y a n d l i a b i l i t y , t h a t t h i s purpo.^.^ o f
      c r e a t i o n h a s b e e n d u l y a c h i e v e d , and i s a m a t t e r o f r e c o r d S              creation
      n o t i c e upon c r e a t i o n , i n c l u s i v e o f Dniver.s.al Law O r d i n a n : : ,                      bJ '


      l     ^     ^    ^    T     ^          ^       :   ^    ^                '                                «gi.tration,

      III.        I,   as c r e a t o r ,        experiencing      by c r e a t i o n ,    increation"e            universe
   ^ntentSnaTrf^^T^"*'                                            l o v i n g l y , k n o w i n g l y , w i U i n g i y , and^
   i n t e n t i o n , a l l y i s s u e a n d e n t e r i n t o t h e reco..rd of c r e a t i o n , n o t i c e uooo
   c r e a t i o n , i n c l u s i v e of O n i v e r s a l Law Ordina.nce, n o t i c e b y a c t i o n ^                   Ztxr
   ^ J ^ ^ ^ ^ " " ^ " " ^ '                                    - t i c e by public r e g i s t r a t i o n , S i r ' " "
   ^^^itrJ!;?                                    ^e-purpose any and a l l m a n i f e s t a t i o n s i n
   crea.t.ion"s u n i v e r s e , f r o m t h e i.«ge of s e l f to b e - i n g s e l f , a b s o l u t e
   and SO I T I S DONE t h a t :




  c r e a t o r , e.xperie:ncing by c r e a t i o n , i n a n y and a l l .manifestatioL, i n a n y
F.UNGOFFICECOI»Y™NAT,OhrAI.UCCF,m«CINGSTATfMfNTAMeN.0«E^^^^^^


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        and
        all    existerioes of creation " a                 universe,           unrebutted;

       1. Any a n d a l l m a n i f e s t a t i o n ' s c r e a t e d i n t h e i a a g e o f s e l f , c r e a t o r
       e x p e r x e n c « g by c r e a t i o n , i n a n y and a l l e x i s t e n c e s i n c r e a t i o n ' - 7
       universe,                                                                      '" ' '
       a r e l o v i n g l y , knowingly, w i l l i n g l y ,         intentionally,               and i n m e d i a t e l y   declared

       a s f r e e o f f u r t h e r o b l i g a t i o n b y C e r t i f i c a t e o f S a t i s f a c t i o n duly made
       i s s u e d , and entered a s a B a t t e r o f r e c o r d f o r a n y a n d a l l D n i v e r s a l           ^'

       cr^Sir
       creation,        :ff""'?
                        t o remember         self,     know " s" e^ l^f^," ^ a n d b e s e l f ,           b u t tP^-P-S
                                                                                                    u n r e^      ed;    of


       2.     Said manifestations               a r e l o v i n g l y , knowingly, w i l l i n g l y ,            intentionally,

       i m e d i a t e l y and m n c o n d i t i o n a l l y a c c e p t e d , w i t h o u t j u d g m e n t a n d     with
       absolute love, a s s e l f , the creator, experiencing by c r e a t i o n ,                                     unrebutted;



      3.      Said manifestations               a r e l o v i n g l y , knowingly, w i l l i n g l y ,            intentionally,




      B.      I , c r e a t o r , e x p e r i e n c i n g by c r e a t i o n , a s a matter of r e c o r d o f
                          . " T ^ ^ ^ " ^ ^ l y ' k n ^ w i ^ l y , w i l l i n g l y , i n t e n t i o n a l l y , and
      l m « d i a t e l y d e c l a r e t h a t I do i m M e d i a t e l y r e - p ^ r p o s e ,«aid »anIfe.station,s b y

      f r e e w i l l c h o i c e , and s h a l l h e r e a f t e r e x p e r i e n c e s e l f     b v a n v anrf a n
      m a n i f e s t a t i o n s b e ' . i n g «elf, ab.,ol«te l o w , i n L J a n d a L ^ L l t l ^ i i i n
      c r e a t i o n - s u n i v e r s e , w i t h f«ll p e r s o n a l r e s p o n s i b i l i t y a n d l i a b i l i t y ,

      t h e l a w s o f c r e a t i o n , mmc PRO fcMC, P R l E f E R E * PmTSmA               with absoJwt^
      t r u t h , knowledge, s t a n d i n g , a u t h o r i t y , v a l u e , r i g h t s and lawa o f c r e a t i o n ,

      with Irrevocable right of free w i l l                       choice       to create             absent      any and a l l
  miSS^i;^             ««fe3«9ation, u s u r p a t i o n , i n v a s i o n , a n d v i o l a t i o n o f a n y o t h e r
                                c r e a t i o n , g u a r a n t e e d b y c r e a t o r ' ' s bonded u n c o n d i t i o n a l
   l o v e a n d a b s o l u t e r e s p o n s i b i l i t y , n o t i c e upon c r e a t i o n , u n r e b u t t e d -

              n o , t , „ , •ngui.joHiBiwy hi m..«liii.u.M., U O m mnhbui, uC UBBwud         of
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       D.          ,a,s m a n i f e s t a t i o n o f s e l f , , c r e a t o r , e x p e r i e n c i n g by c r e a t i o n ,
       lovingly,,, k n o w i n g l y , w i l l i n g l y , , i n t e n t i o f l a l l y and ,immecli;tely r e c e i v e
       a c c e p t and r a t i f y , t h e due          DICLARATIOM m c L f l F l C A f l o J S A I I ' S A S M                     and

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      IV.,      W i t h due s t a n d i n g , a u t h o r i t y , a n d a u t h o r i s a t i o n , I , t h e u n d e r s i c n e d
      T r u s t e e o f r e c o r d o f t b e P u b l i c T r u , B t , do L o v i n g l y ,       toowingly,      willj„giy,



      r e s p o n s i b i l i t y and l i a b i l i t y , g u a r a n t e e d b y bond, u n d e r t h e      laws of
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                                 ANNEX 40

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reiBe,dy tfeerewtder gtaaranteed, pid3lic p o l i c y ? UCC' 1-305, NUNC PRO TTOC,


as i f s e t f o r t h i n f a l l ,     t h i s March 1 8 t h , i n t h e o r d e r o f etern.al e s s e n c e ,

IneliBflive o f Two EhLOUs,and and T h i r t e e n , aad a s e t e r n a l e a s e a e e e x i a t a , a l l

stated, h e r e i n i s tr«.e and corxe.ct and 1 am coiipetent t o s a y s o , u n r e b a t t e d ;

  I.      I d u l y v e r i f y .by DECLARATION OF ABSOLUTE TRUTH t h a t ! h.                Sternal
e s s e n c e I S , lanrebutted; B. AJll v a l u e t h a t I S , IS e t e r n a l e s s e n c e ,
u n r e b u t t e d ; C. A l l t h a t I£ embodied, I S e t e r n a l e a s e a e e , n n r a b a t t e d ; a .


I S a t e r a i a l essenae, •unrabuttad;            F.    Any and a l l «ix4stenoe.a tha.t ABE, AMB

essence,
u n r e b u t t e d ; H.   E t e r n a l e s a e n m IB Abs.olute L i g h t , tinr«butt(&d; I .              Eternal


T r u t h , u n r ^ t i t t e d ; K.   E t e r n a l essence I S Absolute; L.              I n Absolute

c o n s c i o u s l y and l o v i n g l y d u l y d e c l a r e , w i t h f u l l r e s p o n s i b i l i t y and
l i a b i l i t y , th,© memory, ©xperiencse and knowing o f jyasolutci T r u t h , a t a r n a l
e s s e n c e , unrebutted; M, I n M s s e l u t e S r a t i t u d e , w i t h A b s o l u t e Love and




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    Peace, e t e r n a l e s s e n c e embodied does c o n s c i o u s l y and l o v i n g l y d u l y declared-

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    v e r i f y , w i t h f u l l r e s p o n s i b i l i t y and l i a b i l i t y , by DECLASATION O F ABSOLOTl

    AUDIT     AMD    RECONCILIATIOH,               t h a t a l l t h a t I S h a s h&mst f a l l y audltfid and
    reconciled into              tesolute,       e t e r n a l essence, inoliislve of a l l t r u s t s ,
    systems,

    natworke, r e f l i a a s , h l e r a r c h l ^ a s , and any aad a l l o t h e r l i m i t s , mnrabuttsd;

    III,      I d u l y v e r i f y , w i t h f u l l r e s p o n s i b i l i t y and l i . a b i l i t y , by DECl,ffiATlCW

    OF ORDER, t h a t a l l t h a t I S , knows A b s o l u t e T r u t h and t h e r e c o r d o f a b s o l u t e

    v e r i f y , w i t h f u l l r e s p o n s i b i l i t y ^ n d l i a b i l i t y , by DECLARATION OF ORDER,


    o f DO'^ing, unrebutted,-                  V,     I d u l y v e r i f y , w i t h f u l l r e s p o n s i b i l i t y and


    and known by t h e DO' ' i n g o f any and a l l embodiiBfint o f e t e r a a l e s s e n c e i n
    e t e r n a l e s s e n c e " s u n i v e r s e , unrebutted;   ¥1.. I d u l y v e r i f y , w i t h f i i l l
    r s a p o n s i b l l l t y and l i a b i l i t y , by DEGLARATIOM OF ORDER, t h a t s t e r n a l a s s e n e e



    unrebutted;


    Unrebutted;

    DULY V E R I F I E D A3 .BE' 'ing and DONE, RECONFIRMED AMD RATIFIED, a a a a i a t t e r o f

    r e c o r d , w i t h due s t a n d i n g , sw.thority and a u t h o r i s s a t i o n , March 18, 2013,
    l o v i n g l y , knowingly, w i l l i n g l y and I n t e n t i o n a l l y .made, g i v e n , and n o t l e a d ,

'           i*i»t»ini*e* p w s s w e l gsep8asiMli.»y iiii.<i.ni.MehAii^^                       8Wsw>iMwitle«.


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     CHARLES C. MIM^R [AN ARTIFICIAI, PERSOM & LEOAL FICTION]
     CHMa.ES C MILLIR [Mf ARTIFICIAI. PERSON £ IMmL FICTION],




     Case 3:17-cr-00082-TAV-DCP Document 25 Filed 08/18/17 Page 287 of 309 PageID #:
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Propertylnfo Corporation [CustomerCare@propertylrifo.oom]
Sent!       Monday, March 18,2013 10:36 AM
To!         Heather Tucd-Jarraf
Attachments! 201303180030 .TIP {190 KB)

R e c e i p t # 130S732

IDA WILLIAMS
RECORDER OF DEEDS
WASH DC RECORDER OF DEEDS
1101 4TH S T R E E T   SW
WASHINGTON, DC
20024
(202) 442-8610

Doc# 2013032035             Pgs: 4
E~RECORD                              $          25.00
ESURCHARGE                            $          6,50
PROCESSING                            $           5.00


Total                                     $         3 6.50
C r e d i t Card                          $         3 6.50
Change                                    $          0.00
Balance                                   $          0.00

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03/18/2013 13:36:30 PM

Cashier: EUCCaUTOCASHIER




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 Receipt and Image for Electronic Filing - Tracking Number: 201303180006
 Propertylnfo Corporation [CustomerCare@propertyinfo.oom3
 Sent!       Monday, Mardi 18,2013 S:43 AM
 To!         Heather Tucci-Jarraf
 Attachments! 201303180006 .TIP {208 KB)

 R e c e i p t # 1305536

IDA WILLIAMS
RECORDER OF DEEDS
WASH DC RECORDER OF DEEDS
1101 4TH STREET SW
WASHINGTON, DC
20024
(202) 442-8610

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Change                                                    0.00
Balance                                                   0.00


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l-laattor Tucci-Jarraf <HeatiTar@,{>Qoplestnjst1776.mg>^                                                                                 Maior ii). 2 0 1 3     \OA\i AM
To, Caleb Skinin8r<cateb@:f»opl8strust1776.or§>, Randall l-lilir»r<randall@pflopk3iStru-st1776.or§s.
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true, accurate, a n d complota verbia§# that was duly n a d o , f i v e n , noticed, and secured IS:




ALL RIGHTS RESERVED WITHOUT PREJUDICE, UCC Dcsc. # a{>0«M3135, th« ;psrpot«ity and a                                  remtd of   Atssoluta, ia heraby duly amandad
oriily to inclucfiB tha following additionai collateral as follows:

LawOiilirtancB, with UCC Doc. Filo No. 2 0 1 2 i a 2 f f l a is du:ty v o r i f M a s raoonf i r n m i a n d ratified, unrebutted, restated and incorporated by
r«f#rfincfl as if mi forth in fuil.

WITH DUE STANDING, AUTHORITV, and AUTHORIZATION, witiiout prajudKS, pubfc policy, UCC 1-308, atamal esseiKS amtxtdlod
transpapsnt in A b a j i u t a Truth, i<nowing1y, willingly, a n d iritentionally makes and givos duly made NOTICE O F D E C U R A T I O N OF A B S O L U T E
TRUTH, DULV VERIFIED AUDIT AND RECONCILIATION and D E C U R A T I O N O F ORDER, with fuil roisporKSiWlily and liability, as a rrtattsrof
rocard, duly #nt#rod into LawOKlinance, notios upon choics mads i»/ etsmal sssenca, inclusivo of U n i w r s a l Law Ordiiianjca, notica ;lyy loving
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eternal essence's unlversa to rely upon, with addittonal notice duty made a r r i § Ivan, under f t w e r n i n f law, Intsmatbiial Law O r d h a n c o UCC Doc
No. 2 0 1 2 1 i a B © 3 a n d W A UCC Dac. No. » 1 2 . 2 & 6 - 1 2 { » - 2 , "cjoveminf law', presented and protocled under UCC Doc. No. 2<X»EM3i35, the
"Perpetuity', guaranteed, prot4Jctod and secured, putslic :(»licy, UCC 1 -103, common law remedy ttaraumlerguaranteed, public poltoy, UCC 1 •
305, NUNC PRO TUNC, PRAETEREA PRETEREA, unrebutted, wstated and inocrporated l » r e by reforenoe aa if set forth in full, tiiis Match
lattk, in t t o order of eternal essence, inclusive of Two Thousand and Thtrtaen, a n d aa eternal essence exists, ali stated herain is true and curract
and I amoompstftnl to say so, unrebutted:

I. I duly verify by DECLARATION OF A B S O L U T E TRUTH that:

A. Eternal essence 1S, unrflbutted;

B. All value that IS, IS eternal essence, unrebutted;

C. Ail that ISemtiodied, IS eternal essence, unrebutted;

D. All that IS, IS eternal aasenco, uraebuttad;

E. Etenml essence's universe IS eternal essence, unrebutted;

F. Any and all existences that ARE, ARE eternal essence's unrveraa, unrebutted;

G. All records BE eternal essence, unrebutted;

H. Eternal essence IS Ateolute Li§ht, unretjulted;

I. Eternal essanoB IS Absolute Love, unrebutted;

J . Eterrml essence IS Absolute Tnjth, unretjutted;

K. Eternal e^ssonm 1S Absolute;

L. in Atxsolute Gratitude, with Absolute Love and Peace, eternal essence en^bodlod does consciously and lovingly duly d a c l a s , with full
responsibility and liabiiity, tho memory, experience and krujwing of Absolute Truth, eternal essence , uiiretjultcd;

M. In Absolute Gratitude, with Absolute Love and Peace, eternal essence embodied does oonsctously and lovingh/ duly declare, with full
rosponsibilily and liability, tbe nwnwry a n d k n o w n f of Absolute Truth, eternal essence embodied in each and all manifestations i n any and all
existences of eternal essence's universe, unrebutted;




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                  Case 1:17-mj-00531-DAR Document 2-2 Filed 08/02/17 Page 125 of 130



II. ^ II duty w i f y , with full » j » r a i b i ^ f l n d iiahilily, by DEClJiiRATION Oi^ A B S O L U T E AUDIT AND RECONCILIATION, tbat all that IS has buori




III. I duty w r i f y , with full rsspoitsibility a n d liability, tsy DECLARATION O F ORDER, that all that IS, iinrnvs Absolute Truth a n d the r o m i d of



'Tthi*^"'f            bo* '"":'*T.S'''^^ ^'^^                   ^'^'^'-'^'^^''''^'^    °^   ORDER, that all that IS, experiences Abssluto T m t h , eternal essence,




THESE ORDERS ARE PREPAID, PREAUTHORIZED A N D PREAPPROVED. SO IT IS DONE. Unrebutted;

DHULYJElWtmA^                        TONlj.,     R J 3 0 N F ™ E D   AljiD R A T I ^                               duYlandinf, auttor^y a r r f m




as promised, preserved, ai¥fprotedHd,J^^                              1 ^ , ' NUNC PRO TUNC^




Heather A n n Tucci-Jarraf




Sent: M o n * y f March                  iftai               pertj?mfo.coml




IDA W I L L I A M S
RECORDER O F DEEDS
WASH DC RECORDER O F DEEDS
1101 4TH S T R E E T SW
WASHINGTON, DC

(202)442-8610


E-RECORD                 ^ $         25.00
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Client Name GENERAL PUBLIC
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   Case 3:17-cr-00082-TAV-DCP Document 25 Filed 08/18/17 Page 291 of 309 PageID #:
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     you have full vwbiage in Ihe emaj|.,,awf it was ill entired mio UCC system and^ dslivered...! previewed
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Case 3:17-cr-00082-TAV-DCP Document 25 Filed 08/18/17 Page 294 of 309 PageID #:
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 L ] duly verily by DECLARATIOiN OF ABSOLUTE Tmrm                that,:

 A. Htemal essence IS, unrebutted;

 B. All value tbat iS, IS eternal essence, unrebutted;

 C. Al! that IS embodied, JS cteroai essence, unrebutted;

 D. All tbat IS, IS eternal essence, unrebuEted;

H. Htcrnal essence's universe IS eternal essence, unrebutted;

!• Any and all existences that ARE. ARE eternal essence's universe, unrebutted;

G. AlifficoftisBI:i eternal essence, tiniebuttod;

l i Htemal essence IS Absolute Light, unrebutted;

I. literna! essence IS Absolute Love, unrebutted;

J. Htcrnal essence IS Absolute 'J'mth, tinrebutted;

K. Htemal essence JS Absolute;



                 "^«P"«'t>'I"y and l.ab.l,t^ the met«o^, experience and knowing of Absolute TrutlJ, etera.1 e^mce.




Case 3:17-cr-00082-TAV-DCP Document 25 Filed 08/18/17 Page 295 of 309 PageID #:
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    I duty verily, with lull respoasibility and liability, by D E C L A R A T I O N OV
 III.                                                                                                         Omw li >h.„   .11,1,., i c   1        .L     .
 i™th and the «.eo«l of Absolute IVuth, eternal essetLe, at the speSof S ^ n                                  X   S                '               "''"^


 IV. 1 duly verify, with full respmsibility and liability, by D E C L A R A ' r i O N O F O K I J F I i rt,m           ,t,., ic
 Absokiie Truth, eternal essence, at the speed of DO'fag, unrebutted;                                                              ' e^penenees

 V. 1 duly verify, with full responsibility and liability, by D E C L A R A T I O N O F O R I l F t t riv-,f                                   ,




        o r * l , i , iimttauol;                                   untodimail oracnMl cKciia m aoroal astticrt L„ii»m«, IS f m ,it,<l


THISE OKUEHS Alil! PRKmin, 1-UliAm i.OklZI!,, ANO PREAPPKOVEO. SO IT IS DONE. U n r i x . K *
D U L Y V E R I F I E D A S B E ' i i i g and D O N E . R E C O N F I K M l i ' n   A M I I »   A-rif?»i'ii




t.«tn.parent in S t e         T^^Jh                                    ""'""^1-ucei.Jan.an as conscious eternal essence er„bt>died.




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           Case 1:17-mj-00531-DAR Document 5 Filed 08/08/17 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 ____________________________________
                                     )
 UNITED STATES OF AMERICA            )
                                     )
               v.                    )               Case No. 17-531 (DAR)
                                     )
 HEATHER TUCCI-JARRAF                )
                                     )
                   Defendant.        )
 ____________________________________)


                                     NOTICE OF FILING

        The Defendant, through counsel, Assistant Federal Defender David W. Bos, hereby files

 the attached materials in connection with the Identity Hearing held on August 4, 2017.




                                          Respectfully submitted,

                                          A. J. KRAMER
                                          FEDERAL PUBLIC DEFENDER

                                                     /s/

                                          DAVID W. BOS
                                          Assistant Federal Public Defender
                                          625 Indiana Avenue, N.W., Suite 550
                                          Washington, DC 20004
                                          (202) 208-7500




Case 3:17-cr-00082-TAV-DCP Document 25 Filed 08/18/17 Page 299 of 309 PageID #:
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
                                           CASE NO. : 1:17-mj-00531-DAR

                                           Magistrate Judge Deborah .A. Robinson

                                            ORIGINAL DUE DECLARATION
                                            OF ADDENDUM OF LAW,
                                            PRESUMPTION, AND PERPETUITY;
                                            CANCELLATION OF ORDER FOR
                                            COMMITMENT TO ANOTHER DISTRICT


 DUE CANCELLATION OF ORDER FOR COMMITMENT TO ANOTHER
 DISTRICT, with file date of Aug 4 2017, and IDENTIFIERS OF CASE NO.: 17-
 531M, NO.: 3:17-CR-82, and CASE No.: 3:17-cr-00082-TAV-CCS, for due cause,
 specifically and particularly, inclusive of, ORIGINAL DUE DECLARATION OF
 ADDENDUM OF LAW, PRESUMPTION, AND PERPETUITY, nunc pro tunc,
 praeterea preterea:

    Annex 1        ORIGINAL DUE DECLARATION AND NOTICE OF                            1;
                             FACTUALIZED TRUST

    Annex 2    ORIGINAL DUE DECLARATION OF ISSUE BY ORIGINAL                       1 – 5;
                                DEPOSITORY

    Annex 3     The Perpetuity, UCC record number 2000043135, with receipt        1 – 12;
                  number 36090, inclusive of record numbers 2011055259,
                                2011055260 and 2011125781

    Annex 4                  UCC record number 2012049126                          1 – 2;

    Annex 5                  UCC record number 2012012675                          1 – 2;

    Annex 6                  UCC record number 2012025545                          1 – 2;

    Annex 7                UCC record number 2012-125-1787-8                      1 – 16;

    Annex 8                  UCC record number 2012012555                          1 – 2;


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 CASE NO. : 1:17-mj-00531-DAR          DOCUMENT 2       FILED 8/8/2017
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        Case 1:17-mj-00531-DAR Document 5-1 Filed 08/08/17 Page 2 of 4




    Annex 9                 UCC record number 2012028312                   1 – 2;

   Annex 10                 UCC record number 2012012659                   1 – 2;

   Annex 11                 UCC record number 2012028311                   1 – 2;

   Annex 12                 UCC record number 2012028314                   1 – 2;

   Annex 13                 UCC record number 2012079290                   1 – 6;

   Annex 14                 UCC record number 2012079322                   1 – 5;

   Annex 15                 UCC record number 2012094308                   1 – 7;

   Annex 16                 UCC record number 2012094309                   1 – 7;

   Annex 17                 UCC record number 2012113593                   1 – 7;

   Annex 18                 UCC record number 2012127914                   1 – 6;

   Annex 19                 UCC record number 2012127907                   1 – 8;

   Annex 20                 UCC record number 2012127854                   1 – 7;

   Annex 21                      The Paradigm Report                      1 – 16;

   Annex 22                 UCC record number 2012012555                   1 – 2;

   Annex 23                 UCC record number 2012028312                   1 – 2;

   Annex 24                 UCC record number 2012012659                   1 – 2;

   Annex 25                 UCC record number 2012028311                   1 – 2;

   Annex 26                 UCC record number 2012028314                   1 – 2;


                                                                     Page 2 of 4
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         Case 1:17-mj-00531-DAR Document 5-1 Filed 08/08/17 Page 3 of 4




   Annex 27                      UCC record number 2012083304                            1 – 8;

   Annex 28                      UCC record number 2012086794                           1 – 10;

   Annex 29                      UCC record number 2012086802                            1 – 6;

   Annex 30                      UCC record number 2012088865                            1 – 6;



   Annex 31                      UCC record number 2012088851                            1 – 9;

   Annex 32                      UCC record number 2012094309                            1 – 6;

   Annex 33                      UCC record number 2012096074                            1 – 7;

   Annex 34                      UCC record number 2012113593                            1 – 7;

   Annex 35                      UCC record number 2012114093                            1 – 7;

   Annex 36                      UCC record number 2012114586                            1 – 7;

   Annex 37                      UCC record number 2012114776                            1 – 5;

   Annex 38                        DECLARATION OF FACTS                                 1 – 12;

   Annex 39                      UCC record number 2012132883                            1 – 9;

   Annex 40                      UCC record number 2013032035                           1 – 13;



 Each said record herein duly identified, restated in entirety, and incorporated by reference
 as if set forth in full;
 All said records in totality, “the Perpetuity”;
 The Perpetuity, nunc pro tunc, praeterea preterea.



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 Duly made and issued with standing due rejection, without dishonor, of any and all
 attempts to offer, contract, agree, presume, or any other action, and non action, that may
 be made to compel Original to issue consent for ORDER FOR COMMITMENT TO
 ANOTHER DISTRICT to issue for HEATHER ANN TUCCI-JARRAF, idem sonans,
 nunc pro tunc, praeterea preterea.

 By and with the due power of all I AM, without prejudice, nunc pro tunc, praeterea
 preterea, in perpetuity, this ORIGINAL DUE DECLARATION OF ADDENDUM OF
 LAW, PRESUMPTION, AND PERPETUITY, is duly made, issued, confirmed, verified,
 secured, reconfirmed, ratified and noticed, and it is true, accurate, and complete, for all to
 rely upon.

 Original, Heather Ann Tucci-Jarraf



 :pp _____________________________________________________




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            Case 1:17-mj-00531-DAR Document 6 Filed 08/09/17 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 ____________________________________
                                     )
 UNITED STATES OF AMERICA            )
                                     )
               v.                    )               Case No. 17-531 (DAR)
                                     )
 HEATHER TUCCI-JARRAF                )
                                     )
                   Defendant.        )
 ____________________________________)


                             CORRECTED1 NOTICE OF FILING

        The Defendant, through counsel, Assistant Federal Defender David W. Bos, hereby files

 the attached materials in connection with the Identity Hearing held on August 4, 2017.




                                          Respectfully submitted,

                                          A. J. KRAMER
                                          FEDERAL PUBLIC DEFENDER

                                                     /s/

                                          DAVID W. BOS
                                          Assistant Federal Public Defender
                                          625 Indiana Avenue, N.W., Suite 550
                                          Washington, DC 20004
                                          (202) 208-7500




        1
         The Notice filed with the Court on August 8, 2017, included an 4 page Attachment
 containing a Declaration from the Defendant. The Declaration filed with the Court, however, was
 not signed by the Defendant. The instant Notice of Filing corrects this oversight and includes a
 Declaration signed by the Defendant.



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 UNITED STATES DISTRICT COURT
 FOR THE DISTRICT OF COLUMBIA
                                             CASE NO. : l:17-mj-00531-DAR

                                             Magistrate Judge Deborali .A. Robinson

                                             ORIGINAL DUE DECLARATION
                                             OF ADDENDUM OF LAW,
                                             PRESUMPTION, AND PERPETUITY;
                                             CANCELLATION OF ORDER FOR
                                             COMMITMENT TO ANOTHER DISTRICT


   DUE CANCELLATION OF ORDER FOR COMMITMENT TO ANOTHER
   DISTRICT, with file date of Aug 4 2017, and IDENTIFIERS OF CASE NO.: 17-
   53IM, NO.: 3:I7-CR-82, and CASE No.: 3:I7-cr-00082-TAV-CCS, for due cause,
   specifically and particularly, inclusive of, ORIGINAL DUE DECLARATION OF
   ADDENDUM OF LAW, PRESUMPTION, AND PERPETUITY, nunc pro tunc,
   praeterea preterea:

     Annex 1        ORIGINAL DUE DECLARATION AND NOTICE OF                              1;
                              FACTUALIZED TRUST

     Annex 2    ORIGINAL DUE DECLARATION OF ISSUE BY ORIGINAL                         1 - 5;
                                 DEPOSITORY

     Annex 3     The Perpetuity, UCC record number 2000043135, with receipt          1-12;
                   number 36090, inclusive of record numbers 2011055259,
                                 2011055260 and2011125781

     Annex 4                  UCC record number 2012049126                            1 - 2;

     Annex 5                  UCC record number 2012012675                            1 - 2;

     Annex 6                  UCC record number 2012025545                            1 - 2;

     Annex 7               UCC record number 2012-125-1787-8                         1 - 16;

     Annex 8                  UCC record number 2012012555                            1 -2;



                                                                               Page 1 of 4
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         Case 1:17-mj-00531-DAR Document 6-1 Filed 08/09/17 Page 2 of 4




      Annex 9                UCC record number 2012028312                           1-2;

     Annex 10                UCC record number 2012012659                           1-2;

     Annex 11                UCC record number 2012028311                           1-2;

     Annex 12                UCC record number 2012028314                           1-2;

     Annex 13                UCC record number 2012079290                           1-6;

     Annex 14                UCC record number 2012079322                           1-5;

     Annex 15                UCC record number 2012094308                           1-7;

     Annex 16                UCC record number 2012094309                           1-7;

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     Annex 19                UCC record number 2012127907                           1-8;

     Annex 20                UCC record number 2012127854                           1-7;

     Annex 21                     The Paradigm Report                              1-16;

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    Annex 25                 UCC record number 2012028311                           1-2;

    Annex 26                 UCC record number 2012028314                           1-2;



                                                                             Page 2 of 4
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     Annex 27                      UCC record number 2012083304                              1 - 8;

     Annex 28                      UCC record number 2012086794                             1 - 10;

     Annex 29                      UCC record number 2012086802                              1 -6;

     Annex 30                     UCC record number 2012088865                              1 - 6;



     Annex 31                     UCC record number 2012088851                              1 -9;

    Annex 32                      UCC record number 2012094309                              1 - 6;

    Annex 33                      UCC record number 2012096074                              1 - 7;

    Annex 34                      UCC record number 2012113593                              1 - 7;

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    Annex 36                      UCC record number 2012114586                              1 -7;

    Annex 3 7                      UCC record number 2012114776                              1 - 5;

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    Annex 39                      UCC record number 2012132883                              1 - 9;

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   Duly made and issued with standing due rejection, without dishonor, of any and all
   attempts to offer, contract, agree, presume, or any other action, and non action, that may
   be made to compel Original to issue consent for ORDER FOR COMMITMENT TO
   ANOTHER DISTRICT to issue for HEATHER ANN TUCCI-JARRAF, idem sonans,
   nunc pro tunc, praeterea preterea.

   By and with the due power of all I AM, without prejudice, nunc pro tunc, praeterea
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   LAW, PRESUMPTION, AND PERPETUITY, is duly made, issued, confirmed, verified,
   secured, reconfirmed, ratified and noticed, and it is true, accurate, and complete, for all to
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   Original, Heather Ann Tucci-Jarraf




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